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        6 Attorneys for Plaintiff Epson America, Inc.

        7

        8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
        9                                          COUNTY OF ORANGE

       10 EPSON AMERICA, INC., a California                       CASE NO.
          corporation,
       11
                          Plaintiff,                              COMPLAINT FOR DECLARATORY
       12                                                         AND INJUNCTIVE RELIEF
                  vs.
       13                                                         Action Filed:           March 10, 2023
          Graesen Arnoff, an individual, Suzanne                  Trial Date:             None Set
       14 Bonds, an individual, Matt Bozylinsky, an
          individual, Bill Bunkers, an individual, Erin
       15 Busse, an individual, Cindy Christensen, an
          individual, Michelle Churchill, an individual,
       16 Joshua Cook, an individual, Carolyn Dezutter,
          an individual, Brandy Dolderer, an individual,
       17 Jason Elkins, an individual, Cheryl Fulk, an
          individual, Denise Harrold, an individual,
       18 Rachel Hassett, an individual, Amy Hood, an
          individual, Kristi Jacobs, an individual,
       19 Michelle Jenkins, an individual, Christine
          Jonas, an individual, Megan Kline, an
       20 individual, Sara Koehnke, an individual, Kelly
          Kunz, an individual, Julie Lee, an individual,
       21 Margie Markevicius, an individual, Kevin
          Nameth, an individual, Adam Newman, an
       22 individual, Kelly Nielsen, an individual, Susan
          Nowinski, an individual, Glaiza O'Malley, an
       23 individual, Dino Pezzato Iii, an individual,
          Natalee Roseboom, an individual, Noreen
       24 Shambo, an individual, Jordan Sinwelski, an
          individual, Sabrina Stroud, an individual,
       25 Stella Volkman, an individual, Douglas
          Wagner, an individual, Marta Zachara, an
       26 individual, Richard Polich, an individual,
          Catherine Walker, an individual, Shelby
       27 Cooper, an individual, Evan Weightman, an
          individual, Shelbi Mcfarland, an individual,
       28 Lisa Colp, an individual, John Salidas, an


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   1 individual, Hannah Hood, an individual, Marie
     Ortega, an individual, Brian Naydol, an
   2 individual, Nicole Reynolds, an individual,
     Ward Roney, an individual, Lisa Borel, an
   3 individual, Dawn Ferguson, an individual,
     Kinh Nguyen, an individual, Connie Fields, an
   4 individual, Max Lima, an individual, Debra
     Coe, an individual, Steven Wear, an
   5 individual, Lora Benson, an individual, Nick
     Martinez, an individual, Craig Lux, an
   6 individual, Cedric Nocon, an individual,
     Richard Steele, an individual, Crystal Gibson,
   7 an individual, Charlene Madsen, an individual,
     Angelica Hernandez, an individual, Hideki
   8 Hara, an individual, Jennifer Lecharoen, an
     individual, William Butler, an individual,
   9 Ronald Talley, an individual, Marianina
     Arredondo, an individual, Charmaine
  10 Contreras, an individual, K Poore, an
     individual, Cathy Steele, an individual,
  11 Manique English, an individual, Cynthia
     Jaramillo, an individual, Jonathan Mok, an
  12 individual, Penny Dahlberg, an individual,
     Demir Bracic, an individual, Vincent Ibanez,
  13 an individual, John Lahommedieu, an
     individual, Princess Hampton, an individual,
  14 James Lonergan, an individual, Michael
     Walton, an individual, Wynn Esclovon, an
  15 individual, Thomas Green, an individual,
     Orlando Malaluan, an individual, Alexandria
  16 Vazquez, an individual, Carey Hylton, an
     individual, Veronica Perkins, an individual,
  17 Derek Newman, an individual, Brandon
     Medow, an individual, Ronald Stout, an
  18 individual, Kevin Teichen, an individual, Katie
     Hart, an individual, Jill Pacho, an individual,
  19 Ronald Piner, an individual, Jennifer
     Culbertson, an individual, Joel Borja, an
  20 individual, Blanca Carrasco, an individual,
     William Kewley, an individual, Rubie Gillon,
  21 an individual, Marta Madrid, an individual,
     Jennifer Ashline, an individual, Vicki Mallard,
  22 an individual, Michelle Lavoy, an individual,
     Mabel Tsi, an individual, Maria Livingston, an
  23 individual, Shamarra Frazier, an individual,
     Tyrone Hazel, an individual, Andres Vitiosus,
  24 an individual, Joseph Miranda, an individual,
     Cielito Leoncio, an individual, Monica
  25 Mungary, an individual, Tracy Smith, an
     individual, Madisyn Hill, an individual, Kara
  26 Heuer, an individual, Katherine Simpson, an
     individual, Allie Beyer, an individual, Johnny
  27 Murphy, an individual, Sharon Young, an
     individual, Kali Massey, an individual,
  28 Michael Goldstein, an individual, Jennifer

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   1 Toy, an individual, Kathy James, an
     individual, Vivian Mooers, an individual, Art
   2 Faelnar, an individual, Nidia Montoya, an
     individual, Daniel Wimberly, an individual,
   3 Bessie Brisco, an individual, Lucero Villa, an
     individual, Maria Brooks, an individual,
   4 Krzysztof Zachara, an individual, Shane
     Campbell, an individual, Freddy Juarez, an
   5 individual, William Deacon, an individual,
     Adrian Saldana, an individual, Nathan Gotten,
   6 an individual, Marissa Smith, an individual,
     Tyler Varela-Rivas, an individual, Manuel
   7 Rodriguez, an individual, Sandra Henderson,
     an individual, Marissa Mangold, an individual,
   8 Greg Prodigalidad, an individual, Martin
     Ackerson, an individual, William Sanchez, an
   9 individual, Marcus David, an individual, Cindi
     Metzger, an individual, John Bohen, an
  10 individual, Fernando Hernandez, an
     individual, Juanita Kennedy, an individual,
  11 Alfredo Felix, an individual, Tyler Ridge, an
     individual, Susan Tran, an individual, David
  12 Rayford, an individual, George Love, an
     individual, Dominique Powell, an individual,
  13 Anthony Graham, an individual, Eric Bianco,
     an individual, Miguel Rodriguez, an
  14 individual, Maribeth Harder, an individual,
     Jessica Calhoun, an individual, Matt
  15 Gruenwald, an individual, Sydney Zubeck, an
     individual, Jjimmie Gibbs, an individual, Rich
  16 Cafferkey, an individual, Timothy Weaver, an
     individual, Joanna Ammons, an individual,
  17 Kathie Swibaker, an individual, Paul Aguilar,
     an individual, Thomas Rees, an individual,
  18 Eric Piotrowski, an individual, Mark Messina,
     an individual, William Midgett, an individual,
  19 Anthony Willis, an individual, Murad Abu
     Hannoun, an individual, Gina Sangricoli, an
  20 individual, Ann Wright, an individual,
     Evangeline Lee, an individual, Bob Berg, an
  21 individual, Michelle Mitchell, an individual,
     Jean Macaluso, an individual, Kalena Bush, an
  22 individual, Ryan Hengel, an individual,
     Jacklyn Walker, an individual, Hale Knox, an
  23 individual, Karen Grano, an individual,
     Rabecca Broschat, an individual, Annette
  24 Vodola, an individual, Denise Anderson
     Mckay, an individual, Victor Varney, an
  25 individual, Sean Weerasinghe, an individual,
     Ray Covert, an individual, Elmer Orpilla, an
  26 individual, Carroll Montague, an individual,
     Delbert Hobson, an individual, Scott Adams,
  27 an individual, Linda Calvin, an individual,
     Shenise Mcknight, an individual, Cathy
  28 Abraham, an individual, Nick Loya, an

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   1 individual, Steven Polgar, an individual, Isaiah
     Robinson, an individual, Mike Sizemore, an
   2 individual, Tanisha Metcalf, an individual,
     Miguel Morales, an individual, Mary Hickey,
   3 an individual, Vishal Shah, an individual,
     Robert Hughes, an individual, Paris Gardner,
   4 an individual, Dana Lamb, an individual,
     Russel Savage, an individual, Donna Paul, an
   5 individual, Rickie Parks, an individual,
     Chantelle Adu-Berkoh, an individual, Rosa
   6 Casillas, an individual, Lance Groff, an
     individual, Tim Burman, an individual,
   7 Demetra Doss, an individual, Steve Chavez, an
     individual, Antwain Allen, an individual,
   8 Krystol Lamar, an individual, Marko
     Trajkovikj, an individual, Tina Cox, an
   9 individual, Adriana Montiel, an individual,
     Jorge Guzman, an individual, Larry Murphy,
  10 an individual, Connie Brown, an individual,
     Nicole Gomez, an individual, Kevin Rea, an
  11 individual, Patricia Hernandez, an individual,
     Caroline Garcia, an individual, Toya Kilgore,
  12 an individual, Maryjo Lawson, an individual,
     Kim Hands, an individual, Patrick Foley, an
  13 individual, Patricia Angenbroich, an
     individual, Billy Weeks, an individual,
  14 Danielle Davis Tucker, an individual, Ricardo
     Robledo, an individual, Pedro Rosas, an
  15 individual, Tequila Edwards, an individual,
     Andres Valdes, an individual, Griffin Jane, an
  16 individual, Ann Marie Yadegar, an individual,
     Nicole Diaz, an individual, Sylvia Nabong, an
  17 individual, Christina Buenaventura, an
     individual, Rokicki Brittney, an individual,
  18 Theresa Gould, an individual, William Powers,
     an individual, Dana Holgerson, an individual,
  19 Kristen Koerber, an individual, Delores
     Franks, an individual, Christopher Toney, an
  20 individual, Robert Kim, an individual, Jeremy
     Mccoy, an individual, Cynthia Conlin, an
  21 individual, Justin Thomas, an individual,
     Maurice Andrews, an individual, Marc Lee, an
  22 individual, Sydney Sabino, an individual,
     Sharon Brown, an individual, Elizabeth Luna,
  23 an individual, Nicholas Bowron, an individual,
     Jared Coleman, an individual, Jamul Jones, an
  24 individual, Ruchard Krieg, an individual,
     Nathaniel Joseph, an individual, Timothy
  25 Viane, an individual, Richard Goldberg, an
     individual, Moore Jeanette, an individual,
  26 Erma Johnson, an individual, Kimberley Gaul,
     an individual, Katherine Johnson, an
  27 individual, Sara Fiene, an individual, Michael
     Hirsch, an individual, Richard Schlosser, an
  28 individual, Veronica Drantz, an individual,

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   1 Merelene Deo Chand, an individual, John
     Fremont, an individual, Michael Holcomb, an
   2 individual, Bianca Rizzo Gatto, an individual,
     Gretchen Fehling, an individual, Dean
   3 Steinbrenner, an individual, Elia Cervantes, an
     individual, Wendy Steinberg, an individual,
   4 Byerley Janna, an individual, Susan Gonzalez,
     an individual, Joycelyn Peete, an individual,
   5 Wallace Hudson, an individual, Christine
     Borovoy, an individual, Robert Hughes, an
   6 individual, Jacqueline Nitti-Silva, an
     individual, Edward Swiebocki, an individual,
   7 Aldena Beisen, an individual, Terry Boyd, an
     individual, Daniel Warner, an individual,
   8 Echols Sandra, an individual, Nicole Marte, an
     individual, Mary Kalafut, an individual,
   9 Steven Keca, an individual, Jerry Upchurch,
     an individual, Gary Klavans, an individual,
  10 Deborah Lindsey, an individual, Marilyn Gant,
     an individual, Sheila Chartier, an individual,
  11 Nicole Parrini, an individual, Reginald
     Woolston, an individual, Walter Ratajczak, an
  12 individual, Cole Leslie, an individual, Sharon
     Carwell, an individual, Penni Russell, an
  13 individual, Alan Dascottr, an individual, Alana
     Hannant, an individual, Mitchell Cottrell, an
  14 individual, Tonya Green, an individual,
     Teneka Shelton, an individual, Vladislav
  15 Jurenka, an individual, Townes Coates, an
     individual, Jeff Johnson, an individual, Tracy
  16 Knight, an individual, Carol Fritzgerald, an
     individual, Sharon Burgs, an individual, John
  17 Tenenbaum, an individual, Maria Yaou, an
     individual, Towanda Bell, an individual, Julie
  18 Clarke, an individual, Michael Atkinson-Leon,
     an individual, David Phorasavong, an
  19 individual, Gloria Miles, an individual, Susan
     Brook, an individual, Tiffany
  20 Scharringhausen, an individual, Debra Knight,
     an individual, Sandy Selesky, an individual,
  21 Elroy Johnson, an individual, Eric Pate, an
     individual, Regina Kelly, an individual, Brian
  22 Factor, an individual, Tanya Ray, an
     individual, Angel Collazo, an individual,
  23 Tammy Mcfeely, an individual, Patricia
     Medina, an individual, Demerette Kee, an
  24 individual, Marylou Obos, an individual,
     Olufunmilayo Ashiru, an individual, Ande
  25 Wegner, an individual, Eboney Bell, an
     individual, David Felix, an individual, Elbert
  26 Jordan, an individual, Shelby Peters, an
     individual, John Farringer, an individual,
  27 David Cassiere, an individual, Jerry Coonrod,
     an individual, Sandra Carcione, an individual,
  28 Dollicia Bell, an individual, Jose Gonzalez, an

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   1 individual, Michael Rose, an individual, Kecia
     Gaines, an individual, Tiffany Kilgore, an
   2 individual, Michelle Viruet, an individual,
     Deborah Taylor, an individual, Gundars
   3 Simanis, an individual, Frank Hauser, an
     individual, Mike Bowen, an individual, Shawn
   4 Passwater, an individual, Kari Meyer, an
     individual, Dawn Werner, an individual,
   5 Rachel Brauer, an individual, Rico Camacho,
     an individual, Len Faltin, an individual, Mark
   6 Moreno, an individual, Crystal Weatherspoon,
     an individual, Lois Dickens, an individual,
   7 Marcy Lucchesi, an individual, Patrick Ramos,
     an individual, Rico Adams, an individual,
   8 Pamela Purl, an individual, Eric Willis, an
     individual, Melinda Caudillo, an individual,
   9 Holly Grover, an individual, Rachel Galvin, an
     individual, Arturo Aragon, an individual,
  10 Jeanclaude Lominy, an individual, Candace
     Davis, an individual, Ryan Wasney, an
  11 individual, Yolanda Coler, an individual,
     Lasheena Williams, an individual, Amanda
  12 Anderson, an individual, Ann Mitchell, an
     individual, Kaavir Ramirez, an individual,
  13 Alan Wolmer, an individual, Kathleen Garcia,
     an individual, Jorge Pedroza, an individual,
  14 Glen Hamel, an individual, Dehlia
     Williamson, an individual, Mary Abegg
  15 Sanchez, an individual, Debra Kuen, an
     individual, Mary Young, an individual,
  16 Deborah Delaney, an individual, Tracy
     Hartley, an individual, Randall Licht, an
  17 individual, Donna Cox, an individual, Melissa
     Calvano, an individual, Paul Cohen, an
  18 individual, Kathy Mccloud, an individual,
     Garret Ambrosio, an individual, William
  19 Macgregor, an individual, Alexandra
     Camacho, an individual, Teresa Fajardo, an
  20 individual, Cathy Jackson, an individual,
     Jeffrey Chien, an individual, Wendy Waits, an
  21 individual, Stephen Alfon, an individual,
     Debbie Wilferling, an individual, Victor
  22 Castillo, an individual, Stephen Dobbins, an
     individual, Robert Evans, an individual,
  23 Howard Clark, an individual, Carol Weinberg,
     an individual, Alejandra Quiroz, an individual,
  24 Gary Allen, an individual, Paul Meyser, an
     individual, Patricia Jackson, an individual,
  25 Scott Gibson, an individual, Dee Kresge, an
     individual, Bob Vannini, an individual,
  26 Laurence Faulks, an individual, Janice Cope,
     an individual, Max Daniels, an individual,
  27 Debra Hill, an individual, Suzanne Guzman,
     an individual, Ninous Beitashour, an
  28 individual, Stephanie Seeley, an individual,

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   1 Linda Haworth, an individual, Lance Dalgart,
     an individual, Carlos Herrera, an individual,
   2 Mark Jones, an individual, Marjorie
     Heddinger, an individual, Samuel Brown, an
   3 individual, Jason Husted, an individual, Diane
     Richmond, an individual, Kathie Calhoun, an
   4 individual, Gisela Saenz, an individual, Denise
     Reed, an individual, Brian Oltman, an
   5 individual, Michael Stadie, an individual,
     Jovana Lloyd, an individual, Willie Davis, an
   6 individual, Stephen Ferri, an individual, Patti
     Mcdonald, an individual, Chris Higham, an
   7 individual, Norman Deorian, an individual,
     Cheryl Thomas, an individual, Douglas
   8 Mercer, an individual, Lydia Micheli, an
     individual, Lena Campos, an individual, Lisa
   9 Bernal, an individual, Sharon Peterson, an
     individual, Nick Burchett, an individual,
  10 Sharon Gonzalez, an individual, Erica Jones,
     an individual, Michael Callahan, an individual,
  11 Christian Melanese, an individual, Jose Del
     Campo, an individual, Melissa Del Rosario, an
  12 individual, Osvaldo Alvarado, an individual,
     Alana Jelinek, an individual, Suzanne Sule, an
  13 individual, Lissa Gates, an individual,
     Frederick Reckeweg, an individual, Kimberly
  14 Sinclair, an individual, Nikki Dohn, an
     individual, Ursula Zamora, an individual,
  15 Angela King, an individual, Susan Galvan, an
     individual, Dennis Devilbiss, an individual,
  16 Robert Larson, an individual, Steven Boehm
     Boehm, an individual, Amy Hart, an
  17 individual, Amanda Yancy, an individual,
     Sandra Roller, an individual, Chelsea Loke, an
  18 individual, Frank Tucci, an individual, Cheryl
     Norton, an individual, Angelica Shatokin, an
  19 individual, Kenneth Sullivan, an individual, J
     Conavay, an individual, Zeid Nasser, an
  20 individual, Susie Abboud, an individual,
     Christopher Heron, an individual, John
  21 Schmidt, an individual, Jane Litman, an
     individual, Ricky Eck, an individual, Michael
  22 Betzag, an individual, Jacquelyn Donahue, an
     individual, Scott Binder, an individual, Joann
  23 Reeves, an individual, Penny Mores, an
     individual, Diane Phillips, an individual,
  24 Jimmie Hale, an individual, Joyce Beasley, an
     individual, Jill Barnett, an individual, Ellany
  25 Lawrence, an individual, Constance Adler
     Galloway, an individual, Wendy Vasquez, an
  26 individual, Brian Alsup, an individual, Ken
     Goetz, an individual, Cheryl Scaccio, an
  27 individual, Amy Stone, an individual, Kim
     Nunn, an individual, Annemarie Ruitenbach,
  28 an individual, Chitika Hemphill, an individual,

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   1 Lisbeth Deforest, an individual, Stephanie
     Smith, an individual, Philip Searby, an
   2 individual, Eduardo Moreno, an individual,
     Readus Sago, an individual, Karen Schmidtke,
   3 an individual, Brian Favia, an individual, Dana
     Bradford, an individual, Monique Blake, an
   4 individual, Curtis Revak, an individual, Gilbert
     Tisdale, an individual, Adam Bitterman, an
   5 individual, Roy Rumaner, an individual, Tim
     Smith, an individual, Karen Hight, an
   6 individual, Valerie Gordon, an individual, Tim
     Burgess, an individual, Robert Oliver, an
   7 individual, Cheryl White, an individual,
     Michael Burns, an individual, Susan Slaughter,
   8 an individual, Amanda Quayle, an individual,
     Melissa Poly, an individual, Maria Haro, an
   9 individual, Martin Miller, an individual, Jason
     Gadacz, an individual, Eric Hughes, an
  10 individual, Jolynne Lewis, an individual,
     Miranda Snyder, an individual, Vaughn
  11 Buxton, an individual, Dianaloo Farmer, an
     individual, Toneshia Scales, an individual,
  12 Adam Bente, an individual, Sandra Lawrence,
     an individual, Debbie Gasaway, an individual,
  13 Harlow Cisco, an individual, Norman Milsner,
     an individual, Hamisi White, an individual,
  14 Frank Fales, an individual, Eddie Smith, an
     individual, Julianne Camello, an individual,
  15 Takesia Sanford, an individual, John Raya, an
     individual, Mark Netzel, an individual, Diane
  16 Cizunas, an individual, Mark Ackerman, an
     individual, Lisa Kaysinger, an individual,
  17 Kylie Nyboer, an individual, Danielle Emick,
     an individual, Dan Berry, an individual,
  18 Leilena Jones, an individual, James Reddish,
     an individual, Lorraine Rowe, an individual,
  19 Catherine Watt, an individual, Stu Oster, an
     individual, Ah Lan Ferrara, an individual,
  20 Stacie Pendleton, an individual, Andy Arden,
     an individual, Caroline Pegueros, an
  21 individual, Kimberlee Black, an individual,
     Teressa Kohman, an individual, Whui Kim, an
  22 individual, Canda Gray, an individual, Justin
     Cooper, an individual, Tammie Knight, an
  23 individual, Haller Norma, an individual,
     Patricia Thomas, an individual, Jay Romick,
  24 an individual, Michael Smith, an individual,
     Christian West, an individual, Diana Brooks,
  25 an individual, Salazar Daniel, an individual,
     Arash Shamsian, an individual, Fran Long, an
  26 individual, Suzette Wilder, an individual,
     Warren Lamb, an individual, Brenda
  27 Anderson, an individual, Patricia Birdsall, an
     individual, Rachel Nguyen, an individual, Lisa
  28 Pena Humes, an individual, Kevin Robinson,

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   1 an individual, Murray Schechter, an
     individual, Corinne Andreano, an individual,
   2 Carol Novak, an individual, John Tarjavaara,
     an individual, Mercedes Gonzalez, an
   3 individual, Allen Wone, an individual, Kelly
     Manke, an individual, Susan Digianfilippo, an
   4 individual, Craig Renner, an individual, John
     Lund, an individual, Carol Maidlow, an
   5 individual, Rodney Sloan, an individual, Lea
     Sims, an individual, Abu Omar, an individual,
   6 Jim Policastro, an individual, Chrystal Caudle,
     an individual, Tammi Kellenberger, an
   7 individual, Aubrey Tanciangco, an individual,
     Bernadette Bitanga, an individual, Pam
   8 Martinez, an individual, Jan Bedell, an
     individual, Aimee Pavek, an individual, Chaka
   9 Theus, an individual, Hijinia Guerrero, an
     individual, Patrick Musni, an individual,
  10 Gilberto Pantoja, an individual, Patty
     Justiniano, an individual, Jeffrey Green, an
  11 individual, Cheri Roe, an individual, Leonard
     Bednarczyk, an individual, Frances Murray, an
  12 individual, Diane Jackson, an individual,
     Michelle Victory, an individual, Eileen Del
  13 Rosario, an individual, Erwin Hildenbrand, an
     individual, Richard Ernst, an individual,
  14 Melinda Jackson, an individual, Michelle
     Arellano, an individual, Bradley Lavalley, an
  15 individual, Julie Stasko, an individual, John
     Parkhurst, an individual, Rick Slansky, an
  16 individual, Romell Eggleston, an individual,
     Christy Broccardo, an individual, Jose
  17 Gonzalez, an individual, William Bell, an
     individual, Sacha Mercado, an individual,
  18 Margaret Grady, an individual, Elvira Castillo,
     an individual, Frederick Zubrin, an individual,
  19 Billy Woody, an individual, Joy Baynes, an
     individual, John Lewis, an individual, Eric
  20 Moreno, an individual, Mike Reyes, an
     individual, Marcella Pena, an individual, Betty
  21 Deconter, an individual, Karen Nash, an
     individual, Randy Lancaster, an individual,
  22 Bradford Patrice, an individual, Alan
     Swinford, an individual, Carson Tang, an
  23 individual, Rachel Rivera, an individual,
     Bryan Boone, an individual, Tom Harper, an
  24 individual, Sarah Kirk, an individual, Rebecca
     Dutton, an individual, James Domsic, an
  25 individual, Anabel Rodriguez, an individual,
     Daniel Tafolla, an individual, George Masny,
  26 an individual, Frank Lescrinier, an individual,
     Steve Griffith, an individual, Heather Hierl
  27 Weimer, an individual, Rebecca Huerta, an
     individual, Greg Edelson, an individual,
  28 Wendy Fosnaugh, an individual, Daniel

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   1 Moore, an individual, John Davis, an
     individual, Frederick Davis, an individual,
   2 Erin Mcraith, an individual, Daniela Kreidler,
     an individual, Jimmy Sutton, an individual,
   3 Porter Katherine, an individual, Richard
     Wiseman, an individual, Jeanette Hale, an
   4 individual, Rene Lundy, an individual, Vonnie
     Dawson, an individual, Lonnie Hiatt, an
   5 individual, Jose Hernandez, an individual,
     Robin Chrusniak, an individual, Susan
   6 Gallardo, an individual, Linda Siriano, an
     individual, Julie London, an individual, Emily
   7 Dupree, an individual, Danny Abbott, an
     individual, David Colbert, an individual,
   8 Michael Harvey, an individual, Lynne Schick,
     an individual, Kevin Brown, an individual,
   9 Richard Dwyer, an individual, Evelyn
     Blizzard, an individual, Strassalyn Ayuba, an
  10 individual, Justin Patt, an individual, Jennifer
     Smith, an individual, Dennis Gross, an
  11 individual, Bob Madura, an individual, Scott
     Morgan, an individual, Shawna Hook, an
  12 individual, Mike King, an individual, Gloria
     Ana Ramirez, an individual, John Woodruff,
  13 an individual, Elliott Eubank, an individual,
     Kathleen Thomas, an individual, Bill
  14 Henshaw, an individual, Leeandra Brocker, an
     individual, Donna Ball, an individual, Ariana
  15 Clayton, an individual, Leslie Wilson, an
     individual, Fred Orr Jr, an individual, Mary
  16 Margaret Hudak, an individual, Victor De
     Grande, an individual, Traci Priest, an
  17 individual, Alan Maxwell, an individual,
     Dolores Gay, an individual, Robert Trujillo, an
  18 individual, Vivian Fernandez, an individual,
     Sandra Harmon, an individual, Aaron
  19 Campbell, an individual, Adly Pozas, an
     individual, Allen Heinen, an individual, Arthur
  20 Okeeffe, an individual, Robert Martz, an
     individual, James Wheeler, an individual, Julie
  21 Drake, an individual, Michael Mccluskey, an
     individual, Steven Simanonok, an individual,
  22 Maureen Goff, an individual, Melissa Flint, an
     individual, Celeste Bemoras, an individual,
  23 Robert Miller, an individual, Yolanda Gagne,
     an individual, Angel Arriaga, an individual,
  24 Mary Barrow, an individual, Mike Mccallum,
     an individual, Albert Jones, an individual,
  25 Esmeralda Cardenas, an individual, Linda
     Thompson, an individual, Donna Brooks, an
  26 individual, Nicole Morales, an individual,
     Donna Shore, an individual, Patricia Misso, an
  27 individual, Jose Osuna, an individual, Adrian
     Macias, an individual, George Duty, an
  28 individual, Joseph Lopez, an individual,

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   1 Chessie Delaney, an individual, Leslie Riggs,
     an individual, David Quimby, an individual,
   2 Frank Vigneri, an individual, Alisha
     Alexander, an individual, Sylvia Madden, an
   3 individual, John Zwierzko, an individual,
     Kenneth Pulliam, an individual, Davie Cabral,
   4 an individual, Kathe Burkhart, an individual,
     Shawn Kulich, an individual, Scott Szydzik,
   5 an individual, Siegmund Baklarz, an
     individual, Luis Munoz, an individual, Theresa
   6 Drust, an individual, Ernest Nixon, an
     individual, Paul Norman, an individual,
   7 Melissa Magallanes, an individual, Judy
     Witasik, an individual, Melody Centonze, an
   8 individual, Christie Locascio, an individual,
     Roanne Pallasigui, an individual, Sue
   9 Dudowitz, an individual, Kristen Hejnal, an
     individual, Zach Wylie, an individual, Amanda
  10 Westrich, an individual, David Felker, an
     individual, Gordon Anderson, an individual,
  11 Julia Lamas, an individual, Brooke Bingaman,
     an individual, Deborah Herrera, an individual,
  12 John Merrill, an individual, Michael Keblusek,
     an individual, Susan Odaffer, an individual,
  13 Miguel Contreras, an individual, Tony
     Armalis, an individual, Zack Carrera, an
  14 individual, Katrina Brown, an individual,
     Chadd Creed, an individual, Justin Storer, an
  15 individual, Leticia Ramirez Artiaga, an
     individual, Gina Garcia, an individual, Joan
  16 Dimaio, an individual, Ryan Stephen, an
     individual, Janet Gibbs, an individual,
  17 Veronica Ramirez, an individual, Frank
     Sotelo, an individual, Fabian Marquez, an
  18 individual, Kristin Zimmerman, an individual,
     Mike Peters, an individual, Joshua Goldberg,
  19 an individual, Anthony Caceres, an individual,
     Alexandria Hill, an individual, Theresa
  20 Derfuss, an individual, Perri Davis, an
     individual, Chanell Davis, an individual, Art
  21 Wood, an individual, Timothy Mancini, an
     individual, Reginald Mcafee, an individual,
  22 Kevin Gwartney, an individual, Nick
     Angilello, an individual, Evert Ortega, an
  23 individual, Sharon Barker Tubbs, an
     individual, Jaime Ryan, an individual, Derek
  24 Vanwinkle, an individual, Katie Birchfield, an
     individual, Christina Dorato, an individual,
  25 David Arnson, an individual, Debra Tapia, an
     individual, Kim Mandichak, an individual,
  26 Terry Saberhagen, an individual, Cj Benbrook,
     an individual, Tiffanie Williams, an individual,
  27 Lisa Wicker, an individual, Kim Serani, an
     individual, Robert Wing, an individual, Norm
  28 Halbert, an individual, Winston Chavoor, an

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   1 individual, Gary Peterson, an individual,
     Barbara Mcdermott, an individual, Ramona
   2 Ali, an individual, Paul Cynkar, an individual,
     Adella Spencer, an individual, Kaitlyn Kelly,
   3 an individual, Jerry Hefley, an individual, Bill
     Griffin, an individual, Amanda Carney, an
   4 individual, Caesar Snee, an individual, Donald
     Forgy, an individual, Ashley Erickson, an
   5 individual, Danny Boswell, an individual,
     Jeremy Neimand, an individual, Janina Bias,
   6 an individual, Donna Cerro, an individual, Bob
     Sharpe, an individual, Evelyn Radcliffe, an
   7 individual, John Borders, an individual, David
     Pires, an individual, Alice Dortch, an
   8 individual, Sam Davis, an individual, Brian
     Powell, an individual, Annette Cady, an
   9 individual, Connie Tolefree, an individual,
     Steven Stecher, an individual, Paul
  10 Wasserman, an individual, Kristin Sanchez, an
     individual, Jessica Jolson, an individual,
  11 Michael Schofield, an individual, Robert
     Hefley, an individual, Dana Garlington, an
  12 individual, Andrew Coronado, an individual,
     Rick Cervarich, an individual, Vance Hallman,
  13 an individual, Carollee Rivera, an individual,
     Michael Lock, an individual, Sandy Adams, an
  14 individual, Jasmine Young, an individual,
     Misty Robles, an individual, Laura Simmons,
  15 an individual, Gretchen Trejo, an individual,
     Michelle Mccalister, an individual, Antoinette
  16 Carter, an individual, Herbert Huey, an
     individual, Gina Garcia, an individual, Reema
  17 Khan, an individual, Lonnie Briggs, an
     individual, Sebastian Romeo, an individual,
  18 Timothy Winthers, an individual, Stephen
     Goldhorn, an individual, Tom Moore, an
  19 individual, Glenn Maddock, an individual,
     Lennea La Hommedieu, an individual,
  20 Madeleine Rogow, an individual, Vernon
     Porter, an individual, Jon Evans, an individual,
  21 Terri Welch, an individual, Anthea Smith, an
     individual, Jason Williamson, an individual,
  22 Walter Macie, an individual, Sharon Herrera,
     an individual, David Williams, an individual,
  23 Deborah Morris, an individual, Denese
     Stthomas, an individual, Esther Torresulloa, an
  24 individual, Alissa Joseph, an individual,
     Alfreda Phillips, an individual, Fernando
  25 Garcia, an individual, Joel Dinovo, an
     individual, John Greggs, an individual, Roger
  26 Bubel, an individual, Richard Friedlander, an
     individual, Fernando Delgadillo, an individual,
  27 Charles Jedlicka, an individual, Teena Riley,
     an individual, George Kresse, an individual,
  28 Chuck Shepherd, an individual, Yvette

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   1 Afflerbaugh, an individual, Jeff Ravenscraft,
     an individual, Mary Bateman, an individual,
   2 Robert Oliver, an individual, Warren Bjork, an
     individual, Adriana Martinez, an individual,
   3 Laura England, an individual, Somer Lowery,
     an individual, Julie Hart, an individual,
   4 Spencer Kayden, an individual, Robert
     Hamilton, an individual, Paul Kopilak, an
   5 individual, James Macpherson, an individual,
     Adam Iannazzo, an individual, Natalie
   6 Zimmerman, an individual, Michael Williams,
     an individual, Irene Mendoza, an individual,
   7 Luis Delgado, an individual, Lauren Anderson,
     an individual, Sonia Williams, an individual,
   8 Tara Brown, an individual, Bruce Cohen, an
     individual, Rochelle Hayes, an individual, Luis
   9 Correa, an individual, Abbey Austin-Wood, an
     individual, Delores Navarro, an individual,
  10 Bill Lewis, an individual, Detra Thompson, an
     individual, Meghan Fisher, an individual,
  11 Kevin Bradley, an individual, Lillian Harris,
     an individual, Carolyn Rogers, an individual,
  12 Raven Jeffries, an individual, Arthur Fisk, an
     individual, Gretchen Clifford, an individual,
  13 Kimmy Mcdaniel, an individual, Mark Fabela,
     an individual, Anna Watrous, an individual,
  14 Ignacio Menendez, an individual, Letty
     Guttilla, an individual, Shannon Jeralds, an
  15 individual, Stephen Monk, an individual,
     Howard Peter Brody, an individual, Heather
  16 Bush, an individual, Michael Portalatin, an
     individual, Diana Cruze, an individual, Ted
  17 Coopersmith, an individual, Paul Clem, an
     individual, Sandra Aguilar, an individual,
  18 Barbara Dube, an individual, Jacqueline
     Johnson, an individual, Jeffrey Lauritzen, an
  19 individual, Richard Moody, an individual,
     Peter Levakis, an individual, Hilary Howard,
  20 an individual, Kim Victor, an individual,
     Walter Viteri, an individual, Nicole Branch, an
  21 individual, Scott Otsuka, an individual, Renee
     Vetter, an individual, Lisa Herron, an
  22 individual, Richard Clark, an individual, Doug
     Alton, an individual, Steven Martin, an
  23 individual, Derek Esparza, an individual,
     Rhonda Conley, an individual, Talia Oropeza,
  24 an individual, Derrick Posner, an individual,
     Eli Kuo, an individual, Noel Aispuro, an
  25 individual, Sandra Abernathy, an individual,
     Gajewski Cynda, an individual, Michael
  26 Termine, an individual, Hiram Aguilera, an
     individual, Olivia Pittman, an individual,
  27 Jayson Sandoval, an individual, Steven Wise,
     an individual, Lucy Cordero, an individual,
  28 Cindy Wong, an individual, Laura Brown, an

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   1 individual, Tg Lawson Iii, an individual,
     Robert Emerick, an individual, Gary
   2 Washington, an individual, Robert Staup, an
     individual, David Pask, an individual, Matt
   3 Mellon, an individual, Erin Pellot, an
     individual, Judith Davis, an individual, Faith
   4 Holland, an individual, Alison Erbetta, an
     individual, Thomas Miller, an individual,
   5 Jessica Serrano, an individual, Connie Peart,
     an individual, Eddie Galloway, an individual,
   6 Maria Lauro, an individual, Stacey Dick, an
     individual, Robin Cutler, an individual, Margo
   7 Schullerts, an individual, Alfredo Cunanan, an
     individual, Eyvonne Galloway, an individual,
   8 Kathryn Ploss, an individual, John Burke, an
     individual, Carl Willat, an individual, Erica
   9 Beveridge, an individual, Todd Mitchell, an
     individual, Amber Linnell, an individual,
  10 Wendi Rodney, an individual, Roderick
     Billingsley, an individual, Pete Fields, an
  11 individual, Natalie George, an individual,
     Marietta Falk, an individual, Ann Wenzell, an
  12 individual, Stanley Vossler, an individual,
     John Eccleston, an individual, Grace Reyes, an
  13 individual, Cindy An, an individual, Arthur
     Degennaro, an individual, Dina Kimbrough, an
  14 individual, Zach Johnson, an individual,
     Richard Sandona, an individual, Angela
  15 Hutcheson, an individual, Lora Duncan, an
     individual, Harlan Lawler, an individual,
  16 Edward Padilla, an individual, Janet Litton, an
     individual, Kevin Lewis, an individual, Danute
  17 Mazeika, an individual, Tracy Clark, an
     individual, Bill Hartman, an individual, Sue
  18 Caico, an individual, Russell Dilillo, an
     individual, Mala Dhillon, an individual,
  19 Katherine Drouin-Keith, an individual, Laura
     Green, an individual, Michael Bailin, an
  20 individual, James Greenwood, an individual,
     Malika Sanders, an individual, Judith
  21 Chapman, an individual, Ronald Matthias, an
     individual, Ramona Swift, an individual,
  22 Laurel Debello, an individual, Maria Sandoval,
     an individual, Yohan Isaac, an individual,
  23 Charles Sellman, an individual, Kathleen
     Maxian, an individual, Lynette Freeman, an
  24 individual, Dennis Sidoti, an individual, Ann
     Noel, an individual, Pamela Coleman, an
  25 individual, Michael Lopes, an individual, Kurt
     Nicolai, an individual, Timothy Conway, an
  26 individual, Lisa Lakritz, an individual, Alyssa
     Sepulveda, an individual, Lita Theodore, an
  27 individual, Jane Pannell, an individual,
     Gricelda Chavez, an individual, Wane
  28 Webber, an individual, William Keegan Jr, an

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   1 individual, John Cordogan, an individual,
     Krista Robles, an individual, Steven Dewoody,
   2 an individual, Eduardo Rico, an individual,
     Anthony Rotella, an individual, Latonia
   3 Hoskins, an individual, J K Thomasser, an
     individual, Brittney Mouw, an individual,
   4 Suzanne Mccombs, an individual, Myron
     Porter, an individual, Richard Kanatzar, an
   5 individual, William Quinn, an individual,
     Jesus Castillo, an individual, Anthony Paiva,
   6 an individual, Tara Robertson, an individual,
     Latonia Newton, an individual, Debra
   7 Mccormick, an individual, Bee Vongphakdy,
     an individual, William Hegarty, an individual,
   8 Nik Lozano, an individual, Robert Reichert, an
     individual, Chrystal Bernasconi, an individual,
   9 Phyllis Hong, an individual, Mark Filcich, an
     individual, Kathie Oconnor, an individual,
  10 Karry Kleemann, an individual, Angelo
     Logrande, an individual, David Libert, an
  11 individual, Christine Poulsen, an individual,
     Edgard Entrala, an individual, Geovanni
  12 Alvarado, an individual, Maurice Calderon, an
     individual, Jeff Rodriguez, an individual,
  13 Katherine Macalma, an individual, David
     Williams, an individual, Daniel Mayeda, an
  14 individual, Joanne Simonson, an individual,
     Jessicz Leka, an individual, Amanda
  15 Rodriguez, an individual, Michael Skalon, an
     individual, Greg Williams, an individual, Julie
  16 Vad, an individual, Gloria Knight, an
     individual, Philip Olszewski, an individual,
  17 Dean Miya, an individual, Deborah Moran-
     Villarreal, an individual, Christine Scadina, an
  18 individual, Shawn Blethen, an individual,
     Francis Mateo, an individual, Greg Fung, an
  19 individual, Jeffery Lindsay, an individual,
     Farimah Mcharo, an individual, Roman
  20 Villapando, an individual, Rex Thornhill, an
     individual, Erica Gonzalez, an individual,
  21 William Combs, an individual, Kim Lawson,
     an individual, Jessica Plaut, an individual,
  22 Elizabeth Collins, an individual, Jim Shere, an
     individual, Michael Hastings, an individual,
  23 Tinnikie Atkins, an individual, Steven Rock,
     an individual, Mark Morales, an individual,
  24 Tamera Tanubagijo, an individual, Sean
     Patrick Lewis, an individual, Susan Campbell,
  25 an individual, Yvonne Vasquez, an individual,
     Eugenia Chen, an individual, Catharine
  26 Naughton, an individual, Delores Gilson, an
     individual, Jose Lopez, an individual, Charles
  27 Grey, an individual, Lope Yap Jr, an
     individual, Sue Trueblood, an individual,
  28 Connie Jones, an individual, Shana Hager, an

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   1 individual, Lynne Pieroni, an individual,
     Anthony Brucia, an individual, Steve
   2 Pearlman, an individual, Renee Thompson, an
     individual, Derek Proffitt, an individual,
   3 Angela Tomey, an individual, Larissa
     Rapadas, an individual, Jonathan Cart, an
   4 individual, Gary Eisenberg, an individual,
     Kent Colton, an individual, Ryan Weatherby,
   5 an individual, Fran Oglesby, an individual, Joy
     Voltenburg, an individual, Joan Thomas, an
   6 individual, Ray Beldner, an individual, Robin
     Lane, an individual, Brenda Morales, an
   7 individual, Raul Morales, an individual, Gail
     Levine, an individual, John Burgess, an
   8 individual, Daragh Bennett, an individual, Bill
     Poggensee, an individual, Shelley Shepherd,
   9 an individual, Terrie Silva, an individual,
     Mark Christensen, an individual, James
  10 Andriacchi, an individual, Jennifer Boukidis,
     an individual, Juan Torres, an individual, Lisa
  11 Wilkins, an individual, Alicia Rodriguez, an
     individual, John Miles, an individual, Derek
  12 Michaels, an individual, Kelly Mochel, an
     individual, Kelly Parker, an individual,
  13 Silverio Sanchez, an individual, Elena
     Hedderig, an individual, Lester Stamnas, an
  14 individual, Ann Keating, an individual, Trista
     Powers, an individual, Issa Spencer, an
  15 individual, Mauricio Hernandez, an individual,
     Carolina Valenciano, an individual, Victoria
  16 Patryn, an individual, Nicole Wyszynski, an
     individual, Christina Coughlin, an individual,
  17 Maurice Stroud, an individual, David
     Sommerfeld, an individual, Cuong Nguyen, an
  18 individual, Carlos Yanez, an individual,
     Michelle Adams, an individual, Amy Kendall,
  19 an individual, Ryan Malloy, an individual,
     Doug Williams, an individual, Gary Reitmeier,
  20 an individual, Rebecca Garcia, an individual,
     Annette Barnes, an individual, Eps Shrat, an
  21 individual, Szeredy Andrea, an individual,
     Angela Hughes, an individual, Theresa Scott,
  22 an individual, Tony Provancal, an individual,
     Nancy Reiter, an individual, Hannah
  23 Schulman, an individual, Amy Davis, an
     individual, Donald Adams, an individual,
  24 Carlos Gonzalez, an individual, Barbara
     Kenning, an individual, Lency Montgomery,
  25 an individual, Brigitte Robertson, an
     individual, Marvin Fishman, an individual,
  26 Marian Jacob, an individual, Anna Darosa, an
     individual, Susan Drabing, an individual,
  27 Karen Davidson, an individual, David Pinzolo,
     an individual, Rusty Allen, an individual,
  28 Shawna Weyrich, an individual, Cheryl Ames,

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   1 an individual, June Delane, an individual, Bill
     Hanna, an individual, Michael Smith, an
   2 individual, Mehdy Naitaki, an individual,
     David Pesola, an individual, Jeff Wong, an
   3 individual, Bernard Whalen, an individual,
     Susan Myers, an individual, Jana Sheehan, an
   4 individual, Danielle Labarre, an individual,
     Christine Hendrix, an individual, Brad Reisz,
   5 an individual, Becky Bataille, an individual,
     Theresa Henderson, an individual, Thomas
   6 Dooley, an individual, Tyndall Mun, an
     individual, Gloria Wroten, an individual,
   7 Jessica Sticklen, an individual, Stephanie
     Ochoa, an individual, Ashley Willinger, an
   8 individual, Shavasia Golden, an individual,
     David Pichon, an individual, Linda Novy, an
   9 individual, Fred Kinney, an individual, Blair
     Parker, an individual, Lynn Walker, an
  10 individual, Wes Wheadon, an individual, Liz
     Sampras, an individual, Louis Scaturro, an
  11 individual, Michele Finley, an individual, Pat
     Munson, an individual, William Wallace, an
  12 individual, Marc Seligman, an individual,
     Vanessa Alonzo, an individual, Catherine
  13 Manion, an individual, Ruth Mattison, an
     individual, Frank Zazanis, an individual, Neil
  14 Holman, an individual, Nancy Dolan, an
     individual, Chris Reiman, an individual, Victor
  15 Krumdick, an individual, Patrick Schneider, an
     individual, Dejuan Boyd, an individual,
  16 Gretchen Morales, an individual, Bill Fagan,
     an individual, Ted Pon, an individual, Priscilla
  17 Reyes, an individual, Anita Munoz, an
     individual, Ralph Ferri, an individual, Amanda
  18 Traxler, an individual, Rebecca Piper, an
     individual, Luz Padilla, an individual, Laurel
  19 Digangi, an individual, Kye Osti, an
     individual, Robert Zirgulis, an individual,
  20 Erica Stephenson, an individual, Peggy Pugh,
     an individual, Evelyn Salas, an individual,
  21 Shakeel Syed, an individual, Denise Stires, an
     individual, Gary Bell, an individual, Richard
  22 Miller, an individual, R Lee Jewell, an
     individual, Ayreanne Bordeaux, an individual,
  23 Linda Seibert, an individual, Erica Madden, an
     individual, Wayne Guzak, an individual, Diane
  24 Butler, an individual, Jill Frechette, an
     individual, Melissa Norton, an individual, Bill
  25 Nolan, an individual, Genevieve Brammeier,
     an individual, Jimmy Tran, an individual, Ron
  26 Jozaites, an individual, Lindsay Boyster, an
     individual, Luis Villavelazquez, an individual,
  27 Diana Rangel, an individual, Johnathan Stoor,
     an individual, Keith Hastings, an individual,
  28 Nate Bailey, an individual, Joel Holzman, an

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   1 individual, Nicole Duzy, an individual,
     Darlene Prescott, an individual, Kecia Bailey,
   2 an individual, Roland Ferrer, an individual,
     Nanci Oconnell, an individual, Tammy
   3 Cabrera, an individual, Allen Denni, an
     individual, Steven Rochester, an individual,
   4 Brian Swanson, an individual, Gregory
     Wroblewski, an individual, Julie Schrey, an
   5 individual, Judy Zeeb, an individual, Christine
     Jackowski, an individual, Beatriz Avendano,
   6 an individual, Orv Neconie, an individual,
     Katrina Condis, an individual, Simon
   7 Chaykler, an individual, Jessica Dambrose, an
     individual, Jeffrey Plaza, an individual, Daniel
   8 Kupper, an individual, Connie Owens, an
     individual, Judy Nast, an individual, Dennis
   9 Canfield, an individual, Christina Burlison, an
     individual, Alfred Garcia, an individual,
  10 Kimberly Schultz, an individual, Nick Jones,
     an individual, Susana Luna, an individual,
  11 Lawrence Kornit, an individual, Michael
     Austin, an individual, Amy Taiwo, an
  12 individual, Scott Beaver, an individual, Floro
     Munoz, an individual, Shukay Suzan, an
  13 individual, Mary Lopez, an individual, Ritesh
     Seth, an individual, Nopadol
  14 Chuaycharoensuk, an individual, Seth Roberts,
     an individual, Jenevieve Hayes, an individual,
  15 Justin Majzel, an individual, Margaret Blake,
     an individual, Daryl Marcott, an individual,
  16 Shelah Spiegel, an individual, Michael Brown,
     an individual, Diane Talbert, an individual,
  17 Craig Johnson, an individual, Scott Janus, an
     individual, Suzanne Lewis-Gregory, an
  18 individual, Nancy Alonzo, an individual,
     Juanita Bryant, an individual, Diane
  19 Mcpherson, an individual, Rudy Cendejas, an
     individual, Dave Yuen, an individual, Gary
  20 Whyte, an individual, Steve Lemire, an
     individual, Fernando Di Zitti, an individual,
  21 Antonio Mariano, an individual, Michael
     Padden, an individual, Nicole Henry, an
  22 individual, Gary Stansbury, an individual,
     Bruce Pleat, an individual, Erin King, an
  23 individual, Gabriel Lopez, an individual,
     Robert Tannenbaum, an individual, Merlita
  24 Felipe, an individual, Rainer Mueller, an
     individual, Enricque Williamson, an
  25 individual, Mike Chambers, an individual,
     Catherine Winnie, an individual, Jose
  26 Rodriguez, an individual, Kerrigan Weber, an
     individual, Linda Hyman, an individual,
  27 Jaycee Mcgee, an individual, Robert
     Jorgensen, an individual, Victoria Almaraz, an
  28 individual, Erick Bieger, an individual, Wylma

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   1 Harmon, an individual, Jay Leavelle, an
     individual, Emily Welker, an individual,
   2 Kristen Lick, an individual, Steven Payne, an
     individual, John Hipp, an individual, Julie
   3 Fair, an individual, Theresa Dolan, an
     individual, Kimberly Boltz, an individual,
   4 Yvonne Invergo, an individual, Darryl Cass,
     an individual, Jesse Estrada, an individual,
   5 Tina Casey, an individual, Matthew Stevens,
     an individual, Harv Bisla, an individual,
   6 Steven Koppany, an individual, Ruth Tyson,
     an individual, Frank Jang, an individual, John
   7 Journeay, an individual, Robert James, an
     individual, Charlotte Roberson, an individual,
   8 Kathy Pruitt, an individual, Garren
     Saccomano, an individual, Kevin Nguyen, an
   9 individual, Cleo Sisco, an individual, Susan
     Maki, an individual, Peter Rizzo, an
  10 individual, Corinne Jacob, an individual, Julie
     Hammond, an individual, Loni Cooper, an
  11 individual, Kimmie Jones, an individual,
     Robert Kirwan, an individual, Jarryl Anderson,
  12 an individual, Kathy Smolansky, an individual,
     Brian Burch, an individual, Ken Mcgowan, an
  13 individual, Gregory Okulove, an individual,
     Alexander Gonzalez, an individual, Eric
  14 Spillman, an individual, Scott Thompson, an
     individual, James Nelson, an individual,
  15 Catherine Bratton, an individual, Mark
     Jurczeski, an individual, Kristi Lewis, an
  16 individual, Michael Vink, an individual,
     Syledra Hart, an individual, Alexia Wilson, an
  17 individual, Judith Stein, an individual, Nicole
     Fuller, an individual, Tim Jacobson, an
  18 individual, Peter Janoff, an individual, Keith
     Eaddy, an individual, Eileen Cortez, an
  19 individual, Roger Williams, an individual,
     Shayla Rossignol-Smith, an individual, Rosa
  20 Cromwell, an individual, Broderick Baldwin,
     an individual, Stephanie Morris, an individual,
  21 Cynthia Vasquez, an individual, Michael
     Poole, an individual, Brian Altman, an
  22 individual, Cindy Wright, an individual, Paula
     Klein, an individual, Peter Yaya, an individual,
  23 Adrianna Trujillo, an individual, Susan Ballou,
     an individual, Geneva Wisnewski, an
  24 individual, Tamara Frazier, an individual,
     Shanika Starks, an individual, Catalina
  25 Duenas, an individual, Karla Tapia, an
     individual, Joann Pepperdine, an individual,
  26 Tena Huson, an individual, Jonathan Mintzer,
     an individual, Robert Denker, an individual,
  27 Maria Armijo, an individual, Lisa Williams, an
     individual, Kyle Shell, an individual, Barbara
  28 Sullivan, an individual, Elizabeth Mack, an

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   1 individual, Marvin Foster, an individual,
     Debbie Potter, an individual, Bob Ehrlich, an
   2 individual, Lucille Fincher, an individual,
     Richard Colorado, an individual, Michele
   3 Duggan, an individual, Carrie Spiro, an
     individual, Jennifer Garner, an individual,
   4 William Sussman, an individual, Deondre
     Bedgood, an individual, Andrew Thompson,
   5 an individual, Hecht Lauren, an individual,
     Thomas Joyce, an individual, Leo Yioupis, an
   6 individual, Linda Nguyen, an individual,
     Angela Morelli, an individual, Jeffrey Van
   7 Dam, an individual, Ashley Cohen, an
     individual, Robert Windham, an individual,
   8 Sarah Wilde, an individual, Karen Tolleson, an
     individual, Roger Jones, an individual, Robert
   9 Adams, an individual, Steve Aardappel, an
     individual, Eric Santillan, an individual, Mark
  10 Graves, an individual, Patti Morton, an
     individual, Dan Greenspan, an individual,
  11 Terry Johnson, an individual, Janis Luft, an
     individual, Karen Austin, an individual, Floyd
  12 Fenex, an individual, Cornelius Lewis, an
     individual, Jeff Ricker, an individual, Fanesha
  13 Fabre, an individual, Brad Draper, an
     individual, Lana Gartin, an individual, Sarah
  14 Yi, an individual, Brad Whitacre, an
     individual, Mary Prete, an individual, Susan
  15 Watson, an individual, Rick Quezada, an
     individual, Clarence Wilson, an individual,
  16 Angela Kirkwood, an individual, Maritza
     Cantu, an individual, Veronica Smith, an
  17 individual, Jacob Hancock, an individual,
     Jamila Banks, an individual, John Pearson, an
  18 individual, Maurizio Ursetta, an individual,
     Russell Lombardo, an individual, Karla
  19 Castro, an individual, Kristen Mcnelly, an
     individual, Benito Rios, an individual, Daniel
  20 Wozniak, an individual, David Clark, an
     individual, Kendra Cato, an individual, Ruth
  21 Tekeste, an individual, Manish Gupta, an
     individual, Jessica Ornelas, an individual,
  22 Janice Harris, an individual, Christina Jones,
     an individual, Mary Pankow, an individual,
  23 Jacqueline Boubion, an individual, Lisa
     Coney, an individual, Jeanette Vogt, an
  24 individual, Denisha Hawkins, an individual,
     Chester Barnhart, an individual, Teresa
  25 Stevens, an individual, Susannah Christopher,
     an individual, Raymond Chin, an individual,
  26 Carol Soriano, an individual, Beverly Fleer, an
     individual, Rosie Gonzales, an individual,
  27 Nichelle Weathers, an individual, Samnang
     Vang, an individual, Emily Citraro, an
  28 individual, Darlene Franco, an individual,

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   1 Zinnia Esqueda, an individual, Natalie Cole,
     an individual, John Santillano, an individual,
   2 Kim Kibler, an individual, Helen Aguilar, an
     individual, Roberta Quon, an individual, Tim
   3 Rathbone, an individual, Judy Madnick, an
     individual, Stephanie Smith, an individual,
   4 Denise Yarbrough, an individual, Roger Yoh,
     an individual, Peter Chen, an individual, Ken
   5 Coulter, an individual, Magdalena Barrera, an
     individual, Maria Ballesteros, an individual,
   6 John Cummings, an individual, Nancy
     Mcfadden, an individual, Edward Paul, an
   7 individual, Luis Ramirez, an individual,
     Lorena Pena, an individual, Norma Reyes, an
   8 individual, Mona Hodges, an individual,
     Anthony Alberts, an individual, Patricia
   9 Hallissey, an individual, Ruby Beltran, an
     individual, Kennith Mascheri, an individual,
  10 Gerri Entler, an individual, Debra Edwards, an
     individual, Carlos Lerma, an individual,
  11 Alexandria Torres, an individual, Lisa
     Donahue, an individual, Zeb Maclennan, an
  12 individual, Emmanuel Baez, an individual,
     Jaree Adams, an individual, Rosemp
  13 Marousek, an individual, David Ginsburg, an
     individual, Amanda Reasons, an individual,
  14 Scott Omori, an individual, Migdalia Rivera,
     an individual, Debbie Miller, an individual,
  15 Kenneth Smith, an individual, Paige Meyer, an
     individual, Carlos Perez, an individual,
  16 Christina Rescigno, an individual, Lydia
     Gomez, an individual, Cheryl Smith, an
  17 individual, Priscilla Marie Torres, an
     individual, Ginger Wiley, an individual, Pete
  18 Duran, an individual, Chris Huff, an
     individual, Nancy Cordero, an individual,
  19 Sonserae Leese, an individual, Peter Dreyfuss,
     an individual, Stephen Blackwell, an
  20 individual, Jenny Rattaro, an individual, Mark
     Dennis, an individual, Erin Peterson, an
  21 individual, Martha Estrada, an individual, Julio
     Cabrera, an individual, Karla Rae Barker, an
  22 individual, Robert Dumitru, an individual,
     John Blake, an individual, Sam Ciccosillo, an
  23 individual, Jay Dedontney, an individual, Billy
     Boner, an individual, Barbara Mcdonald, an
  24 individual, Jo-Ann Crandall, an individual,
     Willard Elliott, an individual, Claudia
  25 Gonzales, an individual, Doc Phil Meyerson,
     an individual, James Friedrich, an individual,
  26 Robert Sandberg, an individual, Ray Beck, an
     individual, Jesse Barba, an individual, Michael
  27 Basnight, an individual, Rusanna Coyamin, an
     individual, Sarah Drisko, an individual, Chuck
  28 Kiriakos, an individual, Duane Boyer, an

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   1 individual, Sona Smith, an individual, Michael
     Osullivan, an individual, Dana Baier, an
   2 individual, Aaron Jacobs, an individual,
     Socorro Montoya, an individual, Kim
   3 Mcbride, an individual, Robert Maron, an
     individual, Michelle Gardner, an individual,
   4 Phil Correale, an individual, Esther Millan, an
     individual, Anissa Singleton, an individual,
   5 Debora Garcia, an individual, Kristin Eller, an
     individual, Katherine Sherman, an individual,
   6 Lara Boyko, an individual, Ric Nesslage, an
     individual, Luis Salgado, an individual, Lonny
   7 Huffar, an individual, Roy Nicholas Boyce, an
     individual, Alberto Caputo, an individual,
   8 Elizabeth Sanchez, an individual, Theresa
     Rodriguez, an individual, Carlos Mungarro, an
   9 individual, Emily Guzman, an individual,
     Nicole George, an individual, Judy Charlton,
  10 an individual, Mary Bonner, an individual,
     Ronnie Snipes, an individual, Jason Portis, an
  11 individual, Steven Bernstein, an individual,
     Jeff Marsh, an individual, Dyann Payne, an
  12 individual, Renona Weathersby, an individual,
     Ira Brooks, an individual, Sara Kim, an
  13 individual, Angela Hackett, an individual,
     Ericka Aguilar, an individual, Nathan
  14 Scoggins, an individual, Denise Bradbury, an
     individual, Ronald Matusea, an individual,
  15 Ernest Macmillan, an individual, David Fish,
     an individual, Tracy Holmes, an individual,
  16 Monica Dyakanoff, an individual, Melanie
     Votaw, an individual, Brian Bon, an
  17 individual, Peggie Kennison, an individual,
     Mary Grady, an individual, Charles
  18 Grauerholz, an individual, Cristina Duenes, an
     individual, Ron Kolman, an individual, Sharyn
  19 Felton, an individual, Timothy Peron, an
     individual, Steve Foster, an individual,
  20 Epigmenio Cueva Jr, an individual, Stephanie
     Sojka, an individual, Elizabeth Ohowell, an
  21 individual, James Mcmanus, an individual,
     Monica Dunkin, an individual, Calvin Byer, an
  22 individual, Arturo Dominguez, an individual,
     Eric Bass, an individual, Barbara Gaskill, an
  23 individual, Tony Brzezowski, an individual,
     Faddy Malley, an individual, Pauline Palmer,
  24 an individual, Rayna Palomino, an individual,
     Susana Castillo, an individual, Suzanne
  25 Zuniga, an individual, Regina Doddington, an
     individual, Tiffany Wade, an individual, Bruce
  26 Cameron, an individual, Bessie Karegianes, an
     individual, Stacey Phipps, an individual,
  27 Shyma Afredi, an individual, Paula Rivera, an
     individual, Terry Romero, an individual, Lon
  28 Adams, an individual, Kim Kasunic, an

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   1 individual, Anabell Chavez, an individual, Len
     Kovner, an individual, Maneca Colquitt, an
   2 individual, Louis Godoy, an individual, Nicole
     Hoogland, an individual, Verna Agboola, an
   3 individual, Kayla Svereika, an individual,
     Rufino Landayan, an individual, Angelica
   4 Minjares, an individual, Crystal Mitchell, an
     individual, Felicia Raprager, an individual,
   5 Maria Corrales, an individual, Gina Toafa, an
     individual, Jen Duran, an individual, Pablo
   6 Flores, an individual, Paula Carl, an
     individual, Francesca Collebrusco, an
   7 individual, Angelica Bellavia, an individual,
     Lisa Johnson, an individual, April Rocha, an
   8 individual, Doddie Hecht, an individual,
     Joanne Conte, an individual, Tammy Tyler, an
   9 individual, Nadia Lopez, an individual, Aris
     Alvarado, an individual, Joy Gallivan, an
  10 individual, Emily Zinda, an individual, Debbie
     Kocol, an individual, Marcos Lopez, an
  11 individual, Emily Eyth, an individual, Rebecca
     Velazquez, an individual, Hannah Moore, an
  12 individual, Keisha Bishop, an individual, Deb
     Janus, an individual, Ruddy Vargas, an
  13 individual, Floyd Vergara, an individual,
     Margaret Lyburtus, an individual, Dean Bruce,
  14 an individual, Thomas Maloy, an individual,
     Gayle Walls, an individual, Maria Panduro, an
  15 individual, Diana Swearingen, an individual,
     Bob Roth, an individual, Dick Winters, an
  16 individual, Saul Gonzalez, an individual, Eric
     Kuck, an individual, Robert Brenneman, an
  17 individual, Marcos Fuentes, an individual,
     Margaret King, an individual, Kimberly
  18 Garcia, an individual, Christopher Kelley, an
     individual, Sylvia Lubera, an individual, Lisa
  19 Wardell, an individual, Kelly Madison, an
     individual, Kenneth Stollman, an individual,
  20 Michio Nakajima, an individual, Angela
     Devolder, an individual, Elaine Kennedy, an
  21 individual, Teresa Desatnick, an individual,
     Sabela Portillo, an individual, Andre
  22 Concepcion, an individual, Isaiah Burchett, an
     individual, Randy Sprout, an individual,
  23 Carlos Ponce, an individual, Stephen Bonelli,
     an individual, Jennifer Harrell, an individual,
  24 Douglas Beaver, an individual, Mariah Landis,
     an individual, Alisa Jones, an individual, Scott
  25 Baugh, an individual, Deborah Andrews, an
     individual, Sandra Walsh, an individual, Karen
  26 Fiorino, an individual, Barbra Conner, an
     individual, Allan Preckel, an individual, Stacy
  27 Frisher, an individual, Kristine Morris, an
     individual, Don Abel, an individual, Pamela
  28 Rico, an individual, Susanne Popaeko, an

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   1 individual, Maria Canale, an individual,
     Dennis Dixon, an individual, Laurie Kester, an
   2 individual, Brandy Conaway, an individual,
     Laura Tabachnick, an individual, Eduardo
   3 Yabut, an individual, Lauri Hanson, an
     individual, Regina Mcgrath, an individual,
   4 Kim Brezniak, an individual, Judy Aronson,
     an individual, Nicole Conway, an individual,
   5 Erin Delegan, an individual, Jessie Landau, an
     individual, Wayne Nash, an individual,
   6 Bryttney Isgar, an individual, Elaine Smith, an
     individual, Lesly Mayoral, an individual, Scott
   7 Leeson, an individual, Callie Thurman, an
     individual, Rene Quimby, an individual,
   8 Benjamin Pauly, an individual, Evyette
     Gaines, an individual, Carol Sevilla, an
   9 individual, Humberto Lozano, an individual,
     Diane Sullivan, an individual, Russell Gilliam,
  10 an individual, Michelle Huitron, an individual,
     Graham Jones, an individual, Karl Shultis, an
  11 individual, Juanita Hernandez, an individual,
     Jeffrey Valfer, an individual, Bill Vanhorn, an
  12 individual, Megan Akright, an individual,
     Leonilo De Leon, an individual, Robert
  13 Lawson, an individual, Jessica Boccia, an
     individual, Joan Giammarino, an individual,
  14 Linda Silacci-Smith, an individual, Michael
     Hoyt, an individual, John Mendez, an
  15 individual, Colleen Gray, an individual, Susan
     Berenson, an individual, James Carmany, an
  16 individual, Dimitrios Pardalis, an individual,
     Suzanne Whitford, an individual, Alejandra
  17 Zavala, an individual, Arthur Wilderman, an
     individual, Deana Nuxoll, an individual, Erin
  18 Riffel, an individual, Shelli Salles, an
     individual, Eric Brown, an individual, Ilisa
  19 Goldman, an individual, Kristen Mclaughlin,
     an individual, Judie Arriola, an individual,
  20 Tanya Heuges, an individual, Kimberley
     Deems, an individual, Katie Swanson, an
  21 individual, Linda Paolano, an individual,
     David Martin, an individual, Kevin Burch, an
  22 individual, Charles Bernacchi, an individual,
     Lameisha Sherri, an individual, Judy Cronin,
  23 an individual, and DOES 1 through 20,000,
     inclusive,
  24
                     Defendants.
  25

  26

  27

  28

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   1                                            Introduction

   2         1.      Pursuant to Sections 525, 526 and 1060 et seq. of the California Code of Civil

   3 Procedure, plaintiff Epson America, Inc. (“Epson”) brings this suit for declaratory and injunctive

   4 relief against defendants Graesen Arnoff, Suzanne Bonds, Matt Bozylinsky, Bill Bunkers, Erin

   5 Busse, Cindy Christensen, Michelle Churchill, Joshua Cook, Carolyn Dezutter, Brandy Dolderer,
   6 Jason Elkins, Cheryl Fulk, Denise Harrold, Rachel Hassett, Amy Hood, Kristi Jacobs, Michelle

   7 Jenkins, Christine Jonas, Megan Kline, Sara Koehnke, Kelly Kunz, Julie Lee, Margie

   8 Markevicius, Kevin Nameth, Adam Newman, Kelly Nielsen, Susan Nowinski, Glaiza O'Malley,
   9 Dino Pezzato Iii, Natalee Roseboom, Noreen Shambo, Jordan Sinwelski, Sabrina Stroud, Stella

  10 Volkman, Douglas Wagner, Marta Zachara, Richard Polich, Catherine Walker, Shelby Cooper,

  11 Evan Weightman, Shelbi Mcfarland, Lisa Colp, John Salidas, Hannah Hood, Marie Ortega, Brian

  12 Naydol, Nicole Reynolds, Ward Roney, Lisa Borel, Dawn Ferguson, Kinh Nguyen, Connie Fields,

  13 Max Lima, Debra Coe, Steven Wear, Lora Benson, Nick Martinez, Craig Lux, Cedric Nocon,

  14 Richard Steele, Crystal Gibson, Charlene Madsen, Angelica Hernandez, Hideki Hara, Jennifer

  15 Lecharoen, William Butler, Ronald Talley, Marianina Arredondo, Charmaine Contreras, K Poore,

  16 Cathy Steele, Manique English, Cynthia Jaramillo, Jonathan Mok, Penny Dahlberg, Demir Bracic,

  17 Vincent Ibanez, John Lahommedieu, Princess Hampton, James Lonergan, Michael Walton, Wynn

  18 Esclovon, Thomas Green, Orlando Malaluan, Alexandria Vazquez, Carey Hylton, Veronica

  19 Perkins, Derek Newman, Brandon Medow, Ronald Stout, Kevin Teichen, Katie Hart, Jill Pacho,

  20 Ronald Piner, Jennifer Culbertson, Joel Borja, Blanca Carrasco, William Kewley, Rubie Gillon,
  21 Marta Madrid, Jennifer Ashline, Vicki Mallard, Michelle Lavoy, Mabel Tsi, Maria Livingston,

  22 Shamarra Frazier, Tyrone Hazel, Andres Vitiosus, Joseph Miranda, Cielito Leoncio, Monica

  23 Mungary, Tracy Smith, Madisyn Hill, Kara Heuer, Katherine Simpson, Allie Beyer, Johnny
  24 Murphy, Sharon Young, Kali Massey, Michael Goldstein, Jennifer Toy, Kathy James, Vivian

  25 Mooers, Art Faelnar, Nidia Montoya, Daniel Wimberly, Bessie Brisco, Lucero Villa, Maria

  26 Brooks, Krzysztof Zachara, Shane Campbell, Freddy Juarez, William Deacon, Adrian Saldana,

  27 Nathan Gotten, Marissa Smith, Tyler Varela-Rivas, Manuel Rodriguez, Sandra Henderson,

  28 Marissa Mangold, Greg Prodigalidad, Martin Ackerson, William Sanchez, Marcus David, Cindi

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   1 Metzger, John Bohen, Fernando Hernandez, Juanita Kennedy, Alfredo Felix, Tyler Ridge, Susan

   2 Tran, David Rayford, George Love, Dominique Powell, Anthony Graham, Eric Bianco, Miguel

   3 Rodriguez, Maribeth Harder, Jessica Calhoun, Matt Gruenwald, Sydney Zubeck, Jjimmie Gibbs,

   4 Rich Cafferkey, Timothy Weaver, Joanna Ammons, Kathie Swibaker, Paul Aguilar, Thomas Rees,

   5 Eric Piotrowski, Mark Messina, William Midgett, Anthony Willis, Murad Abu Hannoun, Gina
   6 Sangricoli, Ann Wright, Evangeline Lee, Bob Berg, Michelle Mitchell, Jean Macaluso, Kalena

   7 Bush, Ryan Hengel, Jacklyn Walker, Hale Knox, Karen Grano, Rabecca Broschat, Annette

   8 Vodola, Denise Anderson Mckay, Victor Varney, Sean Weerasinghe, Ray Covert, Elmer Orpilla,
   9 Carroll Montague, Delbert Hobson, Scott Adams, Linda Calvin, Shenise Mcknight, Cathy

  10 Abraham, Nick Loya, Steven Polgar, Isaiah Robinson, Mike Sizemore, Tanisha Metcalf, Miguel

  11 Morales, Mary Hickey, Vishal Shah, Robert Hughes, Paris Gardner, Dana Lamb, Russel Savage,

  12 Donna Paul, Rickie Parks, Chantelle Adu-Berkoh, Rosa Casillas, Lance Groff, Tim Burman,

  13 Demetra Doss, Steve Chavez, Antwain Allen, Krystol Lamar, Marko Trajkovikj, Tina Cox,

  14 Adriana Montiel, Jorge Guzman, Larry Murphy, Connie Brown, Nicole Gomez, Kevin Rea,

  15 Patricia Hernandez, Caroline Garcia, Toya Kilgore, Maryjo Lawson, Kim Hands, Patrick Foley,

  16 Patricia Angenbroich, Billy Weeks, Danielle Davis Tucker, Ricardo Robledo, Pedro Rosas,

  17 Tequila Edwards, Andres Valdes, Griffin Jane, Ann Marie Yadegar, Nicole Diaz, Sylvia Nabong,

  18 Christina Buenaventura, Rokicki Brittney, Theresa Gould, William Powers, Dana Holgerson,

  19 Kristen Koerber, Delores Franks, Christopher Toney, Robert Kim, Jeremy Mccoy, Cynthia

  20 Conlin, Justin Thomas, Maurice Andrews, Marc Lee, Sydney Sabino, Sharon Brown, Elizabeth
  21 Luna, Nicholas Bowron, Jared Coleman, Jamul Jones, Ruchard Krieg, Nathaniel Joseph, Timothy

  22 Viane, Richard Goldberg, Moore Jeanette, Erma Johnson, Kimberley Gaul, Katherine Johnson,

  23 Sara Fiene, Michael Hirsch, Richard Schlosser, Veronica Drantz, Merelene Deo Chand, John
  24 Fremont, Michael Holcomb, Bianca Rizzo Gatto, Gretchen Fehling, Dean Steinbrenner, Elia

  25 Cervantes, Wendy Steinberg, Byerley Janna, Susan Gonzalez, Joycelyn Peete, Wallace Hudson,

  26 Christine Borovoy, Robert Hughes, Jacqueline Nitti-Silva, Edward Swiebocki, Aldena Beisen,

  27 Terry Boyd, Daniel Warner, Echols Sandra, Nicole Marte, Mary Kalafut, Steven Keca, Jerry

  28 Upchurch, Gary Klavans, Deborah Lindsey, Marilyn Gant, Sheila Chartier, Nicole Parrini,

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   1 Reginald Woolston, Walter Ratajczak, Cole Leslie, Sharon Carwell, Penni Russell, Alan Dascottr,

   2 Alana Hannant, Mitchell Cottrell, Tonya Green, Teneka Shelton, Vladislav Jurenka, Townes

   3 Coates, Jeff Johnson, Tracy Knight, Carol Fritzgerald, Sharon Burgs, John Tenenbaum, Maria

   4 Yaou, Towanda Bell, Julie Clarke, Michael Atkinson-Leon, David Phorasavong, Gloria Miles,

   5 Susan Brook, Tiffany Scharringhausen, Debra Knight, Sandy Selesky, Elroy Johnson, Eric Pate,
   6 Regina Kelly, Brian Factor, Tanya Ray, Angel Collazo, Tammy Mcfeely, Patricia Medina,

   7 Demerette Kee, Marylou Obos, Olufunmilayo Ashiru, Ande Wegner, Eboney Bell, David Felix,

   8 Elbert Jordan, Shelby Peters, John Farringer, David Cassiere, Jerry Coonrod, Sandra Carcione,
   9 Dollicia Bell, Jose Gonzalez, Michael Rose, Kecia Gaines, Tiffany Kilgore, Michelle Viruet,

  10 Deborah Taylor, Gundars Simanis, Frank Hauser, Mike Bowen, Shawn Passwater, Kari Meyer,

  11 Dawn Werner, Rachel Brauer, Rico Camacho, Len Faltin, Mark Moreno, Crystal Weatherspoon,

  12 Lois Dickens, Marcy Lucchesi, Patrick Ramos, Rico Adams, Pamela Purl, Eric Willis, Melinda

  13 Caudillo, Holly Grover, Rachel Galvin, Arturo Aragon, Jeanclaude Lominy, Candace Davis, Ryan

  14 Wasney, Yolanda Coler, Lasheena Williams, Amanda Anderson, Ann Mitchell, Kaavir Ramirez,

  15 Alan Wolmer, Kathleen Garcia, Jorge Pedroza, Glen Hamel, Dehlia Williamson, Mary Abegg

  16 Sanchez, Debra Kuen, Mary Young, Deborah Delaney, Tracy Hartley, Randall Licht, Donna Cox,

  17 Melissa Calvano, Paul Cohen, Kathy Mccloud, Garret Ambrosio, William Macgregor, Alexandra

  18 Camacho, Teresa Fajardo, Cathy Jackson, Jeffrey Chien, Wendy Waits, Stephen Alfon, Debbie

  19 Wilferling, Victor Castillo, Stephen Dobbins, Robert Evans, Howard Clark, Carol Weinberg,

  20 Alejandra Quiroz, Gary Allen, Paul Meyser, Patricia Jackson, Scott Gibson, Dee Kresge, Bob
  21 Vannini, Laurence Faulks, Janice Cope, Max Daniels, Debra Hill, Suzanne Guzman, Ninous

  22 Beitashour, Stephanie Seeley, Linda Haworth, Lance Dalgart, Carlos Herrera, Mark Jones,

  23 Marjorie Heddinger, Samuel Brown, Jason Husted, Diane Richmond, Kathie Calhoun, Gisela
  24 Saenz, Denise Reed, Brian Oltman, Michael Stadie, Jovana Lloyd, Willie Davis, Stephen Ferri,

  25 Patti Mcdonald, Chris Higham, Norman Deorian, Cheryl Thomas, Douglas Mercer, Lydia

  26 Micheli, Lena Campos, Lisa Bernal, Sharon Peterson, Nick Burchett, Sharon Gonzalez, Erica

  27 Jones, Michael Callahan, Christian Melanese, Jose Del Campo, Melissa Del Rosario, Osvaldo

  28 Alvarado, Alana Jelinek, Suzanne Sule, Lissa Gates, Frederick Reckeweg, Kimberly Sinclair,

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   1 Nikki Dohn, Ursula Zamora, Angela King, Susan Galvan, Dennis Devilbiss, Robert Larson,

   2 Steven Boehm Boehm, Amy Hart, Amanda Yancy, Sandra Roller, Chelsea Loke, Frank Tucci,

   3 Cheryl Norton, Angelica Shatokin, Kenneth Sullivan, J Conavay, Zeid Nasser, Susie Abboud,

   4 Christopher Heron, John Schmidt, Jane Litman, Ricky Eck, Michael Betzag, Jacquelyn Donahue,

   5 Scott Binder, Joann Reeves, Penny Mores, Diane Phillips, Jimmie Hale, Joyce Beasley, Jill
   6 Barnett, Ellany Lawrence, Constance Adler Galloway, Wendy Vasquez, Brian Alsup, Ken Goetz,

   7 Cheryl Scaccio, Amy Stone, Kim Nunn, Annemarie Ruitenbach, Chitika Hemphill, Lisbeth

   8 Deforest, Stephanie Smith, Philip Searby, Eduardo Moreno, Readus Sago, Karen Schmidtke,
   9 Brian Favia, Dana Bradford, Monique Blake, Curtis Revak, Gilbert Tisdale, Adam Bitterman, Roy

  10 Rumaner, Tim Smith, Karen Hight, Valerie Gordon, Tim Burgess, Robert Oliver, Cheryl White,

  11 Michael Burns, Susan Slaughter, Amanda Quayle, Melissa Poly, Maria Haro, Martin Miller, Jason

  12 Gadacz, Eric Hughes, Jolynne Lewis, Miranda Snyder, Vaughn Buxton, Dianaloo Farmer,

  13 Toneshia Scales, Adam Bente, Sandra Lawrence, Debbie Gasaway, Harlow Cisco, Norman

  14 Milsner, Hamisi White, Frank Fales, Eddie Smith, Julianne Camello, Takesia Sanford, John Raya,

  15 Mark Netzel, Diane Cizunas, Mark Ackerman, Lisa Kaysinger, Kylie Nyboer, Danielle Emick,

  16 Dan Berry, Leilena Jones, James Reddish, Lorraine Rowe, Catherine Watt, Stu Oster, Ah Lan

  17 Ferrara, Stacie Pendleton, Andy Arden, Caroline Pegueros, Kimberlee Black, Teressa Kohman,

  18 Whui Kim, Canda Gray, Justin Cooper, Tammie Knight, Haller Norma, Patricia Thomas, Jay

  19 Romick, Michael Smith, Christian West, Diana Brooks, Salazar Daniel, Arash Shamsian, Fran

  20 Long, Suzette Wilder, Warren Lamb, Brenda Anderson, Patricia Birdsall, Rachel Nguyen, Lisa
  21 Pena Humes, Kevin Robinson, Murray Schechter, Corinne Andreano, Carol Novak, John

  22 Tarjavaara, Mercedes Gonzalez, Allen Wone, Kelly Manke, Susan Digianfilippo, Craig Renner,

  23 John Lund, Carol Maidlow, Rodney Sloan, Lea Sims, Abu Omar, Jim Policastro, Chrystal Caudle,
  24 Tammi Kellenberger, Aubrey Tanciangco, Bernadette Bitanga, Pam Martinez, Jan Bedell, Aimee

  25 Pavek, Chaka Theus, Hijinia Guerrero, Patrick Musni, Gilberto Pantoja, Patty Justiniano, Jeffrey

  26 Green, Cheri Roe, Leonard Bednarczyk, Frances Murray, Diane Jackson, Michelle Victory, Eileen

  27 Del Rosario, Erwin Hildenbrand, Richard Ernst, Melinda Jackson, Michelle Arellano, Bradley

  28 Lavalley, Julie Stasko, John Parkhurst, Rick Slansky, Romell Eggleston, Christy Broccardo, Jose

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   1 Gonzalez, William Bell, Sacha Mercado, Margaret Grady, Elvira Castillo, Frederick Zubrin, Billy

   2 Woody, Joy Baynes, John Lewis, Eric Moreno, Mike Reyes, Marcella Pena, Betty Deconter,

   3 Karen Nash, Randy Lancaster, Bradford Patrice, Alan Swinford, Carson Tang, Rachel Rivera,

   4 Bryan Boone, Tom Harper, Sarah Kirk, Rebecca Dutton, James Domsic, Anabel Rodriguez,

   5 Daniel Tafolla, George Masny, Frank Lescrinier, Steve Griffith, Heather Hierl Weimer, Rebecca
   6 Huerta, Greg Edelson, Wendy Fosnaugh, Daniel Moore, John Davis, Frederick Davis, Erin

   7 Mcraith, Daniela Kreidler, Jimmy Sutton, Porter Katherine, Richard Wiseman, Jeanette Hale,

   8 Rene Lundy, Vonnie Dawson, Lonnie Hiatt, Jose Hernandez, Robin Chrusniak, Susan Gallardo,
   9 Linda Siriano, Julie London, Emily Dupree, Danny Abbott, David Colbert, Michael Harvey,

  10 Lynne Schick, Kevin Brown, Richard Dwyer, Evelyn Blizzard, Strassalyn Ayuba, Justin Patt,

  11 Jennifer Smith, Dennis Gross, Bob Madura, Scott Morgan, Shawna Hook, Mike King, Gloria Ana

  12 Ramirez, John Woodruff, Elliott Eubank, Kathleen Thomas, Bill Henshaw, Leeandra Brocker,

  13 Donna Ball, Ariana Clayton, Leslie Wilson, Fred Orr Jr, Mary Margaret Hudak, Victor De

  14 Grande, Traci Priest, Alan Maxwell, Dolores Gay, Robert Trujillo, Vivian Fernandez, Sandra

  15 Harmon, Aaron Campbell, Adly Pozas, Allen Heinen, Arthur Okeeffe, Robert Martz, James

  16 Wheeler, Julie Drake, Michael Mccluskey, Steven Simanonok, Maureen Goff, Melissa Flint,

  17 Celeste Bemoras, Robert Miller, Yolanda Gagne, Angel Arriaga, Mary Barrow, Mike Mccallum,

  18 Albert Jones, Esmeralda Cardenas, Linda Thompson, Donna Brooks, Nicole Morales, Donna

  19 Shore, Patricia Misso, Jose Osuna, Adrian Macias, George Duty, Joseph Lopez, Chessie Delaney,

  20 Leslie Riggs, David Quimby, Frank Vigneri, Alisha Alexander, Sylvia Madden, John Zwierzko,
  21 Kenneth Pulliam, Davie Cabral, Kathe Burkhart, Shawn Kulich, Scott Szydzik, Siegmund

  22 Baklarz, Luis Munoz, Theresa Drust, Ernest Nixon, Paul Norman, Melissa Magallanes, Judy

  23 Witasik, Melody Centonze, Christie Locascio, Roanne Pallasigui, Sue Dudowitz, Kristen Hejnal,
  24 Zach Wylie, Amanda Westrich, David Felker, Gordon Anderson, Julia Lamas, Brooke Bingaman,

  25 Deborah Herrera, John Merrill, Michael Keblusek, Susan Odaffer, Miguel Contreras, Tony

  26 Armalis, Zack Carrera, Katrina Brown, Chadd Creed, Justin Storer, Leticia Ramirez Artiaga, Gina

  27 Garcia, Joan Dimaio, Ryan Stephen, Janet Gibbs, Veronica Ramirez, Frank Sotelo, Fabian

  28 Marquez, Kristin Zimmerman, Mike Peters, Joshua Goldberg, Anthony Caceres, Alexandria Hill,

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   1 Theresa Derfuss, Perri Davis, Chanell Davis, Art Wood, Timothy Mancini, Reginald Mcafee,

   2 Kevin Gwartney, Nick Angilello, Evert Ortega, Sharon Barker Tubbs, Jaime Ryan, Derek

   3 Vanwinkle, Katie Birchfield, Christina Dorato, David Arnson, Debra Tapia, Kim Mandichak,

   4 Terry Saberhagen, Cj Benbrook, Tiffanie Williams, Lisa Wicker, Kim Serani, Robert Wing, Norm

   5 Halbert, Winston Chavoor, Gary Peterson, Barbara Mcdermott, Ramona Ali, Paul Cynkar, Adella
   6 Spencer, Kaitlyn Kelly, Jerry Hefley, Bill Griffin, Amanda Carney, Caesar Snee, Donald Forgy,

   7 Ashley Erickson, Danny Boswell, Jeremy Neimand, Janina Bias, Donna Cerro, Bob Sharpe,

   8 Evelyn Radcliffe, John Borders, David Pires, Alice Dortch, Sam Davis, Brian Powell, Annette
   9 Cady, Connie Tolefree, Steven Stecher, Paul Wasserman, Kristin Sanchez, Jessica Jolson, Michael

  10 Schofield, Robert Hefley, Dana Garlington, Andrew Coronado, Rick Cervarich, Vance Hallman,

  11 Carollee Rivera, Michael Lock, Sandy Adams, Jasmine Young, Misty Robles, Laura Simmons,

  12 Gretchen Trejo, Michelle Mccalister, Antoinette Carter, Herbert Huey, Gina Garcia, Reema Khan,

  13 Lonnie Briggs, Sebastian Romeo, Timothy Winthers, Stephen Goldhorn, Tom Moore, Glenn

  14 Maddock, Lennea La Hommedieu, Madeleine Rogow, Vernon Porter, Jon Evans, Terri Welch,

  15 Anthea Smith, Jason Williamson, Walter Macie, Sharon Herrera, David Williams, Deborah

  16 Morris, Denese Stthomas, Esther Torresulloa, Alissa Joseph, Alfreda Phillips, Fernando Garcia,

  17 Joel Dinovo, John Greggs, Roger Bubel, Richard Friedlander, Fernando Delgadillo, Charles

  18 Jedlicka, Teena Riley, George Kresse, Chuck Shepherd, Yvette Afflerbaugh, Jeff Ravenscraft,

  19 Mary Bateman, Robert Oliver, Warren Bjork, Adriana Martinez, Laura England, Somer Lowery,

  20 Julie Hart, Spencer Kayden, Robert Hamilton, Paul Kopilak, James Macpherson, Adam Iannazzo,
  21 Natalie Zimmerman, Michael Williams, Irene Mendoza, Luis Delgado, Lauren Anderson, Sonia

  22 Williams, Tara Brown, Bruce Cohen, Rochelle Hayes, Luis Correa, Abbey Austin-Wood, Delores

  23 Navarro, Bill Lewis, Detra Thompson, Meghan Fisher, Kevin Bradley, Lillian Harris, Carolyn
  24 Rogers, Raven Jeffries, Arthur Fisk, Gretchen Clifford, Kimmy Mcdaniel, Mark Fabela, Anna

  25 Watrous, Ignacio Menendez, Letty Guttilla, Shannon Jeralds, Stephen Monk, Howard Peter

  26 Brody, Heather Bush, Michael Portalatin, Diana Cruze, Ted Coopersmith, Paul Clem, Sandra

  27 Aguilar, Barbara Dube, Jacqueline Johnson, Jeffrey Lauritzen, Richard Moody, Peter Levakis,

  28 Hilary Howard, Kim Victor, Walter Viteri, Nicole Branch, Scott Otsuka, Renee Vetter, Lisa

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   1 Herron, Richard Clark, Doug Alton, Steven Martin, Derek Esparza, Rhonda Conley, Talia

   2 Oropeza, Derrick Posner, Eli Kuo, Noel Aispuro, Sandra Abernathy, Gajewski Cynda, Michael

   3 Termine, Hiram Aguilera, Olivia Pittman, Jayson Sandoval, Steven Wise, Lucy Cordero, Cindy

   4 Wong, Laura Brown, Tg Lawson Iii, Robert Emerick, Gary Washington, Robert Staup, David

   5 Pask, Matt Mellon, Erin Pellot, Judith Davis, Faith Holland, Alison Erbetta, Thomas Miller,
   6 Jessica Serrano, Connie Peart, Eddie Galloway, Maria Lauro, Stacey Dick, Robin Cutler, Margo

   7 Schullerts, Alfredo Cunanan, Eyvonne Galloway, Kathryn Ploss, John Burke, Carl Willat, Erica

   8 Beveridge, Todd Mitchell, Amber Linnell, Wendi Rodney, Roderick Billingsley, Pete Fields,
   9 Natalie George, Marietta Falk, Ann Wenzell, Stanley Vossler, John Eccleston, Grace Reyes,

  10 Cindy An, Arthur Degennaro, Dina Kimbrough, Zach Johnson, Richard Sandona, Angela

  11 Hutcheson, Lora Duncan, Harlan Lawler, Edward Padilla, Janet Litton, Kevin Lewis, Danute

  12 Mazeika, Tracy Clark, Bill Hartman, Sue Caico, Russell Dilillo, Mala Dhillon, Katherine Drouin-

  13 Keith, Laura Green, Michael Bailin, James Greenwood, Malika Sanders, Judith Chapman, Ronald

  14 Matthias, Ramona Swift, Laurel Debello, Maria Sandoval, Yohan Isaac, Charles Sellman,

  15 Kathleen Maxian, Lynette Freeman, Dennis Sidoti, Ann Noel, Pamela Coleman, Michael Lopes,

  16 Kurt Nicolai, Timothy Conway, Lisa Lakritz, Alyssa Sepulveda, Lita Theodore, Jane Pannell,

  17 Gricelda Chavez, Wane Webber, William Keegan Jr, John Cordogan, Krista Robles, Steven

  18 Dewoody, Eduardo Rico, Anthony Rotella, Latonia Hoskins, J K Thomasser, Brittney Mouw,

  19 Suzanne Mccombs, Myron Porter, Richard Kanatzar, William Quinn, Jesus Castillo, Anthony

  20 Paiva, Tara Robertson, Latonia Newton, Debra Mccormick, Bee Vongphakdy, William Hegarty,
  21 Nik Lozano, Robert Reichert, Chrystal Bernasconi, Phyllis Hong, Mark Filcich, Kathie Oconnor,

  22 Karry Kleemann, Angelo Logrande, David Libert, Christine Poulsen, Edgard Entrala, Geovanni

  23 Alvarado, Maurice Calderon, Jeff Rodriguez, Katherine Macalma, David Williams, Daniel
  24 Mayeda, Joanne Simonson, Jessicz Leka, Amanda Rodriguez, Michael Skalon, Greg Williams,

  25 Julie Vad, Gloria Knight, Philip Olszewski, Dean Miya, Deborah Moran-Villarreal, Christine

  26 Scadina, Shawn Blethen, Francis Mateo, Greg Fung, Jeffery Lindsay, Farimah Mcharo, Roman

  27 Villapando, Rex Thornhill, Erica Gonzalez, William Combs, Kim Lawson, Jessica Plaut,

  28 Elizabeth Collins, Jim Shere, Michael Hastings, Tinnikie Atkins, Steven Rock, Mark Morales,

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   1 Tamera Tanubagijo, Sean Patrick Lewis, Susan Campbell, Yvonne Vasquez, Eugenia Chen,

   2 Catharine Naughton, Delores Gilson, Jose Lopez, Charles Grey, Lope Yap Jr, Sue Trueblood,

   3 Connie Jones, Shana Hager, Lynne Pieroni, Anthony Brucia, Steve Pearlman, Renee Thompson,

   4 Derek Proffitt, Angela Tomey, Larissa Rapadas, Jonathan Cart, Gary Eisenberg, Kent Colton,

   5 Ryan Weatherby, Fran Oglesby, Joy Voltenburg, Joan Thomas, Ray Beldner, Robin Lane, Brenda
   6 Morales, Raul Morales, Gail Levine, John Burgess, Daragh Bennett, Bill Poggensee, Shelley

   7 Shepherd, Terrie Silva, Mark Christensen, James Andriacchi, Jennifer Boukidis, Juan Torres, Lisa

   8 Wilkins, Alicia Rodriguez, John Miles, Derek Michaels, Kelly Mochel, Kelly Parker, Silverio
   9 Sanchez, Elena Hedderig, Lester Stamnas, Ann Keating, Trista Powers, Issa Spencer, Mauricio

  10 Hernandez, Carolina Valenciano, Victoria Patryn, Nicole Wyszynski, Christina Coughlin, Maurice

  11 Stroud, David Sommerfeld, Cuong Nguyen, Carlos Yanez, Michelle Adams, Amy Kendall, Ryan

  12 Malloy, Doug Williams, Gary Reitmeier, Rebecca Garcia, Annette Barnes, Eps Shrat, Szeredy

  13 Andrea, Angela Hughes, Theresa Scott, Tony Provancal, Nancy Reiter, Hannah Schulman, Amy

  14 Davis, Donald Adams, Carlos Gonzalez, Barbara Kenning, Lency Montgomery, Brigitte

  15 Robertson, Marvin Fishman, Marian Jacob, Anna Darosa, Susan Drabing, Karen Davidson, David

  16 Pinzolo, Rusty Allen, Shawna Weyrich, Cheryl Ames, June Delane, Bill Hanna, Michael Smith,

  17 Mehdy Naitaki, David Pesola, Jeff Wong, Bernard Whalen, Susan Myers, Jana Sheehan, Danielle

  18 Labarre, Christine Hendrix, Brad Reisz, Becky Bataille, Theresa Henderson, Thomas Dooley,

  19 Tyndall Mun, Gloria Wroten, Jessica Sticklen, Stephanie Ochoa, Ashley Willinger, Shavasia

  20 Golden, David Pichon, Linda Novy, Fred Kinney, Blair Parker, Lynn Walker, Wes Wheadon, Liz
  21 Sampras, Louis Scaturro, Michele Finley, Pat Munson, William Wallace, Marc Seligman, Vanessa

  22 Alonzo, Catherine Manion, Ruth Mattison, Frank Zazanis, Neil Holman, Nancy Dolan, Chris

  23 Reiman, Victor Krumdick, Patrick Schneider, Dejuan Boyd, Gretchen Morales, Bill Fagan, Ted
  24 Pon, Priscilla Reyes, Anita Munoz, Ralph Ferri, Amanda Traxler, Rebecca Piper, Luz Padilla,

  25 Laurel Digangi, Kye Osti, Robert Zirgulis, Erica Stephenson, Peggy Pugh, Evelyn Salas, Shakeel

  26 Syed, Denise Stires, Gary Bell, Richard Miller, R Lee Jewell, Ayreanne Bordeaux, Linda Seibert,

  27 Erica Madden, Wayne Guzak, Diane Butler, Jill Frechette, Melissa Norton, Bill Nolan, Genevieve

  28 Brammeier, Jimmy Tran, Ron Jozaites, Lindsay Boyster, Luis Villavelazquez, Diana Rangel,

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   1 Johnathan Stoor, Keith Hastings, Nate Bailey, Joel Holzman, Nicole Duzy, Darlene Prescott,

   2 Kecia Bailey, Roland Ferrer, Nanci Oconnell, Tammy Cabrera, Allen Denni, Steven Rochester,

   3 Brian Swanson, Gregory Wroblewski, Julie Schrey, Judy Zeeb, Christine Jackowski, Beatriz

   4 Avendano, Orv Neconie, Katrina Condis, Simon Chaykler, Jessica Dambrose, Jeffrey Plaza,

   5 Daniel Kupper, Connie Owens, Judy Nast, Dennis Canfield, Christina Burlison, Alfred Garcia,
   6 Kimberly Schultz, Nick Jones, Susana Luna, Lawrence Kornit, Michael Austin, Amy Taiwo, Scott

   7 Beaver, Floro Munoz, Shukay Suzan, Mary Lopez, Ritesh Seth, Nopadol Chuaycharoensuk, Seth

   8 Roberts, Jenevieve Hayes, Justin Majzel, Margaret Blake, Daryl Marcott, Shelah Spiegel, Michael
   9 Brown, Diane Talbert, Craig Johnson, Scott Janus, Suzanne Lewis-Gregory, Nancy Alonzo,

  10 Juanita Bryant, Diane Mcpherson, Rudy Cendejas, Dave Yuen, Gary Whyte, Steve Lemire,

  11 Fernando Di Zitti, Antonio Mariano, Michael Padden, Nicole Henry, Gary Stansbury, Bruce Pleat,

  12 Erin King, Gabriel Lopez, Robert Tannenbaum, Merlita Felipe, Rainer Mueller, Enricque

  13 Williamson, Mike Chambers, Catherine Winnie, Jose Rodriguez, Kerrigan Weber, Linda Hyman,

  14 Jaycee Mcgee, Robert Jorgensen, Victoria Almaraz, Erick Bieger, Wylma Harmon, Jay Leavelle,

  15 Emily Welker, Kristen Lick, Steven Payne, John Hipp, Julie Fair, Theresa Dolan, Kimberly Boltz,

  16 Yvonne Invergo, Darryl Cass, Jesse Estrada, Tina Casey, Matthew Stevens, Harv Bisla, Steven

  17 Koppany, Ruth Tyson, Frank Jang, John Journeay, Robert James, Charlotte Roberson, Kathy

  18 Pruitt, Garren Saccomano, Kevin Nguyen, Cleo Sisco, Susan Maki, Peter Rizzo, Corinne Jacob,

  19 Julie Hammond, Loni Cooper, Kimmie Jones, Robert Kirwan, Jarryl Anderson, Kathy Smolansky,

  20 Brian Burch, Ken Mcgowan, Gregory Okulove, Alexander Gonzalez, Eric Spillman, Scott
  21 Thompson, James Nelson, Catherine Bratton, Mark Jurczeski, Kristi Lewis, Michael Vink,

  22 Syledra Hart, Alexia Wilson, Judith Stein, Nicole Fuller, Tim Jacobson, Peter Janoff, Keith

  23 Eaddy, Eileen Cortez, Roger Williams, Shayla Rossignol-Smith, Rosa Cromwell, Broderick
  24 Baldwin, Stephanie Morris, Cynthia Vasquez, Michael Poole, Brian Altman, Cindy Wright, Paula

  25 Klein, Peter Yaya, Adrianna Trujillo, Susan Ballou, Geneva Wisnewski, Tamara Frazier, Shanika

  26 Starks, Catalina Duenas, Karla Tapia, Joann Pepperdine, Tena Huson, Jonathan Mintzer, Robert

  27 Denker, Maria Armijo, Lisa Williams, Kyle Shell, Barbara Sullivan, Elizabeth Mack, Marvin

  28 Foster, Debbie Potter, Bob Ehrlich, Lucille Fincher, Richard Colorado, Michele Duggan, Carrie

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   1 Spiro, Jennifer Garner, William Sussman, Deondre Bedgood, Andrew Thompson, Hecht Lauren,

   2 Thomas Joyce, Leo Yioupis, Linda Nguyen, Angela Morelli, Jeffrey Van Dam, Ashley Cohen,

   3 Robert Windham, Sarah Wilde, Karen Tolleson, Roger Jones, Robert Adams, Steve Aardappel,

   4 Eric Santillan, Mark Graves, Patti Morton, Dan Greenspan, Terry Johnson, Janis Luft, Karen

   5 Austin, Floyd Fenex, Cornelius Lewis, Jeff Ricker, Fanesha Fabre, Brad Draper, Lana Gartin,
   6 Sarah Yi, Brad Whitacre, Mary Prete, Susan Watson, Rick Quezada, Clarence Wilson, Angela

   7 Kirkwood, Maritza Cantu, Veronica Smith, Jacob Hancock, Jamila Banks, John Pearson, Maurizio

   8 Ursetta, Russell Lombardo, Karla Castro, Kristen Mcnelly, Benito Rios, Daniel Wozniak, David
   9 Clark, Kendra Cato, Ruth Tekeste, Manish Gupta, Jessica Ornelas, Janice Harris, Christina Jones,

  10 Mary Pankow, Jacqueline Boubion, Lisa Coney, Jeanette Vogt, Denisha Hawkins, Chester

  11 Barnhart, Teresa Stevens, Susannah Christopher, Raymond Chin, Carol Soriano, Beverly Fleer,

  12 Rosie Gonzales, Nichelle Weathers, Samnang Vang, Emily Citraro, Darlene Franco, Zinnia

  13 Esqueda, Natalie Cole, John Santillano, Kim Kibler, Helen Aguilar, Roberta Quon, Tim Rathbone,

  14 Judy Madnick, Stephanie Smith, Denise Yarbrough, Roger Yoh, Peter Chen, Ken Coulter,

  15 Magdalena Barrera, Maria Ballesteros, John Cummings, Nancy Mcfadden, Edward Paul, Luis

  16 Ramirez, Lorena Pena, Norma Reyes, Mona Hodges, Anthony Alberts, Patricia Hallissey, Ruby

  17 Beltran, Kennith Mascheri, Gerri Entler, Debra Edwards, Carlos Lerma, Alexandria Torres, Lisa

  18 Donahue, Zeb Maclennan, Emmanuel Baez, Jaree Adams, Rosemp Marousek, David Ginsburg,

  19 Amanda Reasons, Scott Omori, Migdalia Rivera, Debbie Miller, Kenneth Smith, Paige Meyer,

  20 Carlos Perez, Christina Rescigno, Lydia Gomez, Cheryl Smith, Priscilla Marie Torres, Ginger
  21 Wiley, Pete Duran, Chris Huff, Nancy Cordero, Sonserae Leese, Peter Dreyfuss, Stephen

  22 Blackwell, Jenny Rattaro, Mark Dennis, Erin Peterson, Martha Estrada, Julio Cabrera, Karla Rae

  23 Barker, Robert Dumitru, John Blake, Sam Ciccosillo, Jay Dedontney, Billy Boner, Barbara
  24 Mcdonald, Jo-Ann Crandall, Willard Elliott, Claudia Gonzales, Doc Phil Meyerson, James

  25 Friedrich, Robert Sandberg, Ray Beck, Jesse Barba, Michael Basnight, Rusanna Coyamin, Sarah

  26 Drisko, Chuck Kiriakos, Duane Boyer, Sona Smith, Michael Osullivan, Dana Baier, Aaron Jacobs,

  27 Socorro Montoya, Kim Mcbride, Robert Maron, Michelle Gardner, Phil Correale, Esther Millan,

  28 Anissa Singleton, Debora Garcia, Kristin Eller, Katherine Sherman, Lara Boyko, Ric Nesslage,

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   1 Luis Salgado, Lonny Huffar, Roy Nicholas Boyce, Alberto Caputo, Elizabeth Sanchez, Theresa

   2 Rodriguez, Carlos Mungarro, Emily Guzman, Nicole George, Judy Charlton, Mary Bonner,

   3 Ronnie Snipes, Jason Portis, Steven Bernstein, Jeff Marsh, Dyann Payne, Renona Weathersby, Ira

   4 Brooks, Sara Kim, Angela Hackett, Ericka Aguilar, Nathan Scoggins, Denise Bradbury, Ronald

   5 Matusea, Ernest Macmillan, David Fish, Tracy Holmes, Monica Dyakanoff, Melanie Votaw,
   6 Brian Bon, Peggie Kennison, Mary Grady, Charles Grauerholz, Cristina Duenes, Ron Kolman,

   7 Sharyn Felton, Timothy Peron, Steve Foster, Epigmenio Cueva Jr, Stephanie Sojka, Elizabeth

   8 Ohowell, James Mcmanus, Monica Dunkin, Calvin Byer, Arturo Dominguez, Eric Bass, Barbara
   9 Gaskill, Tony Brzezowski, Faddy Malley, Pauline Palmer, Rayna Palomino, Susana Castillo,

  10 Suzanne Zuniga, Regina Doddington, Tiffany Wade, Bruce Cameron, Bessie Karegianes, Stacey

  11 Phipps, Shyma Afredi, Paula Rivera, Terry Romero, Lon Adams, Kim Kasunic, Anabell Chavez,

  12 Len Kovner, Maneca Colquitt, Louis Godoy, Nicole Hoogland, Verna Agboola, Kayla Svereika,

  13 Rufino Landayan, Angelica Minjares, Crystal Mitchell, Felicia Raprager, Maria Corrales, Gina

  14 Toafa, Jen Duran, Pablo Flores, Paula Carl, Francesca Collebrusco, Angelica Bellavia, Lisa

  15 Johnson, April Rocha, Doddie Hecht, Joanne Conte, Tammy Tyler, Nadia Lopez, Aris Alvarado,

  16 Joy Gallivan, Emily Zinda, Debbie Kocol, Marcos Lopez, Emily Eyth, Rebecca Velazquez,

  17 Hannah Moore, Keisha Bishop, Deb Janus, Ruddy Vargas, Floyd Vergara, Margaret Lyburtus,

  18 Dean Bruce, Thomas Maloy, Gayle Walls, Maria Panduro, Diana Swearingen, Bob Roth, Dick

  19 Winters, Saul Gonzalez, Eric Kuck, Robert Brenneman, Marcos Fuentes, Margaret King,

  20 Kimberly Garcia, Christopher Kelley, Sylvia Lubera, Lisa Wardell, Kelly Madison, Kenneth
  21 Stollman, Michio Nakajima, Angela Devolder, Elaine Kennedy, Teresa Desatnick, Sabela Portillo,

  22 Andre Concepcion, Isaiah Burchett, Randy Sprout, Carlos Ponce, Stephen Bonelli, Jennifer

  23 Harrell, Douglas Beaver, Mariah Landis, Alisa Jones, Scott Baugh, Deborah Andrews, Sandra
  24 Walsh, Karen Fiorino, Barbra Conner, Allan Preckel, Stacy Frisher, Kristine Morris, Don Abel,

  25 Pamela Rico, Susanne Popaeko, Maria Canale, Dennis Dixon, Laurie Kester, Brandy Conaway,

  26 Laura Tabachnick, Eduardo Yabut, Lauri Hanson, Regina Mcgrath, Kim Brezniak, Judy Aronson,

  27 Nicole Conway, Erin Delegan, Jessie Landau, Wayne Nash, Bryttney Isgar, Elaine Smith, Lesly

  28 Mayoral, Scott Leeson, Callie Thurman, Rene Quimby, Benjamin Pauly, Evyette Gaines, Carol

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   1 Sevilla, Humberto Lozano, Diane Sullivan, Russell Gilliam, Michelle Huitron, Graham Jones,

   2 Karl Shultis, Juanita Hernandez, Jeffrey Valfer, Bill Vanhorn, Megan Akright, Leonilo De Leon,

   3 Robert Lawson, Jessica Boccia, Joan Giammarino, Linda Silacci-Smith, Michael Hoyt, John

   4 Mendez, Colleen Gray, Susan Berenson, James Carmany, Dimitrios Pardalis, Suzanne Whitford,

   5 Alejandra Zavala, Arthur Wilderman, Deana Nuxoll, Erin Riffel, Shelli Salles, Eric Brown, Ilisa
   6 Goldman, Kristen Mclaughlin, Judie Arriola, Tanya Heuges, Kimberley Deems, Katie Swanson,

   7 Linda Paolano, David Martin, Kevin Burch, Charles Bernacchi, Lameisha Sherri and Judy Cronin

   8 (collectively, “Defendants”). Defendants are purchasers of Epson printers who, on information
   9 and belief, have been roped into a frivolous mass arbitration scheme by their counsel (Labaton

  10 Sucharow LLP) that seeks to extort a large settlement based not on the merits of any consumer

  11 grievance against Epson, but rather on the threat of having to pay tens of millions of dollars in

  12 individual arbitration filing fees. Indeed, Defendants’ counsel have threatened to file thousands of

  13 more arbitrations like those filed by Defendants in the wrong arbitral forum and without

  14 undertaking mandatory informal dispute resolution procedures to manufacture settlement leverage.

  15          2.     Epson has no interest in suing its customers and files this suit only as a last resort

  16 because, despite Epson’s repeated efforts to convince their counsel to observe the basic

  17 requirements of their clients’ binding arbitration agreements, Defendants’ counsel persisted in

  18 filing individual arbitrations on behalf of Defendants and others 1 in the wrong arbitral forum.

  19 Epson brings this action solely to enforce the terms of the parties’ arbitration agreements, which

  20 Defendants have violated through the arbitrations their counsel have filed, and to require
  21 Defendants to pursue their claims in the contractually-mandated forum, FedArb, a nationally-

  22 recognized arbitration provider.

  23          3.     According to the Labaton Sucharow law firm, Defendants are “individuals who
  24 purchased Epson printers and wish to use less expensive third-party ink,” but allege that software

  25
         1 Epson is filing this complaint against this initial group of Defendants while it investigates
  26 the claimants in the hundreds or thousands of additional arbitrations Defendants’ counsel have
     filed concurrently or will file in the future (as counsel has threatened). Epson intends to promptly
  27
     amend its complaint to substitute additional claimants for the Doe defendants based on that
  28 investigation.

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   1 and firmware updates “disable” their printers “when non-Epson, replacement ink cartridges are

   2 installed.” (In fact, as Epson discloses prominently on its packaging, in its instructions, and on the

   3 firmware update page itself, its printers are designed for use with Epson cartridges only and non -

   4 Epson cartridges may not continue to function after firmware updates. These updates keep the

   5 printer functioning as designed, prevent the inadvertent use of counterfeit cartridges, help to
   6 prevent damage that may not be covered by the limited warranty, maintain optimal printer

   7 performance, and promote overall customer satisfaction with Epson printers. Epson is also the

   8 leading manufacturer of EcoTank printers which do not use cartridges and deliver some of the
   9 lowest cost per printed page available in the industry today.)2

  10          4.      In 2022, Labaton Sucharow informed Epson that, absent a resolution it deemed

  11 acceptable, its 13,000-plus clients “intend[ed] to commence individual arbitrations,” alleging a

  12 variety of claims, with the Judicial Arbitration and Mediation Services, Inc. (“JAMS”). On March

  13 6, 2023, Labaton Sucharow proceeded with filing 3,994 individual arbitrations in JAMS, including

  14 those brought on behalf of the Defendants.

  15          5.      Epson does not seek to deprive its consumers access to the arbitration proceedings

  16 to which they are entitled, and it fully anticipates defending and vindicating itself on the merits in

  17 any properly-filed case. But Defendants have failed to comply with a material condition precedent

  18 to pursuing arbitration: Epson’s End-User Software License Agreement (“EULA”) expressly

  19 requires that a party wishing to pursue claims against the other party engage in a sixty-day period

  20      2
             Third parties make efforts to “hack” Epson’s patented cartridge and printer designs to offer
  21 non-genuine ink cartridges that purport to work with Epson printers. There is also a significant
     market presence of counterfeit ink cartridges. These counterfeit and other third-party cartridges
  22 are widely available on online marketplaces such as eBay and Amazon, but are not sold by
     traditional brick-and-mortar retailers such as Staples or Best Buy. Epson actively pursues
  23
     counterfeiters through online and offline investigations, civil and criminal raids, and District Court
  24 actions. Epson has actively enforced its intellectual property rights, including by obtaining
     General Exclusion Orders and Cease and Desist Orders from the International Trade Commission,
  25 prohibiting patent-infringing cartridges from being imported, offered for sale, or sold in the United
     States, and through District Court actions against resellers of such cartridges. Still, some
  26 counterfeit and other non-genuine cartridges continue to make their way to the market, especially
     through online marketplaces. Epson firmware updates keep the printer functioning as designed,
  27
     prevent the inadvertent use of counterfeit cartridges, help consumers prevent damage that may not
  28 be covered by the limited warranty, and promote overall customer satisfaction.

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   1 of good-faith efforts at informal dispute resolution prior to filing an arbitration. Rather than

   2 comply with this requirement, Defendants have failed to engage in good faith efforts at informal

   3 dispute resolution. Indeed, Defendants have at most provided evidence that they may have

   4 purchased an Epson printer (which is more than thousands of their counsel’s threatened future

   5 claimants have done); none has provided any proof they received an allegedly “disabl[ing]”
   6 software or firmware update, much less any evidence supporting their claims under the Computer

   7 Fraud and Abuse Act claim and antitrust laws.

   8          6.     Further, although the EULA requires that “mass arbitrations”—such as those filed
   9 by Defendants and their co-clients—be filed with and administered by FedArb, Defendants’

  10 counsel have filed Defendants’ arbitrations with JAMS.

  11          7.     The filing of individual arbitrations by Defendants and the remainder of Labaton

  12 Sucharow’s 13,000-plus clients in JAMS may trigger requirements for Epson to pay filing fees in

  13 excess of $20,000,000 merely to prevent default, despite the fact that (i) none of these individuals

  14 has complied with the material condition precedent of engaging in good faith efforts at informal

  15 dispute resolution before filing claims and (ii) the EULA requires that mass arbitrations be filed

  16 with FedArb. (In many instances, filing fees are fully nonrefundable from JAMS five days after

  17 the arbitration demand has been filed, and, in consumer arbitrations, the fees cannot be recouped

  18 even where the company demonstrates the filing was frivolous or is completely victorious on the

  19 merits.) Epson brings this action for declaratory and injunctive relief against Defendants both to

  20 establish its rights under the EULA against these Defendants and to provide guidance to the
  21 remainder of Labaton’s clients regarding the EULA’s requirements regarding good faith pre-suit

  22 informal dispute resolution efforts and the proper arbitration venue for their claims.

  23          8.     In filing this action, Epson seeks to enforce the express provision in the EULA
  24 delegating to the Court any disputes concerning (i) compliance with the agreement’s informal

  25 dispute resolution process, and (ii) failure to commence arbitration proceedings in the appropriate

  26 forum. Epson does not intend in any way to waive its right to arbitrate the claims Defendants have

  27 asserted against Epson and instead seeks to enforce its right to arbitrate those claims in the proper

  28 forum.

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   1                                             The Parties

   2          9.     Epson is a corporation organized under the laws of the State of California, with its

   3 principal office located in Los Alamitos, California. Epson is a wholly-owned subsidiary of Seiko

   4 Epson Corporation. Epson sells, markets, and performs customer service for Epson printers and

   5 related software and/or firmware in North America.
   6          10.    Defendants are individuals who, on information and belief, reside in the States of

   7 California, Illinois and New York and who, through their counsel at Labaton Sucharow, served a

   8 demand on Epson in California, commenced binding arbitration against Epson in JAMS seeking
   9 (among other relief) to enjoin certain business practices Epson conducts in California, and served

  10 their arbitration demands on Epson in California.

  11          11.    On information and belief, Does 1-20,000, inclusive, are individuals who, through

  12 their counsel at Labaton Sucharow, have commenced or, through their counsel, have threatened to

  13 commence binding arbitration against Epson in JAMS in California.            Epson will amend its

  14 complaint to identify these individuals as their arbitrations are filed and Epson is able to confirm

  15 that the individuals are, in fact, Epson consumers bound by Epson’s EULA.

  16                            The End-User Software License Agreement

  17          12.    Epson printers include software and firmware that consumers can keep up-to-date

  18 with the latest upgrades, improvements, and patches through updates they can download over the

  19 Internet. In accepting these updates, Epson consumers are also asked to accept the then-current

  20 EULA. A true and correct copy of the operative EULA is attached to this Complaint as Exhibit 1.
  21          13.    On information and belief, each of the Defendants accepted the terms of the

  22 operative EULA.

  23          14.    Among other terms, the EULA includes several provisions relating to arbitration
  24 for consumers living within the United States. With respect to any dispute between a consumer

  25 and Epson (excluding specified intellectual property claims and claims for public injunctive

  26 relief), the EULA requires the parties “to try, for sixty (60) days, to resolve any Dispute

  27 informally” before filing an arbitration. EULA § 22.2. The parties further agree that “engaging in

  28 this initial dispute resolution process is a material term” of the EULA “and a requirement that

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   1 must be fulfilled before commencing any arbitration.” Id. The parties acknowledge in the EULA

   2 that “either party’s failure to comply with the provisions” of the section requiring the informal

   3 dispute resolution efforts “would irreparably harm the other” and that “a court may issue an order

   4 staying arbitration (and any obligation to pay arbitration fees) until the initial dispute resolution

   5 process . . . is complete.” Id.
   6          15.      The EULA further makes clear that any “disagreements regarding compliance”

   7 with the informal dispute resolution term “shall be decided by a court, not an arbitrator,” and

   8 “pending resolution of any such disagreements by a court,” the parties agree that “arbitration (as
   9 well as any obligation to pay arbitration fees) shall be stayed until the initial dispute resolution

  10 process . . . is complete.” Id.

  11          16.      The EULA also provides that “if 20 or more demands for arbitration are filed

  12 relating to the same or similar subject matter and sharing common issues of law or fact, and

  13 counsel for the parties submitting the demands are the same or coordinated,” the parties “agree

  14 that this will constitute a ‘Mass Arbitration.’” § 22.6(h). Under the EULA, the parties “agree that

  15 [a mass arbitration] shall not be governed by JAMS Rules or administered by JAMS,” id.

  16 (emphasis original), and shall instead “be administered by FedArb, a nationally recognized

  17 arbitration provider” and “resolved using FedArb’s Framework for Mass Arbitration Proceedings

  18 ADR-MDL.” Id.

  19          17.      As with the mandatory informal dispute resolution provisions, the EULA confirms

  20 that the parties agree that: “if either party fails or refuses to commence the Mass Arbitration before
  21 FedArb,” the other “may seek an order from a court of competent jurisdiction compelling

  22 compliance . . . and compelling administration of the Mass Arbitration before FedArb”; “all

  23 arbitrations comprising the Mass Arbitration (and any obligation to pay arbitration fees) shall be
  24 stayed”; “either party’s failure to comply” with the mass arbitration provision “would irreparably

  25 harm the other”; and “a court may issue an order staying the arbitrations (and any obligation to

  26 pay arbitration fees) until any disagreements over [the mass arbitration provision] are resolved by

  27 the court.” Id.

  28

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   1                                       Defendants’ Arbitrations

   2          18.     On August 31, 2022, an attorney from Labaton Sucharow sent or caused to be sent

   3 to Epson’s legal department a purported “Notice of Claims of 6,570 Individuals Against Epson

   4 America, Inc.” In this letter, Labaton Sucharow claimed that it represented 6,570 individuals

   5 “who purchased Epson printers and wish to use less expensive third-party ink,” but complained of
   6 Epson’s alleged “pattern or practice of using unauthorized software and firmware updates to

   7 disable [their] printers when non-Epson, replacement ink cartridges are installed.”            Absent

   8 reaching a “satisfactory resolution” within 60 days, Labaton Sucharow represented that these
   9 6,570 clients would “begin filing arbitrations” with JAMS.           The only information Labaton

  10 Sucharow provided regarding each of its 6,570 clients was the client’s name, phone number, and

  11 email address.

  12          19.     On September 16, 2022, Epson responded, noting that the minimal information

  13 provided by counsel was insufficient to enable Epson to make even threshold assessments of the

  14 validity of their clients’ claims. Among other things, Labaton Sucharow provided no information

  15 as to whether each of its clients owns an Epson printer; if so, which printer the client purportedly

  16 bought (since not all Epson printers utilize the technology complained of in the August 31, 2022

  17 letter); the date of purchase (to assess timeliness of claims); whether each client actually

  18 downloaded the challenged firmware or software; and whether each client in fact bought and tried

  19 to use any third-party ink cartridges. Accordingly, Epson requested additional information to

  20 further the informal dispute resolution process, including: (i) proof of printer purchase; (ii) printer
  21 model purchased; (iii) date of printer purchase; (iv) serial number of printer purchased; (v) date on

  22 which third-party ink cartridges were purchased; (vi) brand of third-party ink cartridges purchased;

  23 and (vii) the date of any firmware or software download.
  24          20.     On September 22, 2022, counsel at Labaton Sucharow sent or caused to be sent a

  25 further purported “Notice of Claims” against Epson, this time for an additional 6,802 clients,

  26 making the same substantive allegations as those levied in Labaton Sucharow’s August 31, 2022

  27 letter, and again stating that these clients would “begin filing arbitrations” with JAMS absent a

  28 “satisfactory resolution.”

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   1            21.   To date, none of the Defendants has provided the information requested by Epson

   2 on September 16, 2022.        Indeed, Labaton Sucharow has provided verifiable serial number

   3 information for less than 9% of the 13,372 clients identified in its two formal “Notice of Claims”

   4 letters.

   5            22.   On behalf of its clients, including Defendants, Labaton Sucharow has taken the
   6 position that the operative EULA does not apply to their claims.

   7            23.   On March 6, 2023, Defendants, through their counsel, Labaton Sucharow,

   8 commenced individual binding arbitrations in JAMS in violation of the EULA. Doe Defendants
   9 1-20,000, inclusive, have—through their counsel—filed or threatened to file identical arbitrations

  10 in JAMS in violation of the EULA.

  11                                         First Cause of Action
                                              Declaratory Relief
  12                                       (Against All Defendants)
  13            24.   Epson incorporates by reference and realleges paragraphs 1-23 of this Complaint as
  14 if fully set forth herein.

  15            25.   Pursuant to Section 1060 et seq. of the California Code of Civil Procedure, the
  16 Court may declare rights, duties, status, and other legal relations of the parties, regardless of

  17 whether further relief is or could be claimed, in the case of an actual controversy relating to the

  18 parties’ legal rights and duties. The declaration may be had before there has been any breach of

  19 the obligation in respect to which said declaration is sought.

  20            26.   On information and belief, Epson and Defendants are parties to the EULA.
  21            27.   An actual controversy has arisen between Epson and Defendants regarding
  22 Defendants’ duties and performance under the EULA, including, specifically, their non-

  23 compliance with the condition precedent that they engage in a 60-day period of good faith efforts
  24 at informal dispute resolution prior to filing any arbitration and their filing of more than

  25 20 individual arbitrations raising the same or similar issues, through the same counsel, with JAMS

  26 instead of with FedArb.

  27            28.   Resolution of the parties’ respective rights and duties under the EULA by
  28 declaration of the Court is necessary, as there exists no adequate remedy at law and Epson will be

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   1 irreparably harmed if Defendants maintain their arbitrations in the wrong arbitral forum and

   2 without first engaging in the good faith informal dispute resolution efforts required by the EULA.

   3          29.    Accordingly, Epson seeks a declaration from this Court that, inter alia:

   4 (i) Defendants are bound by the EULA; (ii) Defendants have not complied with the EULA’s

   5 mandatory informal dispute resolution requirement; (iii) Defendants must dismiss their individual
   6 arbitrations filed in JAMS and, to the extent they refile their claims, must file them with FedArb,

   7 for resolution under its Framework for Mass Arbitration Proceedings ADR-MDL, instead of

   8 JAMS, and only after complying with the EULA’s mandatory informal dispute resolution
   9 requirement; and (iv) Epson is entitled to a stay of arbitration proceedings filed by Defendants

  10 with JAMS, including a stay of any requirements to pay JAMS filing fees, under the EULA

  11 pending resolution of this action.

  12                                           Prayer for Relief

  13          WHEREFORE, Epson prays for judgment in its favor and against Defendants, as follows:

  14          A.     For a declaration adopting each of Epson’s contentions set forth in the above Cause

  15 of Action for Declaratory Relief;

  16          B.     For injunctive relief requiring Defendants to dismiss the arbitrations they have filed

  17 with JAMS;

  18          C.     For Epson’s attorneys’ fees to the extent permitted by law or contract;

  19          D.     For Epson’s costs of suit; and

  20          E.     For all such other relief as the Court may deem proper.
  21

  22 DATED: March 10, 2023                        QUINN EMANUEL URQUHART &
                                                  SULLIVAN, LLP
  23
  24

  25                                                  By
                                                           Shon Morgan
  26                                                       Attorneys for Plaintiff Epson America, Inc.
  27

  28

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                       EXHIBIT 1
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  refund.
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                                       ID #:90
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     11.   Entire Agreement. This Agreement is the entire agreement
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     purchase order, communication, advertisement, or representation
     concerning the Software.

     12.    Binding Agreement; Assignees. This Agreement shall be binding
     upon, and inure to the benefit of, the parties hereto and their respective
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     13.    Severability; Modifications. If any provision herein is found void or
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     22.8 and 22.9 if you are located in the U.S.), it will not affect the validity of
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     according to its terms. This Agreement may only be modified in writing
     signed by an authorized representative of Epson.
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     14.     Indemnification. You agree that you will indemnify and hold
     harmless, and upon Epson’s request, defend Epson and its directors,
     officers, shareholders, employees and agents from and against any and
     all losses, liabilities, damages, costs, expenses (including reasonable
     attorneys’ fees), actions, suits, and claims arising from (i) any breach of
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     the Epson Hardware. If Epson asks you to defend any such action, suit or
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     prior written approval of Epson.

     15.     Termination. Without prejudice to any other rights Epson has, your
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     example, if you install the Software, the Software may cause your Device
     to send information about your Epson Hardware such as model and serial
     number, country identifier, language code, operating system information,
     and Epson Hardware usage information to an Epson Internet site which
     may return promotional or service information to your Device for display.
     Any processing of information provided through the Software, shall be
     according to applicable data protection laws and the Epson Privacy Policy
     located at
     https://global.epson.com/privacy/area_select_confirm_eula.html. To the
     extent permitted by applicable laws, by agreeing to the terms of this
     Agreement and by installing the Software, you consent to the processing
     and storage of your information in and/or outside your country of
     residence. If there is a specific privacy policy incorporated into the
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     Software and/or displayed when you use the Software (for example, in the
     case of certain software application software), such specific privacy policy
     shall prevail over the Epson Privacy Policy stated above.

     18.     Third Party Websites. You may, through hypertext or other
     computer links from the Software, gain access to websites and use
     certain services that are not under the control of or operated by Epson,
     but rather are controlled by third parties. You acknowledge and agree that
     Epson is not responsible for such third party sites or services, including
     their accuracy, completeness, timeliness, validity, copyright compliance,
     legality, decency, quality, or any other aspect thereof. These third party
     websites/services are subject to different terms and conditions and when
     you access and use third party websites/services, you will be legally
     bound by the terms and conditions of those websites/services. If there is
     a conflict between this Agreement and terms and conditions of third party
     websites/services, the third party websites’/services’ terms and conditions
     will govern with respect to your access and use of those
     websites/services. Although Epson may provide a link to a third party
     website/service from the Software, such a link is not an authorization,
     endorsement, sponsorship or affiliation by Epson with respect to such
     website/services, its content, its owners or its providers. Epson provides
     such links for your reference and convenience only. Accordingly, Epson
     makes no representations whatsoever concerning such websites/services
     and does not provide any support related to such third party sites or
     services. Epson has not tested any information, products or software
     found on such websites/services and therefore cannot make any
     representations whatsoever with respect thereto. You agree that Epson is
     not responsible for the content or operation of such websites/services,
     and it is up to you to take precautions to ensure that whatever you select
     is free of items such as viruses, worms, Trojan horses and other items of
     a destructive nature. You are solely responsible for determining the extent
     to which you may use any content at any other websites/services to
     which you link from this Software.
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     (IF YOU ARE LOCATED IN THE UNITED STATES,
     THE FOLLOWING SECTIONS 19 - 23 APPLY TO
     YOU)

     19.     Ink Purchases. For certain Epson printer products sold in North
     America, the Software may also display an option to buy ink from Epson.
     If you click on the buy button, the Software will cause your Device to
     display Epson Hardware cartridge types and ink levels and provide other
     information about your cartridges, such as the colors, available cartridge
     sizes, and prices for replacement ink cartridges, which you may purchase
     online from Epson.

     20.    Downloadable Updates. You may also be able to download from an
     Epson Internet site updates or upgrades to the Software if such updates
     or upgrades are made available. If you agree to install the Software, any
     transmissions to or from the Internet, and data collection and use, will be
     in accordance with Epson’s then-current Privacy Policy, and by installing
     the Software you agree that such then-current Privacy Policy shall govern
     such activities.

     21.      Epson Accounts and Promotional Messages. In addition, if you
     install the Software and register your Epson Hardware with Epson, and/or
     you create an account at the Epson Store, and provided your consent to
     such use, you agree that Epson may merge the data collected in
     connection with installation of the Software, registration of your Epson
     Hardware and/or creation of your Epson Store account, consisting of
     personal information and non-personally identifiable information, and use
     such merged data to send you Epson promotional or service information.
     If you do not wish to send information about your Epson Hardware or
     receive promotional or service information, you will be able to disable
     these features on a Windows system through the Monitoring Preferences
     section in the driver. On a Mac operating system, you can disable these
     features by uninstalling the Epson Customer Research Participation and
     Low Ink Reminder software.

     22.  DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND WAIVER
     OF CLASS ACTIONS AND CLASS ARBITRATIONS
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       22.1       Disputes. The terms of this Section 22 shall apply to all
       Disputes between you and Epson. The term “Dispute” is meant to
       have the broadest meaning permissible under law or in equity and
       includes any past, present, or future dispute, claim, controversy or
       action between you and Epson including those that arose before
       the existence of this or any prior Agreement arising out of or
       relating to this Agreement (including its formation, performance, or
       breach), the Software, Epson Hardware, the parties’ relationship
       with each other and/or any other transaction involving you and
       Epson, whether in contract, or with respect to warranty,
       misrepresentation, fraud, tort, intentional tort, statute, regulation,
       ordinance, or any other legal or equitable basis. However, a
       “Dispute” does not include a claim or cause of action for (a)
       trademark infringement or dilution, (b) patent infringement, (c)
       copyright infringement or misuse, or (d) trade secret
       misappropriation (an “IP Claim”). A “Dispute” also does not include
       a request for public injunctive relief. You and Epson agree,
       consistent with Section 22.6(a), that a court, not an arbitrator, may
       decide if a claim or cause of action is for an IP Claim, as well as
       whether a claim seeks public injunctive relief.

       22.2       Initial Dispute Resolution. Before submitting a claim for
       arbitration in accordance with this Section 22, you and Epson agree
       to try, for sixty (60) days, to resolve any Dispute informally. If Epson
       and you do not reach an agreement to resolve the Dispute within
       the sixty (60) days, you or Epson may commence an arbitration in
       accordance with Section 22.6. Notice to Epson must be addressed
       to: Epson America, Inc., ATTN: Legal Department, 3131 Katella
       Avenue, Los Alamitos, CA 90720-2335. Any notice of the Dispute
       shall include the sender’s name, address and contact information,
       the facts giving rise to the Dispute, and the relief requested. Any
       notice sent to you will be sent to the most recent address Epson
       has in its records for you. For this reason, it is important to notify us
       if your address changes by emailing us at
       EAILegal@ea.epson.com or writing us at the address above. You
       and Epson agree to act in good faith to resolve the Dispute before
       commencing arbitration in accordance with this Section 22. To
       minimize the cost and inconvenience to all parties, and to promote
       prompt resolution of Disputes, you and we agree that engaging in
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       this initial dispute resolution process is a material term of this
       Agreement and a requirement that must be fulfilled before
       commencing any arbitration.

       Consistent with Section 22.6(a), you and Epson agree that any
       disagreements regarding compliance with this Section 22.2 shall be
       decided by a court, not an arbitrator; pending resolution of any such
       disagreements by a court, which may include requests to compel
       compliance with this Section 22.2, you and we agree that arbitration
       (as well as any obligation to pay arbitration fees) shall be stayed
       until the initial dispute resolution process in Section 22.2 is
       complete. You and Epson acknowledge that either party’s failure to
       comply with the provisions of this Section 22.2 would irreparably
       harm the other, and you and Epson agree that a court may issue an
       order staying arbitration (and any obligation to pay arbitration fees)
       until the initial dispute resolution process in this Section 22.2 is
       complete.

       22.3      Binding Arbitration. If we do not reach an agreed upon
       solution within a period of sixty (60) days from the time informal
       dispute resolution is pursued pursuant to Section 22.2 above, then
       either party may initiate binding arbitration. Except as stated below
       in Section 22.4, you and Epson agree that all Disputes shall be
       resolved by binding arbitration according to this Agreement.
       ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A
       JUDGE OR JURY IN A COURT PROCEEDING, AND YOUR
       RIGHT TO DISCOVERY AND GROUNDS FOR APPEAL ARE
       MORE LIMITED THAN IN COURT. Pursuant to this Agreement, and
       except as stated below in Section 22.6(h), binding arbitration shall
       be administered by JAMS, a nationally recognized arbitration
       provider, pursuant to the JAMS Streamlined Arbitration Rules and
       Procedures or its applicable code of procedures then in effect for
       consumer related disputes, but excluding any rules that permit
       class arbitration. For more detail on the procedure to initiate
       arbitration and what your demand for arbitration should include, see
       Sections 22.6(g) and 22.6(h) below. You and Epson understand and
       agree that (a) the Federal Arbitration Act (9 U.S.C. §§ 1 et seq.)
       governs the interpretation and enforcement of this Section 22, (b)
       this Agreement memorializes a transaction in interstate commerce,
       and (c) this Section 22 shall survive termination of this Agreement.
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       22.4      Exception - Small Claims Court. Notwithstanding the
       parties’ agreement to resolve Disputes through arbitration, either
       party can elect to have an individual claim resolved in small claims
       court of your state or municipality if the action is within that court’s
       jurisdiction, even if the claim was initiated by another party in a
       different forum.
       22.5      WAIVER OF CLASS ACTION AND CLASS
       ARBITRATION. YOU AND EPSON AGREE THAT EACH PARTY
       MAY BRING DISPUTES AGAINST THE OTHER PARTY ONLY IN
       AN INDIVIDUAL CAPACITY, AND NOT AS A CLASS action or
       class arbitration. If any court or arbitrator determines that the class
       action waiver set forth in this paragraph is void or unenforceable for
       any reason or that an arbitration can proceed on a class basis, then
       the arbitration provision set forth above in Section 22.3 shall be
       deemed null and void in its entirety and the parties shall be deemed
       to have not agreed to arbitrate disputes.

       22.6       Arbitration Procedure.
              a) The arbitrator shall be empowered to grant whatever relief
              would be available in a court under law or in equity, except for
              requests for public injunctive relief, if any, which shall be
              decided by a court, not an arbitrator. If either party seeks
              public injunctive relief, that request for relief shall be severed
              from any arbitration proceeding and stayed pending a final
              determination of the arbitration. Nothing in Section 22 of this
              Agreement shall be construed as a waiver of either party’s
              right to seek public injunctive relief, and you and we agree to
              cooperate to effect the stay of any requests for public
              injunctive relief.

              The arbitrator is bound by the terms of this Agreement. The
              arbitrator, and not any federal, state or local court or agency,
              shall have exclusive authority to resolve all disputes arising out
              of or relating to the interpretation, applicability, enforceability or
              formation of this Agreement, including any claim that all or any
              part of this Agreement is void or voidable. Notwithstanding this
              broad delegation of authority to the arbitrator, and consistent
              with Sections 22.1, 22.2, 22.6(a) and 22.6(h) of this
              Agreement, a court may determine: (i) the limited question of
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            whether a claim or cause of action is for an IP Claim, which is
            excluded from the definition of “Disputes” in Section 22.1
            above; (ii) disagreements regarding compliance with the initial
            dispute resolution provisions in Section 22.2 above; (iii)
            disagreements regarding claims for public injunctive relief as
            set forth in this Section 22.6(a); and/or (iv) disagreements
            regarding the provisions for “Mass Arbitration” in Section
            22.6(h) below.
            b) Costs of Arbitration and Legal Fees. In some instances, the
            costs of arbitration can exceed the costs of litigation. Each
            party will have the right to use legal counsel in connection with
            arbitration at its own expense. If, however, the arbitrator
            determines that a claim or defense asserted by you or Epson
            is patently frivolous or in bad faith, the arbitrator may award
            the reasonable legal fees and costs incurred by the other party
            defending against the claim or defense. By way of illustration
            only, and without limitation, a patently frivolous claim may be
            found where it is based on a product never purchased by a
            claimant.

            c) Discovery. The discovery or exchange of non-privileged
            information relevant to the Dispute may be allowed during the
            arbitration. The right to discovery may be more limited in
            arbitration than in court.

            d) Awards. The arbitrator’s award is binding and may be
            entered as a judgment in any court of competent jurisdiction.

            e) Hearing Format and Location. You may choose to engage in
            arbitration hearings by telephone or, if you and we both agree,
            to conduct it online, in lieu of appearing live. Arbitration
            hearings not conducted by telephone or online shall take place
            in a location reasonably accessible from your primary
            residence, or in Orange County, California, at your option.

            f) Settlement Offers. During the arbitration, the amount of any
            settlement offer made shall not be disclosed to the arbitrator
            until after the arbitrator determines the amount, if any, to which
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            you or Epson is entitled.

            g) Initiation of Arbitration Proceeding Before JAMS. Except as
            stated in Section 22.6(h) below, if you or Epson commences
            arbitration, the arbitration shall be governed by the JAMS
            Streamlined Arbitration Rules and Procedures or the
            applicable rules of JAMS that are in effect when the arbitration
            is filed, excluding any rules that permit arbitration on a class-
            wide basis (the “JAMS Rules”), available at
            https://www.jamsadr.com or by calling 1-800-352-5267, and
            under the rules set forth in this Agreement. All Disputes shall
            be resolved by a single neutral arbitrator, which shall be
            selected in accordance with the JAMS Streamlined Arbitration
            Rules and Procedures, and both parties shall have a
            reasonable opportunity to participate in the selection of the
            arbitrator. If either you or Epson decides to arbitrate a Dispute
            before JAMS, both parties agree to the following procedure:

               (i) Write a Demand for Arbitration. The demand must
               include a description of the Dispute and the amount of
               damages sought to be recovered. The demand also
               must identify the product purchased, identify the date
               and place of purchase and, if possible, provide the serial
               number and proof of purchase. You can find a copy of a
               demand for arbitration at https://www.jamsadr.com.
               (ii) Send three copies of the demand for arbitration, plus
               the appropriate filing fee, to: JAMS, 500 North State
               College Blvd., Suite 600 Orange, CA 92868, U.S.A.
               (iii) Send one copy of the demand for arbitration to the
               other party (at the same address as the notice of a
               dispute, above in section 22.2), or as otherwise agreed
               by the parties.


            h) Initiation of Mass Arbitration Before FedArb.
            Notwithstanding Sections 22.3 and 22.6(g), if 20 or more
            demands for arbitration are filed relating to the same or similar
            subject matter and sharing common issues of law or fact, and
            counsel for the parties submitting the demands are the same
            or coordinated, you and we agree that this will constitute a
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            “Mass Arbitration.”

            If a Mass Arbitration is commenced, you and we agree that it
            shall not be governed by JAMS Rules or administered by
            JAMS. Instead, a Mass Arbitration shall be administered by
            FedArb, a nationally recognized arbitration provider, and
            governed by the FedArb Rules in effect when the Mass
            Arbitration is filed, excluding any rules that permit arbitration
            on a class-wide basis (the “FedArb Rules”), and under the
            rules set forth in this Agreement. The FedArb Rules are
            available at https://www.fedarb.com/ or by calling 1-650-328-
            9500. You and we agree that the Mass Arbitration shall be
            resolved using FedArb’s Framework for Mass Arbitration
            Proceedings ADR-MDL, available at https://www.fedarb.com/.

            Before any Mass Arbitration is filed with FedArb, you and we
            agree to contact FedArb jointly to advise that the parties
            intend to use FedArb’s Framework for Mass Arbitration
            Proceedings ADR-MDL. The individual demands comprising
            the Mass Arbitration shall be submitted on FedArb’s claim
            form(s) and as directed by FedArb.

            Consistent with Section 22.6(a) above, you and Epson agree
            that if either party fails or refuses to commence the Mass
            Arbitration before FedArb, you or Epson may seek an order
            from a court of competent jurisdiction compelling compliance
            with this Section 22.6(h) and compelling administration of the
            Mass Arbitration before FedArb. Pending resolution of any
            such requests to a court, you and we agree that all arbitrations
            comprising the Mass Arbitration (and any obligation to pay
            arbitration fees) shall be stayed. You and Epson acknowledge
            that either party’s failure to comply with the provisions of this
            Section 22.6(h) would irreparably harm the other, and you and
            Epson agree that a court may issue an order staying the
            arbitrations (and any obligation to pay arbitration fees) until
            any disagreements over the provisions of this Section 22.6(h)
            are resolved by the court.
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                                    ID #:100
       22.7       30 Day Opt-out Right. You may elect to opt-out (exclude
       yourself) from the final, binding, individual arbitration procedure and
       waiver of class proceedings set forth in Sections 22.3 to 22.6 of this
       Agreement by sending a written letter to the Epson address listed
       above in Section 22.2 within thirty (30) days of your assent to this
       Agreement that specifies (i) your name, (ii) your mailing address,
       and (iii) your request to be excluded from the final, binding
       individual arbitration procedure and waiver of class proceedings
       specified in this Section 22. In the event that you opt-out consistent
       with the procedure set forth above, all other terms set forth in the
       Agreement, including this Section 22, shall continue to apply,
       including the requirement to provide notice prior to litigation. If you
       opt-out of these arbitration provisions, Epson will also not be bound
       by them.

       22.8      Amendments to Section 22. Notwithstanding any provision
       in this Agreement to the contrary, you and Epson agree that if
       Epson makes any future amendments to the dispute resolution
       procedure and class action waiver provisions (other than a change
       to Epson’s address) in this Agreement, Epson will obtain your
       affirmative assent to the applicable amendment. If you do not
       affirmatively assent to the applicable amendment, you are agreeing
       that you will arbitrate any Dispute between the parties in
       accordance with the language of this Section 22 (or resolve
       disputes as provided for in Section 22, if you timely elected to opt-
       out) when you first assented to this Agreement.

       22.9     Severability. If any provision in this Section 22 is found to
       be unenforceable, that provision shall be severed with the
       remainder of this Agreement remaining in full force and effect. The
       foregoing shall not apply to the prohibition against class actions as
       provided in Section 22.5. This means that if Section 22.5 is found to
       be unenforceable, the entire Section 22 (but only Section 22) shall
       be null and void.


     23.  For New Jersey Residents. NOTWITHSTANDING ANY TERMS
     SET FORTH IN THIS AGREEMENT, IF ANY OF THE PROVISIONS SET
     FORTH IN SECTIONS 7 OR 8 ARE HELD UNENFORCEABLE, VOID
     OR INAPPLICABLE UNDER NEW JERSEY LAW, THEN ANY SUCH
     PROVISION SHALL NOT APPLY TO YOU BUT THE REST OF THE
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                                     ID #:101
         AGREEMENT SHALL REMAIN BINDING ON YOU AND EPSON.
         NOTWITHSTANDING ANY PROVISION IN THIS AGREEMENT,
         NOTHING IN THIS AGREEMENT IS INTENDED TO, NOR SHALL IT BE
         DEEMED OR CONSTRUED TO, LIMIT ANY RIGHTS AVAILABLE TO
         YOU UNDER THE TRUTH-IN-CONSUMER CONTRACT, WARRANTY
         AND NOTICE ACT.


      2022




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                                                                                                                    CM-010
     Case Electronically  Filed by Superior Court of California, County of Orange, 03/13/2023 04:00:51 PM.
           8:24-cv-01996-FWS-DFM          # 3 - Document
                                                DAVID  H.    1-1 Filed
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
 30-2023-01315890-CU-MC-CXC        - ROA                   YAMASAKI,   Clerk09/16/24
                                                                             of the Court Page
                                                                                          By O.  64  of Deputy
                                                                                                Lopez,
                                                                                              FOR
                                                                                                         351
                                                                                                  COURT USE
                                                                                                                Page
                                                                                                            ONLY Clerk.
Shon Morgan (No. 187736), Jack Baumann (No. 288881)                         ID #:102
865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543

          TELEPHONE NO.: (213) 443 3000                    FAX NO. (Optional): (213) 443 3100
         E-MAIL ADDRESS: shonmorgan@quinnemanuel.com
     ATTORNEY FOR (Name): EPSON AMERICA, INC.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 STREET ADDRESS: 700 Civic Center Drive West
 MAILING ADDRESS:
CITY AND ZIP CODE: Santa Ana, California 92701
      BRANCH NAME: Central Justice Center

CASE NAME:
                        EPSON AMERICA, INC. v. GRAESEN ARNOFF, ET AL.

       CIVIL CASE COVER SHEET                                  Complex Case Designation                      CASE NUMBER:

        Unlimited                      Limited                  Counter               Joinder
        (Amount                        (Amount
                                                        Filed with first appearance by defendant JUDGE:
        demanded                       demanded is
                                                            (Cal. Rules of Court, rule 3.402)
        exceeds $25,000)               $25,000 or less)                                           DEPT.: CX-101
                                         Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                       Provisionally Complex Civil Litigation
            Auto (22)                                             Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                               Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                    Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                Mass tort (40)
                                                                  Insurance coverage (18)
             Asbestos (04)                                        Other contract (37)                            Securities litigation (28)
             Product liability (24)                                                                             Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                           Insurance coverage claims arising from the
                                                                  Eminent domain/Inverse
             Other PI/PD/WD (23)                                                                                above listed provisionally complex case
                                                                  condemnation (14)
                                                                                                                types (41)
      Non-PI/PD/WD (Other) Tort                                   Wrongful eviction (33)                  Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                        Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                          Miscellaneous Civil Complaint
             Defamation (13)                                      Commercial (31)
                                                                                                                 RICO (27)
             Fraud (16)                                           Residential (32)
                                                                                                                 Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                          Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                  Asset forfeiture (05)                          Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)
      Employment                                                  Petition re: arbitration award (11)            Other petition (not specified above) (43)

             Wrongful termination (36)                            Writ of mandate (02)
             Other employment (15)                                Other judicial review (39)
2.  This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.         Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                      court
                                                                  f.         Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b.        nonmonetary; declaratory or injunctive relief c.           punitive
4. Number of causes of action (specify): One (Declaratory Relief)
5. This case          is           is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 10, 2023
Shon Morgan
                             (TYPE OR PRINT NAME)                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
  Judicial Council of California                             CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1, 2021]                                                                                                                              www.courts.ca.gov
        Case 8:24-cv-01996-FWS-DFM                      Document 1-1               Filed 09/16/24        Page 65 of 351 Page
                                                                                                                          CM-010
                                  INSTRUCTIONS ON HOW TO ID
                                                         COMPLETE
                                                            #:103 THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                        CIVIL CASE COVER SHEET
     Case Electronically Filed by Superior Court of California, County of Orange, 03/13/2023 04:00:51 PM.
           8:24-cv-01996-FWS-DFM
  30-2023-01315890-CU-MC-CXC      - ROA # 4 - Document      1-1 Filed
                                              DAVID H. YAMASAKI,      Clerk09/16/24
                                                                            of the Court Page   66 of Deputy
                                                                                         By O. Lopez, 351 Page
                                                                                                             Clerk.
                                                                       ID #:104
                                                                                                                                                   SUM-100
                                                   SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
Graesen Arnoff, Suzanne Bonds, Matt Bozylinsky, Bill Bunkers, Erin Busse, Cindy Christensen,
Michelle Churchill, Joshua Cook, (Additional Parties Attachment Form is attached)
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
EPSON AMERICA, INC.

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                     CASE NUMBER:
The name and address of the court is:                                                (Número del Caso):
(El nombre y dirección de la corte es): SUPERIOR COURT OF CALIFORNIA
                        Complex
                    XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX
County of Orange (700     Civic Center Drive West, Santa Ana, CA 92701)
 751 W Santa Ana Blvd., Santa Ana, Ca 92702
                                                                                                        QUINN EMANUEL URQUHART & SULLIVAN, LLP
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Shon Morgan; 865 South Figueroa Street 10th Floor, Los Angeles, California 90017-2543; (213) 443 3000
DATE: March 10, 2023                                                Clerk, by                                               , Deputy
(Fecha)                                                             (Secretario)                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                     1.      as an individual defendant.
                                     2.      as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
  Judicial Council of California
                                                                      SUMMONS                                                                    www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
        Case 8:24-cv-01996-FWS-DFM                     Document 1-1 Filed 09/16/24                     Page 67 of 351 Page
                                                            ID #:105
                                                                                                                              SUM-200(A)
 SHORT TITLE:                                                                                  CASE NUMBER:

 EPSON AMERICA, INC. v. GRAESEN ARNOFF, SUZANNE BONDS, ET AL.


                                                        INSTRUCTIONS FOR USE
     This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

            Plaintiff          Defendant             Cross-Complainant              Cross-Defendant
Carolyn Dezutter, Brandy Dolderer, Jason Elkins, Cheryl Fulk, Denise Harrold, Rachel Hassett, Amy Hood, Kristi Jacobs, Michelle
Jenkins, Christine Jonas, Megan Kline, Sara Koehnke, Kelly Kunz, Julie Lee, Margie Markevicius, Kevin Nameth, Adam Newman, Kelly
Nielsen, Susan Nowinski, Glaiza O'Malley, Dino Pezzato Iii, Natalee Roseboom, Noreen Shambo, Jordan Sinwelski, Sabrina Stroud,
Stella Volkman, Douglas Wagner, Marta Zachara, Richard Polich, Catherine Walker, Shelby Cooper, Evan Weightman, Shelbi
Mcfarland, Lisa Colp, John Salidas, Hannah Hood, Marie Ortega, Brian Naydol, Nicole Reynolds, Ward Roney, Lisa Borel, Dawn
Ferguson, Kinh Nguyen, Connie Fields, Max Lima, Debra Coe, Steven Wear, Lora Benson, Nick Martinez, Craig Lux, Cedric Nocon,
Richard Steele, Crystal Gibson, Charlene Madsen, Angelica Hernandez, Hideki Hara, Jennifer Lecharoen, William Butler, Ronald
Talley, Marianina Arredondo, Charmaine Contreras, K Poore, Cathy Steele, Manique English, Cynthia Jaramillo, Jonathan Mok, Penny
Dahlberg, Demir Bracic, Vincent Ibanez, John Lahommedieu, Princess Hampton, James Lonergan, Michael Walton, Wynn Esclovon,
Thomas Green, Orlando Malaluan, Alexandria Vazquez, Carey Hylton, Veronica Perkins, Derek Newman, Brandon Medow, Ronald
Stout, Kevin Teichen, Katie Hart, Jill Pacho, Ronald Piner, Jennifer Culbertson, Joel Borja, Blanca Carrasco, William Kewley, Rubie
Gillon, Marta Madrid, Jennifer Ashline, Vicki Mallard, Michelle Lavoy, Mabel Tsi, Maria Livingston, Shamarra Frazier, Tyrone Hazel,
Andres Vitiosus, Joseph Miranda, Cielito Leoncio, Monica Mungary, Tracy Smith, Madisyn Hill, Kara Heuer, Katherine Simpson, Allie
Beyer, Johnny Murphy, Sharon Young, Kali Massey, Michael Goldstein, Jennifer Toy, Kathy James, Vivian Mooers, Art Faelnar, Nidia
Montoya, Daniel Wimberly, Bessie Brisco, Lucero Villa, Maria Brooks, Krzysztof Zachara, Shane Campbell, Freddy Juarez, William
Deacon, Adrian Saldana, Nathan Gotten, Marissa Smith, Tyler Varela-Rivas, Manuel Rodriguez, Sandra Henderson, Marissa Mangold,
Greg Prodigalidad, Martin Ackerson, William Sanchez, Marcus David, Cindi Metzger, John Bohen, Fernando Hernandez, Juanita
Kennedy, Alfredo Felix, Tyler Ridge, Susan Tran, David Rayford, George Love, Dominique Powell, Anthony Graham, Eric Bianco,
Miguel Rodriguez, Maribeth Harder, Jessica Calhoun, Matt Gruenwald, Sydney Zubeck, Jjimmie Gibbs, Rich Cafferkey, Timothy
Weaver, Joanna Ammons, Kathie Swibaker, Paul Aguilar, Thomas Rees, Eric Piotrowski, Mark Messina, William Midgett, Anthony
Willis, Murad Abu Hannoun, Gina Sangricoli, Ann Wright, Evangeline Lee, Bob Berg, Michelle Mitchell, Jean Macaluso, Kalena Bush,
Ryan Hengel, Jacklyn Walker, Hale Knox, Karen Grano, Rabecca Broschat, Annette Vodola, Denise Anderson Mckay, Victor Varney,
Sean Weerasinghe, Ray Covert, Elmer Orpilla, Carroll Montague, Delbert Hobson, Scott Adams, Linda Calvin, Shenise Mcknight,
Cathy Abraham, Nick Loya, Steven Polgar, Isaiah Robinson, Mike Sizemore, Tanisha Metcalf, Miguel Morales, Mary Hickey, Vishal
Shah, Robert Hughes, Paris Gardner, Dana Lamb, Russel Savage, Donna Paul, Rickie Parks, Chantelle Adu-Berkoh, Rosa Casillas,
Lance Groff, Tim Burman, Demetra Doss, Steve Chavez, Antwain Allen, Krystol Lamar, Marko Trajkovikj, Tina Cox, Adriana Montiel,
Jorge Guzman, Larry Murphy, Connie Brown, Nicole Gomez, Kevin Rea, Patricia Hernandez, Caroline Garcia, Toya Kilgore, Maryjo
Lawson, Kim Hands, Patrick Foley, Patricia Angenbroich, Billy Weeks, Danielle Davis Tucker, Ricardo Robledo, Pedro Rosas, Tequila
Edwards, Andres Valdes, Griffin Jane, Ann Marie Yadegar, Nicole Diaz, Sylvia Nabong, Christina Buenaventura, Rokicki Brittney,
Theresa Gould, William Powers, Dana Holgerson, Kristen Koerber, Delores Franks, Christopher Toney, Robert Kim, Jeremy Mccoy,
Cynthia Conlin, Justin Thomas, Maurice Andrews, Marc Lee, Sydney Sabino, Sharon Brown, Elizabeth Luna, Nicholas Bowron, Jared
Coleman, Jamul Jones, Ruchard Krieg, Nathaniel Joseph, Timothy Viane, Richard Goldberg, Moore Jeanette, Erma Johnson,
Kimberley Gaul, Katherine Johnson, Sara Fiene, Michael Hirsch, Richard Schlosser, Veronica Drantz, Merelene Deo Chand, John
Fremont, Michael Holcomb, Bianca Rizzo Gatto, Gretchen Fehling, Dean Steinbrenner, Elia Cervantes, Wendy Steinberg, Byerley
Janna, Susan Gonzalez, Joycelyn Peete, Wallace Hudson, Christine Borovoy, Robert Hughes, Jacqueline Nitti-Silva, Edward
Swiebocki, Aldena Beisen, Terry Boyd, Daniel Warner, Echols Sandra, Nicole Marte, Mary Kalafut, Steven Keca, Jerry Upchurch, Gary
Klavans, Deborah Lindsey, Marilyn Gant, Sheila Chartier, Nicole Parrini, Reginald Woolston, Walter Ratajczak, Cole Leslie, Sharon
Carwell, Penni Russell, Alan Dascottr, Alana Hannant, Mitchell Cottrell, Tonya Green, Teneka Shelton, Vladislav Jurenka, Townes
Coates, Jeff Johnson, Tracy Knight, Carol Fritzgerald, Sharon Burgs, John Tenenbaum, Maria Yaou, Towanda Bell, Julie Clarke,
Michael Atkinson-Leon, David Phorasavong, Gloria Miles, Susan Brook, Tiffany Scharringhausen, Debra Knight, Sandy Selesky, Elroy
Johnson, Eric Pate, Regina Kelly, Brian Factor, Tanya Ray, Angel Collazo, Tammy Mcfeely, Patricia Medina, Demerette Kee, Marylou
Obos, Olufunmilayo Ashiru, Ande Wegner, Eboney Bell, David Felix, Elbert Jordan, Shelby Peters, John Farringer, David Cassiere,
Jerry Coonrod, Sandra Carcione, Dollicia Bell, Jose Gonzalez, Michael Rose, Kecia Gaines, Tiffany Kilgore, Michelle Viruet, Deborah
Taylor, Gundars Simanis, Frank Hauser, Mike Bowen, Shawn Passwater, Kari Meyer, Dawn Werner, Rachel Brauer, Rico Camacho,
Len Faltin, Mark Moreno, Crystal Weatherspoon, Lois Dickens, Marcy Lucchesi, Patrick Ramos, Rico Adams, Pamela Purl, Eric Willis,
Melinda Caudillo, Holly Grover, Rachel Galvin, Arturo Aragon, Jeanclaude Lominy, Candace Davis, Ryan Wasney, Yolanda Coler,
Lasheena Williams, Amanda Anderson, Ann Mitchell, Kaavir Ramirez, Alan Wolmer, Kathleen Garcia, Jorge Pedroza, Glen Hamel,
Dehlia Williamson, Mary Abegg Sanchez, Debra Kuen, Mary Young, Deborah Delaney, Tracy Hartley, Randall Licht, Donna Cox
                                                                                                                    Page     1    of        5
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case 8:24-cv-01996-FWS-DFM                     Document 1-1 Filed 09/16/24                     Page 68 of 351 Page
                                                            ID #:106
                                                                                                                              SUM-200(A)
 SHORT TITLE:                                                                                  CASE NUMBER:

 EPSON AMERICA, INC. v. GRAESEN ARNOFF, SUZANNE BONDS, ET AL.


                                                        INSTRUCTIONS FOR USE
     This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

            Plaintiff           Defendant            Cross-Complainant             Cross-Defendant
Melissa Calvano, Paul Cohen, Kathy Mccloud, Garret Ambrosio, William Macgregor, Alexandra Camacho, Teresa Fajardo, Cathy
Jackson, Jeffrey Chien, Wendy Waits, Stephen Alfon, Debbie Wilferling, Victor Castillo, Stephen Dobbins, Robert Evans, Howard Clark,
Carol Weinberg, Alejandra Quiroz, Gary Allen, Paul Meyser, Patricia Jackson, Scott Gibson, Dee Kresge, Bob Vannini, Laurence
Faulks, Janice Cope, Max Daniels, Debra Hill, Suzanne Guzman, Ninous Beitashour, Stephanie Seeley, Linda Haworth, Lance Dalgart,
Carlos Herrera, Mark Jones, Marjorie Heddinger, Samuel Brown, Jason Husted, Diane Richmond, Kathie Calhoun, Gisela Saenz,
Denise Reed, Brian Oltman, Michael Stadie, Jovana Lloyd, Willie Davis, Stephen Ferri, Patti Mcdonald, Chris Higham, Norman
Deorian, Cheryl Thomas, Douglas Mercer, Lydia Micheli, Lena Campos, Lisa Bernal, Sharon Peterson, Nick Burchett, Sharon
Gonzalez, Erica Jones, Michael Callahan, Christian Melanese, Jose Del Campo, Melissa Del Rosario, Osvaldo Alvarado, Alana Jelinek,
Suzanne Sule, Lissa Gates, Frederick Reckeweg, Kimberly Sinclair, Nikki Dohn, Ursula Zamora, Angela King, Susan Galvan, Dennis
Devilbiss, Robert Larson, Steven Boehm Boehm, Amy Hart, Amanda Yancy, Sandra Roller, Chelsea Loke, Frank Tucci, Cheryl Norton,
Angelica Shatokin, Kenneth Sullivan, J Conavay, Zeid Nasser, Susie Abboud, Christopher Heron, John Schmidt, Jane Litman, Ricky
Eck, Michael Betzag, Jacquelyn Donahue, Scott Binder, Joann Reeves, Penny Mores, Diane Phillips, Jimmie Hale, Joyce Beasley, Jill
Barnett, Ellany Lawrence, Constance Adler Galloway, Wendy Vasquez, Brian Alsup, Ken Goetz, Cheryl Scaccio, Amy Stone, Kim
Nunn, Annemarie Ruitenbach, Chitika Hemphill, Lisbeth Deforest, Stephanie Smith, Philip Searby, Eduardo Moreno, Readus Sago,
Karen Schmidtke, Brian Favia, Dana Bradford, Monique Blake, Curtis Revak, Gilbert Tisdale, Adam Bitterman, Roy Rumaner, Tim
Smith, Karen Hight, Valerie Gordon, Tim Burgess, Robert Oliver, Cheryl White, Michael Burns, Susan Slaughter, Amanda Quayle,
Melissa Poly, Maria Haro, Martin Miller, Jason Gadacz, Eric Hughes, Jolynne Lewis, Miranda Snyder, Vaughn Buxton, Dianaloo
Farmer, Toneshia Scales, Adam Bente, Sandra Lawrence, Debbie Gasaway, Harlow Cisco, Norman Milsner, Hamisi White, Frank
Fales, Eddie Smith, Julianne Camello, Takesia Sanford, John Raya, Mark Netzel, Diane Cizunas, Mark Ackerman, Lisa Kaysinger,
Kylie Nyboer, Danielle Emick, Dan Berry, Leilena Jones, James Reddish, Lorraine Rowe, Catherine Watt, Stu Oster, Ah Lan Ferrara,
Stacie Pendleton, Andy Arden, Caroline Pegueros, Kimberlee Black, Teressa Kohman, Whui Kim, Canda Gray, Justin Cooper, Tammie
Knight, Haller Norma, Patricia Thomas, Jay Romick, Michael Smith, Christian West, Diana Brooks, Salazar Daniel, Arash Shamsian,
Fran Long, Suzette Wilder, Warren Lamb, Brenda Anderson, Patricia Birdsall, Rachel Nguyen, Lisa Pena Humes, Kevin Robinson,
Murray Schechter, Corinne Andreano, Carol Novak, John Tarjavaara, Mercedes Gonzalez, Allen Wone, Kelly Manke, Susan
Digianfilippo, Craig Renner, John Lund, Carol Maidlow, Rodney Sloan, Lea Sims, Abu Omar, Jim Policastro, Chrystal Caudle, Tammi
Kellenberger, Aubrey Tanciangco, Bernadette Bitanga, Pam Martinez, Jan Bedell, Aimee Pavek, Chaka Theus, Hijinia Guerrero,
Patrick Musni, Gilberto Pantoja, Patty Justiniano, Jeffrey Green, Cheri Roe, Leonard Bednarczyk, Frances Murray, Diane Jackson,
Michelle Victory, Eileen Del Rosario, Erwin Hildenbrand, Richard Ernst, Melinda Jackson, Michelle Arellano, Bradley Lavalley, Julie
Stasko, John Parkhurst, Rick Slansky, Romell Eggleston, Christy Broccardo, Jose Gonzalez, William Bell, Sacha Mercado, Margaret
Grady, Elvira Castillo, Frederick Zubrin, Billy Woody, Joy Baynes, John Lewis, Eric Moreno, Mike Reyes, Marcella Pena, Betty
Deconter, Karen Nash, Randy Lancaster, Bradford Patrice, Alan Swinford, Carson Tang, Rachel Rivera, Bryan Boone, Tom Harper,
Sarah Kirk, Rebecca Dutton, James Domsic, Anabel Rodriguez, Daniel Tafolla, George Masny, Frank Lescrinier, Steve Griffith, Heather
Hierl Weimer, Rebecca Huerta, Greg Edelson, Wendy Fosnaugh, Daniel Moore, John Davis, Frederick Davis, Erin Mcraith, Daniela
Kreidler, Jimmy Sutton, Porter Katherine, Richard Wiseman, Jeanette Hale, Rene Lundy, Vonnie Dawson, Lonnie Hiatt, Jose
Hernandez, Robin Chrusniak, Susan Gallardo, Linda Siriano, Julie London, Emily Dupree, Danny Abbott, David Colbert, Michael
Harvey, Lynne Schick, Kevin Brown, Richard Dwyer, Evelyn Blizzard, Strassalyn Ayuba, Justin Patt, Jennifer Smith, Dennis Gross, Bob
Madura, Scott Morgan, Shawna Hook, Mike King, Gloria Ana Ramirez, John Woodruff, Elliott Eubank, Kathleen Thomas, Bill Henshaw,
Leeandra Brocker, Donna Ball, Ariana Clayton, Leslie Wilson, Fred Orr Jr, Mary Margaret Hudak, Victor De Grande, Traci Priest, Alan
Maxwell, Dolores Gay, Robert Trujillo, Vivian Fernandez, Sandra Harmon, Aaron Campbell, Adly Pozas, Allen Heinen, Arthur Okeeffe,
Robert Martz, James Wheeler, Julie Drake, Michael Mccluskey, Steven Simanonok, Maureen Goff, Melissa Flint, Celeste Bemoras,
Robert Miller, Yolanda Gagne, Angel Arriaga, Mary Barrow, Mike Mccallum, Albert Jones, Esmeralda Cardenas, Linda Thompson,
Donna Brooks, Nicole Morales, Donna Shore, Patricia Misso, Jose Osuna, Adrian Macias, George Duty, Joseph Lopez, Chessie
Delaney, Leslie Riggs, David Quimby, Frank Vigneri, Alisha Alexander, Sylvia Madden, John Zwierzko, Kenneth Pulliam, Davie Cabral,
Kathe Burkhart, Shawn Kulich, Scott Szydzik, Siegmund Baklarz, Luis Munoz, Theresa Drust, Ernest Nixon, Paul Norman, Melissa
Magallanes, Judy Witasik, Melody Centonze, Christie Locascio, Roanne Pallasigui, Sue Dudowitz, Kristen Hejnal, Zach Wylie, Amanda
Westrich, David Felker, Gordon Anderson, Julia Lamas, Brooke Bingaman, Deborah Herrera, John Merrill, Michael Keblusek, Susan
Odaffer, Miguel Contreras, Tony Armalis, Zack Carrera, Katrina Brown, Chadd Creed, Justin Storer, Leticia Ramirez Artiaga, Gina
Garcia, Joan Dimaio, Ryan Stephen, Janet Gibbs, Veronica Ramirez, Frank Sotelo, Fabian Marquez, Kristin Zimmerman, Mike Peters
                                                                                                                    Page     2    of        5
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case 8:24-cv-01996-FWS-DFM                     Document 1-1 Filed 09/16/24                     Page 69 of 351 Page
                                                            ID #:107
                                                                                                                              SUM-200(A)
 SHORT TITLE:                                                                                  CASE NUMBER:

 EPSON AMERICA, INC. v. GRAESEN ARNOFF, SUZANNE BONDS, ET AL.


                                                        INSTRUCTIONS FOR USE
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     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

            Plaintiff              Defendant        Cross-Complainant               Cross-Defendant
Joshua Goldberg, Anthony Caceres, Alexandria Hill, Theresa Derfuss, Perri Davis, Chanell Davis, Art Wood, Timothy Mancini, Reginald
Mcafee, Kevin Gwartney, Nick Angilello, Evert Ortega, Sharon Barker Tubbs, Jaime Ryan, Derek Vanwinkle, Katie Birchfield, Christina
Dorato, David Arnson, Debra Tapia, Kim Mandichak, Terry Saberhagen, Cj Benbrook, Tiffanie Williams, Lisa Wicker, Kim Serani,
Robert Wing, Norm Halbert, Winston Chavoor, Gary Peterson, Barbara Mcdermott, Ramona Ali, Paul Cynkar, Adella Spencer, Kaitlyn
Kelly, Jerry Hefley, Bill Griffin, Amanda Carney, Caesar Snee, Donald Forgy, Ashley Erickson, Danny Boswell, Jeremy Neimand,
Janina Bias, Donna Cerro, Bob Sharpe, Evelyn Radcliffe, John Borders, David Pires, Alice Dortch, Sam Davis, Brian Powell, Annette
Cady, Connie Tolefree, Steven Stecher, Paul Wasserman, Kristin Sanchez, Jessica Jolson, Michael Schofield, Robert Hefley, Dana
Garlington, Andrew Coronado, Rick Cervarich, Vance Hallman, Carollee Rivera, Michael Lock, Sandy Adams, Jasmine Young, Misty
Robles, Laura Simmons, Gretchen Trejo, Michelle Mccalister, Antoinette Carter, Herbert Huey, Gina Garcia, Reema Khan, Lonnie
Briggs, Sebastian Romeo, Timothy Winthers, Stephen Goldhorn, Tom Moore, Glenn Maddock, Lennea La Hommedieu, Madeleine
Rogow, Vernon Porter, Jon Evans, Terri Welch, Anthea Smith, Jason Williamson, Walter Macie, Sharon Herrera, David Williams,
Deborah Morris, Denese Stthomas, Esther Torresulloa, Alissa Joseph, Alfreda Phillips, Fernando Garcia, Joel Dinovo, John Greggs,
Roger Bubel, Richard Friedlander, Fernando Delgadillo, Charles Jedlicka, Teena Riley, George Kresse, Chuck Shepherd, Yvette
Afflerbaugh, Jeff Ravenscraft, Mary Bateman, Robert Oliver, Warren Bjork, Adriana Martinez, Laura England, Somer Lowery, Julie
Hart, Spencer Kayden, Robert Hamilton, Paul Kopilak, James Macpherson, Adam Iannazzo, Natalie Zimmerman, Michael Williams,
Irene Mendoza, Luis Delgado, Lauren Anderson, Sonia Williams, Tara Brown, Bruce Cohen, Rochelle Hayes, Luis Correa, Abbey
Austin-Wood, Delores Navarro, Bill Lewis, Detra Thompson, Meghan Fisher, Kevin Bradley, Lillian Harris, Carolyn Rogers, Raven
Jeffries, Arthur Fisk, Gretchen Clifford, Kimmy Mcdaniel, Mark Fabela, Anna Watrous, Ignacio Menendez, Letty Guttilla, Shannon
Jeralds, Stephen Monk, Howard Peter Brody, Heather Bush, Michael Portalatin, Diana Cruze, Ted Coopersmith, Paul Clem, Sandra
Aguilar, Barbara Dube, Jacqueline Johnson, Jeffrey Lauritzen, Richard Moody, Peter Levakis, Hilary Howard, Kim Victor, Walter Viteri,
Nicole Branch, Scott Otsuka, Renee Vetter, Lisa Herron, Richard Clark, Doug Alton, Steven Martin, Derek Esparza, Rhonda Conley,
Talia Oropeza, Derrick Posner, Eli Kuo, Noel Aispuro, Sandra Abernathy, Gajewski Cynda, Michael Termine, Hiram Aguilera, Olivia
Pittman, Jayson Sandoval, Steven Wise, Lucy Cordero, Cindy Wong, Laura Brown, Tg Lawson Iii, Robert Emerick, Gary Washington,
Robert Staup, David Pask, Matt Mellon, Erin Pellot, Judith Davis, Faith Holland, Alison Erbetta, Thomas Miller, Jessica Serrano, Connie
Peart, Eddie Galloway, Maria Lauro, Stacey Dick, Robin Cutler, Margo Schullerts, Alfredo Cunanan, Eyvonne Galloway, Kathryn Ploss,
John Burke, Carl Willat, Erica Beveridge, Todd Mitchell, Amber Linnell, Wendi Rodney, Roderick Billingsley, Pete Fields, Natalie
George, Marietta Falk, Ann Wenzell, Stanley Vossler, John Eccleston, Grace Reyes, Cindy An, Arthur Degennaro, Dina Kimbrough,
Zach Johnson, Richard Sandona, Angela Hutcheson, Lora Duncan, Harlan Lawler, Edward Padilla, Janet Litton, Kevin Lewis, Danute
Mazeika, Tracy Clark, Bill Hartman, Sue Caico, Russell Dilillo, Mala Dhillon, Katherine Drouin-Keith, Laura Green, Michael Bailin,
James Greenwood, Malika Sanders, Judith Chapman, Ronald Matthias, Ramona Swift, Laurel Debello, Maria Sandoval, Yohan Isaac,
Charles Sellman, Kathleen Maxian, Lynette Freeman, Dennis Sidoti, Ann Noel, Pamela Coleman, Michael Lopes, Kurt Nicolai, Timothy
Conway, Lisa Lakritz, Alyssa Sepulveda, Lita Theodore, Jane Pannell, Gricelda Chavez, Wane Webber, William Keegan Jr, John
Cordogan, Krista Robles, Steven Dewoody, Eduardo Rico, Anthony Rotella, Latonia Hoskins, J K Thomasser, Brittney Mouw, Suzanne
Mccombs, Myron Porter, Richard Kanatzar, William Quinn, Jesus Castillo, Anthony Paiva, Tara Robertson, Latonia Newton, Debra
Mccormick, Bee Vongphakdy, William Hegarty, Nik Lozano, Robert Reichert, Chrystal Bernasconi, Phyllis Hong, Mark Filcich, Kathie
Oconnor, Karry Kleemann, Angelo Logrande, David Libert, Christine Poulsen, Edgard Entrala, Geovanni Alvarado, Maurice Calderon,
Jeff Rodriguez, Katherine Macalma, David Williams, Daniel Mayeda, Joanne Simonson, Jessicz Leka, Amanda Rodriguez, Michael
Skalon, Greg Williams, Julie Vad, Gloria Knight, Philip Olszewski, Dean Miya, Deborah Moran-Villarreal, Christine Scadina, Shawn
Blethen, Francis Mateo, Greg Fung, Jeffery Lindsay, Farimah Mcharo, Roman Villapando, Rex Thornhill, Erica Gonzalez, William
Combs, Kim Lawson, Jessica Plaut, Elizabeth Collins, Jim Shere, Michael Hastings, Tinnikie Atkins, Steven Rock, Mark Morales,
Tamera Tanubagijo, Sean Patrick Lewis, Susan Campbell, Yvonne Vasquez, Eugenia Chen, Catharine Naughton, Delores Gilson, Jose
Lopez, Charles Grey, Lope Yap Jr, Sue Trueblood, Connie Jones, Shana Hager, Lynne Pieroni, Anthony Brucia, Steve Pearlman,
Renee Thompson, Derek Proffitt, Angela Tomey, Larissa Rapadas, Jonathan Cart, Gary Eisenberg, Kent Colton, Ryan Weatherby,
Fran Oglesby, Joy Voltenburg, Joan Thomas, Ray Beldner, Robin Lane, Brenda Morales, Raul Morales, Gail Levine, John Burgess,
Daragh Bennett, Bill Poggensee, Shelley Shepherd, Terrie Silva, Mark Christensen, James Andriacchi, Jennifer Boukidis, Juan Torres,
Lisa Wilkins, Alicia Rodriguez, John Miles, Derek Michaels, Kelly Mochel, Kelly Parker, Silverio Sanchez, Elena Hedderig, Lester
Stamnas, Ann Keating, Trista Powers, Issa Spencer, Mauricio Hernandez, Carolina Valenciano, Victoria Patryn, Nicole Wyszynski,
Christina Coughlin, Maurice Stroud, David Sommerfeld, Cuong Nguyen, Carlos Yanez, Michelle Adams, Amy Kendall, Ryan Malloy
                                                                                                                    Page     3    of        5
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case 8:24-cv-01996-FWS-DFM                     Document 1-1 Filed 09/16/24                     Page 70 of 351 Page
                                                            ID #:108
                                                                                                                              SUM-200(A)
 SHORT TITLE:                                                                                  CASE NUMBER:

 EPSON AMERICA, INC. v. GRAESEN ARNOFF, SUZANNE BONDS, ET AL.


                                                        INSTRUCTIONS FOR USE
     This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

            Plaintiff           Defendant            Cross-Complainant                Cross-Defendant
Doug Williams, Gary Reitmeier, Rebecca Garcia, Annette Barnes, Eps Shrat, Szeredy Andrea, Angela Hughes, Theresa Scott, Tony
Provancal, Nancy Reiter, Hannah Schulman, Amy Davis, Donald Adams, Carlos Gonzalez, Barbara Kenning, Lency Montgomery,
Brigitte Robertson, Marvin Fishman, Marian Jacob, Anna Darosa, Susan Drabing, Karen Davidson, David Pinzolo, Rusty Allen, Shawna
Weyrich, Cheryl Ames, June Delane, Bill Hanna, Michael Smith, Mehdy Naitaki, David Pesola, Jeff Wong, Bernard Whalen, Susan
Myers, Jana Sheehan, Danielle Labarre, Christine Hendrix, Brad Reisz, Becky Bataille, Theresa Henderson, Thomas Dooley, Tyndall
Mun, Gloria Wroten, Jessica Sticklen, Stephanie Ochoa, Ashley Willinger, Shavasia Golden, David Pichon, Linda Novy, Fred Kinney,
Blair Parker, Lynn Walker, Wes Wheadon, Liz Sampras, Louis Scaturro, Michele Finley, Pat Munson, William Wallace, Marc Seligman,
Vanessa Alonzo, Catherine Manion, Ruth Mattison, Frank Zazanis, Neil Holman, Nancy Dolan, Chris Reiman, Victor Krumdick, Patrick
Schneider, Dejuan Boyd, Gretchen Morales, Bill Fagan, Ted Pon, Priscilla Reyes, Anita Munoz, Ralph Ferri, Amanda Traxler, Rebecca
Piper, Luz Padilla, Laurel Digangi, Kye Osti, Robert Zirgulis, Erica Stephenson, Peggy Pugh, Evelyn Salas, Shakeel Syed, Denise
Stires, Gary Bell, Richard Miller, R Lee Jewell, Ayreanne Bordeaux, Linda Seibert, Erica Madden, Wayne Guzak, Diane Butler, Jill
Frechette, Melissa Norton, Bill Nolan, Genevieve Brammeier, Jimmy Tran, Ron Jozaites, Lindsay Boyster, Luis Villavelazquez, Diana
Rangel, Johnathan Stoor, Keith Hastings, Nate Bailey, Joel Holzman, Nicole Duzy, Darlene Prescott, Kecia Bailey, Roland Ferrer,
Nanci Oconnell, Tammy Cabrera, Allen Denni, Steven Rochester, Brian Swanson, Gregory Wroblewski, Julie Schrey, Judy Zeeb,
Christine Jackowski, Beatriz Avendano, Orv Neconie, Katrina Condis, Simon Chaykler, Jessica Dambrose, Jeffrey Plaza, Daniel
Kupper, Connie Owens, Judy Nast, Dennis Canfield, Christina Burlison, Alfred Garcia, Kimberly Schultz, Nick Jones, Susana Luna,
Lawrence Kornit, Michael Austin, Amy Taiwo, Scott Beaver, Floro Munoz, Shukay Suzan, Mary Lopez, Ritesh Seth, Nopadol
Chuaycharoensuk, Seth Roberts, Jenevieve Hayes, Justin Majzel, Margaret Blake, Daryl Marcott, Shelah Spiegel, Michael Brown,
Diane Talbert, Craig Johnson, Scott Janus, Suzanne Lewis-Gregory, Nancy Alonzo, Juanita Bryant, Diane Mcpherson, Rudy Cendejas,
Dave Yuen, Gary Whyte, Steve Lemire, Fernando Di Zitti, Antonio Mariano, Michael Padden, Nicole Henry, Gary Stansbury, Bruce
Pleat, Erin King, Gabriel Lopez, Robert Tannenbaum, Merlita Felipe, Rainer Mueller, Enricque Williamson, Mike Chambers, Catherine
Winnie, Jose Rodriguez, Kerrigan Weber, Linda Hyman, Jaycee Mcgee, Robert Jorgensen, Victoria Almaraz, Erick Bieger, Wylma
Harmon, Jay Leavelle, Emily Welker, Kristen Lick, Steven Payne, John Hipp, Julie Fair, Theresa Dolan, Kimberly Boltz, Yvonne
Invergo, Darryl Cass, Jesse Estrada, Tina Casey, Matthew Stevens, Harv Bisla, Steven Koppany, Ruth Tyson, Frank Jang, John
Journeay, Robert James, Charlotte Roberson, Kathy Pruitt, Garren Saccomano, Kevin Nguyen, Cleo Sisco, Susan Maki, Peter Rizzo,
Corinne Jacob, Julie Hammond, Loni Cooper, Kimmie Jones, Robert Kirwan, Jarryl Anderson, Kathy Smolansky, Brian Burch, Ken
Mcgowan, Gregory Okulove, Alexander Gonzalez, Eric Spillman, Scott Thompson, James Nelson, Catherine Bratton, Mark Jurczeski,
Kristi Lewis, Michael Vink, Syledra Hart, Alexia Wilson, Judith Stein, Nicole Fuller, Tim Jacobson, Peter Janoff, Keith Eaddy, Eileen
Cortez, Roger Williams, Shayla Rossignol-Smith, Rosa Cromwell, Broderick Baldwin, Stephanie Morris, Cynthia Vasquez, Michael
Poole, Brian Altman, Cindy Wright, Paula Klein, Peter Yaya, Adrianna Trujillo, Susan Ballou, Geneva Wisnewski, Tamara Frazier,
Shanika Starks, Catalina Duenas, Karla Tapia, Joann Pepperdine, Tena Huson, Jonathan Mintzer, Robert Denker, Maria Armijo, Lisa
Williams, Kyle Shell, Barbara Sullivan, Elizabeth Mack, Marvin Foster, Debbie Potter, Bob Ehrlich, Lucille Fincher, Richard Colorado,
Michele Duggan, Carrie Spiro, Jennifer Garner, William Sussman, Deondre Bedgood, Andrew Thompson, Hecht Lauren, Thomas
Joyce, Leo Yioupis, Linda Nguyen, Angela Morelli, Jeffrey Van Dam, Ashley Cohen, Robert Windham, Sarah Wilde, Karen Tolleson,
Roger Jones, Robert Adams, Steve Aardappel, Eric Santillan, Mark Graves, Patti Morton, Dan Greenspan, Terry Johnson, Janis Luft,
Karen Austin, Floyd Fenex, Cornelius Lewis, Jeff Ricker, Fanesha Fabre, Brad Draper, Lana Gartin, Sarah Yi, Brad Whitacre, Mary
Prete, Susan Watson, Rick Quezada, Clarence Wilson, Angela Kirkwood, Maritza Cantu, Veronica Smith, Jacob Hancock, Jamila
Banks, John Pearson, Maurizio Ursetta, Russell Lombardo, Karla Castro, Kristen Mcnelly, Benito Rios, Daniel Wozniak, David Clark,
Kendra Cato, Ruth Tekeste, Manish Gupta, Jessica Ornelas, Janice Harris, Christina Jones, Mary Pankow, Jacqueline Boubion, Lisa
Coney, Jeanette Vogt, Denisha Hawkins, Chester Barnhart, Teresa Stevens, Susannah Christopher, Raymond Chin, Carol Soriano,
Beverly Fleer, Rosie Gonzales, Nichelle Weathers, Samnang Vang, Emily Citraro, Darlene Franco, Zinnia Esqueda, Natalie Cole, John
Santillano, Kim Kibler, Helen Aguilar, Roberta Quon, Tim Rathbone, Judy Madnick, Stephanie Smith, Denise Yarbrough, Roger Yoh,
Peter Chen, Ken Coulter, Magdalena Barrera, Maria Ballesteros, John Cummings, Nancy Mcfadden, Edward Paul, Luis Ramirez,
Lorena Pena, Norma Reyes, Mona Hodges, Anthony Alberts, Patricia Hallissey, Ruby Beltran, Kennith Mascheri, Gerri Entler, Debra
Edwards, Carlos Lerma, Alexandria Torres, Lisa Donahue, Zeb Maclennan, Emmanuel Baez, Jaree Adams, Rosemp Marousek, David
Ginsburg, Amanda Reasons, Scott Omori, Migdalia Rivera, Debbie Miller, Kenneth Smith, Paige Meyer, Carlos Perez, Christina
Rescigno, Lydia Gomez, Cheryl Smith, Priscilla Marie Torres, Ginger Wiley, Pete Duran, Chris Huff, Nancy Cordero, Sonserae Leese,
Peter Dreyfuss, Stephen Blackwell, Jenny Rattaro, Mark Dennis, Erin Peterson, Martha Estrada, Julio Cabrera, Karla Rae Barker
                                                                                                                    Page     4    of        5
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case 8:24-cv-01996-FWS-DFM                     Document 1-1 Filed 09/16/24                     Page 71 of 351 Page
                                                            ID #:109
                                                                                                                              SUM-200(A)
 SHORT TITLE:                                                                                  CASE NUMBER:

 EPSON AMERICA, INC. v. GRAESEN ARNOFF, SUZANNE BONDS, ET AL.


                                                        INSTRUCTIONS FOR USE
     This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
     If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
     Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.):

            Plaintiff          Defendant              Cross-Complainant             Cross-Defendant
Robert Dumitru, John Blake, Sam Ciccosillo, Jay Dedontney, Billy Boner, Barbara Mcdonald, Jo-Ann Crandall, Willard Elliott, Claudia
Gonzales, Doc Phil Meyerson, James Friedrich, Robert Sandberg, Ray Beck, Jesse Barba, Michael Basnight, Rusanna Coyamin,
Sarah Drisko, Chuck Kiriakos, Duane Boyer, Sona Smith, Michael Osullivan, Dana Baier, Aaron Jacobs, Socorro Montoya, Kim
Mcbride, Robert Maron, Michelle Gardner, Phil Correale, Esther Millan, Anissa Singleton, Debora Garcia, Kristin Eller, Katherine
Sherman, Lara Boyko, Ric Nesslage, Luis Salgado, Lonny Huffar, Roy Nicholas Boyce, Alberto Caputo, Elizabeth Sanchez, Theresa
Rodriguez, Carlos Mungarro, Emily Guzman, Nicole George, Judy Charlton, Mary Bonner, Ronnie Snipes, Jason Portis, Steven
Bernstein, Jeff Marsh, Dyann Payne, Renona Weathersby, Ira Brooks, Sara Kim, Angela Hackett, Ericka Aguilar, Nathan Scoggins,
Denise Bradbury, Ronald Matusea, Ernest Macmillan, David Fish, Tracy Holmes, Monica Dyakanoff, Melanie Votaw, Brian Bon, Peggie
Kennison, Mary Grady, Charles Grauerholz, Cristina Duenes, Ron Kolman, Sharyn Felton, Timothy Peron, Steve Foster, Epigmenio
Cueva Jr, Stephanie Sojka, Elizabeth Ohowell, James Mcmanus, Monica Dunkin, Calvin Byer, Arturo Dominguez, Eric Bass, Barbara
Gaskill, Tony Brzezowski, Faddy Malley, Pauline Palmer, Rayna Palomino, Susana Castillo, Suzanne Zuniga, Regina Doddington,
Tiffany Wade, Bruce Cameron, Bessie Karegianes, Stacey Phipps, Shyma Afredi, Paula Rivera, Terry Romero, Lon Adams, Kim
Kasunic, Anabell Chavez, Len Kovner, Maneca Colquitt, Louis Godoy, Nicole Hoogland, Verna Agboola, Kayla Svereika, Rufino
Landayan, Angelica Minjares, Crystal Mitchell, Felicia Raprager, Maria Corrales, Gina Toafa, Jen Duran, Pablo Flores, Paula Carl,
Francesca Collebrusco, Angelica Bellavia, Lisa Johnson, April Rocha, Doddie Hecht, Joanne Conte, Tammy Tyler, Nadia Lopez, Aris
Alvarado, Joy Gallivan, Emily Zinda, Debbie Kocol, Marcos Lopez, Emily Eyth, Rebecca Velazquez, Hannah Moore, Keisha Bishop,
Deb Janus, Ruddy Vargas, Floyd Vergara, Margaret Lyburtus, Dean Bruce, Thomas Maloy, Gayle Walls, Maria Panduro, Diana
Swearingen, Bob Roth, Dick Winters, Saul Gonzalez, Eric Kuck, Robert Brenneman, Marcos Fuentes, Margaret King, Kimberly Garcia,
Christopher Kelley, Sylvia Lubera, Lisa Wardell, Kelly Madison, Kenneth Stollman, Michio Nakajima, Angela Devolder, Elaine Kennedy,
Teresa Desatnick, Sabela Portillo, Andre Concepcion, Isaiah Burchett, Randy Sprout, Carlos Ponce, Stephen Bonelli, Jennifer Harrell,
Douglas Beaver, Mariah Landis, Alisa Jones, Scott Baugh, Deborah Andrews, Sandra Walsh, Karen Fiorino, Barbra Conner, Allan
Preckel, Stacy Frisher, Kristine Morris, Don Abel, Pamela Rico, Susanne Popaeko, Maria Canale, Dennis Dixon, Laurie Kester, Brandy
Conaway, Laura Tabachnick, Eduardo Yabut, Lauri Hanson, Regina Mcgrath, Kim Brezniak, Judy Aronson, Nicole Conway, Erin
Delegan, Jessie Landau, Wayne Nash, Bryttney Isgar, Elaine Smith, Lesly Mayoral, Scott Leeson, Callie Thurman, Rene Quimby,
Benjamin Pauly, Evyette Gaines, Carol Sevilla, Humberto Lozano, Diane Sullivan, Russell Gilliam, Michelle Huitron, Graham Jones,
Karl Shultis, Juanita Hernandez, Jeffrey Valfer, Bill Vanhorn, Megan Akright, Leonilo De Leon, Robert Lawson, Jessica Boccia, Joan
Giammarino, Linda Silacci-Smith, Michael Hoyt, John Mendez, Colleen Gray, Susan Berenson, James Carmany, Dimitrios Pardalis,
Suzanne Whitford, Alejandra Zavala, Arthur Wilderman, Deana Nuxoll, Erin Riffel, Shelli Salles, Eric Brown, Ilisa Goldman, Kristen
Mclaughlin, Judie Arriola, Tanya Heuges, Kimberley Deems, Katie Swanson, Linda Paolano, David Martin, Kevin Burch, Charles
Bernacchi, Lameisha Sherri and Judy Cronin.




                                                                                                                    Page     5    of        5
                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                               ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                       Attachment to Summons
        Case Electronically Filed by Superior Court of California, County of Orange, 04/26/2023 12:39:00 PM.
               8:24-cv-01996-FWS-DFM
      30-2023-01315890-CU-MC-CXC      - ROA # 8 -Document      1-1 Filed
                                                 DAVID H. YAMASAKI,           09/16/24
                                                                          Clerk of the CourtPage  72 ofDeputy
                                                                                            By A. Thau, 351 Page
                                                                                                              Clerk.
                                                                                 ID #:110
                                                                                                                                                         CM-015
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                FOR COURT USE ONLY
  Quinn Emanuel Urquhart and Sullivan, LLP
- Shon Morgan (187736), Jack Baumann (288881 ), 865 South Figueroa
  Street, 10th Floor, Los Angeles, CA 90017

                            (213) 443 3000
               TELEPHONE NO.:                   FAX NO. (Optional):

                            shonmorgan@quinnemanuel.com
     E-MAIL ADDRESS (Optional):

       ATTORNEY FOR (Name): Epson America, Inc.


     SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
           STREET ADDRESS: 700 Civic Center Drive West

             MAILING ADDRESS:

            CITY AND ZIP CODE:       Santa Ana, CA 92701
                 BRANCH NAME:        Central Justice Center
                                                                                                               CASE NUMBER:
        PLAINTIFF/PETITIONER:             Epson America, Inc
                                                                                                               30-2023-01315890-CU-MC-CXC
 DEFENDANT/RESPONDENT:                    Graesen Arnoff, et al.                                               JUDICIAL OFFICER:

                                                                                                               Judge Peter Wilson
                                                                                                               DEPT.:

                                          NOTICE OF RELATED CASE                                               CX-101

Identify, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Title: Epson America, Inc. v. Matt Adams, et al.
       b. Case number:              30-2023-01313431-CU-MC-CXC
       c. Court: [ZJ same as above

                     D             other state or federal court (name and address):
       d. Department: CX103
       e. Case type:        D          limited civil [ZJ unlimited civil   D        probate   D   family law    D       other (specify):
       f. Filing date: 3/13/2023
      g. Has this case been designated or determined as "complex?"                      [ZJ Yes     D          No
      h. Relationship of this case to the case referenced above (check all that apply):

           D         involves the same parties and is based on the same or similar claims.

           GJ        arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
           D         involves claims against, title to, possession of, or damages to the same property.
           D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                    D         Additional explanation is attached in attachment 1h
       i. Status of case:
          GJ         pending
          D          dismissed          D      with    D      without prejudice
          D         disposed of by judgment

2.     a. Title:
       b. Case number:
       c. Court:     D             same as above
                     D             other state or federal court (name and address):
      d. Department:
                                                                                                                                                          Page 1 of 3
Form Approved for Optional Use                                                                                                          Cal. Rules of Court, rule 3.300
  Judicial Council of California                              NOTICE OF RELATED CASE                                                             www.courtinfo.ca.gov
  CM-015 [Rev. July 1, 2007]
         Case 8:24-cv-01996-FWS-DFM                             Document 1-1 Filed 09/16/24                              Page 73 of 351 Page
                                                                     ID #:111
                                                                                                                                                   CM-015


t                       Epson America, Inc                                                                      CASE NUMBER:
     PLAINTIFF/PETITIONER:

  DEFENDANT/RESPONDENT: Graesen Arnoff, et al.
                                                                                                                30-2023-01315890-CU-MC-CXC

2. (continued)
         e. Case type:       D         limited civil    D   unlimited civil   D        probate   D       family law    D        other (specify):
         f. Filing date:
         g. Has this case been designated or determined as "complex?"                     D       Yes       D       No
         h. Relationship of this case to the case referenced above (check all that apply):

              D         involves the same parties and is based on the same or similar claims.

              D         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                        the same or substantially identical questions of law or fact.
              D         involves claims against, title to, possession of, or damages to the same property.
              D         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                       D         Additional explanation is attached in attachment 2h
          i. Status of case:
             D          pending
             D          dismissed       D        with   D      without prejudice
             D          disposed of by judgment

3.    a. Title:
      b. Case number:
      c. Court:      D        same as above

                     D           other state or federal court (name and address):
      d. Department:
      e. Case type:          D       limited civil      D   unlimited civil   D    probate       D       family law    D       other (specify):
      f. Filing date:
      g. Has this case been designated or determined as "complex?"                      D        Yes     D        No
      h. Relationship of this case to the case referenced above (check all that apply):

          D          involves the same parties and is based on the same or similar claims.

          D          arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
          D          involves claims against, title to, possession of, or damages to the same property.
          D          is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                    D        Additional explanation is attached in attachment 3h
       i. Status of case:
          D          pending
          D          dismissed        D       with      D   without prejudice
          D          disposed of by judgment

4.   D         Additional related cases are described in Attachment 4. Number of pages attached: ______



Date:     4/26/2023
                        Shon Morgan
               (TYPE OR PRINT NAME OF PARTY OR ATTORNEY)
                                                                                   ►                   (SIGNATURE OF PARTY OR ATTORNEY)


CM-015 [Rev. July 1, 2007]                                                                                                                         Page 2 of 3
                                                            NOTICE OF RELATED CASE
           Case 8:24-cv-01996-FWS-DFM                           Document 1-1 Filed 09/16/24                 Page 74 of 351 Page
                                                                     ID #:112
                                                                                                                                      CM-015
                        Epson America, Inc
     PLAINTIFF/PETITIONER:
                                                                                                    CASE NUMBER:


  DEFENDANT/RESPONDENT: Graesen Arnoff, et al.                                                      30-2023-01315890-CU-MC-CXC

                                              PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                             NOTICE OF RELATED CASE
(NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1. I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
   place, and my residence or business address is (specify):
     50 California Street, 22nd Floor, San Francisco, California 94111

2.    I served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
      prepaid and (check one):
      a.   D      deposited the sealed envelope with the United States Postal Service.
      b.   w       placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                   with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                   deposited in the ordinary course of business with the United States Postal Service.
3. The Notice of Related Case was mailed:
     a. on (date): 4/26/2023
     b. from (city and state): San Francisco, CA


4. The envelope was addressed and mailed as follows:
      a. Name of person served:                                       c. Name of person served:
            Jonathan Gardner                                            Jonathan Waisnor
            Street address: 140 Broadway                                Street address: 140 Broadway
            City: New York City                                         City: New York City
            State and zip code: New York, 10005                         State and zip code: New York, 10005


      b. Name of person served:                                       d. Name of person served:
            Brandon Heitmann
            Street address: 140 Broadway                                 Street address:
            City: New York City                                          City:
            State and zip code: New York, 10005                          State and zip code:


D          Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date: 4/26/23



Jacqueline Wu
                         (TYPE OR PRINT NAME OF DECLARANT)
                                                                         ►                     (SIGNATURE OF DECLARANT)




CM-015 [Rev. July 1, 2007]                                                                                                            Page 3 of 3
                                                             NOTICE OF RELATED CASE
        Case 8:24-cv-01996-FWS-DFM                   Document 1-1 Filed 09/16/24                      Page 75 of 351 Page
                                                          ID #:113                                                           MC-025
                                                                                             CASE NUMBER:
 SHORT TITLE:
     Epson America, Inc. vs. Graesen Arnoff, et al.                                           30-2023-01315890-CU-MC-CXC
                                                         ATTACHMENT (Number): 1h
                                      (This Attachment may be used with any Judicial Council form.)

Epson America, Inc. vs. Graesen Amoff, et al. and Epson America, Inc. vs. Matt Adams, et al. have been
designated as complex, unlimited civil cases by the court. These cases involve the same legal issues and arise
from substantially similar incidents or events.


Epson America, Inc. vs. Graesen Amoff et al. was filed at 4:00:51 PM on March 13, 2023 and assigned to
Judicial Officer Peter Wilson. Epson America, Inc. vs. Matt Adams, et al., despite being processed first, was
filed approximately an hour later at 5:21:42 PM on March 13, 2023 and subsequently assigned to Judicial
Officer Lon Hurwitz.




(If the item that this Attachment concerns is made under penalty of perjury, all statements in this          Page    1     of       1
Attachment are made under penalty of perjury.)
                                                                                                            (Add pages as required)
Form Approved for Optional Use
  Judicial Council of California
                                                            ATTACHMENT                                                www.courtinfo.ca.gov

  MC-025 [Rev. July 1, 2009]                           to Judicial Council Form
         Case 8:24-cv-01996-FWS-DFM Document 1-1 Filed 09/16/24              Page 76 of 351 Page
                              SUPERIOR COURT  OF CALIFORNIA,
                                           ID #:114
                                   COUNTY OF ORANGE
                                 CIVIL COMPLEX CENTER
                                          MINUTE ORDER
DATE: 04/27/2023                    TIME: 02:39:00 PM              DEPT: CX101
JUDICIAL OFFICER PRESIDING: Peter Wilson
CLERK: C. Townsend
REPORTER/ERM:
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2023-01315890-CU-MC-CXC CASE INIT.DATE: 03/13/2023
CASE TITLE: Epson America, Inc. vs. Arnoff
CASE CATEGORY: Civil - Unlimited    CASE TYPE: Misc Complaints - Other

EVENT ID/DOCUMENT ID: 74003065
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

Hon. Peter Wilson and Hon. Lon F. Hurwitz have conferred and the Court hereby takes notice that this
case is related to Case No. 30-2023-01313431.

This case is hereby reassigned to the inventory of Hon. Lon F. Hurwitz in Department CX103 for all
purposes.

The Court determines that for purposes of exercising C.C.P. 170.6 rights, there are two sides to this
matter unless the contrary is brought to the attention of the Court, by Ex-Parte motion. Counsel has 15
days from the date of the enclosed certificate of mailing in which to exercise any rights under C.C.P.
170.6.

Court orders clerk to give notice.




DATE: 04/27/2023                              MINUTE ORDER                                   Page 1
DEPT: CX101                                                                              Calendar No.
         Case 8:24-cv-01996-FWS-DFM Document 1-1 Filed 09/16/24                 Page 77 of 351 Page
                              SUPERIOR COURT  OF CALIFORNIA,
                                           ID #:115
                                   COUNTY OF ORANGE
                                 CIVIL COMPLEX CENTER
                                           MINUTE ORDER
DATE: 06/06/2023                    TIME: 05:08:00 PM                 DEPT: CX103
JUDICIAL OFFICER PRESIDING: Lon F. Hurwitz
CLERK: M. Diaz
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: . None

CASE NO: 30-2023-01315890-CU-MC-CXC CASE INIT.DATE: 03/13/2023
CASE TITLE: Epson America, Inc. vs. Arnoff
CASE CATEGORY: Civil - Unlimited    CASE TYPE: Misc Complaints - Other

EVENT ID/DOCUMENT ID: 74032253
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.

Each party who has not paid the Complex fee of $ 1000.00 as required by Government Code section
70616 shall pay the fee to the Clerk of the Court within 10 days calendar days from date of this minute
order. Failure to pay required fees may result in the dismissal of complaint/cross-complaint or the
striking of responsive pleadings and entry of default.

The Case Management Conference is scheduled for 08/30/2023 at 01:30 PM in Department CX103.

CASE MANAGEMENT CONFERENCE:
Plaintiff shall, at least five court days before the hearing, file with the Court and serve on all
parties of record or known to Plaintiff a brief, objective summary of the case, its procedural
status, the contentions of the parties and any special considerations of which the Court should
be aware. Other parties who think it necessary may also submit similar summaries three court days prior
to the hearing. DO NOT use the CMC (Case Management Statement) form used for non-complex cases
(Judicial Council Form CM-110).

ELECTRONIC FILING:
This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352 and mandatory electronic service by order of this Court. Plaintiff shall give notice of the Status
Conference and the electronic filing and service requirement to all parties of record or known to plaintiff
and shall attach a copy of this minute order.




DATE: 06/06/2023                                MINUTE ORDER                                     Page 1
DEPT: CX103                                                                                  Calendar No.
       Case 8:24-cv-01996-FWS-DFM Document 1-1 Filed 09/16/24 Page 78 of 351 Page
CASE TITLE: Epson America, Inc. vs. Arnoff ID #:116CASE                        NO:
                                                   30-2023-01315890-CU-MC-CXC
PROPOSED ORDERS:
All proposed orders (including those submitted pursuant to stipulation) must be submitted in 2 electronic
formats. One copy is to be filed in Word (without attachments), and another copy in.pdf format with all
attachments/exhibits attached to it. Failure to follow this rule may result in the proposed order not being
brought to the attention of the Court in a timely fashion. Ensure that the proposed order is identified as a
"Proposed Order".

BOOKMARKING:
Bookmarking of exhibits to motions and supporting declarations - The court requires strict compliance
with CRC, rule 3.1110 (f) (4) which requires electronic exhibits to include electronic bookmarks with the
links to the first page of each exhibit, and with bookmarked titles that identify the exhibit number or letter
and briefly describe the exhibit. CRC, rule 3.1110 (f) (4).

The court may continue a motion that does not comply with rule 3.1110 (f) (4) and require the parties to
comply with that rule before resetting the hearing.

Clerk to give notice.
Plaintiff is to give notice to any party not listed on the Clerk's Certificate of Mailing/Electronic Service and
is to file a Proof of Service.




DATE: 06/06/2023                                   MINUTE ORDER                                      Page 2
DEPT: CX103                                                                                      Calendar No.
                 Electronically Received by Superior Court of California, County of Orange, 06/07/2023 12:05:07 PM.
             Case   8:24-cv-01996-FWS-DFM
           30-2023-01315890-CU-MC-CXC      - ROA # 18Document       1-1 FiledClerk
                                                       - DAVID H. YAMASAKI,        09/16/24     Page
                                                                                      of the Court     79 ofDeputy
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                                                              ID #:117
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                1
                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                2
                                                           COUNTY OF ORANGE
                3
                    EPSON AMERICA, INC.,                                     [PROPOSED] ORDER GRANTING
                4
                    Plaintiff,                                               DEFENDANTS’ APPLICATION FOR A
                5                                                            TEMPORARY EXTENSION OF TIME
                    versus                                                   TO APPEAR ANSWER AND
                6                                                            PARTICIPATE IN DISCOVERY
                  GRAESEN ARNOFF, an individual, et al.,
                7 Defendants.                                                Assigned for All Purposes to:
                8                                                            Hon. Lon F. Hurwitz
                                                                             Date Action Filed: March 10, 2023
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                    [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR TEMOPORARY EXTENSION OF TIME TO
                                       APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                                              Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM            Document 1-1 Filed 09/16/24             Page 80 of 351 Page
                                           ID #:118



 1          Defendants’ Application for an Extension of Time to Appear, Answer, And Participate In

 2 Discovery came before this Court for hearing on June 8, 2023 at 1:30 p.m. Having reviewed the

 3
     arguments of counsel, the papers submitted by the parties, and the pleadings and records on file
 4
     herein, the Court finds that:
 5
            1.      Good cause exists for a stay of the requirement that defendants other than Michelle
 6
                    Churchill and Fernando Hernandez (“Proposed Lead Defendants”) appear and
 7

 8                  answer the Complaint of Plaintiff Epson America, Inc. (“Plaintiff”) pending this

 9                  Court’s decision on Proposed Lead Defendants’ Motion for Class Certification, filed
10                  on June 7, 2023 (the “Class Certification Motion”).
11
            2.      Good cause exists for a stay of discovery sought from defendants other than
12
                    Proposed Lead Defendants pending this Court’s decision on the Class Certification
13
                    Motion.
14

15          Based on the foregoing, and good cause appearing therefore,

16          IT IS HEREBY ORDERED:

17          1.      Proposed Lead Defendants’ Application is hereby GRANTED.
18          2.      Any requirement for any Defendant other than Proposed Lead Defendants to appear
19
                    in this action, to respond to Plaintiff’s Complaint, and to respond to discovery of any
20
                    kind, is hereby stayed pending this Court’s decision on the Class Certification
21
                    Motion.
22

23          3.      In the event this Court grants the Class Certification Motion, the aforesaid stay shall

24                  continue unless and until the Defendant class is decertified by order of a court of

25                  competent jurisdiction, and will resume 30 days following service of such order on
26
                    counsel for Defendants.
27

28                                                     2
     [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR TEMOPORARY EXTENSION OF TIME TO
                        APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                               Case No. 30-2023-01315890-CU-MC-CXC
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 1        4.    In the event this Court denies the Class Certification Motion, the aforesaid stay shall

 2              continue until 30 days following service of the order denying the Class Certification
 3
                Motion on counsel for Defendants.
 4

 5
     DATED: __________                        ___________________________________
 6                                            HONORABLE LON F. HURWITZ
                                              CALIFORNIA SUPERIOR COURT JUDGE
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     [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR TEMOPORARY EXTENSION OF TIME TO
                        APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                               Case No. 30-2023-01315890-CU-MC-CXC
    Case Electronically Filed by Superior Court of California, County of Orange, 06/07/2023 12:05:00 PM.
          8:24-cv-01996-FWS-DFM
30-2023-01315890-CU-MC-CXC       - ROA # 20 -Document      1-1 Filed
                                             DAVID H. YAMASAKI,           09/16/24
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                                                                                                             Clerk.
                                                      ID #:120



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      7   Alexander Schlow (Pro Hac Vice Application Forthcoming)
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     12
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
     13
                                                  COUNTY OF ORANGE
     14
        EPSON AMERICA, INC.,
     15 Plaintiff,                                                   Case No.: 30-2023-01315890-CU-MC-CXC
     16                                                              EX PARTE APPLICATION FOR
          versus
                                                                     ORDER TEMPORARILY EXTENDING
     17                                                              THE TIME TO APPEAR, ANSWER,
        GRAESEN ARNOFF, an individual, et al.,                       AND PARTICIPATE IN DISCOVERY
     18 Defendants.
                                                                     Date: June 8, 2023
     19
                                                                     Time: 1:30 p.m.
     20                                                              Location: CX103
                                                                     Judge: Hon. Lon F. Hurwitz
     21                                                              Trial Date: Not Yet Set
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            EX PARTE APPLICATION FOR ORDER TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER,
                                       AND PARTICIPATE IN DISCOVERY
                                     Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM            Document 1-1 Filed 09/16/24            Page 83 of 351 Page
                                           ID #:121




 1          DEFENDANTS MICHELLE CHURCHILL AND FERNANDO HERNANDEZ, on

 2 behalf of themselves and all other defendants, by their attorneys Labaton Sucharow LLP and

 3 Scott+Scott Attorneys at Law LLP, hereby apply for a court order temporarily extending the time for

 4 all other defendants in this action to appear, answer, and participate in discovery in this action,

 5 pending a decision on Defendants’ motion for certification of a defendant class in this action, filed

 6 concurrently herewith.

 7          This application is made based on the Court’s inherent authority to control the matters before

 8 it, including the inherent power to manage its calendar and waive or suspend filing or appearance fees

 9 (Code Civ. Proc., §§ 128(a)(8), 187; Govt. 9 Code, § 68070(a); Jameson v. Desta 5 Cal.5th 594, 604-

10 605 (2018); Jara 10 v. Mun. Ct. 21 Cal.3d 181, 184 (1978); Cottle v. Super. Ct. 3 Cal.App.4th 1367,

11 1380 (1992)), and it is made on the grounds that: (i) should the Named Defendants’ motion for class

12 certification be granted, no other defendant will be required to individually appear, incur associated

13 fees, or participate in individual discovery; and (ii) a temporary waiver will ensure that access to this

14 Court is not denied due to Plaintiff’s procedural gamesmanship in joining hundreds of individual

15 claims and will give the Court the flexibility to determine the proper procedural and legal framework

16 for adjudication of the parties’ dispute without subjecting undeserving Defendants to unnecessary

17 expense. This relief is sought on an ex parte basis rather than by noticed motion because Defendants’

18 current deadline to appear and answer is June 8, giving insufficient time to brief and decide a noticed

19 motion, and because appearing to make such a noticed motion would trigger the fee requirement this

20 motion seeks to have stayed, rendering any relief granted moot.

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28     EX PARTE APPLICATION FOR ORDER TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER,
                                  AND PARTICIPATE IN DISCOVERY
                                Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM          Document 1-1 Filed 09/16/24           Page 84 of 351 Page
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 1

 2         This application is based upon the accompanying declaration of Jonathan Waisnor in support

 3 of the application and the exhibits thereto, the accompanying declaration of Jonathan Waisnor

 4 regarding notice to Plaintiff, the accompanying supporting memorandum, the papers and records on

 5 file herein, and on such oral and documentary evidence as may be presented at the hearing, if any, on

 6 the application.

 7

 8
     DATED:        June 7, 2023                  LABATON SUCHAROW LLP
 9

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                                                 Counsel for Defendants
26

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28                                                   2
      EX PARTE APPLICATION FOR ORDER TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER,
                                 AND PARTICIPATE IN DISCOVERY
                               Case No. 30-2023-01315890-CU-MC-CXC
    Case Electronically Filed by Superior Court of California, County of Orange, 06/07/2023 12:05:00 PM.
          8:24-cv-01996-FWS-DFM
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                                                      ID #:123



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      7   Alexander Schlow (Pro Hac Vice Application Pending)
          Morris Dweck (Pro Hac Vice Application Pending)
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                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
     12
                                                  COUNTY OF ORANGE
     13
        EPSON AMERICA, INC.,                                         DECLARATION OF JONATHAN
     14 Plaintiff,                                                   WAISNOR RE NOTICE OF EX PARTE
     15                                                              APPLICATION
          versus
     16                                                              Hearing Date: June 7, 2023
        GRAESEN ARNOFF, an individual, et al.,                       Time: 1:30 p.m.
     17 Defendants.                                                  Dept.: CX103
     18                                                              Assigned for All Purposes to:
     19                                                              Hon. Lon F. Hurwitz
                                                                     Date Action Filed: March 10, 2023
     20

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                      DECLARATION OF JONATHAN WAISNOR RE NOTICE OF EX PARTE APPLICATION
                                       Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM             Document 1-1 Filed 09/16/24             Page 86 of 351 Page
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 1                          EX PARTE APPLICATION NOTICE DECLARATION

 2           I, JONATHAN WAISNOR, declare as follows:
 3
             1.      I am an attorney duly admitted to practice in the State of California. I am an attorney
 4
     with the law firm of Labaton Sucharow LLP, counsel for Defendants in the above captioned action.
 5
     This Declaration is based upon my personal knowledge and if called to testify, I could and would do
 6
     so competently as to the matters set forth herein.
 7
             2.      Pursuant to California Rule of Court 3.1203, attorney Alexander Schlow of my firm
 8
     informed counsel for Epson America, Inc. (“Epson”), the Plaintiff and only opposing party in this
 9
     Action, of my intention to file this ex parte application, through an e-mail to Epson’s counsel at
10
     Quinn Emmanuel LLP, on June 6, 2023. I was copied on that e-mail. Counsel for Epson responded
11
     that Epson opposes this motion.
12
             3.      I have set forth reasons for seeking relief through an ex parte application in the
13
     memorandum of law filed concurrently herewith.
14

15
             I declare under penalty of perjury under the laws of the state of California that the foregoing
16
     is true and correct.
17

18
     Executed on June 7, 2023, at Brooklyn, New York.
19

20

21                                                  Jonathan Waisnor (Bar No. 345801)

22                                                  Counsel for Defendants

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28                                                        1
                  DECLARATION OF JONATHAN WAISNOR RE NOTICE OF EX PARTE APPLICATION
                                   Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM            Document 1-1 Filed 09/16/24            Page 87 of 351 Page
                                           ID #:125



 1                             DECLARATION OF SERVICE BY EMAIL

 2          I, the undersigned, declare:

 3          1.      The declarant is and was, at all times herein mentioned, a citizen of the United States

 4 and a resident of the County of Bergen, State of New York, over the age of 18 years, and not a party

 5 to or interested party in the within action; that declarant’s business address is 140 Broadway, New

 6 York, NY 10005.

 7          2.      That on June 7, 2023, served the DECLARATION OF JONATHAN WAISNOR RE

 8 NOTICE OF EX PARTE APPLICATION, via email to the parties listed on the attached Service

 9 List.
10          I declare under penalty of perjury, under the laws of the State of California that the
11 foregoing is true and correct.

12          Executed on June 7, 2023, at Englewood, New Jersey.
13

14          _______________________________

15          Morris Dweck (Pro Hac Vice Application Pending)
16

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                 DECLARATION OF JONATHAN WAISNOR RE NOTICE OF EX PARTE APPLICATION
                                  Case No. 30-2023-01315890-CU-MC-CXC
Case 8:24-cv-01996-FWS-DFM        Document 1-1 Filed 09/16/24       Page 88 of 351 Page
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 1                                           SERVICE LIST

 2                         Epson America, Inc., vs. Graesen Arnoff, et.al.
               Orange County Superior Court Case No. 30-2023-01315890-CU-MC-CXC
 3

 4

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             DECLARATION OF JONATHAN WAISNOR RE NOTICE OF EX PARTE APPLICATION
                              Case No. 30-2023-01315890-CU-MC-CXC
     Case Electronically Filed by Superior Court of California, County of Orange, 06/07/2023 12:05:00 PM.
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        7   Alexander Schlow (Pro Hac Vice Application Forthcoming)
            Morris Dweck (Pro Hac Vice Application Forthcoming)
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            jwaisnor@labaton.com
      11

      12
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
      13
                                                   COUNTY OF ORANGE
      14
         EPSON AMERICA, INC.,
      15 Plaintiff,                                                   Case No.: 30-2023-01315890-CU-MC-CXC
      16                                                              MEMORANDUM OF POINTS AND
            versus
      17                                                              AUTHORITIES IN SUPPORT OF EX
         GRAESEN ARNOFF, an individual, et al.,                       PARTE APPLICATION FOR ORDER
      18 Defendants.                                                  TEMPORARILY EXTENDING THE
                                                                      TIME TO APPEAR, ANSWER, AND
      19                                                              PARTICIPATE IN DISCOVERY
      20                                                              Date: June 8, 2023
      21                                                              Time: 1:30 p.m.
                                                                      Location: CX103
      22                                                              Judge: Hon. Lon F. Hurwitz
                                                                      Trial Date: Not Yet Set
      23

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             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
              TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                                     Case No. 30-2023-01315890-CU-MC-CXC
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 9             B.        A Temporary Extension of Time to Appear and Participate In Individualized
                         Discovery Will Serve the Interests Of Justice And Efficiency .................................... 9
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       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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                               Case No. 30-2023-01315890-CU-MC-CXC
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 1                                                      TABLE OF AUTHORITIES

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 3 Cases

 4 Cottle v. Super. Ct.,

 5    3 Cal. App. 4th 1367 (1992) ......................................................................................................7

 6 Epson America, Inc. v. Matt Adams, et al.,
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19 Code Civ. P. § 1054 .....................................................................................................................2, 7

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 1 https://www.jamsadr.com/blog/2023/jams-policy-regarding-mass-arbitration-
       filings#:~:text=JAMS%20will%20not%20reduce%20fees,impartial%2C%20neut
 2     ral%20and%20fair%20process ..................................................................................................6
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 1            Defendants Michelle Churchill and Fernando Hernandez (“Proposed Lead Defendants”), on

 2 behalf of themselves and all other defendants in this action, respectfully submit this memorandum in

 3 support of their application for a temporary stay of the requirements to appear and answer in this

 4 action for all defendants other than Proposed Lead Defendants (“Motion”). 1

 5 I.         INTRODUCTION

 6            In this action and the related action Epson America, Inc. v. Matt Adams, et al., Case No. 30-

 7 2023-013134431-CU-MC-CXC, plaintiff Epson America, Inc. (“Plaintiff” or “Epson”) sued 3,994

 8 individual Defendants, its own customers, in a “mass action,” simply because Defendants attempted

 9 to arbitrate their consumer protection disputes with Epson in the manner and forum imposed upon

10 them by Epson in its own End User Software License Agreement (“SLA”) 2. Epson’s tactics are a

11 stunning about-face from its prior positions before a federal court, where it successfully compelled

12 claims identical to those of Defendants here to arbitration before JAMS – the forum where Defendants

13 brought their claims and that accepted jurisdiction over the matters. Waisnor Dec. ¶¶5-8 and Exhs.

14 B (“Mondigo Motion to Compel”), C (“Mondigo Reply”); See Mondigo v. Epson Am., Inc., No. CV

15 20-4400-CBM-GJS(x), 2020 U.S. Dist. LEXIS 252136 at *10 (C.D. Cal. Oct. 13, 2020).

16            To this day, Epson is still arbitrating the exact same underlying claims stemming from that

17 action at JAMS with a small number of individuals. Waisnor Dec. ¶9 and Exh. D. Nor was this the

18 only time Epson successfully compelled customers who alleged exactly what Defendants allege here

19 to arbitration before JAMS. The next year, in Galgon v. Epson America, Inc., No. 2:2021-cv-01794

20 (C.D. Cal. 2021), Epson straightforwardly (and correctly) argued that “[t]his dispute does not belong

21 in court.” Waisnor Dec. ¶¶10-12 and Exh. E (“Galgon Motion to Compel”). Epson’s motion to

22 compel in Galgon was granted, with the District Court finding that the SLA “clearly and unmistakably

23 indicates the parties’ intent for the arbitrator to decide the issue of arbitrability.” Galgon v. Epson

24

25

26   1
    Unless otherwise noted, citations and internal quotation marks are omitted, and emphasis is added.
     2
     A copy of the SLA is attached as Exhibit A to the accompanying declaration of Jonathan Waisnor
27 (“Waisnor Declaration” or “Waisnor Dec.”) filed in support of this application.

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 1 America, Inc., No. 2:2021-cv-01794, 2021 U.S. Dist. LEXIS 193142 at *6-*7 (C.D. Cal. June 16,

 2 2021).

 3          But when Defendants here took Epson at its word and brought their claims before JAMS,

 4 rather than abiding by its own position and the terms of its agreement with them, Epson refused to

 5 pay its share of the arbitration fees and instead brought this action. Waisnor Dec. ¶¶13-16, 19. As a

 6 result, JAMS has indicated it has administratively closed the arbitrations as of June 6, 2023 due to

 7 Epson’s nonpayment. Id., ¶¶20-24 and Exh. J. However, Epson continues to press these cases, even

 8 though it refuses to arbitrate.

 9          Unfortunately, narrow emergency relief is necessary to stop this unprecedented abuse of the

10 judicial process by a large corporation against its own customers. Epson has refused repeatedly to

11 discuss any reasonable approach to scheduling or coordinating these nearly 4,000 undoubtedly

12 complex cases. The goal is simple: block its customers from asserting their arbitration rights by any

13 means necessary. Even though there has been no case management conference yet, Epson has

14 charged forward with vexatious and unnecessary discovery demands against 2,166 individual

15 Defendants in the Adams action. Epson has refused to discuss a reasonable schedule for the exchange

16 of information that will moot the Adams action, and no arbitrations are currently pending or have any

17 prospect of beginning while Epson continues to breach its own arbitration agreement. Waisnor Dec.

18 ¶¶ 28-29.

19          A brief extension of appearance deadlines and discovery is undoubtedly warranted here. Ex

20 parte relief is also warranted under both “irreparable harm” and statutory grounds. If Defendants are

21 required to appear now, they will be deprived of the benefit of the agreements they signed with Epson

22 that entitle them to an individualized, efficient, confidential arbitration process with streamlined

23 discovery and procedures. Further, they will also be required to pay individualized appearance fees

24 totaling over $650,000, exclusive of complex case fees, without any reasonable opportunity to submit

25 indigent fee waivers. Further, because Defendants intend to move to compel arbitration, a stay of

26 proceedings is warranted. See Code Civ. P. §§ 1054; 1281.4.

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 1             In a prior litigation involving the exact practices forming the basis of Defendants’ arbitration

 2 claims here, Epson vigorously argued that all disputes between it and its customers belonged in

 3 arbitration. See Mondigo et al v. Epson America, Inc., Case No., 20-cv-4400 (C.D. Ca. 2020). In so

 4 doing, Epson stated that: “Plaintiffs should not be permitted to ignore their arbitration agreements,

 5 file a lawsuit in federal court, and force Epson to participate in litigation in violation of the terms of

 6 the parties’ agreements.” Mondigo Motion to Compel at 12. Epson further argued – by citation to

 7 JAMS rules – that “disputes over the formation, existence, validity, interpretation or scope of the

 8 agreement under which Arbitration is sought” were “reserved for the arbitrator,” “and not a court.”

 9 Mondigo Reply at 5-6. Epson’s motion before the District Court was successful. 2020 U.S. Dist.

10 LEXIS 252136 (C.D. Cal. Oct. 13, 2020). As Epson straightforwardly put it when it successfully

11 compelled a second action involving functionally identical claims to arbitration before JAMS, “[t]his

12 dispute does not belong in court.” Galgon Motion to Compel at 1.

13             In light of these representations, Epson cannot credibly oppose ex parte relief or a temporary

14 postponement of appearances or discovery. Further, because Epson has refused to pay arbitration

15 fees for any of the Defendants, and no Adams defendant is currently pursuing arbitration, it will not

16 be prejudiced by any stay. No arbitrations are pending or can practically commence until the court

17 rules on Defendants upcoming demurrer and motions to compel arbitration and for sanctions.

18 II.         BACKGROUND

19             A.     Factual Background

20             Epson is a California corporation and wholly-owned subsidiary of Seiko Epson Corporation,

21 a Japanese corporation. Complaint, ¶ 9 3. Epson is responsible for selling and marketing Epson

22 printers in the United States. Id. Epson manufactures both printers and ink cartridges. Consumers

23 can purchase printers or ink cartridges either directly from Epson or from other retailers. Ink

24 cartridges are a vital source of revenue for printer companies like Epson. Epson’s original equipment

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         References to “Complaint” are to Plaintiff’s complaint in this action, filed on March 10, 2023.
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 1 manufacturer (“OEM”) replacement ink ranges from $10-$150 per cartridge, with most printers

 2 requiring four cartridges to work; third-party ink is typically much cheaper.

 3          Epson printer owners must agree to SLA when purchasing and first setting up an Epson

 4 Printer. Id. ¶12. Under the terms of Epson’s SLA, Epson printer owners authorized Epson to access

 5 their printers to apply fixes and upgrades to improve the printer’s performance. The SLA further

 6 requires that any disputes between Epson and its customers thereunder, including questions regarding

 7 jurisdiction or arbitrability, be decided by arbitration before JAMS. (SLA at 14).

 8          Defendants here and in the Adams action are Epson printer owners who allege that they wish

 9 to use cheaper third-party ink in their printers, but can no longer do so because Epson pushed

10 unilateral firmware updates onto their printers that rendered them incompatible with third-party ink

11 cartridges. Waisnor Dec. ¶ 3. Claimants allege that, in violation of the SLA, Epson improperly forced

12 software and firmware updates on their printers which disabled the ability to use cheaper ink, in

13 violation of state and federal consumer protection laws. Id.

14          The plaintiffs in Mondigo et al v. Epson America, Inc., Case No., 20-cv-4400 (C.D. Ca. 2020)

15 brought a putative class action against Epson alleging harm to Epson customers based on these same

16 wrongful practices. Rather than defending that action in court on the merits, Epson, represented by

17 the same counsel representing it in these cases, successfully moved to stay the action and to compel

18 the claims to arbitration. See generally Mondigo, 2020 U.S. Dist. LEXIS 252136 (C.D. Cal. Oct. 13,

19 2020). In making that motion, Epson forcefully argued that the same SLA at issue in this action

20 “clearly and unmistakably delegate[s] issues of arbitrability to the arbitrator,” including “whether the

21 parties have agreed to arbitrate or whether their agreement covers a particular controversy.” Mondigo

22 Motion to Compel at 6-7. Epson further argued, contrary to its position in this action, that the question

23 of whether the plaintiffs in Mondigo “entered into valid arbitration agreements” was “not an issue for

24 the court.” Id. at 8 (“Because disputes regarding the existence, scope and validity of the arbitration

25 agreements are reserved for the arbitrator, the Court need not address these issues.”). Epson further

26 argued that the SLA “incorporate[s] the JAMS rules,” which rules “provide the arbitrator, and not a

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 1 court, shall resolve disputes over the formation, existence . . . or scope of an agreement under which

 2 Arbitration is sought.” Mondigo Reply at 5-6.

 3          Similarly, in Galgon, Epson again successfully argued that disputes like those with

 4 Defendants here “do[] not belong in court.” Galgon Motion to Compel at 1. There, Epson argued,

 5 in direct contravention of its position here:

 6                  to set up and begin using his printer, plaintiff was required to view and
                    provide his affirmative consent to Epson’s [SLA]. Additionally, plaintiff
 7                  reaffirmed his agreement to arbitrate when he was presented with the
                    Updater EULA at the time of the software update and once again
 8
                    affirmatively assented to the terms. . . . As this Court determined in Mondigo
 9                  based on this same process, there can be no “dispute [plaintiff] entered into
                    the software license agreement and/or the Updater EULA[.]”
10                  Galgon Motion to Compel at 9 (quoting Mondigo, 2020 U.S. Dist. LEXIS
                    252136 at *4) (final two alterations in original).
11
            Defendants concur with Epson’s previous position that Claimants’ representations that they
12
     set up their printers and assented to the relevant terms leave no dispute that an agreement to arbitrate
13
     exists, and that issues of arbitrability and formation raised by Epson’s complaint here should be
14
     decided by JAMS. Epson is judicially estopped from denying otherwise. Accordingly, in late 2022,
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     pursuant to the notice requirements of the SLA, and consistent with Epson’s position in Mondigo and
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     Galgon, Defendants informed Epson of the nature and facts underlying their claims, and of their intent
17
     to seek arbitration of those claims before JAMS. Waisnor Dec. ¶ 13.
18
            Following a period of negotiation and information exchange and a failed mediation before a
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     JAMS mediator, Robert Meyer, Esq., 3,994 individuals filed arbitration claims with JAMS against
20
     Epson on March 6, 2023. Id. ¶14. Epson asked JAMS for additional time to “evaluat[e] information”
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     on the Claimants, and then quickly filed this action and the related Adams action. Epson did not seek
22
     a stay of the JAMS proceedings. Id. ¶¶15-16, 19 and Exh. F. For the first time, Epson admitted that
23
     it had located arbitration agreements with certain individuals represented by counsel. Id., ¶16. Epson
24
     conceded that the Defendants here had agreed to its SLA (and thus that they and Epson were bound
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     to the arbitration provision therein), but contended that, because it had purportedly unilaterally
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     amended that SLA to require customers to bring any “Mass Arbitration” before FedArb (“Amended
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 1 SLA”) and to impose administrative exhaustion requirements before consumers to commence

 2 arbitration, arbitrations against it should not move forward before JAMS. Id. Claimants disputed the

 3 validity and application of the Amended SLA to their claims, because, among other reasons, the

 4 amendment had taken place after Epson was on notice of the claims and in anticipation of litigation.

 5          Epson also contended that a subset of Defendants, those now named as defendants in this

 6 action, had not provided it with sufficient information to determine whether such claimants owned

 7 Epson printers and had agreed to any version of the SLA. Id. ¶19. Previously, despite being provided

 8 with requested information on all the Defendants, Epson refused to engage in any meet and confer

 9 process with Defendants, and simply demanded compliance with ever increasing requirements for

10 information that was not required under the SLA’s dispute resolution provisions.

11          On April 6, 2023, JAMS rejected Epson’s argument that Defendants’ arbitrations should not

12 move forward before JAMS. JAMS correctly recognized that the issue raised by Epson in this action

13 – which version of the SLA controls the parties’ dispute – was properly decided by the arbitrators.

14 See Waisnor Dec., Exh. H (“April 6 JAMS Notice”) at 2 (“JAMS will proceed with administration of

15 . . . the ‘Arnoff’ Demands . . . . [Epson] may raise its jurisdictional and arbitrability objections with

16 the arbitrators upon appointment.”). JAMS determined that it would proceed with arbitration of

17 Defendants’ claims, and on April 7, 2023, JAMS invoiced Epson for the case initiation fees for the

18 Arnoff Claimants’ arbitrations, which it is obligated to pay under the SLA. Waisnor Dec. ¶¶21-22

19 and Exhs. H, I. Those initiation fees remain unpaid to date, and as of the date of this Motion, Epson

20 is in material breach of the SLA, and subject to sanctions for that breach under Cal. Civ. Pro. §

21 1281.97-99. Waisnor Dec., ¶¶23-24 and Exh. K. Epson has confirmed that it is not going to pay the

22 fees. Id., ¶23 and Exh. K. As a result, JAMS has administratively closed the arbitrations. Id., ¶24

23 and Exh. J.

24          Epson was not assessed any fees with respect to the Adams Defendants. Instead, Epson

25 refused their offer to have JAMS appoint a single procedural arbitrator appointed to facilitate a good-

26 faith information exchange to verify the existence of an arbitration agreement between Defendants in

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 1 this action and Epson. 4 Id. ¶¶17-20, 27 and Exh. K. After Epson refused to pay the fees in

 2 Defendants’ arbitrations, the Adams Defendants withdrew without prejudice their arbitrations. Id.

 3 ¶27.

 4            The Adams and Arnoff matters were designated as complex, and related and consolidated in

 5 front of this Court.     Id. ¶ 25. As an initial case management conference has been scheduled for

 6 August 30,2023, no case management order been entered to date. Id. Defendants intend to file a

 7 demurrer and motion to compel arbitration on June 8, the current response deadline. Because Epson

 8 has improperly joined 3,994 individual customers in two “mass actions,” arising out of a common set

 9 of facts, raising identical legal issues, and seeking the same relief, Defendants also intend to move for

10 certification of this matter as a Defendant class action. However, Epson has already served discovery,

11 refused to consent to a stay of discovery or of appearances for defendants other than Proposed Lead

12 Defendants, and indicated that it intends to move to compel production at the soonest opportunity.

13 Id. ¶29. Thus, expedited relief is needed.

14 III.       THE COURT SHOULD EXTEND THE TIME TO APPEAR, ANSWER AND
              PARTICIPATE IN INDIVIDUALIZED DISCOVERY PENDING
15            CONSIDERATION OF DEFENDANTS’ MOTIONS.

16            A.     Legal Standard

17            This Court has the inherent authority to extend the time to manage its calendar and grant

18 reasonable extensions of time upon a showing of good cause. Code Civ. P. § 1054(a). This includes

19 the power to grant a temporary extension of the time to appear where, as here, such relief is warranted.

20 See Code Civ. Proc. §§ 128(a)(8) (“Every court shall have the power to . . . . amend and control its

21 process and orders so as to make them conform to law and justice”); 187 (“in the exercise of [its]

22

23   4
         JAMS rules expressly encourage the parties to agree on such an approach.
     https://www.jamsadr.com/blog/2023/jams-policy-regarding-mass-arbitration-
24   filings#:~:text=JAMS%20will%20not%20reduce%20fees,impartial%2C%20neutral%20and%20fair
     %20process. (“We encourage the parties to collaborate at the outset of a mass filing (which JAMS
25   defines as any group of 25 or more filings from the same law firm or lawyer against the same company
     at the same time). Strategies that have proven effective include sharing information about the validity
26   of each individual’s status (employee, customer, etc.); filing demands in batches; and agreeing on
     “test” cases, arbitrator selection, manner of hearing (in-person, virtual or hybrid), timelines for
27   commencement and hearings, etc.”).
28                                                     7
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  1 jurisdiction, if the course of proceeding be not specifically pointed out by this Code or the statute,

  2 any suitable process or mode of proceeding may be adopted.”); Govt. Code § 68070(a) (“Every court

  3 may make rules for its own government . . . not inconsistent with law”).

  4          Both these cases have been designated as complex. “A “complex case” is an action that

  5 requires exceptional judicial management to avoid placing unnecessary burdens on the court or the

  6 litigants and to expedite the case, keep costs reasonable, and promote effective decision making by

  7 the court, the parties, and counsel.” CA ST CIVIL RULES Rule 3.400. Further, “it is apparent that

  8 courts have the power to fashion a new procedure in a complex litigation case to manage and control

  9 the case before them. . . . [A] court should consider the totality of the circumstances of the particular

 10 case in deciding how to manage a complex litigation case.” Cottle v. Super. Ct., 3 Cal. App. 4th 1367,

 11 1380 (1992).

 12          This Court also possesses the “inherent power to waive its filing fees to accommodate

 13 indigents in civil litigation,” Jara v. Mun. Ct., 21 Cal. 3d 181, 184 (1978), and to adopt processes

 14 facilitating “equal access to the judicial process” and “alternative procedures . . . so that indigent

 15 litigants are not, as a practical matter, denied their day in court.” Jameson v. Desta, 5 Cal. 5th 594,

 16 605 (2018). The circumstances here clearly warrant the exercise of these inherent powers.

 17          In addition, stays pending determination of an application to compel arbitration, such as the

 18 application anticipated by Defendants here, are not only routinely granted, but required by statute.

 19 “If an application has been made to a court of competent jurisdiction . . . for an order to . . . and such

 20 application is undetermined, the court in which such action or proceeding is pending shall, upon

 21 motion of a party to such action or proceeding, stay the action or proceeding until the application for

 22 an order to arbitrate is determined.” Code Civ. P. § 1281.4.             Section 1281.4 “is clear and

 23 unambiguous: it requires that the trial court stay an action pending before it while an application to

 24 arbitrate the subject matter of the action is pending in a court of competent jurisdiction. There is no

 25 specific or implied exception contained within the statute . . . .” Twentieth Century Fox Film Corp.

 26 v. Superior Court, 79 Cal. App. 4th 188, 192 (2000).

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  1          Finally, this court has broad discretion to “establish the sequence and timing of discovery for

  2 the convenience of parties . . . and in the interests of justice.” Code Civ. P. § 2019.020(b). This

  3 discretion is properly exercised to prevent “an unnecessary and burdensome additional expense”

  4 where the fundamental viability of a complaint is being tested. Terminals Equip. Co. v. City of San

  5 Francisco, 221 Cal. App. 3d 234, 247 (1990). If a plaintiff is “unable to state a viable cause of action

  6 on the basis of the facts already available to” it, a stay of discovery is warranted. Id.

  7          B.      A Temporary Extension of Tim to Appear and Participate In
                     Individualized Discovery Will Serve the Interests Of Justice And
  8                  Efficiency

  9          As set forth above, these actions represent a stunning about-face for Epson, which has

 10 previously insisted that all claims such as those of Defendants belong in arbitration, even those

 11 concerning the “existence” or “formation” of the agreement to arbitrate. Waisnor Dec. ¶¶5-12 and

 12 Exhs. B, C, E. Epson has also previously conceded that representations of customers such as

 13 Defendants that they own and have set up Epson printers via Epson’s process have indisputably

 14 entered into agreements to arbitrate with it. Galgon Motion to Compel at 8-9. Epson now attempts

 15 to avoid its contractual obligations to arbitrate, and to punish Defendants for asserting their rights

 16 under the SLA. For the reasons set forth in Defendants’ accompanying motions for class certification,

 17 Epson’s claims are meritless, and all of the issues to be presented in Defendants’ responses to those

 18 claims are best adjudicated on a class-wide basis.

 19          However, in the absence of relief from this court, all defendants other than the Proposed Lead

 20 Defendants will be forced to choose between appearing (and incurring associated fees) and

 21 responding to Epson’s overbroad discovery requests, which would be unnecessary if Defendants’

 22 class certification motions and motions to compel arbitration are granted, or failing to appear, and

 23 risking a finding of default if Defendant’s motions are denied.           Similarly, any individualized

 24 discovery, such as individual depositions or document productions, would be unnecessary (and

 25 unauthorized) if class certification is granted, but a failure to respond to such demands while

 26 Defendants’ motions are pending puts any individual Defendant at risk of associated presumptions,

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  1 motions to compel, or even sanctions. Epson, clearly aware of this, has already threatened to file a

  2 motion to compel production, despite the fact that no case management order has been entered.

  3          In its Complaint, Epson again tacitly admits what it vigorously argued in Mondigo and Galgon

  4 – its disputes with Defendants belong before an arbitrator. Epson’s suits against its customers are a

  5 meritless and desperate attempt to avoid the results of its own successful position on the meaning of

  6 a contract it drafted. Defendants will directly address the fatal flaws in Epson’s unfounded claims

  7 through their motion to compel arbitration and for sanctions in this action and their demurrer in

  8 Adams, both of which Defendants will file no later than June 8, the stipulated appearance deadline in

  9 both actions. The arguments advanced in these anticipated applications all apply with equal force to

 10 each Defendant in each respective action, and Defendants are optimistic that this Court will quickly

 11 and efficiently decide both actions against Epson and in favor of all defendants after evaluating those

 12 arguments. Further, staying Defendants’ time to appear will also avoid the imposition of over $1

 13 million in appearance fees.

 14          There is no prejudice to Epson for a brief stay of appearance deadlines and discovery. There

 15 is not currently any pending or threatened arbitration by any of the Adams Defendants, nor could any

 16 arbitration by any Adams Defendant, or any of the unnamed Doe Defendants, actually commence

 17 until Epson is ordered to arbitrate with the Arnoff Defendants. Because there is no reasonable prospect

 18 of arbitration unless and until the court orders it, discovery into arbitrability is unduly burdensome.

 19          Epson’s position, in essence, is that the Defendants and this Court must become embroiled in

 20 the procedural morass of thousands of individual declaratory judgment actions proceeding in parallel

 21 any time it, or any other company, decides it doesn’t like the consequences of an arbitration agreement

 22 it drafted. Together with Defendants’ motions for class certification, filed concurrently herewith, this

 23 application seeks to avoid such senseless inefficiency by allowing Defendants to present their

 24 meritorious defenses on a unified basis while suspending the requirement that thousands of

 25 individuals residing throughout the country individually appear and pay hundreds of dollars each in

 26 fees and respond to discovery requests. If certification of the proposed defendant classes is granted,

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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
       TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                              Case No. 30-2023-01315890-CU-MC-CXC
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  1 these individuals will not be required to individually appear while this Court considers the merits of

  2 class treatment, especially as a result of Epson’s gamesmanship.

  3          These procedural catch-22s can be easily remedied by the requested relief here – a temporary

  4 stay of Defendants’ obligations to appear and answer until such time as it is fully determined whether

  5 they have such an obligation. Thus, a temporary stay will also allow the court and the parties the

  6 opportunity to arrive at a reasonable process for adjudicating this action, rather than the wasteful and

  7 expensive procedural logjam imagined by Epson.

  8 IV.      CONCLUSION

  9          Defendants respectfully request that the Court grant their application for a stay of the time to

 10 appear and answer and of all discovery pending decision on their motions for class certification and

 11 for 30 days following such decision.

 12

 13 DATED:          June 7, 2023                   LABATON SUCHAROW LLP

 14

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 27                                                San Diego, CA 92101
 28                                                    11
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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  3                                       Counsel for Defendants
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      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
       TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
                              Case No. 30-2023-01315890-CU-MC-CXC
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             jwaisnor@labaton.com
        11
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
        12
                                                      COUNTY OF ORANGE
        13
           EPSON AMERICA, INC.,                                        Case No.: 30­2023­01315890­CU­MC­CXC
        14 Plaintiff,

        15                                                             DECLARATION OF JONATHAN
             versus                                                    WAISNOR IN SUPPORT OF
        16                                                             APPLICATION FOR AN ORDER
           GRAESEN ARNOFF, an individual, et al.,                      TEMPORARILY EXTENDING THE
        17 Defendants.                                                 TIME TO APPEAR, ANSWER, AND
                                                                       PARTICIPATE IN DISCOVERY
        18

        19                                                             Assigned for All Purposes to:
                                                                       Hon. Lon F. Hurwitz
        20                                                             Date Action Filed: March 10, 2023

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                  DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
                 TEMPORARILY EXTENDING THE TIME TO APPEAR, ANSWER, AND PARTICIPATE IN DISCOVERY
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  1          I, JONATHAN WAISNOR, declare as follows:

  2          1.      I am an attorney duly admitted to practice in the State of California. I am an attorney
  3 with the law firm of Labaton Sucharow LLP, counsel for Defendants in the above captioned action.

  4 I respectfully submit this Declaration in support of Defendants’ Application for an Order

  5 Temporarily Extending the Time to Appear, Answer, and Participate in Discovery (the “Extension

  6 Application”). This Declaration is based upon my personal knowledge and if called to testify, I

  7 could and would do so competently as to the matters set forth herein.

  8          2.      This firm represents all named defendants in this action (“Arnoff Defendants”)and
  9 all named defendants the related action Epson America, Inc. v. Matt Adams, et al., Case No. 30-
 10 2023-01313431-CU-MC-CXC (the “Adams Defendants,” and together with the Arnoff Defendants,

 11 “Defendants.”)

 12          3.      Defendants are individuals represented by undersigned counsel who reside primarily
 13 in California, New York, and Illinois. In arbitration demands submitted to the Judicial Arbitration

 14 and Mediation Services (“JAMS”) on March 6, 2023, Defendants alleged that Plaintiff Epson

 15 America, Inc. (“Epson” or “Plaintiff”) violates federal and state law by forcing consumers to agree

 16 to software and firmware updates on their printers which disabled their printers’ ability to use this

 17 cheaper ink, in violation of the federal Sherman Antitrust Act, 15 U.S.C. § 1 et. seq, Computer

 18 Fraud and Abuse Act, 18 U.S.C. § 1030, et. seq., and consumer protection laws, including the

 19 California Civil Legal Remedies Act and Unfair Competition Law.

 20          4.      The relationship between Epson and its customers is governed by the Epson-drafted
 21 End User Software License Agreement (“SLA”). A copy of the SLA is annexed hereto as Exhibit

 22 A. The SLA requires all disputes between Epson and Defendants, with one exception not relevant

 23 here, to be arbitrated.

 24          5.      Epson has previously stringently enforced this arbitration requirement on its
 25 customers in disputes stemming from the exact practices at issue in the underlying JAMS

 26 arbitrations. In a putative class action brought by other Epson customers in the United States

 27 District Court for the Central District of California captioned Mondigo et al v. Epson America, Inc.,

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  1 Case No., 20-cv-4400 (C.D. Ca. 2020), a number of other Epson customers, alleging harm from the

  2 exact practices which Claimants object to, sought to litigate their dispute with Epson on a class

  3 basis. Epson argued vigorously, and effectively, that all disputes between it and its customers,

  4 including disputes over the existence or formation of the arbitration agreement, should instead be

  5 arbitrated before JAMS, pursuant to the SLA.

  6          6.     Attached hereto as Exhibit B is a true and correct copy of Epson’s notice of motion

  7 and motion to compel arbitration in Mondigo, together with all attachments and exhibits thereto.

  8          7.     Attached hereto as Exhibit C is a true and correct copy of Epson’s reply

  9 memorandum of law in further support of its motion to compel arbitration in Mondigo.
 10          8.     Epson’s efforts to compel arbitration in Mondigo were ultimately successful, with
 11 the District Court staying the action and compelling the parties to arbitration. See Mondigo v.

 12 Epson Am., Inc., No. CV 20-4400-CBM-GJS(x), 2020 U.S. Dist. LEXIS 252136 at *10 (C.D. Cal.

 13 Oct. 13, 2020).

 14          9.     As status reports submitted to the Mondigo court reveal, Epson has engaged in
 15 arbitration with the Mondigo plaintiffs regarding arbitrability issues. A copy of the November 1,

 16 2022 status report in Mondigo is attached hereto as Exhibit D.

 17          10.    The next year, in Galgon v. Epson America, Inc., No. 2:2021-cv-01794 (C.D. Cal.
 18 2021), Epson once again successfully argued that claims such as those of claimants must be

 19 presented to a JAMS arbitrator rather than a court.

 20          11.    A copy of Epson’s Notice of Motion and Motion to Compel Arbitration in Galgon is
 21 attached hereto as Exhibit E. Therein, Epson represented to the District Court that disputes with its

 22 customers “do[] not belong in court,” that the SLA “require[s] arbitration before JAMS,” and that

 23 the SLA “further provide[s] that ‘Epson shall pay, or (if applicable) reimburse you for, all JAMS

 24 filings and arbitrator fees.” Exh. E. at 1, 5 (quoting SLA at ¶14.6(c)).

 25          12.    Epson’s motion to compel in Galgon was granted, just as in Mondigo. The Galgon
 26 District Court found that the SLA’s delegation clause “clearly and unmistakably indicates the

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          DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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  1 parties’ intent for the arbitrator to decide the issue of arbitrability.” Galgon v. Epson America, Inc.,

  2 No. 2:2021-cv-01794, 2021 U.S. Dist. LEXIS 193142 at *6-*7 (C.D. Cal. June 16, 2021).

  3          13.     In late 2022, pursuant to the notice requirements of the SLA, and consistent with

  4 Epson’s position in Mondigo and Galgon, Claimants, through counsel, informed Epson of the

  5 nature and facts underlying their claims, and of their intent to seek arbitration of those claims before

  6 JAMS.

  7          14.     On March 6, 2023, following a period of negotiations, significant information

  8 exchange, and a failed mediation before JAMS mediator Robert Meyer, Esq., the 3,994 Claimants

  9 requested that JAMS open individual arbitrations against Epson.
 10          15.     Following receipt of Defendants’ arbitration demands, Epson asked JAMS for
 11 additional time so that it could “evaluat[e] information” on the Claimants. A copy of Epson’s

 12 correspondence requesting this additional time is attached hereto as Exhibit F.

 13          16.     Epson then quickly filed this action on or about March 10, 2023, alleging that
 14 Defendants’ claims must be adjudicated before FedArb rather than JAMS under a purported

 15 unilateral amendment to its SLA. However, it did not seek a stay of the JAMS proceedings brought

 16 by the Arnoff Defendants. Despite receiving information regarding Defendants’ printer ownership

 17 status months before, this was the first time Epson affirmatively identified any specific Defendant it

 18 asserted was subject to any such amended version of the SLA.

 19          17.     JAMS Policy Regarding Mass Arbitration Filings, annexed hereto as Exhibit G
 20 states that, “in the face of an arbitration clause that bars class or collective actions, attorneys

 21 representing employees or consumers have responded in some instances by filing dozens, hundreds

 22 or even thousands of individual arbitration demands against a single company.” However, JAMS’s

 23 “role as the administrator of the parties’ arbitration proceedings prohibits us from modifying or

 24 changing the arbitration agreement absent express agreement of the parties. If the parties’

 25 agreement prohibits class actions and consolidations, we must treat each case individually. Each

 26 matter is commenced and managed separately because that is what the pre-dispute contract requires.

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          DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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  1 Every arbitration receives its own process and its own arbitrator, and the resources needed to

  2 manage these individual arbitrations are similar to or greater than any individual arbitration.”

  3          18.    JAMS urges the parties to “collaborate at the outset of a mass filing [of more than 25

  4 filings from the same law firm against the same company at the same time], including “sharing

  5 information about the validity of each individual’s status (employee, customer, etc.); filing demands

  6 in batches; and agreeing on “test” cases, arbitrator selection, manner of hearing (in-person, virtual

  7 or hybrid), timelines for commencement and hearings, etc.” See Exhibit G.

  8          19.    Epson also brought suit against the other 2,161 Claimants, now the Adams

  9 Defendants, alleging (solely on information and belief) that the Adams Defendants did not have
 10 agreements to arbitrate with Epson. This was the first time Epson affirmatively identified any

 11 specific Claimant it asserted had no agreement to arbitrate with it.

 12          20.    Defendants proposed to Plaintiff that JAMS appoint a procedural arbitrator who
 13 could efficiently resolve Epson’s concerns about the existence of such agreements with the Adams

 14 Defendants within the arbitration forum prior to the commencement of any individual arbitrations or

 15 the assignment of arbitrators. Epson declined.

 16          21.    On April 6, 2023, JAMS formally accepted administration of the Arnoff Defendants’
 17 arbitrations, stating that “given the terms of the agreement under which Claimants seek arbitration,

 18 JAMS will proceed with administration of these Demands . . . upon receipt of the filing fees.

 19 Respondent may raise its jurisdictional and arbitrability objections with the arbitrators upon

 20 appointment. Respondent may participate in the arbitrator selection processes without waiving any

 21 objection stated to date.” JAMS advised that no action would be taken on Defendants’ arbitration

 22 demands until Plaintiff tendered the requisite filing fees. A copy of the April 6 correspondence

 23 from JAMS is attached hereto as Exhibit H.

 24          22.    On April 7, 2023, in accordance with its decision and the requirements of the SLA,
 25 JAMS invoiced Epson for the case initiation fees for Defendants’ arbitrations, totaling $3,666,000.

 26 A copy of the invoice is annexed hereto as Exhibit I.

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          DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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  1          23.     Epson never paid the invoiced case initiation fees, and, upon inquiry from JAMS,

  2 affirmatively confirmed that it had no intention of doing so. A copy of an email from Epson’s

  3 counsel confirming it did not intend to pay is annexed as Exhibit K.

  4          24.     Epson’s refusal to abide by the SLA and pay the initiation fees for the Arnoff

  5 Defendants’ arbitrations effectively halted these arbitrations before they could begin. On June 6,

  6 2023, JAMS administratively closed the Arnoff Defendants’ arbitrations due to Epson’s

  7 nonpayment of fees. Exhibit J.

  8          25.     A notice of related case was filed on April 26, 2023, noticing this court of Plaintiff’s

  9 related action against Defendants Matt Adams, et al., No. 30-2023-01313431-CU-MC-CXC, also
 10 assigned to this Court for all purposes. Both cases were designated as complex cases. At this time,

 11 no case management order has been entered.

 12          26.     On or about April 26, 2023, Plaintiff purported to serve on my office form
 13 interrogatories, special interrogatories, requests for production, and requests for admission directed

 14 at each of the 2,161 Adams Defendants (the “Requests”).

 15          27.     As a result of Epson’s refusal to participate in the arbitration process for the Arnoff
 16 Defendants, while continuing to press forward with parallel litigation in the Adams action, on May

 17 19, 2023, the Adams Defendants formally withdrew their arbitrations without prejudice. See Exh.

 18 K.

 19          28.     During a telephonic meet-and-confer on June 2, 2023, concerning discovery which
 20 Plaintiff’s counsel described as “check[ing]-the-box,” Plaintiff’s counsel threatened to file a motion

 21 to compel discovery against the Adams Defendants.

 22          29.     Despite valid objections to the premature nature, breadth, and undue burden of the
 23 discovery sought, in correspondence following this meet-and-confer, the Adams Defendants offered

 24 to address what Plaintiff’s counsel described as the “central issue” in this action – proof of valid

 25 arbitration agreements between it and the Adams Defendants. This would consist of sworn

 26 attestations providing information sufficient for Epson to confirm the existence of arbitration

 27 agreements with these individuals, provided the parties negotiated a reasonable discovery schedule

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  1 that took into account the preliminary stages of this action and Defendants’ forthcoming demurrers

  2 and motions to compel arbitration. Epson rejected this offer and reasserted its intention to file a

  3 motion to compel.

  4          30.    Concurrent with this Application, Defendants are filing motions for certification of

  5 Defendant classes in both the Arnoff and Adams actions.

  6          31.    As set forth in detail here and in the accompanying memorandum of points and

  7 authorities, ex parte relief is warranted here both on statutory grounds and because of the imminent

  8 danger of irreparable harm to nearly 3,994 Defendants if this motion is not granted. Specifically,

  9 Defendants may be required to pay individual appearance fees totaling $1,417,870, be hailed into
 10 court in a jurisdiction far from their home states, or compelled to produce or provide substantive

 11 discovery in a manner inconsistent with the terms of the customer agreements they signed with

 12 Epson that provide for arbitration under JAMS rules (which limit discovery requests and do not

 13 automatically provide for interrogatories or request for admission). Moreover, in the absence of

 14 such relief, Defendants would have to incur those appearance fees even to be allowed to advance

 15 their argument that these fees are inappropriate because, as Epson previously argued, JAMS is the

 16 appropriate forum for all disputes between the parties, including issues of contract formation or

 17 existence.

 18          32.    Good cause exists for a brief extension of appearance and discovery deadlines as it
 19 will enable this Court to fully hear and rule on Defendants’ anticipated dispositive motions,

 20 including the Arnoff Defendants’ motion to compel arbitration which would carry with it a

 21 presumptive automatic stay, while keeping the schedules in both related actions synchronized.

 22          33.    Further, even if either of these cases is allowed to proceed as a “mass action” in this
 23 Court, additional time will be needed for those Defendants who are unable to afford appearance fees

 24 to submit indigent fee waivers in the form mandated by California law. As a result, Defendants

 25 may be deprived of a benefit they are entitled to under California law and rules of court.

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  1          On June 6, 2023 and June 7, 2023, Defendants, by their counsel, gave notice by sending an

  2 e-mail to counsel for all parties in this action of their intent to bring this ex parte application, as well

  3 as the date, time and location of the application. Plaintiff’s counsel has indicated they plan to

  4 oppose the requested relief. I declare under penalty of perjury under the laws of the state of

  5 California that the foregoing is true and correct.

  6          Executed on June 7, 2023, at Brooklyn, New York.

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  9                                                  Jonathan Waisnor (Bar No. 345801)
 10                                                  Counsel for Defendants
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          DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
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                             EXHIBIT A
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     the operation of the Software will be uninterrupted, error free, free from
     viruses or other harmful components or vulnerabilities, or that the
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     functions of the Software will meet your needs or requirements. Epson's
     sole and exclusive liability and your exclusive remedy for breach of
     warranty shall be limited to either, at Epson's option, the replacement of
     the media for the Software or to refund your money upon returning the
     Software and Epson Hardware. Any replacement Software will be
     warranted for the remainder of the original warranty period or thirty (30)
     days, whichever is longer. If the above remedy fails for any reason,
     Epson's entire liability for a breach of warranty shall be limited to a refund
     of the price paid for the Epson Hardware. Epson is not liable for
     performance delays or for nonperformance due to causes beyond its
     reasonable control. This Limited Warranty is void if failure of the Software
     resulted from accident, abuse, or misapplication. THE STATED LIMITED
     WARRANTIES AND REMEDY ARE EXCLUSIVE AND IN LIEU OF ALL
     OTHERS. EPSON DISCLAIMS ALL OTHER WARRANTIES, EITHER
     EXPRESS OR IMPLIED, INCLUDING WITHOUT LIMITATION, ALL
     WARRANTIES OF NON-INFRINGEMENT, MERCHANTABILITY, AND
     FITNESS FOR A PARTICULAR PURPOSE. SOME STATES OR
     JURISDICTIONS, HOWEVER, DO NOT ALLOW EXCLUSIONS OR
     LIMITATIONS OF IMPLIED WARRANTIES, AND IN SUCH STATES, THE
     ABOVE LIMITATION MAY NOT APPLY TO YOU.

     7.   Limitation of Liability. TO THE MAXIMUM EXTENT PERMITTED
     BY APPLICABLE LAW, IN NO EVENT WILL EPSON OR ITS
     SUPPLIERS BE LIABLE FOR ANY DAMAGES, WHATSOEVER,
     WHETHER DIRECT, INDIRECT, SPECIAL, INCIDENTAL, OR
     CONSEQUENTIAL DAMAGES, whether arising under contract, tort
     (including negligence), strict liability, breach of warranty,
     misrepresentation, or otherwise, INCLUDING WITHOUT LIMITATION,
     DAMAGES FOR LOSS OF BUSINESS PROFITS, BUSINESS
     INTERRUPTION, LOSS OF BUSINESS INFORMATION, OR OTHER
     PECUNIARY LOSS, ARISING OUT OF THE USE OF OR INABILITY TO
     USE THE SOFTWARE, OR ARISING OUT OF THIS AGREEMENT,
     EVEN IF EPSON OR ITS REPRESENTATIVE HAS BEEN ADVISED OF
     THE POSSIBILITY OF SUCH DAMAGES. SOME STATES DO NOT
     ALLOW THE EXCLUSION OR LIMITATION OF DAMAGES IN CERTAIN
     TRANSACTIONS, AND IN SUCH STATES, THE ABOVE LIMITATIONS
     AND EXCLUSIONS MAY NOT APPLY.
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     8.     U.S. Government Acquisition of the Software. This Section applies
     to all acquisitions of the Software by or for the U.S. Government
     ("Government"), or by any prime contractor or subcontractor (at any tier)
     under any contract, grant, cooperative agreement, "other transaction"
     ("OT"), or other activity with the Government. By accepting delivery of the
     Software, the Government, any prime contractor, and any subcontractor
     agree that the Software qualifies as "commercial" computer software
     within the meaning of FAR Part 12, paragraph (b) of FAR Subpart 27.405,
     or DFARS Subpart 227. 7202, as applicable, and that no other regulation,
     or FAR or DFARS data rights clause, applies to the delivery of this
     Software to the Government. Accordingly, the terms and conditions of
     this Agreement govern the Government's (and the prime contractor and
     subcontractor's) use and disclosure of the Software, and supersede any
     conflicting terms and conditions of the contract, grant, cooperative
     agreement, OT, or other activity pursuant to which the Software is
     delivered to the Government. If this Software fails to meet the
     Government's needs, if this Agreement is inconsistent in any respect with
     Federal law, or if the above cited FAR and DFARS provisions do not
     govern, the Government agrees to return the Software, unused, to Epson.

     9.     Export Restriction. You agree that the Software will not be
     shipped, transferred or exported into any country or used in any manner
     prohibited by the United States Export Administration Act or any other
     export laws, restrictions or regulations.

     10.    Privacy, Information Collection and Transfer of Data Overseas.
     The Software may have the ability to connect over the Internet to transmit
     data to and from your computer. For example, if you install the Software,
     the Software may cause your computer to send information about your
     Epson Hardware such as model and serial number, country identifier,
     language code, operating system information, and Epson Hardware
     usage information to an Epson Internet site which may return promotional
     or service information to your computer for display. For more information
     on how Epson collects and uses information provided through the
     Software, please review the Epson Privacy Policy located at
     www.epson.com/privacy (if you are located in the U.S.),
     www.epson.ca/privacy (if you are located in Canada), which is
     incorporated herein by reference. By agreeing to the terms of this
     Agreement, you agree to the terms of the Epson Privacy Policy. The
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     Epson Internet site may be located overseas. By installing the Software,
     you consent to this transfer, processing and storage of your information in
     and/or outside your country of residence.

     11.     Ink Purchases. For certain Epson printer products sold in North
     America, the Software may also display an option to buy ink from Epson.
     If you click on the buy button, the Software will cause your computer to
     display Epson Hardware cartridge types and ink levels and provide other
     information about your cartridges, such as the colors, available cartridge
     sizes, and prices for replacement ink cartridges, which you may purchase
     online from Epson.

     12.   Downloadable Updates. You may also be able to download from
     an Epson Internet site updates or upgrades to the Software if such
     updates or upgrades are made available. If you agree to install the
     Software, any transmissions to or from the Internet, and data collection
     and use, will be in accordance with Epson's then-current Privacy Policy,
     and by installing the Software you agree that such then-current Privacy
     Policy shall govern such activities.

     13.      Epson Accounts and Promotional Messages. In addition, if you
     install the Software and register your Epson Hardware with Epson, and/or
     you create an account at the Epson Store, and provided your consent to
     such use, you agree that Epson may merge the data collected in
     connection with installation of the Software, registration of your Epson
     Hardware and/or creation of your Epson Store account, consisting of
     personal information and non-personally identifiable information, and use
     such merged data to send you Epson promotional or service information.
     If you do not wish to send information about your Epson Hardware or
     receive promotional or service information, you will be able to disable
     these features on a Windows system through the Monitoring Preferences
     section in the driver. On a Mac operating system, you can disable these
     features by uninstalling the Epson Customer Research Participation and
     Low Ink Reminder software.

     14.  DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND WAIVER
     OF CLASS ACTIONS AND CLASS ARBITRATIONS
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        14.1      Disputes. The terms of this Section 14 shall apply to all
        Disputes between you and Epson. The term "Dispute" is meant to
        have the broadest meaning permissible under law and includes any
        dispute, claim, controversy or action between you and Epson
        arising out of or relating to this Agreement, the Software, Epson
        Hardware, or other transaction involving you and Epson, whether in
        contract, warranty, misrepresentation, fraud, tort, intentional tort,
        statute, regulation, ordinance, or any other legal or equitable basis.
        "DISPUTE" DOES NOT INCLUDE IP CLAIMS, or more specifically,
        a claim or cause of action for (a) trademark infringement or dilution,
        (b) patent infringement, (c) copyright infringement or misuse, or (d)
        trade secret misappropriation (an "IP Claim"). You and Epson also
        agree, notwithstanding Section 14.6, that a court, not an arbitrator,
        may decide if a claim or cause of action is for an IP Claim.

        14.2      Binding Arbitration. You and Epson agree that all Disputes
        shall be resolved by binding arbitration according to this
        Agreement. ARBITRATION MEANS THAT YOU WAIVE YOUR
        RIGHT TO A JUDGE OR JURY IN A COURT PROCEEDING AND
        YOUR GROUNDS FOR APPEAL ARE LIMITED. Pursuant to this
        Agreement, binding arbitration shall be administered by JAMS, a
        nationally recognized arbitration authority, pursuant to its code of
        procedures then in effect for consumer related disputes, but
        excluding any rules that permit joinder or class actions in arbitration
        (for more detail on procedure, see Section 14.6 below). You and
        Epson understand and agree that (a) the Federal Arbitration Act (9
        U.S.C. §1, et seq.) governs the interpretation and enforcement of
        this Section 14, (b) this Agreement memorializes a transaction in
        interstate commerce, and (c) this Section 14 shall survive
        termination of this Agreement.

        14.3      Pre-Arbitration Steps and Notice. Before submitting a
        claim for arbitration, you and Epson agree to try, for sixty (60) days,
        to resolve any Dispute informally. If Epson and you do not reach an
        agreement to resolve the Dispute within the sixty (60) days), you or
        Epson may commence an arbitration. Notice to Epson must be
        addressed to: Epson America, Inc., ATTN: Legal Department, 3131
        Katella Ave., Los Alamitos, CA 90720 (the "Epson Address"). The
        Dispute Notice to you will be sent to the most recent address Epson
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        has in its records for you. For this reason, it is important to notify us
        if your address changes by emailing us at
        EAILegal@ea.epson.com or writing us at the Epson Address
        above. Notice of the Dispute shall include the sender's name,
        address and contact information, the facts giving rise to the
        Dispute, and the relief requested (the "Dispute Notice"). Following
        receipt of the Dispute Notice, Epson and you agree to act in good
        faith to resolve the Dispute before commencing arbitration.

        14.4      Small Claims Court. Notwithstanding the foregoing, you
        may bring an individual action in the small claims court of your state
        or municipality if the action is within that court's jurisdiction and is
        pending only in that court.

        14.5    WAIVER OF CLASS ACTIONS AND CLASS
        ARBITRATIONS. YOU AND EPSON AGREE THAT EACH PARTY
        MAY BRING DISPUTES AGAINST THE OTHER PARTY ONLY IN
        AN INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR
        CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE
        PROCEEDING, INCLUDING WITHOUT LIMITATION FEDERAL
        OR STATE CLASS ACTIONS, OR CLASS ARBITRATIONS. CLASS
        ACTION LAWSUITS, CLASS-WIDE ARBITRATIONS, PRIVATE
        ATTORNEY-GENERAL ACTIONS, AND ANY OTHER
        PROCEEDING WHERE SOMEONE ACTS IN A
        REPRESENTATIVE CAPACITY ARE NOT ALLOWED.
        ACCORDINGLY, UNDER THE ARBITRATION PROCEDURES
        OUTLINED IN THIS SECTION, AN ARBITRATOR SHALL NOT
        COMBINE OR CONSOLIDATE MORE THAN ONE PARTY'S
        CLAIMS WITHOUT THE WRITTEN CONSENT OF ALL
        AFFECTED PARTIES TO AN ARBITRATION PROCEEDING.

        14.6       Arbitration Procedure. If you or Epson commences
        arbitration, the arbitration shall be governed by the rules of JAMS
        that are in effect when the arbitration is filed, excluding any rules
        that permit arbitration on a class or representative basis (the "JAMS
        Rules"), available at http://www.jamsadr.com or by calling 1-800-
        352-5267, and under the rules set forth in this Agreement. All
        Disputes shall be resolved by a single neutral arbitrator, and both
        parties shall have a reasonable opportunity to participate in the
        selection of the arbitrator. The arbitrator is bound by the terms of
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        this Agreement. The arbitrator, and not any federal, state or local
        court or agency, shall have exclusive authority to resolve all
        disputes arising out of or relating to the interpretation, applicability,
        enforceability or formation of this Agreement, including any claim
        that all or any part of this Agreement is void or voidable.
        Notwithstanding this broad delegation of authority to the arbitrator,
        a court may determine the limited question of whether a claim or
        cause of action is for an IP Claim, which is excluded from the
        definition of "Disputes" in Section 14.1 above. The arbitrator shall
        be empowered to grant whatever relief would be available in a court
        under law or in equity. The arbitrator may award you the same
        damages as a court could, and may award declaratory or injunctive
        relief only in favor of the individual party seeking relief and only to
        the extent necessary to provide relief warranted by that party's
        individual claim. In some instances, the costs of arbitration can
        exceed the costs of litigation and the right to discovery may be
        more limited in arbitration than in court. The arbitrator's award is
        binding and may be entered as a judgment in any court of
        competent jurisdiction.
        You may choose to engage in arbitration hearings by telephone.
        Arbitration hearings not conducted by telephone shall take place in
        a location reasonably accessible from your primary residence, or in
        Orange County, California, at your option.
        a) Initiation of Arbitration Proceeding. If either you or Epson
        decides to arbitrate a Dispute, both parties agree to the following
        procedure:
        (i) Write a Demand for Arbitration. The demand must include a
        description of the Dispute and the amount of damages sought to be
        recovered. You can find a copy of a Demand for Arbitration at
        http://www.jamsadr.com ("Demand for Arbitration").
        (ii) Send three copies of the Demand for Arbitration, plus the
        appropriate filing fee, to: JAMS, 500 North State College Blvd.,
        Suite 600 Orange, CA 92868, U.S.A.
        (iii) Send one copy of the Demand for Arbitration to the other party
        (same address as the Dispute Notice), or as otherwise agreed by
        the parties.
        b) Hearing Format. During the arbitration, the amount of any
        settlement offer made shall not be disclosed to the arbitrator until
        after the arbitrator determines the amount, if any, to which you or
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        Epson is entitled. The discovery or exchange of non-privileged
        information relevant to the Dispute may be allowed during the
        arbitration.
        c) Arbitration Fees. Epson shall pay, or (if applicable) reimburse
        you for, all JAMS filings and arbitrator fees for any arbitration
        commenced (by you or Epson) pursuant to provisions of this
        Agreement.
        d) Award in Your Favor. For Disputes in which you or Epson seeks
        $75,000 or less in damages exclusive of attorney's fees and costs,
        if the arbitrator's decision results in an award to you in an amount
        greater than Epson's last written offer, if any, to settle the Dispute,
        Epson will: (i) pay you $1,000 or the amount of the award,
        whichever is greater; (ii) pay you twice the amount of your
        reasonable attorney's fees, if any; and (iii) reimburse you for any
        expenses (including expert witness fees and costs) that your
        attorney reasonably accrues for investigating, preparing, and
        pursuing the Dispute in arbitration. Except as agreed upon by you
        and Epson in writing, the arbitrator shall determine the amount of
        fees, costs, and expenses to be paid by Epson pursuant to this
        Section 14.6d).
        e) Attorney's Fees. Epson will not seek its attorney's fees and
        expenses for any arbitration commenced involving a Dispute under
        this Agreement. Your right to attorney's fees and expenses under
        Section 14.6(d) above does not limit your rights to attorney's fees
        and expenses under applicable law; notwithstanding the foregoing,
        the arbitrator may not award duplicative awards of attorney's fees
        and expenses.

        14.7       Opt-out. You may elect to opt-out (exclude yourself) from
        the final, binding, individual arbitration procedure and waiver of
        class and representative proceedings specified in this Agreement
        by sending a written letter to the Epson Address within thirty (30)
        days of your assent to this Agreement (including without limitation
        the purchase, download, installation of the Software or other
        applicable use of Epson Hardware, products and services) that
        specifies (i) your name, (ii) your mailing address, and (iii) your
        request to be excluded from the final, binding individual arbitration
        procedure and waiver of class and representative proceedings
        specified in this Section 14. In the event that you opt-out consistent
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           with the procedure set forth above, all other terms shall continue to
           apply, including the requirement to provide notice prior to litigation.
           14.8      Amendments to Section 14. Notwithstanding any
           provision in this Agreement to the contrary, you and Epson agree
           that if Epson makes any future amendments to the dispute
           resolution procedure and class action waiver provisions (other than
           a change to Epson's address) in this Agreement, Epson will obtain
           your affirmative assent to the applicable amendment. If you do not
           affirmatively assent to the applicable amendment, you are agreeing
           that you will arbitrate any Dispute between the parties in
           accordance with the language of this Section 14 (or resolve
           disputes as provided for in Section 14.7, if you timely elected to opt-
           out when you first assented to this Agreement).

           14.9      Severability. If any provision in this Section 14 is found to
           be unenforceable, that provision shall be severed with the
           remainder of this Agreement remaining in full force and effect. The
           foregoing shall not apply to the prohibition against class or
           representative actions as provided in Section 14.5. This means that
           if Section 14.5 is found to be unenforceable, the entire Section 14
           (but only Section 14) shall be null and void.

     15.      Jurisdiction. Except for Section 14, which is governed by the
     Federal Arbitration Act, in the event of a Dispute in which the provisions in
     Section 14 are inapplicable, severed from the remainder of this
     Agreement, or you opt-out pursuant to the provisions of Section 14.7, you
     and Epson both consent to the jurisdiction of your state of residence.
     Such Dispute must be filed no later than one year after the date the
     Software is first acquired. This Agreement will not be governed by the
     United Nations Convention on Contracts for the International Sale of
     Goods, the application of which is expressly excluded.

     16.       For New Jersey Residents. Notwithstanding any terms set forth in
     this Agreement, if any of the provisions set forth in Sections 6, 7, or 16
     are held unenforceable, void or inapplicable under New Jersey law, then
     ANY SUCH provision shall not apply TO YOU BUT THE REST OF THE
     AGREEMENT SHALL REMAIN BINDING ON YOU AND EPSON.
     NOTWITHSTANDING ANY PROVISION IN THIS AGREEMENT, Nothing
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     in this AGREEMENT IS INTENDED TO, NOR shall IT be deemed OR
     CONSTRUED to, limit any rights available to you UNDER THE TRUTH-
     IN-CONSUMER CONTRACT, WARRANTY AND NOTICE ACT.

     17.   Entire Agreement. This Agreement is the entire agreement
     between the parties related to the Software and supersedes any
     purchase order, communication, advertisement, or representation
     concerning the Software.

     18.    Binding Agreement; Assignees. This Agreement shall be binding
     upon, and inure to the benefit of, the parties hereto and their respective
     successors, assigns and legal representatives.

     19.    Severability; Modifications. Subject to Section 14.8 and 14.9 if any
     provision herein is found void or unenforceable by a court of competent
     jurisdiction, it will not affect the validity of the balance of the Agreement,
     which shall remain valid and enforceable according to its terms. This
     Agreement may only be modified in writing signed by an authorized
     representative of Epson.

     20.    Termination. Without prejudice to any other rights Epson has, your
     license rights under Section 1 above and your warranty rights under
     Section 6 above, shall automatically terminate upon failure by you to
     comply with its terms. Upon termination of such rights, you agree that the
     Software, and all copies thereof, will be immediately destroyed.

     21.    Capacity and Authority to Contract. You represent that you are of
     the legal age of majority in your state or jurisdiction of residence and have
     all necessary authority to enter into this Agreement, including, if
     applicable, due authorization by your employer to enter into this
     Agreement.


  EPSON is a registered trademark of Seiko Epson
  Corporation.
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                             EXHIBIT B
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    6 Attorneys for Defendant Epson America,
      Inc.
    7
    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                 DEFENDANT EPSON AMERICA
   13 GREGORY SZOT, MARTIN                       INC.’S MOTION TO COMPEL
      DIGNARD, and MICHAEL KOVACH,               ARBITRATION AND STAY
   14                                            PROCEEDINGS;
      individually and on behalf of all others
   15 similarly situated,                        DECLARATION OF SIRANUSH
                                                 ARABIAN;
   16
                        Plaintiffs,              [PROPOSED] ORDER
   17
                 vs.                             Date:      August 18, 2020
   18                                            Time:      10:00 a.m.
                                                 Judge:     Hon. Consuelo B.
   19 EPSON AMERICA, INC.,                                  Marshall
                                                 Courtroom: 8B
   20
                       Defendant.
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                                                          Case No. 2:20-cv-4400-CBM-GJS
        MOTION
                                      MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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    1                       NOTICE OF MOTION AND MOTION
    2 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    3        PLEASE TAKE NOTICE that, on August 18, 2020 at 10:00 a.m., or as soon
    4 thereafter as counsel may be heard, defendant Epson America, Inc. (“Epson”), by
    5 and through its attorneys and pursuant to 9 U.S.C. § 4, hereby moves to compel
    6 arbitration of plaintiffs’ claims, stay proceedings pending resolution of any
    7 arbitration, and stay proceedings pending a decision on this motion.
    8        This Motion is made following the conference of counsel pursuant to L.R. 7-
    9 3, which took place on July 13, 2020.
   10        This motion is made on the grounds that plaintiffs agreed to arbitrate their
   11 claims against Epson on a non-class basis and further agreed any disputes
   12 concerning the arbitrability of their claims must be submitted to the arbitrator for
   13 resolution. This motion is based upon this Notice, the following memorandum of
   14 points and authorities, the Declaration of Siranush Arabian (“Arabian Decl.”) and
   15 exhibits thereto, the pleadings and records on file herein, on such other and further
   16 argument and evidence as may be presented at the time of the hearing, and all
   17 matters of which this Court may take judicial notice.
   18 DATED: July 20, 2020                 QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
   19
   20
                                              By         /s/ Shon Morgan
   21                                              Shon Morgan
                                                   Attorneys for Defendant Epson America,
   22                                              Inc.
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                            PRELIMINARY STATEMENT
    3         This dispute does not belong in court. Plaintiffs expressly agreed to arbitrate
    4 any grievances related to the printers they purchased from Epson and the software
    5 used in those printers. The terms of their arbitration agreements are conspicuous,
    6 fair, and reached through a process and on substantive terms that courts have
    7 consistently held must be enforced to effectuate the purposes of the Federal
    8 Arbitration Act.      Plaintiffs’ arbitration agreements also express a clear and
    9 unmistakable intent to commit issues of arbitrability to the arbitrator. Thus, to the
   10 extent plaintiffs contend their claims are not subject to the arbitration agreements for
   11 any reason, this issue must be decided in arbitration. Accordingly, the Court should
   12 compel arbitration of plaintiffs’ claims and stay proceedings pending resolution of
   13 any arbitration.
   14         Additionally, because this Court is not the proper forum for plaintiffs’ claims,
   15 Epson also seeks an order staying all proceedings pending resolution of its motion to
   16 compel arbitration (including a stay of all discovery), which would be obviated by
   17 an order sending this case to arbitration.
   18                                    BACKGROUND
   19                    PLAINTIFFS’ ARBITRATION AGREEMENTS
   20         Plaintiffs each allege they purchased an Epson printer1 and concede owners of
   21 Epson printers “must agree to Epson’s software license when purchasing and using
   22 an Epson printer.” ECF No. 1 at ¶ 32.2 See also id. at ¶ 35 (“Under the terms of
   23
          1
   24         ECF No. 1 at ¶¶ 52 (plaintiff Famiglietti); 65 (plaintiff Rabinovich); 77
      (plaintiff Mondigo); 86 (plaintiff Gordon); 98 (plaintiff Szot); 106 (plaintiff
   25 Dignard); 116 (plaintiff Kovach).
         2
              Plaintiffs refer to, quote from, and provide a hyperlink in their complaint
   26 linking to the software license. See ECF No. 1 at ¶¶ 32-33 & n. 8. Thus, this
      document is incorporated by reference and may be considered by the Court.
   27 Stockman-Sann v. McKnight, 2013 WL 8284817, at *3 (C.D. Cal. Mar. 25, 2013)
      (“Because Plaintiff’s CAC references these documents and quotes from them, they
   28    (footnote continued)
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    1 Epson’s software licenses, Plaintiffs . . . authorized Epson to access their printers to
    2 apply fixes and upgrades.”); Arabian Decl. at ¶¶ 3-4, Ex. 1 (software license). Thus,
    3 there can be no dispute plaintiffs agreed to the terms of Epson’s software license.
    4 See, e.g., Smith v. Kansas Pub. Employees Ret. Sys., 2019 WL 339542, at *4 (D.
    5 Kan. Jan. 28, 2019) (contract formation established where plaintiff “conceded that
    6 she entered the agreement in her own complaint”).
    7        Among the terms in the software license to which plaintiffs agreed is an
    8 arbitration agreement—indeed, the very first paragraph of the license agreement
    9 calls attention to this in capitalized, oversized font that notifies the user “IF YOU
   10 ARE LOCATED IN THE UNITED STATES, SECTION 14 OF THIS
   11 DOCUMENT APPLIES TO YOU. SECTION 14 CONTAINS A BINDING
   12 ARBITRATION PROVISION THAT LIMITS YOUR ABILITY TO SEEK
   13 RELIEF IN A COURT BEFORE A JUDGE OR JURY, AND WAIVES YOUR
   14 RIGHT TO PARTICIPATE IN CLASS ACTIONS OR CLASS ARBITRATIONS
   15 FOR CERTAIN DISPUTES.” See ECF No. 1 at ¶ 32 n. 8 (providing hyperlink to
   16 this document); Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.
   17        Additionally, plaintiffs Rabinovich, Famiglietti, Gordon, Szot, Dignard and
   18 Kovach each reaffirmed their agreements to arbitrate disputes with Epson at the time
   19 they installed the software updates that are the subject of plaintiffs’ complaint.
   20 Arabian Decl. at ¶¶ 4-5, Ex. 2.3 To install the updates, these plaintiffs were required
   21 to view the Epson End User Software License Agreement (“Updater EULA”),
   22
      are appropriate for consideration under the doctrine of incorporation by reference.”).
   23 Additionally, a true and correct copy of the software license to which plaintiffs
      agreed is attached as Exhibit 1 to the Declaration of Siranush Arabian. See Arabian
   24 Decl. at ¶ 3, Ex. 1.
         3
            See ECF No. 1 at ¶¶ 57 (alleging plaintiff Famiglietti installed the “Updates”
   25 in “March of April of 2019”); 69 (alleging plaintiff Rabinovich installed the
      “Updates” in “February of 2020”); 88 (alleging plaintiff Gordon installed the
   26 “Updates” in “early 2020”); 101 (alleging plaintiff Szot installed the “Updates” in
      “August 2019”); 109-111 (alleging plaintiff Dignard installed the “Updates” in
   27 November 2019); 116, 119 (alleging plaintiff Kovach installed the “Updates”
      sometime after he purchased his printer in “summer of 2019”).
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    1 which was automatically displayed for plaintiffs to see, and plaintiffs were required
    2 to click to signify their agreement. Arabian Decl. at ¶ 4. The arbitration agreement
    3 in the Updater EULA is substantively identical to the arbitration agreement in
    4 plaintiffs’ software licenses. Compare Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14 (software
    5 license), with ¶ 5, Ex. 2 at ¶ 22 (Updater EULA).
    6         Prominent Headings and Clear Terms. Plaintiffs’ arbitration agreements
    7 begin with a prominent heading in capitalized, bolded font identifying the separate
    8 agreement to arbitrate and explain in simple terms the arbitration process and how it
    9 differs from a trial in court:
   10         DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND
              WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS
   11
              …
   12         You and Epson agree that all Disputes shall be resolved by binding
              arbitration according to this Agreement. ARBITRATION MEANS
   13
              THAT YOU WAIVE YOUR RIGHT TO A JUDGE OR JURY IN
   14         A COURT PROCEEDING AND YOUR GROUNDS FOR
              APPEAL ARE LIMITED.
   15
   16         See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1-2 at ¶ 14.2
   17 (software license) & 2 at ¶ 22.2 (Updater EULA) (emphasis in original).
   18         Class Action Waiver. Plaintiffs’ arbitration agreements also explicitly set
   19 forth the rights plaintiffs waived by agreeing to arbitrate, and contain a separate
   20 section in bold, capitalized font notifying plaintiffs of their agreements to waive the
   21 right to serve “AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR
   22 REPRESENTATIVE PROCEEDING[.]” ECF No. 1 at ¶ 32 n. 8; Arabian Decl.
   23 at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA)
   24 (emphasis in original).
   25         Broad Scope. Plaintiffs’ arbitration agreements broadly cover “all Disputes
   26 between you and Epson,” and define “Disputes” to “have the broadest meaning
   27 permissible under law,” including “any dispute, claim, controversy or action
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    1 between you and Epson arising out of or relating to this Agreement, the Software,
    2 Epson Hardware, or other transaction involving you and Epson, whether in contract,
    3 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
    4 ordinance, or any other legal or equitable basis.” See ECF No. 1 at ¶ 32 n. 8;
    5 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
    6 EULA).4
    7         Delegation of Arbitrability Disputes. Plaintiffs’ arbitration agreements also
    8 contain a clear expression of intent to delegate issues of arbitrability to the
    9 arbitrator. See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6
   10 (software license) & 2 at ¶ 22.6 (Updater EULA) (“The arbitrator, and not any
   11 federal, state or local court or agency, shall have exclusive authority to resolve all
   12 disputes arising out of or relating to the interpretation, applicability, enforceability
   13 or formation of this Agreement, including any claim that all or any part of this
   14 Agreement is void or voidable.”).
   15         Arbitration Before JAMS And Payment Of Fees. Plaintiffs’ arbitration
   16 agreements require arbitration before JAMS, pursuant to the rules of JAMS in effect
   17 at the time the arbitration is filed, and broadly empower the arbitrator “to grant
   18 whatever relief would be available in a court under law or in equity.” See ECF No.
   19 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶
   20 22.6 (Updater EULA). The agreements further provide that “Epson shall pay, or (if
   21 applicable) reimburse you for, all JAMS filings and arbitrator fees for any
   22 arbitration commenced (by you or Epson) pursuant to provisions of this
   23
   24
   25     4
            The arbitration agreements contain a limited carve out—not applicable here—
      for “a claim or cause of action for (a) trademark infringement or dilution, (b) patent
   26 infringement, (c) copyright infringement or misuse, or (d) trade secret
      misappropriation,” which are required to be heard in court. ECF No. 1 at ¶ 32 n. 8;
   27 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
      EULA).
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     1 Agreement.” See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶
     2 14.6(c) (software license) & 2 at ¶ 22.6(c) (Updater EULA).
     3         Broad Right To Opt Out. Finally, the agreements allowed plaintiffs to opt
     4 out within thirty days of their assent to the agreement by sending a letter to “Epson
     5 America, Inc., ATTN: Legal Department, 3840 Kilroy Airport Way, Long Beach,
     6 CA 90806.” See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.7
     7 (software license) & 2 at ¶ 22.7 (Updater EULA). Despite having this option, none
     8 of the plaintiffs chose to opt out of their arbitration agreements. Arabian Decl. at
     9 ¶ 8.
   10                                   LEGAL STANDARD
   11          The FAA governs the enforcement of arbitration clauses in commercial
   12 contracts.5 9 U.S.C. §§ 1-16. Section 2 of the FAA states:
   13          A written provision in . . . a contract evidencing a transaction involving
               commerce to settle by arbitration a controversy thereafter arising out of
   14          such contract or transaction, or the refusal to perform the whole or any
               part thereof, or an agreement in writing to submit to arbitration an
   15          existing controversy arising out of such contract, transaction, or refusal,
               shall be valid, irrevocable, and enforceable, save upon such grounds as
   16          exist at law or in equity for the revocation of any contract.
   17
   18 9 U.S.C. § 2. “Section 2 is a congressional declaration of a liberal federal policy
   19 favoring arbitration agreements . . . .” Moses H. Cone Memorial Hosp. v. Mercury
   20 Const. Corp., 460 U.S. 1, 24 (1983). “The Arbitration Act establishes that, as a
   21 matter of federal law, any doubts concerning the scope of arbitrable issues should be
   22
           5
              The FAA applies where, as here, the arbitration agreement appears in a
   23 contract involving interstate commerce. See 9 U.S.C § 1; Dkt. No. 1 at ¶ 17
      (recognizing the parties are diverse for purposes of CAFA jurisdiction). Further,
   24 plaintiffs’ arbitration agreements contain an explicit FAA choice-of-law clause. See
      ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.2 (software license)
   25 & 2 at ¶ 22.2 (Updater EULA) (“You and Epson understand and agree that . . . the
      Federal Arbitration Act (9 U.S.C. §1, et seq.) governs the interpretation and
   26 enforcement of this Section 14”). “An FAA choice-of-law provision in an
      arbitration agreement is enforceable.” Kim v. Tinder, Inc., 2018 WL 6694923, at *2
   27 (C.D. Cal. July 12, 2018) (citing Brennan v. Opus Bank, 796 F.3d 1125, 1129-31
      (9th Cir. 2015)).
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     1 resolved in favor of arbitration, whether the problem at hand is the construction of
     2 the contract language itself or any allegation of waiver, delay, or a like defense to
     3 arbitrability.” Id. at 24-25. “[I]t has been established that where the contract
     4 contains an arbitration clause, there is a presumption of arbitrability in the sense that
     5 an order to arbitrate the particular grievance should not be denied unless it may be
     6 said with positive assurance that the arbitration clause is not susceptible of an
     7 interpretation that covers the asserted dispute. Doubts should be resolved in favor of
     8 coverage.” AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 650
     9 (1986) (quotation, citation and alterations omitted).
   10         Pursuant to Section 3 of the FAA, if a suit is brought in court:
   11         [U]pon any issue referable to arbitration under an agreement in writing
              for such arbitration, the court in which such suit is pending, upon being
   12         satisfied that the issue involved in such suit or proceeding is referable
              to arbitration under such an agreement, shall on application of one of
   13         the parties stay the trial of the action until such arbitration has been had
              in accordance with the terms of the agreement . . . .
   14
   15 9 U.S.C. § 3. Once a court determines a claim is subject to arbitration, it lacks
   16 authority to address the merits of that claim. See Prima Paint Corp. v. Flood &
   17 Conklin Mfr. Co., 388 U.S. 395, 400 (1967).
   18                                       ARGUMENT
   19 I.      ANY QUESTIONS OF ARBITRABILITY MUST BE DECIDED BY AN
   20         ARBITRATOR
   21         The Supreme Court has recognized “that parties can agree to arbitrate
   22 ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to
   23 arbitrate or whether their agreement covers a particular controversy.”            Rent-A-
   24 Center, West, Inc. v. Jackson, 561 U.S. 63, 69 (2010). “An agreement to arbitrate a
   25 gateway issue is simply an additional, antecedent agreement the party seeking
   26 arbitration asks the federal court to enforce, and the FAA operates on this additional
   27 arbitration agreement just as it does on any other.” Id. at 70. If the parties have
   28 “clearly and unmistakably” agreed that questions of arbitrability must be decided by
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     1 the arbitrator, such provisions must be enforced. See Howsam v. Dean Witter
     2 Reynolds, Inc., 537 U.S. 79, 83 (2002) (internal quotation and citation omitted). As
     3 the United States Supreme Court recently held, “[w]hen the parties’ contract
     4 delegates the arbitrability question to an arbitrator, a court may not override the
     5 contract.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529
     6 (2019). Rather, “[i]n those circumstances, a court possesses no power to decide the
     7 arbitrability issue.” Id.
     8         Here, plaintiffs’ arbitration agreements clearly and unmistakably delegate
     9 issues of arbitrability to the arbitrator. See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at
   10 ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶ 22.6 (Updater EULA) (“The
   11 arbitrator, and not any federal, state or local court or agency, shall have exclusive
   12 authority to resolve all disputes arising out of or relating to the interpretation,
   13 applicability, enforceability or formation of this Agreement, including any claim
   14 that all or any part of this Agreement is void or voidable.”).6 Courts have repeatedly
   15 held the language contained in plaintiffs’ arbitration agreements evinces such an
   16 intent. See, e.g., Rent-A-Ctr., 561 U.S. at 66 (delegation provision stated “[t]he
   17 Arbitrator, and not any federal, state, or local court or agency, shall have exclusive
   18 authority to resolve any dispute relating to the interpretation, applicability,
   19 enforceability or formation of this Agreement including, but not limited to any claim
   20 that all or any part of this Agreement is void or voidable.”); Lakhan v. U.S. Sec.
   21 Assocs., Inc., 2019 WL 175043, at *6 (C.D. Cal. Jan. 11, 2019) (holding agreement
   22 that required an arbitrator to “resolve any issue relating to the interpretation,
   23
   24      6
             In addition to the explicit delegation agreements, plaintiffs’ agreements also
      incorporate the JAMS rules, which separately evinces the “clear and unmistakable”
   25 intent to commit arbitrability issues to the arbitrator. See ECF No. 1 at ¶ 32 n. 8;
      Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at 22.6 (Updater
   26 EULA) (arbitration to be conducted under JAMS rules); Bitstamp Ltd. v. Ripple
      Labs Inc., 2015 WL 4692418, at *5 (N.D. Cal. Aug. 6, 2015) (holding that
   27 incorporation of the JAMS rules “overcame the default rule and assigned the
      arbitrability question to the arbitrator.”).
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     1 formation or enforceability of this Agreement, or any issue relating to whether a
     2 Claim is subject to arbitration under this Agreement” was “similar to others that
     3 courts in this District have determined clearly and unmistakably provide for
     4 threshold issues of arbitrability to be determined by an arbitrator.”) (citation
     5 omitted).
     6        Because plaintiffs “clearly and unmistakably” agreed to delegate questions of
     7 arbitrability to the arbitrator, to the extent they challenge the interpretation,
     8 applicability, enforceability or formation of their agreements, those issues must be
     9 decided by the arbitrator.
   10 II.     THOUGH NOT AN ISSUE FOR THE COURT, PLAINTIFFS
   11         ENTERED INTO VALID ARBITRATION AGREEMENTS THAT
   12         CLEARLY COVER THE CLAIMS AT ISSUE
   13         Because disputes regarding the existence, scope and validity of the arbitration
   14 agreements are reserved for the arbitrator, the Court need not address these issues.
   15 However, if the Court were to reach these issues, they too mandate this dispute be
   16 sent to arbitration. Under the FAA, arbitration must be compelled where, as in this
   17 case: (1) a valid agreement to arbitrate exists; and (2) the claims at issue fall within
   18 the scope of that agreement. See Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
   19 F.3d 1126, 1130 (9th Cir. 2000). Here, both conditions are met and arbitration is
   20 required.
   21         As discussed, plaintiffs concede as owners of Epson printers they were
   22 required to “agree to Epson’s software license when purchasing and using an Epson
   23 printer.” ECF No. 1 at ¶ 32. See also id. at ¶ 35 (“Under the terms of Epson’s
   24 software licenses, Plaintiffs . . . authorized Epson to access their printers to apply
   25 fixes and upgrades.”); Arabian Decl. at ¶ 3, Ex. 1 (software license). Thus, there
   26 can be no dispute plaintiffs agreed to the terms of Epson’s software license,
   27 including the agreement to arbitrate their disputes with Epson. See, e.g., Smith,
   28 2019 WL 339542, at *4 (contract formation established where plaintiff “conceded
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     1 that she entered the agreement in her own complaint”).7 Additionally, plaintiffs
     2 Rabinovich, Famiglietti, Gordon, Szot, Dignard and Kovach reaffirmed their
     3
           7
               Plaintiffs concede the software license constituted an agreement between
    4 themselves and defendant Epson America, Inc. See ECF No. 1 at 1 (defining
      “Epson” to mean “Epson America, Inc.”), ¶ 35 (“Under the terms of Epson’s
    5 software licenses, Plaintiffs . . . authorized Epson to access their printers to apply
      fixes and upgrades”). This is consistent with the terms of plaintiffs’ agreements,
    6 which explicitly include defendant Epson America, Inc. in the arbitration provisions.
      See, e.g., ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.3 (software
    7 license) (among other provisions, requiring notice of any arbitration to be sent
      directly to “Epson America, Inc.”). See also Arabian Decl. at ¶ 5, Ex. 2 at ¶ 22.3
    8 (Updater EULA) (same). While plaintiffs’ own allegations and the terms of their
      agreements plainly establish Epson has standing to enforce plaintiffs’ arbitration
    9 agreements, to the extent plaintiffs attempt to contend otherwise, it is worth noting
      Epson America, Inc. would also have standing to enforce the arbitration agreements:
   10 (1) as a third-party beneficiary; (2) under the doctrine of equitable estoppel; and (3)
      under an agency theory. On the first, though the arbitration agreements do explicitly
   11 name Epson America, to “invoke the third party beneficiary exception,” Epson need
      only show “the arbitration clause . . . was made expressly for [its] benefit,” and it is
   12 “not necessary that the beneficiary be named and identified as an individual.”
      Ronay Family Ltd. P'ship v. Tweed, 216 Cal. App. 4th 830, 838–39 (2013)
   13 (quotations and citations omitted). Here, plaintiffs allege Epson America “is
      responsible for selling and marketing Epson printers in the United States,” (ECF No.
   14 1 at ¶ 14) and assert Epson America is responsible for the software updates at issue
      in this lawsuit (id. at ¶ 3). The arbitration agreements at issue apply, by their
   15 express terms, to users “in the United States,” and expressly cover “any dispute,
      claim, controversy or action” arising out of or related to the Epson hardware,
   16 software and updates for which plaintiffs claim Epson America is responsible. ECF
      No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 & 2. The arbitration agreements’
   17 explicit reference to Epson America (including as the party who must be notified of
      the initiation of any arbitration), further confirms the agreements were intended to
   18 benefit Epson America. Additionally, under California law, both species of
      equitable estoppel would allow enforcement of the arbitration agreements. First, “if
   19 a plaintiff relies on the terms of an agreement to assert his or her claims . . . the
      plaintiff may be equitably estopped from repudiating the arbitration clause of that
   20 very agreement.” Goldman v. KPMG, LLP, 173 Cal. App. 4th 209, 220 (2009).
      Here, as but one example, plaintiffs rely on the terms of the license agreement to
   21 define the scope of Epson’s authority to access their printers, which Epson
      purportedly exceeded with the software updates at issue (ECF No. 1 at ¶¶ 35-36)—
   22 plaintiffs cannot “have it both ways,” and must abide by their agreements to
      arbitrate these claims. See id. See also Kramer v. Toyota Motor Corp., 705 F.3d
   23 1122, 1128 (9th Cir. 2013) (equitable estoppel applies where “a signatory must rely
      on the terms of the written agreement in asserting its claims”). Second, “the
   24 equitable estoppel doctrine applies when a party has signed an agreement to arbitrate
      but attempts to avoid arbitration by suing nonsignatory defendants for claims that
   25 are based on the same facts and are inherently inseparable from arbitrable claims
      against signatory defendants.” Metalclad Corp. v. Ventana Envtl. Organizational
   26 P’ship, 109 Cal. App. 4th 1705, 1713 (2003). Here, there can be no doubt this
      theory would also apply—plaintiffs’ entire complaint is premised on software
   27 updates that are the subject of plaintiffs’ license agreements and arbitration
      provisions. See, e.g., ECF No. 1 at ¶¶ 3 (“Epson designed and delivered software
   28     (footnote continued)
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     1 agreements to arbitrate when they were presented with the Updater EULA at the
     2 time of their software updates and once again affirmatively assented to the terms.
     3 Arabian Decl. at ¶ 5, Ex. 2 (Updater EULA). “Federal courts . . . have recognized
     4 the general enforceability of . . . online agreements that require affirmative user
     5 assent.” In re Holl, 925 F.3d 1076, 1085 (9th Cir. 2019).
     6        Further, there can be no dispute plaintiffs’ arbitration agreements cover the
     7 claims at issue here. Plaintiffs’ arbitration agreements broadly cover “all Disputes
     8 between you and Epson,” and define “Disputes” to “have the broadest meaning
     9 permissible under law,” including “any dispute, claim, controversy or action
   10 between you and Epson arising out of or relating to this Agreement, the Software,
   11 Epson Hardware, or other transaction involving you and Epson, whether in contract,
   12 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
   13 ordinance, or any other legal or equitable basis.” See ECF No. 1 at ¶ 32 n. 8;
   14 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
   15 EULA). Courts analyzing arbitration agreements with similar language have held it
   16 must be interpreted broadly. See, e.g., Amirhamzeh v. Wells Fargo Bank, N.A., 2014
   17 WL 12610227, at *1 (N.D. Cal. Oct. 31, 2014) (“The arbitration agreement has an
   18 extremely broad scope; it provides that ‘any dispute’ between the parties is subject
   19 to arbitration.”). While plaintiffs’ claims clearly fall within the scope of their
   20
      and/or firmware Updates (defined below) to Epson printers that purposely disabled
   21 those printers with non-Epson printer cartridges installed.”); 33 (“The Software
      License covers ‘any related documentation, firmware, or Updates.’”); 35 (“The
   22 Software licenses do not alert owners that these software Updates might render their
      printer inoperable if they use or attempt to use third-party ink cartridges.”). Finally,
   23 if accepted as true, plaintiffs’ allegations give rise to an agency theory that would
      permit Epson America’s enforcement of the arbitration agreements. See, e.g., Dryer
   24 v. Los Angeles Rams, 40 Cal. 3d 406, 418 (1985) (“If, as the complaint alleges, the
      individual defendants, though not signatories, were acting as agents for the Rams,
   25 then they are entitled to the benefit of the arbitration provisions.”). Specifically,
      plaintiffs contend Epson America is responsible for the conduct alleged in the
   26 complaint (ECF No. 1 at ¶ 3) and allege the software licenses containing the
      applicable arbitration agreements explicitly govern this conduct (id. at ¶ 33).
   27 Without the agency relationship alleged by plaintiffs, Epson America would not
      “belong in this suit at all.” See Dryer, 40 Cal. 3d at 418.
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     1 agreements, to the extent there is any question, all “doubts concerning the scope of
     2 arbitrable issues should be resolved in favor of arbitration[.]” Moses H. Cone, 460
     3 U.S. at 24-25.
     4 III.   THOUGH NOT AN ISSUE FOR THE COURT, ARBITRATION MAY
     5        NOT PROCEED ON A CLASS BASIS
     6        Because disputes regarding the interpretation of the arbitration agreements are
     7 reserved for the arbitrator, the Court need not determine whether class arbitration is
     8 permitted. See, e.g., Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662,
     9 684-85 (2010) (arbitrator made initial determination whether class arbitration was
   10 permitted under the parties’ agreement).
   11         But again, this is an issue the agreements unambiguously and enforceably
   12 resolve. Plaintiffs’ agreements clearly prohibit class claims. See ECF No. 1 at ¶ 32
   13 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5
   14 (Updater EULA). In Stolt-Nielsen, the Supreme Court held “a party may not be
   15 compelled under the FAA to submit to class arbitration unless there is a contractual
   16 basis for concluding that the party agreed to do so.” 559 U.S. at 684 (emphasis in
   17 original). The Supreme Court has consistently enforced this precedent and has
   18 repeatedly upheld class waivers in arbitration agreements. See, e.g., Epic Sys. Corp.
   19 v. Lewis, 138 S. Ct. 1612, 1623 (2018) (“[C]ourts may not allow a contract defense
   20 to reshape traditional individualized arbitration by mandating classwide arbitration
   21 procedures without the parties’ consent.”); Lamps Plus, Inc. v. Varela, 139 S. Ct.
   22 1407, 1419 (2019) (“Courts may not infer from an ambiguous agreement that parties
   23 have consented to arbitrate on a classwide basis.”).
   24         The arbitration agreements here are clear and expressly state the parties’
   25 intentions that arbitration may not proceed on a class basis. See ECF No. 1 at ¶ 32
   26 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5
   27 (Updater EULA). “[C]ourts and arbitrators must give effect to the contractual rights
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     1 and expectations of the parties.” Stolt-Nielsen, 559 U.S. at 682 (internal quotations
     2 omitted). Thus, arbitration may not proceed on a class basis.
     3 IV.    PLAINTIFFS’ CLAIMS SHOULD BE STAYED PENDING
     4        RESOLUTION OF ANY ARBITRATION, AND THIS ACTION
     5        SHOULD BE STAYED PENDING A RULING ON THIS MOTION
     6        Under the FAA, an action compelled to arbitration shall be stayed by the
     7 district court pending resolution of the arbitration. 9 U.S.C. § 3. See also Mendoza
     8 v. Uber Techs. Inc., 2020 WL 2563047, at *2 (C.D. Cal. May 4, 2020) (“This action
     9 is STAYED pending resolution of the arbitration proceedings. The Clerk is directed
   10 to administratively close the case.”).
   11         Additionally, because this Court is not the proper forum for plaintiffs’ claims,
   12 Epson also seeks an order staying all proceedings pending resolution of its motion to
   13 compel arbitration (including a stay of all discovery), which would be obviated by
   14 an order sending this case to arbitration. Plaintiffs should not be permitted to ignore
   15 their arbitration agreements, file a lawsuit in federal court, and force Epson to
   16 participate in litigation in violation of the terms of the parties’ agreements. For this
   17 reason, courts routinely stay proceedings pending the resolution of a motion to
   18 compel arbitration. See, e.g., Mahamedi IP Law, LLP v. Paradice & Li, LLP, 2017
   19 WL 2727874, at *1 (N.D. Cal. Feb. 14, 2017) (granting “motion to stay discovery
   20 until the Court rules on [the] motion to compel arbitration.”); Hotel Greystone Corp.
   21 v. New York Hotel & Motel Trades Council, AFL-CIO, 897 F. Supp. 168, 170
   22 (S.D.N.Y. 1995) (“[P]etitioner's motion for a preliminary stay pending resolution of
   23 the petition for a stay of arbitration and respondent's cross-motion to compel is
   24 granted.”); Hamoudeh v. Unitedhealth Grp. Inc., 2016 WL 2894870 at *1 (E.D.N.Y.
   25 May 17, 2016) (granting “motion to stay this action pending resolution of
   26 UnitedHealth's motion to compel arbitration of Plaintiffs' claims.”).
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     1                                   CONCLUSION
     2        For the foregoing reasons, plaintiffs’ claims should be compelled to
     3 arbitration and, to the extent plaintiffs raise any defenses to arbitration of their
     4 claims, those disputes must be resolved by the arbitrator. The action should be
     5 stayed pending resolution of the arbitration and, in the interim, stayed pending
     6 resolution of this motion.
     7 DATED: July 20, 2020                 QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
     8
     9
                                             By         /s/ Shon Morgan
   10                                             Shon Morgan
                                                  Attorneys for Defendant Epson America,
   11                                             Inc.
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    5 Facsimile: (213) 443-3100
    6 Attorneys for Defendant Epson America,
      Inc.
    7
    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,
   13 GREGORY SZOT, MARTIN                       DECLARATION OF SIRANUSH
      DIGNARD, and MICHAEL KOVACH,               ARABIAN IN SUPPORT OF
   14                                            DEFENDANT EPSON AMERICA
      individually and on behalf of all others   INC.’S MOTION TO COMPEL
   15 similarly situated,                        ARBITRATION AND STAY
                                                 PROCEEDINGS
   16
                        Plaintiffs,
   17                                            Date:      August 18, 2020
                 vs.                             Time:      10:00 a.m.
   18                                            Judge:     Hon. Consuelo B.
                                                            Marshall
   19 EPSON AMERICA, INC.,                       Courtroom: 8B
   20
                       Defendant.
   21
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                    DECLARATION OF SIRANUSH ARABIAN

         I, SIRANUSH ARABIAN, declare as follows:

         1.    I am the Director, Service and Support Operation for Epson America,

  Inc. (hereinafter, “Epson”).    I make this declaration of personal, firsthand

  knowledge, and if called and sworn as a witness, I could and would testify

  competently hereto.

         2.    I have worked for Epson in various service and support positions

  since December 1993. I have held the role of Director, Service and Support

  Operation since August 2017. In this role, I have access to and have reviewed

  Epson’s records and other documents that provide the basis for my statements

  herein. Through this review and through the course of my regular duties as

  Director, Service Support Operation, I have personal knowledge of the facts stated

  herein.

         3.    Attached hereto as Exhibit 1 is a true and correct copy of the Epson

  End User Software License Agreement (“software license”), which remained in

  effect from 2016 through today. The terms of the arbitration agreement set forth in

  Paragraph 14 of the software license did not change during that period. Exhibit 1

  was kept in the ordinary course of Epson’s business and retrieved from Epson’s

  records system.




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           4.   Throughout this period, users setting up an Epson printer have been

  required to view the software license as part of the set-up process—the software

  license is automatically displayed for the users to see during this process. The

  users are required to click a bubble that appears immediately after the displayed

  software license to signify their agreement to the terms of the software license.

           5.   Attached hereto as Exhibit 2 is a true and correct copy of the Epson

  End User Software License Agreement (“Updater EULA”) that accompanied the

  software updates in effect for, among others, the Epson Expression Premium XP-

  7100 All -in-One Printer; Epson XP-830 All-in-One; Epson WF-4740; Epson XP

  440; Epson Workforce Pro WS3720 3-in-1; and Epson Workforce 3720. Exhibit 2

  was kept in the ordinary course of Epson’s business and retrieved from Epson’s

  records system.

           6.   The Updater EULA remained in effect throughout 2019 and 2020 and

  the terms of the arbitration agreement set forth in Paragraph 22 of the Updater

  EULA did not change during that period.

           7.   To install software updates on (among others) the printers listed in

  Paragraph 5 above, users were required to view the Updater EULA, which was

  automatically displayed for the users to see, and the users were required to click,

  immediately after the displayed Updater EULA, to signify their agreement to its

  terms.


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         8.    The software license and Updater EULA contain opt-out provisions

  for customers who wish to opt-out of the arbitration agreements in the software

  license and Updater EULA.        In the ordinary course of its business, Epson

  maintains records of any users who choose to opt-out of the arbitration agreements

  in the software license and Updater EULA. I have reviewed these records and

  confirmed Epson did not receive any opt-out notices from plaintiffs William

  Mondigo, Felix Rabinovich, Richard Famiglietti, Jesse Gordon, Gregory Szot,

  Martin Dignard, or Michael Kovach.

         I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.

         Executed July __, 2020, at _______________.




                                        By
                                          Siranush Arabian




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        ARABIAN DECLARATION
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                                                       Exhibit 1 - p. 5
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                                                       Exhibit 1 - p. 6
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                                                       Exhibit 1 - p. 7
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                                                       Exhibit 1 - p. 9
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                                                       Exhibit 1 - p. 10
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                                                       Exhibit 1 - p. 11

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
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  remainder of the original warranty period or thirty (30) days, whichever is longer. If the above remedy

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  ALLOW THE EXCLUSION OR LIMITATION OF DAMAGES IN CERTAIN TRANSACTIONS, AND IN SUCH STATES,
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  Software and supersedes any purchase order, communication, advertisement, or representation
  concerning the Software.

  12.    Binding Agreement; Assignees. This Agreement shall be binding upon, and inure to the benefit of,
  the parties hereto and their respective successors, assigns and legal representatives.

   13.   Severability; Modifications. If any provision herein is found void or unenforceable by a court of
   competent jurisdiction (subject to Section 22.8 and 22.9 if you are a located in the U.S.), it will not affect
   the validity of the balance of the Agreement, which shall remain valid and enforceable according to its
   terms. This Agreement may only be modified in writing signed by an authorized representative of Epson.

  14.    Indemnification. You agree that you will indemnify and hold harmless, and upon Epson’s request,
  defend Epson and its directors, officers, shareholders, employees and agents from and against any and all


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  losses, liabilities, damages, costs, expenses (including reasonable attorneys’ fees), actions, suits, and
  claims arising from (i) any breach of any of your obligations in this Agreement or (ii) any use of the Software
  or the Epson Hardware. If Epson asks you to defend any such action, suit or claim, Epson will have the
  right, at its own expense, to participate in the defense thereof with counsel of its choice. You will not settle
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  15.    Termination. Without prejudice to any other rights Epson has, your license rights under Section 1
  above and your warranty rights under Section 7 above, shall automatically terminate upon failure by you
  to comply with this Agreement. Upon termination of such rights, you agree that the Software, and all
  copies thereof, will be immediately destroyed.

  16.    Capacity and Authority to Contract. You represent that you are of the legal age of majority in your
  state or jurisdiction of residence and have all necessary authority to enter into this Agreement, including,
  if applicable, due authorization by your employer to enter into this Agreement.

   17.     Privacy, Information Processing. The Software may have the ability to connect over the Internet to
   transmit data to and from your Device. For example, if you install the Software, the Software may cause
   your Device to send information about your Epson Hardware such as model and serial number, country
   identifier, language code, operating system information, and Epson Hardware usage information to an
   Epson Internet site which may return promotional or service information to your Device for display. Any
   processing of information provided through the Software, shall be according to applicable data
   protection laws and the Epson Privacy Policy located at
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   laws, by agreeing to the terms of this Agreement and by installing the Software, you consent to the
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   specific privacy policy incorporated into the Software and/or displayed when you use the Software (for
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   over the Epson Privacy Policy stated above.

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  content at any other websites/services to which you link from this Software.


                     (IF YOU ARE LOCATED IN THE UNITED STATES, THE FOLLOWING
                                      SECTIONS 19 - 23 APPLY TO YOU)

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  19.   Ink Purchases. For certain Epson printer products sold in North America, the Software may also
  display an option to buy ink from Epson. If you click on the buy button, the Software will cause your
  Device to display Epson Hardware cartridge types and ink levels and provide other information about your
  cartridges, such as the colors, available cartridge sizes, and prices for replacement ink cartridges, which
  you may purchase online from Epson.

  20.   Downloadable Updates. You may also be able to download from an Epson Internet site updates or
  upgrades to the Software if such updates or upgrades are made available. If you agree to install the
  Software, any transmissions to or from the Internet, and data collection and use, will be in accordance
  with Epson’s then-current Privacy Policy, and by installing the Software you agree that such then-current
  Privacy Policy shall govern such activities.

  21.   Epson Accounts and Promotional Messages. In addition, if you install the Software and register
  your Epson Hardware with Epson, and/or you create an account at the Epson Store, and provided your
  consent to such use, you agree that Epson may merge the data collected in connection with installation of
  the Software, registration of your Epson Hardware and/or creation of your Epson Store account,
  consisting of personal information and non-personally identifiable information, and use such merged
  data to send you Epson promotional or service information. If you do not wish to send information about
  your Epson Hardware or receive promotional or service information, you will be able to disable these
  features on a Windows system through the Monitoring Preferences section in the driver. On a Mac
  operating system, you can disable these features by uninstalling the Epson Customer Research
  Participation and Low Ink Reminder software.

  22.   DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND WAIVER OF CLASS ACTIONS AND CLASS
  ARBITRATIONS

        22.1 Disputes. The terms of this Section 22 shall apply to all Disputes between you and Epson.
        The term “Dispute” is meant to have the broadest meaning permissible under law and includes any
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        Agreement, the Software, Epson Hardware, or other transaction involving you and Epson, whether
        in contract, warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation, ordinance,
        or any other legal or equitable basis. “DISPUTE” DOES NOT INCLUDE IP CLAIMS, or more
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        infringement, (c) copyright infringement or misuse, or (d) trade secret misappropriation (an “IP
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        22.2 Binding Arbitration. You and Epson agree that all Disputes shall be resolved by binding
        arbitration according to this Agreement. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A
        JUDGE OR JURY IN A COURT PROCEEDING AND YOUR GROUNDS FOR APPEAL ARE LIMITED. Pursuant
        to this Agreement, binding arbitration shall be administered by JAMS, a nationally recognized
        arbitration authority, pursuant to its code of procedures then in effect for consumer related
        disputes, but excluding any rules that permit joinder or class actions in arbitration (for more detail
        on procedure, see Section 22.6 below). You and Epson understand and agree that (a) the Federal
        Arbitration Act (9 U.S.C. §1, et seq.) governs the interpretation and enforcement of this Section 22,
        (b) this Agreement memorializes a transaction in interstate commerce, and (c) this Section 22 shall
        survive termination of this Agreement.

        22.3 Pre-Arbitration Steps and Notice. Before submitting a claim for arbitration, you and Epson
        agree to try, for sixty (60) days, to resolve any Dispute informally. If Epson and you do not reach
        an agreement to resolve the Dispute within the sixty (60) days, you or Epson may commence an
        arbitration. Notice to Epson must be addressed to: Epson America, Inc., ATTN: Legal Department,
        3840 Kilroy Airport Way, Long Beach, CA 90806 (the “Epson Address”). The Dispute Notice to you
        will be sent to the most recent address Epson has in its records for you. For this reason, it is

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       important to notify us if your address changes by emailing us at EAILegal@ea.epson.com or writing
       us at the Epson Address above. Notice of the Dispute shall include the sender’s name, address and
       contact information, the facts giving rise to the Dispute, and the relief requested (the “Dispute
       Notice”). Following receipt of the Dispute Notice, Epson and you agree to act in good faith to
       resolve the Dispute before commencing arbitration.

       22.4 Small Claims Court. Notwithstanding the foregoing, you may bring an individual action in the
       small claims court of your state or municipality if the action is within that court’s jurisdiction and is
       pending only in that court.

       22.5 WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS. YOU AND EPSON AGREE THAT EACH
       PARTY MAY BRING DISPUTES AGAINST THE OTHER PARTY ONLY IN AN INDIVIDUAL CAPACITY, AND
       NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE PROCEEDING,
       INCLUDING WITHOUT LIMITATION FEDERAL OR STATE CLASS ACTIONS, OR CLASS ARBITRATIONS.
       CLASS ACTION LAWSUITS, CLASS-WIDE ARBITRATIONS, PRIVATE ATTORNEY-GENERAL ACTIONS,
       AND ANY OTHER PROCEEDING WHERE SOMEONE ACTS IN A REPRESENTATIVE CAPACITY ARE NOT
       ALLOWED. ACCORDINGLY, UNDER THE ARBITRATION PROCEDURES OUTLINED IN THIS SECTION, AN
       ARBITRATOR SHALL NOT COMBINE OR CONSOLIDATE MORE THAN ONE PARTY’S CLAIMS WITHOUT
       THE WRITTEN CONSENT OF ALL AFFECTED PARTIES TO AN ARBITRATION PROCEEDING.

       22.6 Arbitration Procedure.     If you or Epson commences arbitration, the arbitration shall be
       governed by the rules of JAMS that are in effect when the arbitration is filed, excluding any rules
       that permit arbitration on a class or representative basis (the “JAMS Rules”), available at
       http://www.jamsadr.com or by calling 1-800-352-5267, and under the rules set forth in this
       Agreement. All Disputes shall be resolved by a single neutral arbitrator, and both parties shall have
       a reasonable opportunity to participate in the selection of the arbitrator. The arbitrator is bound by
       the terms of this Agreement. The arbitrator, and not any federal, state or local court or agency,
       shall have exclusive authority to resolve all disputes arising out of or relating to the interpretation,
       applicability, enforceability or formation of this Agreement, including any claim that all or any part
       of this Agreement is void or voidable. Notwithstanding this broad delegation of authority to the
       arbitrator, a court may determine the limited question of whether a claim or cause of action is for
       an IP Claim, which is excluded from the definition of “Disputes” in Section 22.1 above. The
       arbitrator shall be empowered to grant whatever relief would be available in a court under law or in
       equity. The arbitrator may award you the same damages as a court could, and may award
       declaratory or injunctive relief only in favor of the individual party seeking relief and only to the
       extent necessary to provide relief warranted by that party’s individual claim. In some instances, the
       costs of arbitration can exceed the costs of litigation and the right to discovery may be more
       limited in arbitration than in court. The arbitrator’s award is binding and may be entered as a
       judgment in any court of competent jurisdiction.

       You may choose to engage in arbitration hearings by telephone. Arbitration hearings not
       conducted by telephone shall take place in a location reasonably accessible from your primary
       residence, or in Orange County, California, at your option.

             a)     Initiation of Arbitration Proceeding. If either you or Epson decides to arbitrate a
                    Dispute, both parties agree to the following procedure:

                    (i)    Write a Demand for Arbitration. The demand must include a description of the
                           Dispute and the amount of damages sought to be recovered. You can find a
                           copy of a Demand for Arbitration at http://www.jamsadr.com (“Demand for
                           Arbitration”).

                    (ii)   Send three copies of the Demand for Arbitration, plus the appropriate filing fee,
                           to: JAMS, 500 North State College Blvd., Suite 600 Orange, CA 92868, U.S.A.



                                               Exhibit 2 - p. 24
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                      (iii)   Send one copy of the Demand for Arbitration to the other party (same address as
                              the Dispute Notice), or as otherwise agreed by the parties.

               b)     Hearing Format. During the arbitration, the amount of any settlement offer made shall
                      not be disclosed to the arbitrator until after the arbitrator determines the amount, if
                      any, to which you or Epson is entitled. The discovery or exchange of non-privileged
                      information relevant to the Dispute may be allowed during the arbitration.

               c)     Arbitration Fees. Epson shall pay, or (if applicable) reimburse you for, all JAMS filings
                      and arbitrator fees for any arbitration commenced (by you or Epson) pursuant to
                      provisions of this Agreement.

               d)     Award in Your Favor. For Disputes in which you or Epson seeks $75,000 or less in
                      damages exclusive of attorney’s fees and costs, if the arbitrator’s decision results in an
                      award to you in an amount greater than Epson’s last written offer, if any, to settle the
                      Dispute, Epson will: (i) pay you $1,000 or the amount of the award, whichever is
                      greater; (ii) pay you twice the amount of your reasonable attorney’s fees, if any; and (iii)
                      reimburse you for any expenses (including expert witness fees and costs) that your
                      attorney reasonably accrues for investigating, preparing, and pursuing the Dispute in
                      arbitration. Except as agreed upon by you and Epson in writing, the arbitrator shall
                      determine the amount of fees, costs, and expenses to be paid by Epson pursuant to
                      this Section 22.6d).

               e)     Attorney’s Fees. Epson will not seek its attorney’s fees and expenses for any
                      arbitration commenced involving a Dispute under this Agreement. Your right to
                      attorney’s fees and expenses under Section 22.6(d) above does not limit your rights to
                      attorney’s fees and expenses under applicable law; notwithstanding the foregoing, the
                      arbitrator may not award duplicative awards of attorney’s fees and expenses.

        22.7    Opt-out. You may elect to opt-out (exclude yourself) from the final, binding, individual
        arbitration procedure and waiver of class and representative proceedings specified in this
        Agreement by sending a written letter to the Epson Address within thirty (30) days of your assent to
        this Agreement (including without limitation the purchase, download, installation of the Software or
        other applicable use of Epson Hardware, products and services) that specifies (i) your name, (ii)
        your mailing address, and (iii) your request to be excluded from the final, binding individual
        arbitration procedure and waiver of class and representative proceedings specified in this Section
        22. In the event that you opt-out consistent with the procedure set forth above, all other terms
        shall continue to apply, including the requirement to provide notice prior to litigation.

        22.8    Amendments to Section 22. Notwithstanding any provision in this Agreement to the
        contrary, you and Epson agree that if Epson makes any future amendments to the dispute
        resolution procedure and class action waiver provisions (other than a change to Epson’s address) in
        this Agreement, Epson will obtain your affirmative assent to the applicable amendment. If you do
        not affirmatively assent to the applicable amendment, you are agreeing that you will arbitrate any
        Dispute between the parties in accordance with the language of this Section 22 (or resolve disputes
        as provided for in Section 22.7, if you timely elected to opt-out when you first assented to this
        Agreement).

        22.9    Severability. If any provision in this Section 22 is found to be unenforceable, that provision
        shall be severed with the remainder of this Agreement remaining in full force and effect. The
        foregoing shall not apply to the prohibition against class or representative actions as provided in
        Section 22.5. This means that if Section 22.5 is found to be unenforceable, the entire Section 22
        (but only Section 22) shall be null and void.

  23.   For New Jersey Residents. NOTWITHSTANDING ANY TERMS SET FORTH IN THIS AGREEMENT, IF ANY
  OF THE PROVISIONS SET FORTH IN SECTIONS 7 OR 8 ARE HELD UNENFORCEABLE, VOID OR INAPPLICABLE


                                                 Exhibit 2 - p. 25
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  UNDER NEW JERSEY LAW, THEN ANY SUCH PROVISION SHALL NOT APPLY TO YOU BUT THE REST OF THE
  AGREEMENT SHALL REMAIN BINDING ON YOU AND EPSON. NOTWITHSTANDING ANY PROVISION IN THIS
  AGREEMENT, NOTHING IN THIS AGREEMENT IS INTENDED TO, NOR SHALL IT BE DEEMED OR CONSTRUED
  TO, LIMIT ANY RIGHTS AVAILABLE TO YOU UNDER THE TRUTH-IN-CONSUMER CONTRACT, WARRANTY
  AND NOTICE ACT.

  Rev. December 2018




                                       Exhibit 2 - p. 26
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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   11
      FAMIGLIETTI, JESSE GORDON,                 [PROPOSED] ORDER GRANTING
   12 GREGORY SZOT, MARTIN                       DEFENDANT EPSON AMERICA
      DIGNARD, and MICHAEL KOVACH,               INC.’S MOTION TO COMPEL
   13                                            ARBITRATION AND STAY
      individually and on behalf of all others   PROCEEDINGS
   14 similarly situated,
   15                                            Date:      August 18, 2020
                        Plaintiffs,              Time:      10:00 a.m.
   16                                            Judge:     Hon. Consuelo B.
                 vs.                                        Marshall
   17                                            Courtroom: 8B
   18 EPSON AMERICA, INC.,
   19
                       Defendant.
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        MOTION
                                                                         [PROPOSED] ORDER
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    1                                 [PROPOSED] ORDER
    2         Before the Court is defendant Epson America, Inc.’s Motion to Compel
    3 Arbitration and Stay Proceedings. Having considered the briefing, evidence, and
    4 arguments raised by the parties in support of and in opposition to the Motion, the
    5 Court GRANTS in full the defendant’s Motion.
    6         For all the reasons stated in defendants’ Motion, this action is compelled to
    7 arbitration, and to the extent plaintiffs have raised any disputes regarding the
    8 arbitrability of their claims, those disputes must be resolved by the arbitrator. This
    9 action is STAYED pending resolution of the arbitration proceedings. The Clerk is
   10 directed to administratively close the case.
   11         IT IS SO ORDERED.
   12
   13         Dated:
                                                  Hon. Consuelo B. Marshall
   14                                             United States District Judge
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                                                 -1-          Case No. 2:20-cv-4400-CBM-GJS
                                                                             [PROPOSED] ORDER
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                             EXHIBIT C
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      Inc.
    7
    8
    9                           UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                        CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                    DEFENDANT EPSON AMERICA
   13 GREGORY SZOT, MARTIN                          INC.’S REPLY IN SUPPORT OF
      DIGNARD, and MICHAEL KOVACH,                  ITS MOTION TO COMPEL
   14                                               ARBITRATION AND STAY
      individually and on behalf of all others      PROCEEDINGS;
   15 similarly situated,
   16                                               Date:      September 29, 2020
                           Plaintiffs,              Time:      10:00 a.m.
   17                                               Judge:     Hon. Consuelo B.
                 vs.                                           Marshall
   18                                               Courtroom: 8B
   19 EPSON AMERICA, INC.,
   20
                          Defendant.
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                                                              Case No. 2:20-cv-4400-CBM-GJS
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    1 I.       ANY MCGILL CONCERNS HAVE BEEN DELEGATED TO THE
               ARBITRATOR TO DECIDE
    2
    3          Plaintiffs’ sole argument to avoid arbitration is the (misplaced) contention
    4 that the arbitration provision impermissibly waives the right to seek “public
    5 injunctive relief” under the California Supreme Court’s decision in McGill v.
    6 Citibank, N.A., 2 Cal. 5th 945 (2017). Their waiver concern is unfounded, but in
    7 any event the agreements delegate this threshold issue to the arbitrator. ECF No.
    8 21-2 at ¶ 14.61 (“The arbitrator, and not any federal, state or local court or agency,
    9 shall have exclusive authority to resolve all disputes arising out of or relating to the
   10 interpretation, applicability, enforceability or formation of this Agreement,
   11 including any claim that all or any part of this Agreement is void or voidable.”).
   12          Where, as here, the arbitration agreement delegates arbitrability issues, courts
   13 uniformly agree that challenges premised on McGill must be sent to arbitration.
   14 See, e.g., Moffett v. Recording Radio Film Connection, Inc., 2019 WL 6898955, at
   15 *7 (C.D. Cal. Oct. 4, 2019) (Gutierrez, J.) (“Courts have found, post-McGill, that
   16 where there is a delegation provision the public injunctive relief question is reserved
   17 to the arbitrator.”) (collecting cases).
   18          Plaintiffs raise three arguments to avoid this result: (1) the delegation
   19 agreement is not “clear and unmistakable” (Opp. at 9-10); (2) the delegation clause
   20 itself somehow waives the ability to seek public injunctive relief (Opp. at 11); and
   21 (3) questions of “validity” have not been delegated to the arbitrator (Opp. at 11-12).
   22 Each of these contentions can be readily dispatched.
   23          The Delegation Agreement Is Clear And Unmistakable. As shown in
   24 Epson’s opening memorandum, courts have repeatedly held the language in
   25
   26      1
             Plaintiffs recognize the Software License and Updater EULA “contain the
      same Arbitration Clause.” Opp. at 1 n. 1. Accordingly, in the interest of brevity,
   27 Epson cites only the arbitration agreement in the Software License throughout this
      brief. See ECF No. 21-2,
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    1 plaintiffs’ arbitration agreements evinces the “clear and unmistakable” intent
    2 necessary to delegate issues of arbitrability. Mot. at 7-8 (citing Rent-A-Ctr., West,
    3 Inc. v. Jackson, 561 U.S. 63, 66 (2010); Lakhan v. U.S. Sec. Assocs., Inc., 2019 WL
    4 175043, at *6 (C.D. Cal. Jan. 11, 2019)). Plaintiffs’ contention to the contrary is
    5 premised on a purported inconsistency—they argue a “Severability” clause outside
    6 the arbitration agreement creates “ambiguity” by recognizing that “a court of
    7 competent jurisdiction” could determine some provision in the Software License
    8 agreement is “void or unenforceable.” Opp. at 9-10.
    9         Courts have consistently rejected this exact argument following the Ninth
   10 Circuit’s decision in Mohamed v. Uber Techs., Inc., 848 F.3d 1201 (9th Cir.
   11 2016). See, e.g., Taylor v. Shutterfly, Inc., 2018 WL 4334770, at *5 (N.D. Cal. Sept.
   12 11, 2018) (“As the Ninth Circuit held, no matter how broad the arbitration clause,
   13 the parties may need to invoke the jurisdiction of a court for adjudicating claims that
   14 are not covered by their arbitration agreement or to seek other remedies. . . .
   15 Accordingly, here the reference to a ‘court of competent jurisdiction’ in one
   16 provision of the Terms of Use does not render the express delegation clause of the
   17 Arbitration Agreement ambiguous. As the Ninth Circuit held in Mohamed, the
   18 purported conflict is ‘artificial.’”); MegaCorp Logistics LLC v. Turvo, Inc., 2018
   19 WL 3619656, at *6 (N.D. Cal. July 30, 2018) (“[R]eference to a court of competent
   20 jurisdiction in one provision in the Consulting Services Agreement does not render
   21 the delegation clause of the arbitration provision ambiguous.”); Miller v. Time
   22 Warner Cable Inc., 2016 WL 7471302, at *5 (C.D. Cal. Dec. 27, 2016) (“the mere
   23 reference to a court making decisions based upon the Subscriber Agreement is
   24 insufficient to undermine its explicit [delegation] provision”); McLellan v. Fitbit,
   25 Inc., 2017 WL 4551484, at *4 (N.D. Cal. Oct. 11, 2017) (holding the “severability
   26 statement [did] not make ambiguous the parties’ delegation of gateway issues”).
   27         Unsurprisingly, plaintiffs cannot cite a single case within the Ninth Circuit
   28 that supports their argument, relying instead on a California state court case that pre-
                                                 -2-          Case No. 2:20-cv-4400-CBM-GJS
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    1 dated the Ninth Circuit’s decision in Mohamed. Opp. at 9-10 (citing Peleg v.
    2 Neiman Marcus Group, Inc., 204 Cal. App. 4th 1425 (2012)). Plaintiffs’ reliance on
    3 a state court case is entirely misplaced—instead, the substantive law of arbitrability
    4 established by the Ninth Circuit’s decision in Mohamed controls. See Brennan v.
    5 Opus Bank, 796 F.3d 1125, 1129 (9th Cir. 2015) (where, as here, the arbitration
    6 agreement is governed by the FAA, “the court is to make the arbitrability
    7 determination by applying the federal substantive law of arbitrability[.]”); Rent-A-
    8 Ctr., 561 U.S. at 69 (“the FAA operates on this additional [delegation] agreement
    9 just as it does on any other.”).
   10         The Delegation Clause Does Not (And Cannot) Waive The Right To Seek
   11 Public Injunctive Relief. Plaintiffs next contend the delegation agreement itself
   12 waives the right to seek public injunctive relief and thus runs afoul of McGill. Opp.
   13 at 11. This argument fundamentally misunderstands the nature of a delegation
   14 agreement. As the Supreme Court has repeatedly recognized, the delegation clause
   15 merely constitutes agreement about who will decide questions of arbitrability: the
   16 court or the arbitrator. See, e.g., Henry Schein, Inc. v. Archer & White Sales, Inc.,
   17 139 S. Ct. 524, 527 (2019) (“When a dispute arises, the parties sometimes may
   18 disagree not only about the merits of the dispute but also about the threshold
   19 arbitrability question—that is, whether their arbitration agreement applies to the
   20 particular dispute. Who decides that threshold arbitrability question? . . . The Act
   21 allows parties to agree by contract that an arbitrator, rather than a court, will resolve
   22 threshold arbitrability questions as well as underlying merits disputes.”).
   23         The delegation agreement does not waive the right to seek any particular
   24 relief in arbitration. Indeed, the delegation clause here consists solely of the
   25 following sentence (none of which plaintiffs even attempt to characterize as a
   26 purported “waiver”):
   27         The arbitrator, and not any federal, state or local court or agency, shall
              have exclusive authority to resolve all disputes arising out of or relating
   28
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    1          to the interpretation, applicability, enforceability or formation of this
               Agreement, including any claim that all or any part of this Agreement
    2
               is void or voidable.
    3          ECF No. 21-2 at ¶ 14.6.2 Plaintiffs instead try to interject language from
    4 outside the delegation agreement to argue it waives the right to seek public
    5 injunctive relief. Opp. at 11. As courts have consistently held, however, the
    6 delegation provision constitutes a separate agreement—covering the limited issue of
    7 who will decide arbitrability disputes—and it cannot be challenged based on terms
    8 outside that specific provision. Rent-A-Ctr., 561 U.S. at 70-72 (“Thus, a party's
    9 challenge to another provision of the contract, or to the contract as a whole, does not
   10 prevent a court from enforcing a specific agreement to arbitrate. . . . Accordingly,
   11 unless Jackson challenged the delegation provision specifically, we must treat it as
   12 valid ”); Brennan, 796 F.3d at 1133 (“The arbitration clause at issue, as in Rent–A–
   13 Center, is the Delegation Provision . . . the only issue before this Court is who—an
   14 arbitrator or a judge—should decide the forum . . . and that question is resolved by
   15 determining the validity of the Delegation Provision alone.”) (quotations, citations
   16 omitted, and emphasis in original).
   17       Indeed, if plaintiffs were allowed to rely on purported waiver language
   18 outside the delegation agreement to avoid arbitrating issues of arbitrability, this
   19 would render meaningless the wall of authority holding that, “post-McGill, . . .
   20 where there is a delegation provision the public injunctive relief question is reserved
   21 to the arbitrator.” See Moffett, 2019 WL 6898955, at *7 (collecting cases). Had the
   22 courts in those cases simply imputed the purported waiver language into the
   23 delegation agreements, as plaintiffs attempt here, the courts could have bypassed the
   24 delegation issue to address the McGill challenges. Of course, that is not what
   25 happened, nor would it be consistent with Supreme Court authority requiring
   26
   27      2
              This conclusion is further confirmed by the very next sentence, which refers to
        the provision as the “broad delegation of authority to the arbitrator[.]” Id.
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                                                   -4-          Case No. 2:20-cv-4400-CBM-GJS
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    1 challenges specific to the delegation provision. E.g., Schein, 139 S. Ct. at 530 (“Just
    2 as a court may not decide a merits question that the parties have delegated to an
    3 arbitrator, a court may not decide an arbitrability question that the parties have
    4 delegated to an arbitrator.”); Rent-A-Ctr., 561 U.S. at 70-72.
    5         Validity Question Have Been Delegated To The Arbitrator. Plaintiffs’
    6 last-ditch effort to avoid the express delegation agreements depends on a
    7 nonsensically over-narrow interpretation of the language: plaintiffs contend these
    8 provisions do not apply because this is purportedly a dispute about the “validity” of
    9 the arbitration agreement, and the delegation agreements apply only to issues of
   10 “enforceability,” not “validity.”    Opp. at 11-12. But the question whether the
   11 agreements will be enforced necessitates a determination whether the agreements
   12 are valid. Dornaus v. Best Buy Co., 2019 WL 632957, at *6 (N.D. Cal. Feb. 14,
   13 2019) (“Given that the Agreement contains invalid terms under McGill, the court
   14 turns to their effect on the enforceability of the Agreement.”).
   15         In any event, plaintiffs conveniently ignore that the agreements also expressly
   16 state an arbitrator will resolve “any claim that all or any part of this Agreement is
   17 void or voidable.” ECF No. 21-2 at ¶ 14.6. As plaintiffs concede, their McGill
   18 argument raises the question whether a provision in the agreement (or, in plaintiffs’
   19 view, the whole agreement) is “void.” Opp. at 12 (“the invalidation of the clause
   20 prohibiting a claim for public injunctive relief renders the entire arbitration clause
   21 void.”). This issue is expressly reserved for the arbitrator.
   22         Moreover, even beyond the delegation language quoted above—which covers
   23 the dispute—the agreements also incorporate the JAMS rules, which courts have
   24 found separately constitutes the necessary “clear and unmistakable” intent to
   25 delegate issues of arbitrability.      E.g. Amtax Holdings 463, LLC v. KDF
   26 Communities-Hallmark, LLC, 2018 WL 4743386, at *5 (C.D. Cal. Jan. 9, 2018)
   27 (“[T]he incorporation of the JAMS rules constitutes ‘clear and unmistakable’
   28 evidence of the parties’ intent to delegate arbitrability to the arbitrator.”). The
                                                 -5-          Case No. 2:20-cv-4400-CBM-GJS
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    1 JAMS rules provide the arbitrator, and not a court, shall resolve “disputes over the
    2 formation, existence, validity, interpretation or scope of the agreement under which
    3 Arbitration is sought[.]” JAMS Rule 11(b) (emphasis added). Thus, there can be no
    4 doubt the validity of the arbitration agreements is an issue reserved for the arbitrator.
    5 II.     SHOULD THE COURT REACH THE ISSUE, PLAINTIFFS’
              ARBITRATION AGREEMENTS DO NOT RUN AFOUL OF MCGILL
    6
    7         Because arbitrability disputes must be resolved by the arbitrator, the Court
    8 need not reach plaintiffs’ underlying challenge to the arbitration provisions. Schein,
    9 139 S. Ct. at 530; Rent-A-Ctr., 561 U.S. at 70-72. In any event, the agreements do
   10 not effect any waiver of plaintiffs’ right to seek public injunctive relief.
   11         First, plaintiffs make the perplexing argument that the class-action waiver
   12 somehow amounts to a waiver of the right to public injunctive relief. Opp. at 2. But
   13 nothing in this waiver of group claims prohibits any individual plaintiff from
   14 seeking public injunctive relief. Indeed, courts have repeatedly recognized—
   15 including the McGill court itself—that an action for public injunctive relief is an
   16 individual (not a representative) action. McGill, 2 Cal. 5th at 959 (“[W]e also
   17 conclude that a request for such [public injunctive] relief does not constitute the
   18 pursuit of ‘representative claims or relief on behalf of others’”) (alterations
   19 omitted). See also Lee v. Postmates Inc., 2018 WL 4961802, at *9 (N.D. Cal. Oct.
   20 15, 2018) (“The court [in McGill] noted that a request for public injunctive relief
   21 does not require a claim to be brought as a class or representative action, but is
   22 instead a remedy available to an individual private plaintiff[.]”); Magana v.
   23 DoorDash, Inc., 343 F. Supp. 3d 891, 901 (N.D. Cal. 2018) (“Magana argues that
   24 the Arbitration Agreement has a Class Action Waiver provision which states that ‘an
   25 arbitrator shall not have any authority to hear or arbitrate any class, collective or
   26 representative action[.]’ . . . But a claim for public injunctive relief is not a class,
   27 collective, or representative action.”). Thus, the class and representative action
   28
                                                  -6-          Case No. 2:20-cv-4400-CBM-GJS
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    1 waiver in plaintiffs’ agreements cannot be characterized as a waiver of the right to
    2 seek public injunctive relief.
    3         Second, plaintiffs have not advanced any argument that the right to public
    4 injunctive relief is waived as a result of the language in the arbitration agreements
    5 that states the arbitrator may award “injunctive relief only in favor of the individual
    6 party seeking relief and only to the extent necessary to provide relief warranted by
    7 that party’s individual claim.” See, e.g., Abram v. C.R. England, Inc., 2020 WL
    8 5077373, at *3 (C.D. Cal. June 23, 2020) (“Plaintiff has waived this argument
    9 because she failed to raise it in her Arbitration Opposition. In her Arbitration
   10 Opposition, Plaintiff exclusively focused on a different provision of the Arbitration
   11 Agreement (on a different page of the agreement)”) (emphasis in original); Brown v.
   12 DIRECTV, LLC, 2019 WL 6604879, at *10 (C.D. Cal. Aug. 5, 2019) (“Plaintiff
   13 waived any defense to arbitration predicated on the McGill Rule by omitting it from
   14 her opposition to DIRECTV's motion.”).
   15         Although plaintiffs never frame their challenge to the arbitration agreements
   16 in these terms, to the extent plaintiffs pivot to contend this language effects a waiver
   17 of public injunctive relief, this argument fails on the law. The California Supreme
   18 Court in McGill recognized a claim for public injunctive relief is an individual
   19 claim. McGill, 2 Cal. 5th at 959. Thus, under these agreements, an arbitrator’s
   20 award of injunctive relief “in favor of the individual party seeking relief” could
   21 include public injunctive relief to the extent warranted by that individual’s
   22 claim.3 This interpretation is further bolstered by the express statement in the
   23
          3
               This language stands in contrast, for example, to the provision in Blair v.
   24 Rent-A-Center, Inc., 928 F.3d 819 (9th Cir. 2019), on which plaintiffs rely, which
      prohibited the arbitrator from awarding “relief that would affect RAC account
   25 holders other than you.” Id. at 831 (emphasis added). Here, the agreements’
      statement the arbitrator may award injunctive relief “only in favor of the individual
   26 party seeking relief” and to the “extent necessary to provide relief warranted by that
      individual party’s claim” would not prohibit relief that affects others, as in Blair,
   27 because, as explained, “public injunctive relief” is a remedy available to an
      individual for an individual claim. Compare also McGill, 2 Cal. 5th at 952, 956
   28     (footnote continued)
                                                 -7-          Case No. 2:20-cv-4400-CBM-GJS
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    1 agreements that the “arbitrator shall be empowered to grant whatever relief would
    2 be available in a court under law or in equity.” ECF No. 21-2 at ¶ 14.6 (emphasis
    3 added). To the extent there is any ambiguity or doubt as to whether the arbitrator
    4 has authority to grant such relief (there is not), these must be resolved in favor of
    5 arbitration. Moses H. Cone Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1,
    6 24-25 (1983) (“[A]ny doubts concerning the scope of arbitrable issues should be
    7 resolved in favor of arbitration”).
    8         Third, even if the agreements did prohibit public injunctive relief (they do
    9 not), plaintiffs here do not seek such relief, and McGill is thus inapplicable. See,
   10 e.g., Sponheim v. Citibank, N.A., 2019 WL 2498938 at *5 (C.D. Cal. June 10, 2019)
   11 (“[T]he Court finds that Sponheim does not seek public injunctive relief . . .
   12 Accordingly, McGill does not invalidate the Arbitration Provision[.]”); Johnson v.
   13 JP Morgan Chase Bank, N.A., 2018 WL 4726042 at *6-8 (C.D. Cal. Sept. 18, 2018)
   14 (same); Wright v. Sirius XM Radio Inc., 2017 WL 4676580 at *9-10 (C.D. Cal. June
   15 1, 2017) (same). Rather, plaintiffs’ claims are asserted on behalf of a class of
   16 persons “who purchased a printer from Epson,” and plaintiffs rely on purported
   17 misrepresentations in their individual software license agreements and firmware
   18 updates—not broad advertising geared toward the general public. ECF No. 1 at ¶¶
   19 1, 5, 38, 40 122 (emphasis added). Where, as here, plaintiffs “[m]erely request[]
   20
      (“The arbitrator will not award relief for or against anyone who is not a party,” and
   21 the parties also had the “shared view” the language precluded plaintiff “from
      seeking public injunctive relief . . . in any forum.”); McArdle v. AT&T Mobility
   22 LLC, 2017 WL 4354998, at *4 (N.D. Cal. Oct. 2, 2017), aff'd, 772 F. App'x 575 (9th
      Cir. 2019) (unlike here, in McCardle there was no dispute whether the agreement
   23 purported to waive the right to public injunctive relief, and instead “[t]he parties
      agree[d] that the [challenged language] purports to waive the arbitrator’s ability to
   24 award public injunctive relief.”); Lotsoff v. Wells Fargo Bank, N.A., 2019 WL
      4747667, at *2 (S.D. Cal. Sept. 30, 2019) (agreement stated “[N]either Wells Fargo
   25 nor you will be entitled . . . to act in any arbitration in the interests of the general
      public”) (emphasis added); Cottrell v. AT&T Inc., 2020 WL 2747774, at *5 (N.D.
   26 Cal. May 27, 2020) (unlike here, the parties did not dispute whether the agreement
      waived the right to public injunctive relief, and instead “agree[d] in their arguments
   27 . . . the agreement is intended to prevent the award of such [public injunctive] relief
      altogether.”).
   28
                                                 -8-          Case No. 2:20-cv-4400-CBM-GJS
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     1 relief which would generally enjoin a defendant from wrongdoing [this] does not
     2 elevate requests for injunctive relief to requests for public injunctive relief.”
     3 Johnson, 2018 WL 4726042 at *6 (“[T]he relief sought is actually intended to
     4 redress and prevent further injury to a group of plaintiffs who have already been
     5 injured . . . the individuals who stand to benefit are still an inherently circumscribed
     6 group. Because Plaintiffs’ claims center on breaches of contract, only individuals
     7 who enter into contractual relationships with JPMorgan can benefit from this
     8 ruling.”).4
     9 III.    ANY ARGUABLE MCGILL ISSUE COULD BE APPROPRIATELY
               ADDRESSED BY SEVERING AND STAYING THE PUBLIC
   10
               INJUNCTIVE RELIEF CLAIM
   11
               The arbitration agreements here expressly provide that “[i]f any provision in
   12
        this Section 14 is found to be unenforceable, that provision shall be severed with the
   13
        remainder of this Agreement remaining in full force and effect.” ECF No. 21-2 at ¶
   14
        14.9. Courts addressing such language have severed and stayed claims for public
   15
        injunctive relief even where an impermissible McGill waiver was found. See, e.g.,
   16
        Dornaus, 2019 WL 632957 at *6 (“While the remainder of plaintiff's action must be
   17
        compelled to arbitration under the terms of the Agreement—including all questions
   18
        of liability—the court shall retain jurisdiction over the adjudication of plaintiff's
   19
        request for public injunctive relief . . . this action is STAYED in its entirety until
   20
        such arbitration has been had in accordance with the terms of the agreement.”).
   21
   22
           4
               Plaintiffs argue whether they seek public injunctive relief is irrelevant to
   23 whether McGill will allow them to avoid their agreements to arbitrate. Opp. at 6-7.
      As demonstrated by Sponheim, Johnson and Wright, supra, this is wrong. Plaintiffs’
   24 argument instead hinges on a misreading of McGovern v. U.S. Bank N.A., 2020 WL
      4582687, at *2 n. 1 (S.D. Cal. Aug. 10, 2020) (contrary to plaintiff’s assertion, this
   25 is not a Ninth Circuit case). In McGovern, the arbitration agreement had a particular
      contractual provision that “render[ed] the entire arbitration provision null and void”
   26 in the event any part was determined to be unenforceable. Id. It was for that reason
      the court held the relief sought was not relevant, not because that inquiry is never
   27 relevant under McGill.        As explained further below, plaintiffs’ arbitration
      agreements here have no such “poison pill” as it relates to the purported waiver of
   28     (footnote continued)
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     1         Plaintiffs contend the agreements include a “poison pill” that renders the
     2 entire arbitration agreement invalid if the class action waiver in the agreements is
     3 determined to be invalid. See ECF No. 21-2 at ¶ 14.9 (“The foregoing shall not
     4 apply to the prohibition against class or representative actions as provided in Section
     5 14.5. This means that if Section 14.5 is found to be unenforceable, the entire
     6 Section 14 (but only Section 14) shall be null and void.”). However, as explained
     7 above, it is well established that nothing in Section 14.5—the class and
     8 representative action waiver—could constitute a waiver of “public injunctive” relief
     9 under McGill, as such actions for “public injunctive” relief are individual actions.
   10 Accordingly, a determination the agreement somehow waives the right to “public
   11 injunctive” relief would not be a determination that Section 14.5 is
   12 unenforceable. Thus, the “poison pill” is inapplicable and instead, as in Dornaus,
   13 the express severability provision mandates enforcement of the remainder of the
   14 agreement. See also Ferguson v. Corinthian Colleges, Inc., 733 F.3d 928, 938 (9th
   15 Cir. 2013) (“In the event that the arbitrator concludes that Corinthian has violated
   16 the UCL, FAL, or CLRA, and that entry of an injunction might be appropriate, but
   17 further determines that it lacks the authority under the agreements at issue to grant
   18 the requested injunction, Plaintiffs may seek the requested injunction in court.”).
   19 DATED: September 15, 2020               QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
   20
   21
                                               By         /s/ Shon Morgan
   22                                               Shon Morgan
                                                    Attorneys for Defendant Epson America,
   23                                               Inc.
   24
   25
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         public injunctive relief, and McGovern is thus inapplicable.
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      Inc.
    7
    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                 JOINT STATUS REPORT
   13 GREGORY SZOT, MARTIN
      DIGNARD, and MICHAEL KOVACH,
   14
      individually and on behalf of all others
   15 similarly situated,
   16
                        Plaintiffs,
   17
                 vs.
   18
   19 EPSON AMERICA, INC.,
   20
                       Defendant.
   21
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                                                          Case No.   2:20-cv-4400-CBM-GJS
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    1                               JOINT STATUS REPORT
    2        The parties, Defendant Epson America, Inc. (“Epson”) and Plaintiff William
    3 Mondigo, file this joint status report pursuant to the Court’s September 6, 2022
    4 Order (ECF No. 47).
    5        Plaintiffs Rabinovich, Famiglietti, Gordon, Szot, Dignard and Kovach
    6 submitted demands for arbitration against Epson, and the parties agreed to first raise
    7 in arbitration the threshold issue of whether Plaintiffs’ claims for public injunctive
    8 relief should be returned to this Court prior to any proceedings on the merits. This
    9 issue has been fully briefed in each of the arbitrations.
   10        The arbitrators in the Szot and Famiglietti arbitrations issued tentative rulings
   11 determining the merits of those plaintiff’s claims must be resolved in arbitration. In
   12 the interim, the parties have agreed to a stay of each of the arbitrations to allow the
   13 parties to discuss potential resolutions of these matters. The parties’ discussions are
   14 ongoing.
   15
   16 DATED: November 1, 2022                QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
   17
   18
                                              By         /s/ John W. Baumann
   19                                              John W. Baumann
                                                   Attorneys for Defendant Epson America,
   20                                              Inc.
   21
        DATED: November 1, 2022              CARLSON LYNCH LLP
   22
   23                                                  /s/ Edwin J. Kilpela (with
                                              By       permission)
   24                                            Edwin J. Kilpela (pro hac vice)
                                                 Attorneys for Plaintiffs
   25
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    6 Attorneys for Defendant Epson America,
      Inc.
    7
    8
    9                         UNITED STATES DISTRICT COURT
   10                       CENTRAL DISTRICT OF CALIFORNIA
   11 JOHN GALGON, individually and on            CASE No. 2:21-cv-01794-CBM-MRW
      behalf of all others similarly situated,
   12
                                                  DEFENDANT EPSON AMERICA
   13                    Plaintiff,               INC.’S MOTION TO COMPEL
                                                  ARBITRATION AND STAY
   14                                             PROCEEDINGS;
                 vs.
   15                                             DECLARATION OF SIRANUSH
        EPSON AMERICA, INC.,                      ARABIAN;
   16
                                                  [PROPOSED] ORDER
   17                   Defendant.
                                                  Date:      April 20, 2021
   18                                             Time:      10:00 a.m.
                                                  Judge:     Hon. Consuelo B.
   19                                                        Marshall
                                                  Courtroom: 8B
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                                                           Case No.   2:21-cv-01794-CBM-MRW
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    1                       NOTICE OF MOTION AND MOTION
    2 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    3        PLEASE TAKE NOTICE that, on April 20, 2021 at 10:00 a.m., or as soon
    4 thereafter as counsel may be heard, defendant Epson America, Inc. (“Epson”), by
    5 and through its attorneys and pursuant to 9 U.S.C. § 4, hereby moves to compel
    6 arbitration of plaintiff’s claims, stay proceedings pending resolution of any
    7 arbitration, and stay proceedings pending a decision on this motion.
    8        This Motion is made following the conference of counsel pursuant to L.R. 7-
    9 3, which took place on March 15, 2021.
   10        This motion is made on the grounds that plaintiff agreed to arbitrate his
   11 claims against Epson on a non-class basis and further agreed any disputes
   12 concerning the arbitrability of his claims must be submitted to the arbitrator for
   13 resolution. This motion is based upon this Notice, the following memorandum of
   14 points and authorities, the Declaration of Siranush Arabian (“Arabian Decl.”) and
   15 exhibits thereto, the pleadings and records on file herein, on such other and further
   16 argument and evidence as may be presented at the time of the hearing, and all
   17 matters of which this Court may take judicial notice.
   18 DATED: March 22, 2021                QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
   19
   20
                                            By         /s/ Shon Morgan
   21                                            Shon Morgan
                                                 Attorneys for Defendant Epson America,
   22                                            Inc.
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                           PRELIMINARY STATEMENT
    3        This dispute does not belong in court. Indeed, this Court recently compelled
    4 to arbitration a nearly identical putative class action based on the exact same
    5 arbitration agreement to which plaintiff here agreed. Mondigo v. Epson America,
    6 Inc., Case No. 2:20-cv-04400-CBM-GJS (C.D. Cal.) at ECF No. 32. There is no
    7 reason the result should differ in this copycat case.
    8        Here, as in Mondigo, plaintiff expressly agreed to arbitrate any grievances
    9 related to the printer he purchased from Epson and the software used in that printer.
   10 The terms of his arbitration agreement are conspicuous, fair, and reached through a
   11 process and on substantive terms that courts have consistently held must be enforced
   12 to effectuate the purposes of the Federal Arbitration Act. Plaintiff’s arbitration
   13 agreement also expresses a clear and unmistakable intent to commit issues of
   14 arbitrability to the arbitrator. Thus, as in Mondigo, to the extent plaintiff contends
   15 his claims are not subject to the arbitration agreements for any reason, this issue
   16 must be decided in arbitration. Accordingly, the Court should compel arbitration of
   17 plaintiff’s claims and stay proceedings pending resolution of any arbitration.
   18        Additionally, because this Court is not the proper forum for plaintiff’s claims,
   19 Epson also seeks an order staying all proceedings pending resolution of its motion to
   20 compel arbitration (including a stay of all discovery), which would be obviated by
   21 an order sending this case to arbitration.
   22                                    BACKGROUND
   23 I.     THE COURT’S ORDER COMPELLING ARBITRATION IN
   24        MONDIGO
   25        On May 15, 2020, plaintiffs William Mondigo, Martin Dignard, Richard
   26 Famiglietti, Michael Kovach, Felix Rabinovich, Jesse Gordon, and Gregory Szot
   27 filed a putative class action complaint against Epson, which was assigned to this
   28 Court. Mondigo v. Epson America, Inc., Case No. 2:20-cv-04400-CBM-GJS (C.D.
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    1 Cal.). There, as here, plaintiffs alleged third-party ink stopped functioning in their
    2 printers as a result of Epson’s software updates and, based on these allegations,
    3 asserted class claims under the Computer Fraud and Abuse Act (“CFAA”);
    4 California Business & Professions Code § 17200 (“UCL”); and a common law
    5 theory of unjust enrichment. Id. at ECF No. 1.
    6         Epson promptly moved to compel arbitration. Id. at ECF No. 21. Like
    7 plaintiff here, each plaintiff in Mondigo had agreed—both at the time they originally
    8 set up their printers and again upon updating their software—to arbitrate “all
    9 disputes” with Epson on an individual basis. Id.
   10         On October 13, 2020, this Court granted Epson’s motion and stayed the
   11 proceedings pending the completion of any arbitration. Id. at ECF No. 32. This
   12 Court determined plaintiffs had “each agreed to the software license agreement” at
   13 the time they first set up their Epson printers and “entered into another arbitration
   14 agreement when they installed the software updates which are the subject of the
   15 Complaint.”     Id. at 3.   This Court further found “the delegation clause in the
   16 software license agreement and Updater EULA ‘clearly and unmistakably’ indicates
   17 the parties’ intent for the arbitrator to decide the issue of arbitrability.” Id. at 5.
   18 Accordingly, this Court rejected plaintiffs’ attempts to upend the arbitration
   19 agreements and instead determined it “must enforce the agreements according to
   20 their terms and compel the issue of arbitrability of Plaintiffs’ claims to arbitration.”
   21 Id. at 6-7.
   22 II.     PLAINTIFF’S ARBITRATION AGREEMENTS
   23         Plaintiff here followed the exact same steps to agree to the exact same
   24 arbitration agreements that were the subject of this Court’s order compelling
   25 arbitration in Mondigo.
   26         Plaintiff alleges he purchased an Epson XP-640 printer on January 25, 2018
   27 and subsequently began using this printer. ECF No. 1 at ¶¶ 37, 40. To set up and
   28 begin using his printer, plaintiff was required to view Epson’s software license—this
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    1 license was automatically displayed for the user to see as part of the setup process.
    2 Declaration of Siranush Arabian at ¶ 4. Plaintiff was then required to click a bubble
    3 that appeared immediately below the displayed software license (just beneath the
    4 text of the license) to signify his agreement to the terms of the software license. Id.
    5         Among the terms in the software license to which plaintiff agreed is an
    6 arbitration agreement—indeed, the very first paragraph of the license agreement
    7 calls attention to this in capitalized, oversized font that notifies the user “IF YOU
    8 ARE LOCATED IN THE UNITED STATES, SECTION 14 OF THIS
    9 DOCUMENT APPLIES TO YOU. SECTION 14 CONTAINS A BINDING
   10 ARBITRATION PROVISION THAT LIMITS YOUR ABILITY TO SEEK
   11 RELIEF IN A COURT BEFORE A JUDGE OR JURY, AND WAIVES YOUR
   12 RIGHT TO PARTICIPATE IN CLASS ACTIONS OR CLASS ARBITRATIONS
   13 FOR CERTAIN DISPUTES.” Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.
   14         Additionally, plaintiff reaffirmed his agreement to arbitrate disputes with
   15 Epson at the time he installed the software updates that are the subject of his
   16 complaint. Arabian Decl. at ¶¶ 4-5, Ex. 2; ECF No. 1 at ¶ 31 (conceding plaintiff
   17 “authorized” the update). To install the update, plaintiff was required to view the
   18 Epson End User Software License Agreement (“Updater EULA”), which was
   19 automatically displayed for plaintiff to see, and plaintiff was once again required to
   20 click to signify his agreement. Arabian Decl. at ¶ 7. The arbitration agreement in
   21 the Updater EULA is substantively identical to the arbitration agreement in
   22 plaintiff’s software license. Compare Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14 (software
   23 license), with ¶ 5, Ex. 2 at ¶ 22 (Updater EULA).
   24         Prominent Headings and Clear Terms. Plaintiff’s arbitration agreements
   25 begin with a prominent heading in capitalized, bolded font identifying the separate
   26 agreement to arbitrate and explain in simple terms the arbitration process and how it
   27 differs from a trial in court:
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    1        DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND
             WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS
    2
             …
    3        You and Epson agree that all Disputes shall be resolved by binding
             arbitration according to this Agreement. ARBITRATION MEANS
    4
             THAT YOU WAIVE YOUR RIGHT TO A JUDGE OR JURY IN
    5        A COURT PROCEEDING AND YOUR GROUNDS FOR
             APPEAL ARE LIMITED.
    6
    7        Arabian Decl. at ¶¶ 3, 5, Exs. 1-2 at ¶ 14.2 (software license) & 2 at ¶ 22.2
    8 (Updater EULA) (emphasis in original).
    9        Class Action Waiver. Plaintiff’s arbitration agreements also explicitly set
   10 forth the rights plaintiff waived by agreeing to arbitrate, and contain a separate
   11 section in bold, capitalized font notifying plaintiff of his agreements to waive the
   12 right to serve “AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR
   13 REPRESENTATIVE PROCEEDING[.]” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶
   14 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA) (emphasis in original).
   15        Broad Scope. Plaintiff’s arbitration agreements broadly cover “all Disputes
   16 between you and Epson,” and define “Disputes” to “have the broadest meaning
   17 permissible under law,” including “any dispute, claim, controversy or action
   18 between you and Epson arising out of or relating to this Agreement, the Software,
   19 Epson Hardware, or other transaction involving you and Epson, whether in contract,
   20 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
   21 ordinance, or any other legal or equitable basis.” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at
   22 ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater EULA).1
   23        Delegation of Arbitrability Disputes. Plaintiff’s arbitration agreements also
   24 contain a clear expression of intent to delegate issues of arbitrability to the
   25
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    1 arbitrator. Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶ 22.6
    2 (Updater EULA) (“The arbitrator, and not any federal, state or local court or agency,
    3 shall have exclusive authority to resolve all disputes arising out of or relating to the
    4 interpretation, applicability, enforceability or formation of this Agreement,
    5 including any claim that all or any part of this Agreement is void or voidable.”).
    6          Arbitration Before JAMS And Payment Of Fees. Plaintiff’s arbitration
    7 agreements require arbitration before JAMS, pursuant to the rules of JAMS in effect
    8 at the time the arbitration is filed, and broadly empower the arbitrator “to grant
    9 whatever relief would be available in a court under law or in equity.” See Arabian
   10 Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶ 22.6 (Updater EULA).
   11 The agreements further provide that “Epson shall pay, or (if applicable) reimburse
   12 you for, all JAMS filings and arbitrator fees for any arbitration commenced (by you
   13 or Epson) pursuant to provisions of this Agreement.” Arabian Decl. at ¶¶ 3, 5, Exs.
   14 1 at ¶ 14.6(c) (software license) & 2 at ¶ 22.6(c) (Updater EULA).
   15          Broad Right To Opt Out. Finally, the agreements allowed plaintiff to opt
   16 out within thirty days of his assent to the agreements by sending a letter to “Epson
   17 America, Inc., ATTN: Legal Department, 3840 Kilroy Airport Way, Long Beach,
   18 CA 90806.” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.7 (software license) & 2 at ¶
   19 22.7 (Updater EULA). Despite having this option, plaintiff chose not to opt out of
   20 his arbitration agreements. Arabian Decl. at ¶ 8.
   21
   22
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           1
            The arbitration agreements contain a limited carve out—not applicable here—
   26 for “a claim or cause of action for (a) trademark infringement or dilution, (b) patent
      infringement, (c) copyright infringement or misuse, or (d) trade secret
   27 misappropriation,” which are required to be heard in court. Arabian Decl. at ¶¶ 3, 5,
      Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater EULA).
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    1                                   LEGAL STANDARD
    2          The FAA governs the enforcement of arbitration clauses in commercial
    3 contracts.2 9 U.S.C. §§ 1-16. Section 2 of the FAA states:
    4          A written provision in . . . a contract evidencing a transaction involving
               commerce to settle by arbitration a controversy thereafter arising out of
    5          such contract or transaction, or the refusal to perform the whole or any
               part thereof, or an agreement in writing to submit to arbitration an
    6          existing controversy arising out of such contract, transaction, or refusal,
               shall be valid, irrevocable, and enforceable, save upon such grounds as
    7          exist at law or in equity for the revocation of any contract.
    8
    9 9 U.S.C. § 2. “Section 2 is a congressional declaration of a liberal federal policy
   10 favoring arbitration agreements . . . .” Moses H. Cone Memorial Hosp. v. Mercury
   11 Const. Corp., 460 U.S. 1, 24 (1983). “The Arbitration Act establishes that, as a
   12 matter of federal law, any doubts concerning the scope of arbitrable issues should be
   13 resolved in favor of arbitration, whether the problem at hand is the construction of
   14 the contract language itself or any allegation of waiver, delay, or a like defense to
   15 arbitrability.” Id. at 24-25. “[I]t has been established that where the contract
   16 contains an arbitration clause, there is a presumption of arbitrability in the sense that
   17 an order to arbitrate the particular grievance should not be denied unless it may be
   18 said with positive assurance that the arbitration clause is not susceptible of an
   19 interpretation that covers the asserted dispute. Doubts should be resolved in favor of
   20 coverage.” AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 650
   21 (1986) (quotation, citation and alterations omitted).
   22
   23      2
                The FAA applies where, as here, the arbitration agreement appears in a
        contract involving interstate commerce. See 9 U.S.C § 1; ECF No. 1 at ¶ 15
   24   (recognizing the parties are diverse for purposes of CAFA jurisdiction). Further,
        plaintiffs’ arbitration agreements contain an explicit FAA choice-of-law clause. See
   25   Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.2 (software license) & 2 at ¶ 22.2 (Updater
        EULA) (“You and Epson understand and agree that . . . the Federal Arbitration Act
   26   (9 U.S.C. §1, et seq.) governs the interpretation and enforcement of this Section
        14”). “An FAA choice-of-law provision in an arbitration agreement is enforceable.”
   27   Kim v. Tinder, Inc., 2018 WL 6694923, at *2 (C.D. Cal. July 12, 2018) (citing
        Brennan v. Opus Bank, 796 F.3d 1125, 1129-31 (9th Cir. 2015)).
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    1         Pursuant to Section 3 of the FAA, if a suit is brought in court:
    2         [U]pon any issue referable to arbitration under an agreement in writing
              for such arbitration, the court in which such suit is pending, upon being
    3         satisfied that the issue involved in such suit or proceeding is referable
              to arbitration under such an agreement, shall on application of one of
    4         the parties stay the trial of the action until such arbitration has been had
              in accordance with the terms of the agreement . . . .
    5
    6 9 U.S.C. § 3. Once a court determines a claim is subject to arbitration, it lacks
    7 authority to address the merits of that claim. See Prima Paint Corp. v. Flood &
    8 Conklin Mfr. Co., 388 U.S. 395, 400 (1967).
    9                                       ARGUMENT
   10 III.    ANY QUESTIONS OF ARBITRABILITY MUST BE DECIDED BY AN
   11         ARBITRATOR
   12         The Supreme Court has recognized “that parties can agree to arbitrate
   13 ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to
   14 arbitrate or whether their agreement covers a particular controversy.”            Rent-A-
   15 Center, West, Inc. v. Jackson, 561 U.S. 63, 69 (2010). “An agreement to arbitrate a
   16 gateway issue is simply an additional, antecedent agreement the party seeking
   17 arbitration asks the federal court to enforce, and the FAA operates on this additional
   18 arbitration agreement just as it does on any other.” Id. at 70. If the parties have
   19 “clearly and unmistakably” agreed that questions of arbitrability must be decided by
   20 the arbitrator, such provisions must be enforced. See Howsam v. Dean Witter
   21 Reynolds, Inc., 537 U.S. 79, 83 (2002) (internal quotation and citation omitted). As
   22 the United States Supreme Court recently held, “[w]hen the parties’ contract
   23 delegates the arbitrability question to an arbitrator, a court may not override the
   24 contract.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529
   25 (2019). Rather, “[i]n those circumstances, a court possesses no power to decide the
   26 arbitrability issue.” Id.
   27         This was the basis on which plaintiffs’ claims were compelled to arbitration
   28 in Mondigo and it applies equally here. As this Court determined in Mondigo, “the
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    1 delegation clause in the software license agreement and Updater EULA ‘clearly and
    2 unmistakably’ indicates the parties’ intent for the arbitrator to decide the issue of
    3 arbitrability.” Mondigo, Case No. 2:20-cv-04400-CBM-GJS (C.D. Cal.), ECF No.
    4 32 at 5. See also Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at
    5 ¶ 22.6 (Updater EULA) (“The arbitrator, and not any federal, state or local court or
    6 agency, shall have exclusive authority to resolve all disputes arising out of or
    7 relating to the interpretation, applicability, enforceability or formation of this
    8 Agreement, including any claim that all or any part of this Agreement is void or
    9 voidable.”).3
   10          Consistent with this Court’s decision in Mondigo, other courts have likewise
   11 held the language contained in plaintiff’s arbitration agreements evinces such an
   12 intent. See, e.g., Rent-A-Ctr., 561 U.S. at 66 (delegation provision stated “[t]he
   13 Arbitrator, and not any federal, state, or local court or agency, shall have exclusive
   14 authority to resolve any dispute relating to the interpretation, applicability,
   15 enforceability or formation of this Agreement including, but not limited to any claim
   16 that all or any part of this Agreement is void or voidable.”); Lakhan v. U.S. Sec.
   17 Assocs., Inc., 2019 WL 175043, at *6 (C.D. Cal. Jan. 11, 2019) (holding agreement
   18 that required an arbitrator to “resolve any issue relating to the interpretation,
   19 formation or enforceability of this Agreement, or any issue relating to whether a
   20 Claim is subject to arbitration under this Agreement” was “similar to others that
   21 courts in this District have determined clearly and unmistakably provide for
   22 threshold issues of arbitrability to be determined by an arbitrator.”) (citation
   23 omitted).
   24
           3
             In addition to the explicit delegation agreements, plaintiffs’ agreements also
   25 incorporate the JAMS rules, which separately evinces the “clear and unmistakable”
      intent to commit arbitrability issues to the arbitrator. Arabian Decl. at ¶¶ 3, 5, Exs. 1
   26 at ¶ 14.6 (software license) & 2 at 22.6 (Updater EULA) (arbitration to be conducted
      under JAMS rules); Bitstamp Ltd. v. Ripple Labs Inc., 2015 WL 4692418, at *5
   27 (N.D. Cal. Aug. 6, 2015) (holding that incorporation of the JAMS rules “overcame
      the default rule and assigned the arbitrability question to the arbitrator.”).
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    1          Because plaintiff “clearly and unmistakably” agreed to delegate questions of
    2 arbitrability to the arbitrator, to the extent he challenges the interpretation,
    3 applicability, or enforceability of his agreements, those issues must be decided by
    4 the arbitrator.
    5 IV.      THOUGH NOT AN ISSUE FOR THE COURT, PLAINTIFF ENTERED
    6          INTO VALID ARBITRATION AGREEMENTS THAT CLEARLY
    7          COVER THE CLAIMS AT ISSUE
    8          Because disputes regarding the scope and validity of the arbitration
    9 agreements are reserved for the arbitrator, the Court need not address these issues.
   10 However, if the Court were to reach these issues, they too mandate this dispute be
   11 sent to arbitration. Under the FAA, arbitration must be compelled where, as in this
   12 case: (1) a valid agreement to arbitrate exists; and (2) the claims at issue fall within
   13 the scope of that agreement. See Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
   14 F.3d 1126, 1130 (9th Cir. 2000). Here, both conditions are met and arbitration is
   15 required.
   16          As discussed, to set up and begin using his printer, plaintiff was required to
   17 view and provide his affirmative consent to Epson’s software license. Arabian Decl.
   18 at ¶ 4.      Additionally, plaintiff reaffirmed his agreement to arbitrate when he was
   19 presented with the Updater EULA at the time of the software update and once again
   20 affirmatively assented to the terms. Arabian Decl. at ¶ 7; ECF No. 1 at ¶ 31
   21 (conceding he “authorized” the update). As this Court determined in Mondigo
   22 based on this same process, there can be no “dispute [plaintiff] entered into the
   23 software license agreement and/or the Updater EULA[.]” See Mondigo, Case No.
   24 2:20-cv-04400-CBM-GJS (C.D. Cal.), ECF No. 32 at 5.4 Indeed, “[f]ederal courts .
   25 . . have recognized the general enforceability of . . . online agreements that require
   26 affirmative user assent.” In re Holl, 925 F.3d 1076, 1085 (9th Cir. 2019). See also
   27
           4
               In fact, the plaintiffs in Mondigo did not even attempt to dispute this issue. Id.
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      8:24-cv-01996-FWS-DFM Document
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                                  ID #:245



    1 Wiseley v. Amazon.com, Inc., 709 F. App'x 862, 864 (9th Cir. 2017) (“The notices
    2 on Amazon’s checkout and account registration pages, which alerted Wiseley that
    3 clicking the corresponding action button constituted agreement to the hyperlinked
    4 [Conditions of Use], were in sufficient proximity to give him a ‘reasonable
    5 opportunity to understand’ that he would be bound by additional terms.”); Jialu Wu
    6 v. iTalk Glob. Commc'ns, Inc., 2020 WL 8461696, at *3 (C.D. Cal. Oct. 21, 2020)
    7 (“Plaintiff clearly assented to the Agreement. . . . Because Plaintiff could not have
    8 purchased the relevant services unless he clicked the box that said he agreed to the
    9 Agreement, he assented to it.”).
   10         Further, there can be no dispute plaintiff’s arbitration agreements cover the
   11 claims at issue here. Plaintiff’s arbitration agreements broadly cover “all Disputes
   12 between you and Epson,” and define “Disputes” to “have the broadest meaning
   13 permissible under law,” including “any dispute, claim, controversy or action
   14 between you and Epson arising out of or relating to this Agreement, the Software,
   15 Epson Hardware, or other transaction involving you and Epson, whether in contract,
   16 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
   17 ordinance, or any other legal or equitable basis.” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at
   18 ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater EULA).              Courts analyzing
   19 arbitration agreements with similar language have held it must be interpreted
   20 broadly. See, e.g., Amirhamzeh v. Wells Fargo Bank, N.A., 2014 WL 12610227, at
   21 *1 (N.D. Cal. Oct. 31, 2014) (“The arbitration agreement has an extremely broad
   22 scope; it provides that ‘any dispute’ between the parties is subject to arbitration.”).
   23 While plaintiff’s claims clearly fall within the scope of his agreements, to the extent
   24 there is any question, all “doubts concerning the scope of arbitrable issues should be
   25 resolved in favor of arbitration[.]” Moses H. Cone, 460 U.S. at 24-25.
   26
   27
   28
                                                -10-      Case No.   2:21-cv-01794-CBM-MRW
                                         MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
Case
 Case2:21-cv-01794-CBM-MRW
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                                  ID #:246



    1 V.      THOUGH NOT AN ISSUE FOR THE COURT, ARBITRATION MAY
    2         NOT PROCEED ON A CLASS BASIS
    3         Because disputes regarding the interpretation of the arbitration agreements are
    4 reserved for the arbitrator, the Court need not determine whether class arbitration is
    5 permitted. See, e.g., Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662,
    6 684-85 (2010) (arbitrator made initial determination whether class arbitration was
    7 permitted under the parties’ agreement).
    8         But again, this is an issue the agreements unambiguously and enforceably
    9 resolve. Plaintiff’s agreements clearly prohibit class claims. Arabian Decl. at ¶¶ 3,
   10 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA). In Stolt-
   11 Nielsen, the Supreme Court held “a party may not be compelled under the FAA to
   12 submit to class arbitration unless there is a contractual basis for concluding that the
   13 party agreed to do so.” 559 U.S. at 684 (emphasis in original). The Supreme Court
   14 has consistently enforced this precedent and has repeatedly upheld class waivers in
   15 arbitration agreements. See, e.g., Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1623
   16 (2018) (“[C]ourts may not allow a contract defense to reshape traditional
   17 individualized arbitration by mandating classwide arbitration procedures without the
   18 parties’ consent.”); Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1419 (2019)
   19 (“Courts may not infer from an ambiguous agreement that parties have consented to
   20 arbitrate on a classwide basis.”).
   21         The arbitration agreements here are clear and expressly state the parties’
   22 intentions that arbitration may not proceed on a class basis. Arabian Decl. at ¶¶ 3, 5,
   23 Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA). “[C]ourts and
   24 arbitrators must give effect to the contractual rights and expectations of the parties.”
   25 Stolt-Nielsen, 559 U.S. at 682 (internal quotations omitted). Thus, arbitration may
   26 not proceed on a class basis.
   27
   28
                                                  -11-      Case No.   2:21-cv-01794-CBM-MRW
                                           MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
Case
 Case2:21-cv-01794-CBM-MRW
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                                  ID #:247



    1 VI.     PLAINTIFF’S CLAIMS SHOULD BE STAYED PENDING
    2         RESOLUTION OF ANY ARBITRATION, AND THIS ACTION
    3         SHOULD BE STAYED PENDING A RULING ON THIS MOTION
    4         Under the FAA, an action compelled to arbitration shall be stayed by the
    5 district court pending resolution of the arbitration. 9 U.S.C. § 3. See also Mendoza
    6 v. Uber Techs. Inc., 2020 WL 2563047, at *2 (C.D. Cal. May 4, 2020) (“This action
    7 is STAYED pending resolution of the arbitration proceedings. The Clerk is directed
    8 to administratively close the case.”).
    9         Additionally, because this Court is not the proper forum for plaintiff’s claims,
   10 Epson also seeks an order staying all proceedings pending resolution of its motion to
   11 compel arbitration (including a stay of all discovery), which would be obviated by
   12 an order sending this case to arbitration. Plaintiff should not be permitted to ignore
   13 his arbitration agreements, file a lawsuit in federal court, and force Epson to
   14 participate in litigation in violation of the terms of the parties’ agreements. For this
   15 reason, courts routinely stay proceedings pending the resolution of a motion to
   16 compel arbitration. See, e.g., Mahamedi IP Law, LLP v. Paradice & Li, LLP, 2017
   17 WL 2727874, at *1 (N.D. Cal. Feb. 14, 2017) (granting “motion to stay discovery
   18 until the Court rules on [the] motion to compel arbitration.”); Hotel Greystone Corp.
   19 v. New York Hotel & Motel Trades Council, AFL-CIO, 897 F. Supp. 168, 170
   20 (S.D.N.Y. 1995) (“[P]etitioner's motion for a preliminary stay pending resolution of
   21 the petition for a stay of arbitration and respondent's cross-motion to compel is
   22 granted.”); Hamoudeh v. Unitedhealth Grp. Inc., 2016 WL 2894870 at *1 (E.D.N.Y.
   23 May 17, 2016) (granting “motion to stay this action pending resolution of
   24 UnitedHealth's motion to compel arbitration of Plaintiffs' claims.”).
   25                                     CONCLUSION
   26         For the foregoing reasons, plaintiff’s claims should be compelled to
   27 arbitration and, to the extent plaintiff raises any defenses to arbitration of his claims,
   28 those disputes must be resolved by the arbitrator. The action should be stayed
                                                 -12-       Case No.   2:21-cv-01794-CBM-MRW
                                         MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
Case
 Case2:21-cv-01794-CBM-MRW
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    1 pending resolution of the arbitration and, in the interim, stayed pending resolution of
    2 this motion.
    3 DATED: March 22, 2021                 QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
    4
    5
                                             By         /s/ Shon Morgan
    6                                             Shon Morgan
                                                  Attorneys for Defendant Epson America,
    7                                             Inc.
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                                               -13-       Case No.   2:21-cv-01794-CBM-MRW
                                        MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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                             EXHIBIT F
      Case 8:24-cv-01996-FWS-DFM                                Document 1-1 Filed 09/16/24                              Page 212 of 351 Page
                                                                     ID #:250

Schlow, Alexander F.

From:                                          Jack Baumann <jackbaumann@quinnemanuel.com>
Sent:                                          Wednesday, March 29, 2023 7:05 PM
To:                                            Heitmann, Brandon; Sarah Nevins
Cc:                                            Gardner, Jonathan; Shon Morgan; Waisnor, Jonathan; Schlow, Alexander F.
Subject:                                       RE: [EXTERNAL]RE: Arbitration Proceedings
Attachments:                                   2023.3.29 Epson Response to JAMS.pdf



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Ms. Nevins,

Please see the attached correspondence. Thank you.

Best,

Jack Baumann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3169 Office
310-245-9886 Cell
213-443-3100 Fax
jackbaumann@quinnemanuel.com
www.quinnemanuel.com

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From: Jack Baumann
Sent: Thursday, March 23, 2023 8:37 AM
To: Heitmann, Brandon <BHeitmann@labaton.com>; Sarah Nevins <snevins@jamsadr.com>
Cc: Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan <shonmorgan@quinnemanuel.com>; Waisnor, Jonathan
<JWaisnor@labaton.com>; Schlow, Alexander F. <ASchlow@labaton.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings

Ms. Nevins,

Epson intends to respond to claimants’ letter by March 29. Thank you.

Best,

Jack Baumann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3169 Office
310-245-9886 Cell
213-443-3100 Fax
jackbaumann@quinnemanuel.com
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                                                                     ID #:251
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From: Heitmann, Brandon <BHeitmann@labaton.com>
Sent: Wednesday, March 22, 2023 11:46 AM
To: Sarah Nevins <snevins@jamsadr.com>
Cc: Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan <shonmorgan@quinnemanuel.com>; Jack Baumann
<jackbaumann@quinnemanuel.com>; Waisnor, Jonathan <JWaisnor@labaton.com>; Schlow, Alexander F.
<ASchlow@labaton.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings

                                                   [EXTERNAL EMAIL from bheitmann@labaton.com]


Sarah,

Please see attached for Claimants’ response letter. In addition, we are attaching two excel files with the two groups of
claimants referenced in Epson’s letter to assist JAMS in issuing invoices. Please let us know if you need anything else.



From: Sarah Nevins <snevins@jamsadr.com>
Sent: Tuesday, March 21, 2023 1:23 PM
To: Waisnor, Jonathan <JWaisnor@labaton.com>; 'Jack Baumann' <jackbaumann@quinnemanuel.com>; Heitmann,
Brandon <BHeitmann@labaton.com>
Cc: Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings
sophosp smartba nnere nd




Thank you for letting me know.

Sarah



                                            Sarah Nevins
                                            Arbitration Practice Manager – East/Central

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From: Waisnor, Jonathan <JWaisnor@labaton.com>
Sent: Tuesday, March 21, 2023 12:55 PM
To: 'Jack Baumann' <jackbaumann@quinnemanuel.com>; Sarah Nevins <snevins@jamsadr.com>; Heitmann, Brandon
<BHeitmann@labaton.com>
Cc: Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Subject: Re: [EXTERNAL]RE: Arbitration Proceedings
                                                                                  2
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                                                                          ID #:252

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                           sender and know the content is safe.

Hello Sarah,

Just wanted to give you an update you on this. Claimants need another day to respond, we will send you our
response letter tomorrow. We appreciate your patience.

From: Waisnor, Jonathan
Sent: Tuesday, March 14, 2023 10:51 AM
To: 'Jack Baumann' <jackbaumann@quinnemanuel.com>; Sarah Nevins <snevins@jamsadr.com>; Heitmann, Brandon
<BHeitmann@labaton.com>
Cc: Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings

Hi Sarah,

We are in receipt of Epson’s letter and plan to respond substantively by March 21. We would request no action be
taken until JAMS has had time to consider our response. Thank you.

From: Jack Baumann <jackbaumann@quinnemanuel.com>
Sent: Monday, March 13, 2023 8:55 PM
To: Sarah Nevins <snevins@jamsadr.com>; Heitmann, Brandon <BHeitmann@labaton.com>
Cc: Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan
<shonmorgan@quinnemanuel.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings
sophosp smartba nnere nd




Ms. Nevins,

Please see the attached correspondence. Thank you.

Best,

Jack Baumann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3169 Office
310-245-9886 Cell
213-443-3100 Fax
jackbaumann@quinnemanuel.com
www.quinnemanuel.com

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From: Jack Baumann
Sent: Wednesday, March 8, 2023 2:29 PM
To: Sarah Nevins <snevins@jamsadr.com>; Heitmann, Brandon <BHeitmann@labaton.com>
Cc: Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan <JGardner@labaton.com>; Shon Morgan

                                                                                  3
      Case 8:24-cv-01996-FWS-DFM                                Document 1-1 Filed 09/16/24                              Page 215 of 351 Page
                                                                     ID #:253
<shonmorgan@quinnemanuel.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings

Ms. Nevins,

Epson is evaluating information related to the 3,994 claims submitted Monday afternoon. Given the number of
claimants, Epson plans to respond Monday, March 13. Thank you.

Best,

Jack Baumann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3169 Office
310-245-9886 Cell
213-443-3100 Fax
jackbaumann@quinnemanuel.com
www.quinnemanuel.com

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From: Sarah Nevins <snevins@jamsadr.com>
Sent: Wednesday, March 8, 2023 5:15 AM
To: Heitmann, Brandon <BHeitmann@labaton.com>
Cc: Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan <JGardner@labaton.com>; Jack Baumann
<jackbaumann@quinnemanuel.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Subject: RE: [EXTERNAL]RE: Arbitration Proceedings


                                                     [EXTERNAL EMAIL from snevins@jamsadr.com]




Thank you.

Does Respondent with to respond? If so, by when? Please advise.

Sarah



                                          Sarah Nevins
                                          Arbitration Practice Manager – East/Central

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                                                                                  4
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From: Heitmann, Brandon <BHeitmann@labaton.com>
Sent: Tuesday, March 7, 2023 6:02 PM
To: Sarah Nevins <snevins@jamsadr.com>
Cc: Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan <JGardner@labaton.com>; Jack Baumann
<jackbaumann@quinnemanuel.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Subject: Re: [EXTERNAL]RE: Arbitration Proceedings

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Sarah,

Thank you. Pursuant to Section 14.6(c) of the operative terms, Epson has agreed to pay all JAMS filing and arbitrator
fees. Accordingly, we request that JAMS invoice Epson for the filing fees. If Epson has an alternative position, we ask that
their counsel let us know what their position is.


         On Mar 7, 2023, at 12:13 PM, Sarah Nevins <snevins@jamsadr.com> wrote:

         sophosp smartba nnere nd




         Thank you. Confirming receipt.

         Do you wish to pay the $250 non-refundable filing fee for all of these claims, or handle them in
         rounds? Please advise.

         Sarah


                                    <image001.jpg>
                                                     Sarah Nevins
                                                     Arbitration Practice Manager – East/Central

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         From: Heitmann, Brandon <BHeitmann@labaton.com>
         Sent: Monday, March 6, 2023 5:22 PM
         To: Sarah Nevins <snevins@jamsadr.com>
         Cc: Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan <JGardner@labaton.com>; Jack
         Baumann <jackbaumann@quinnemanuel.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
         Subject: Arbitration Proceedings


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                                                   ID #:255

       Ms. Nevins,

       This firm represents the 3,994 claimants asserting claims against Epson America, Inc. We write to
       provide JAMS with the materials necessary to commence arbitration proceedings. Attached please find
       an Excel spreadsheet identifying the 3,994 individuals this firm represents, along with a copy of the
       operative terms that govern each claimants’ individual arbitration. Additionally, please use the FTP link
       below to access the completed demand forms and demands for arbitration for each of the 3,994
       claimants. The password will follow under separate cover. Additionally, the operative terms are Exhibit A
       to each claimants’ demand.

       Pursuant to Section 14.6(c) of the operative terms, Epson is required to pay all JAMS filing and arbitrator
       fees. We request that JAMS invoice Epson accordingly. Counsel for Epson is copied here.

       FTP URL:                 https://fts.labaton.com
       USERNAME:                epsonftp


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                             EXHIBIT G
       Case 8:24-cv-01996-FWS-DFM        Document 1-1 Filed 09/16/24         Page 219 of 351 Page
                                              ID #:257




Insight from the President: JAMS Policy Regarding Mass
Arbitration Filings
JAMS’ core value is neutrality



KIMBERLY TAYLOR, ESQ.
JAMS President

The question whether class action arbitration waiver agreements are enforceable was decided by
the United States Supreme Court in its 2018 opinion in Epic Systems Corp. v. Lewis, 823 F.3d
1147, where Justice Gorsuch, writing for the majority, stated that the Court has determined that
the Federal Arbitration Act “establishes ‘liberal federal policy favoring arbitration agreements,’…
[and] arbitration agreements like those before us must be enforced as written.”
Following that decision, and in the face of an arbitration clause that bars class or collective actions,
attorneys representing employees or consumers have responded in some instances by filing
dozens, hundreds or even thousands of individual arbitration demands against a single company.
These filings have prompted questions from Claimants’ and Respondents’ counsel about how
ADR providers will administer the matters, what fees apply and whether providers will impose
specialized processes that may run counter to the specific terms of the parties’ contract. Claimants
whose contract requires them to pay a portion of the initial filing fee may request a discount or
waiver of the filing fees, and Respondent companies that may be required to pay the remainder or
all of the filing fees balk at what may be a costly and prohibitive sum. Respondents may also
question whether every individual claim is legitimate before it posts filing fees for the matter, but in
some jurisdictions face penalties if they don’t pay the arbitration filing fees within a specified time
period.
JAMS understands the complexities of the situation. However, we have a fundamental
responsibility and commitment to neutrality and high ethical and professional standards. Our role
as the administrator of the parties’ arbitration proceedings prohibits us from modifying or changing
the arbitration agreement absent express agreement of the parties. If the parties’ agreement
prohibits class actions and consolidations, we must treat each case individually. Each matter is
commenced and managed separately because that is what the pre-dispute contract requires. Every
arbitration receives its own process and its own arbitrator, and the resources needed to manage
these individual arbitrations are similar to or greater than any individual arbitration.

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       Case 8:24-cv-01996-FWS-DFM                Document 1-1 Filed 09/16/24               Page 220 of 351 Page
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JAMS has developed internal protocols to make the commencement process as efficient as
possible, including maximizing the use of technology and creating a dedicated team to oversee the
commencement of the arbitration and appointment of the arbitrator. We aim to fulfill the goal of
arbitration—an efficient, fair and neutral proceeding that leads to a final arbitration award that will
be upheld in court. JAMS will not reduce fees for either side to avoid even an appearance of
impartiality or bias. Every individual arbitration receives individual treatment and an individual
award to ensure the parties receive an impartial, neutral and fair process.
We encourage the parties to collaborate at the outset of a mass filing (which JAMS defines as any
group of 25 or more filings from the same law firm or lawyer against the same company at the
same time). Strategies that have proven effective include sharing information about the validity of
each individual’s status (employee, customer, etc.); filing demands in batches; and agreeing on
“test” cases, arbitrator selection, manner of hearing (in-person, virtual or hybrid), timelines for
commencement and hearings, etc. JAMS can work with the parties to implement any processes or
procedures that have been agreed upon prior to or even after an arbitration has been filed.
However, in the absence of an agreement amongst the parties, the arbitration agreement controls.
To reiterate, JAMS’ core value is neutrality. We take each individual arbitration as it is filed,
according to the terms of the contract. We take that position to maintain our neutrality and because
we do not believe we have the power, as the administering body, to change the parties’ agreement
unilaterally.
EXPLORE MORE ON THESE TOPICS

Disclaimer:
This page is for general information purposes. JAMS makes no representations or warranties regarding its accuracy or
completeness. Interested persons should conduct their own research regarding information on this website before deciding to
use JAMS, including investigation and research of JAMS neutrals. See More




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                             EXHIBIT H
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                                            ID #:260




  NOTICE TO ALL PARTIES                                                                  April 6, 2023

         RE:      Labaton Epson Cases

  Dear Parties:

  JAMS has received and reviewed Respondent’s objection to the above-referenced Demands for
  Arbitration, and the parties’ related communications to JAMS.

  Regarding the 2,161 “Adams” Claimants, JAMS will take no action on these Demands at this
  time in light of Respondent’s objection and counsel for Claimants’ offer to meet and confer on
  these claims.

  Regarding the 1,833 “Arnoff” Claimants, the Demands enclose an end user license agreement
  between a user and Respondent. The agreement calls for all disputes (excluding IP claims) to
  be resolved by binding arbitration administered by JAMS. Section 14.2. The agreement states,
  “The arbitrator, and not any federal, state or local court or agency, shall have exclusive
  authority to resolve all disputes arising out of or relating to the interpretation, applicability,
  enforceability or formation of this Agreement, including any claims that all of any part of this
  Agreement is void or voidable.” Section 14.6. The agreement states “the arbitration shall be
  governed by the rules of JAMS that are in effect when the arbitration is filed . . . .” Section 14.6.
  Under the JAMS Rules, jurisdictional and arbitrability disputes, including disputes over the
  formation, existence, validity, interpretation or scope of the agreement under which arbitration
  is sought, and who are proper parties to the arbitration, shall be submitted to and ruled on by
  the arbitrator. The arbitrator has the authority to determine jurisdiction and arbitrability issues
  as a preliminary matter. See, for example, JAMS Streamlined Arbitration Rule 8(b).

  Respondent contends it updated its end user license agreement in April 2022, and the updated
  agreement calls for any “Mass Arbitration” to be administered by FedArb, not JAMS. (The
  updated agreement defines a “Mass Arbitration” as “20 or more demands for arbitration . . .
  filed relating to the same or similar subject matter and sharing common issues of law of fact,
  [where] counsel for the parties submitting the demands are the same or coordinated . . . .”)
  Respondent further argues the updated agreement provides that only a court may resolve
  disagreements over compliance with the agreement’s condition precedent to arbitration, and
  here the parties disagree over compliance. For these reasons, according to Respondent, JAMS
  lacks jurisdiction to administer these claims.
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  Labaton Epson Cases
  April 6, 2023
  Page |2

  In response, Claimants offer a procedural history of their claims and argue they provided their
  claims to Respondent before Respondent updated the agreement. Claimants argue that
  pursuant to the terms of the agreement under which they seek arbitration, Respondent’s
  jurisdictional and arbitrability objections must go to the arbitrator in a given case.

  JAMS notes that the parties mediated these claims in February of this year. JAMS encourages
  the parties to continue to seek a mutually agreeable resolution and to avoid the time and
  expense of arbitrating these claims individually.

  JAMS cannot force any party to participate in arbitration or to pay JAMS fees. However, given
  the terms of the agreement under which Claimants seek arbitration, JAMS will proceed with
  administration of these Demands (the “Arnoff” Demands) upon receipt of the filing fees.
  Respondent may raise its jurisdictional and arbitrability objections with the arbitrators upon
  appointment. Respondent may participate in the arbitrator selection processes without
  waiving any objection stated to date.

  Lastly, the agreement states, “[Respondent] shall pay, or (if applicable) reimburse you for, all
  JAMS filings and arbitrator fees for any arbitration commenced (by you or [Respondent])
  pursuant to provisions of this Agreement.” Accordingly, JAMS will issue an invoice to
  Respondent for the entire amount of the filing fees for these Demands.

  Sincerely,

  /s/ Sheri Eisner

  Sheri Eisner
  Senior Vice President, General Counsel
  Co-Chair, JAMS National Arbitration Committee
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                                                                                                                Invoice Date
DEPOSIT REQUEST                                                                                                 4/7/2023

                                                                                                                Invoice Number
                                                                                                                6612432




Bill To:          Mr. John Baumann Esq.                                                   Reference #:              1601002154 - Rep# 4
                  Quinn Emanuel Urquhart & Sullivan LLP                                   Billing Specialist:       Mindiola, Nicholaus
                  865 S. Figueroa St.                                                     Email:                    nmindiola@jamsadr.com
                  10th Floor                                                              Telephone:                949-224-4626
                  Los Angeles, CA 90017                                                   Employer ID:              XX-XXXXXXX
                  US



RE: Labaton Epson Cases                                                                   Neutral(s):     JAMS 1-JAMS
Representing: Seiko Epson Corporation                                                     Hearing Type: ARBITRATION                                    SN



                                                                                                                                     Your
 Date / Time     Description                                                                                                         Share

4/6/23           JAMS INC                                                                                                          $ 3,666,000.00
                 Filing Fees 1,833 cases x $2,000/each




                                                                                                                Total Billed:      $ 3,666,000.00

                                                                                                         Total Payment:                                $0

                                                                                                                   Balance:        $ 3,666,000.00




Invoice total is based on the fee split agreed upon by all parties. If the case cancels or continues, fees are due per our cancellation and
continuance policy. Please make checks payable to JAMS, Inc. Payment is due upon receipt.

                                                               Click here to pay
                            Standard mail:                                                            Overnight mail:
                           P.O. Box 845402                                                   18881 Von Karman Ave. Suite 350
                        Los Angeles, CA 90084                                                        Irvine, CA 92612

Printed on 4/7/2023 / 1601002154 - Rep# 4                                                                                                     1 of 1
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                                              ID #:265




                                  NOTICE OF CLOSING FILE

  NOTICE TO ALL PARTIES                                                             June 6, 2023


  RE:     Labaton Epson Cases
          Reference #: 1601002154

  Dear Parties:

  This letter is to confirm the above referenced matter is closed as of June 5, 2023 due to lack of payment
  of the filing fees on behalf of Respondent.

  Please contact me should you have any questions.


  Sincerely,


  Sarah Nevins
  Arbitration Practice Manager
  snevins@jamsadr.com
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                             EXHIBIT K
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                                                          ID #:267

Schlow, Alexander F.

From:                                    Waisnor, Jonathan
Sent:                                    Friday, May 19, 2023 4:24 PM
To:                                      Jack Baumann; Sarah Nevins; Shon Morgan
Cc:                                      Heitmann, Brandon; Gardner, Jonathan; Dweck, Morris S.; Schlow, Alexander F.
Subject:                                 Re: [EXTERNAL]RE: Labaton Epson Cases - JAMS Ref No. 1601002154


Dear Ms. Nevins,

We represent the Claimants in this matter and write to provide you with an update. We appreciate Mr. Baumann's
confirmation that Epson is not planning to pay the filing fees for the Claimants they have named as defendants in
the Arnoff matter. We have separately conveyed to Epson our position that they are in material breach of the
arbitration agreement, and our intention to assert the Claimants’ rights under Cal. Civ. Proc. 1281.97 and 1281.99 to
seek relief for this material breach. We disagree with Epson's position that there are any threshold jurisdictional issues
for the court to resolve or that JAMS cannot resolve any disputes about formation or delegation. We will otherwise
wait to hear from JAMS on next steps for the Arnoff Claimants.

We also filed demands on behalf of the 2,161 Adams Claimants but asked JAMS to hold those arbitrations in abeyance
while we met and conferred with them on the issues raised in their letters. However, in light of Epson’s default, we are
withdrawing the Adams Claimants' demands for arbitration without prejudice. The list of Adams Claimants are on the
attached spreadsheet.

Also, would you please keep my colleagues Alex Schlow and Morris Dweck copied on all further correspondence related
to these matters?

Enjoy your weekend.

From: Jack Baumann <jackbaumann@quinnemanuel.com>
Sent: Friday, May 19, 2023 2:02 PM
To: Sarah Nevins <snevins@jamsadr.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Cc: Heitmann, Brandon <BHeitmann@labaton.com>; Waisnor, Jonathan <JWaisnor@labaton.com>; Gardner, Jonathan
<JGardner@labaton.com>
Subject: [EXTERNAL]RE: Labaton Epson Cases - JAMS Ref No. 1601002154

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Ms. Nevins,
Epson maintains the view, as explained in its March 13 and March 29, 2023 letters, that JAMS lacks jurisdiction over
these claims, including with respect to the initial formation and delegation disputes at issue. Consistent with that
position, Epson promptly filed a declaratory action to address these issues in Orange County Superior Court. Epson
respectfully declines to advance non-recoverable filing fees pending judicial resolution of that threshold jurisdictional
issue. Epson reserves all rights and waives none.
Best,

Jack Baumann
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3169 Office
310-245-9886 Cell

                                                                  1
      Case 8:24-cv-01996-FWS-DFM                                Document 1-1 Filed 09/16/24                              Page 230 of 351 Page
                                                                     ID #:268
213-443-3100 Fax
jackbaumann@quinnemanuel.com
www.quinnemanuel.com

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From: Sarah Nevins <snevins@jamsadr.com>
Sent: Friday, May 19, 2023 5:47 AM
To: Jack Baumann <jackbaumann@quinnemanuel.com>; Shon Morgan <shonmorgan@quinnemanuel.com>
Cc: bheitmann@labaton.com; jwaisnor@labaton.com; jgardner@labaton.com
Subject: RE: Labaton Epson Cases - JAMS Ref No. 1601002154

                                                     [EXTERNAL EMAIL from snevins@jamsadr.com]


Good Morning Counsel.

I am writing to follow up regarding the filing fee on behalf of Respondent in the above referenced matter. Please advise
as to payment status.

Thank you,
Sarah




                                          Sarah Nevins
                                          Arbitration Practice Manager – East/Central

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From: Sarah Nevins
Sent: Friday, May 5, 2023 8:13 AM
To: jackbaumann@quinnemanuel.com; shonmorgan@quinnemanuel.com
Cc: bheitmann@labaton.com; jwaisnor@labaton.com; jgardner@labaton.com
Subject: RE: Labaton Epson Cases - JAMS Ref No. 1601002154

Good Morning Counsel.

I am writing to follow up regarding the filing fee on behalf of Respondent in the above referenced matter. Please advise
as to payment status.

Thank you,
Sarah

                                                                                  2
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                               Sarah Nevins
                               Arbitration Practice Manager – East/Central

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From: Sarah Nevins
Sent: Friday, April 21, 2023 8:16 AM
To: 'jackbaumann@quinnemanuel.com' <jackbaumann@quinnemanuel.com>; 'shonmorgan@quinnemanuel.com'
<shonmorgan@quinnemanuel.com>
Cc: 'bheitmann@labaton.com' <bheitmann@labaton.com>; 'jwaisnor@labaton.com' <jwaisnor@labaton.com>;
'jgardner@labaton.com' <jgardner@labaton.com>
Subject: RE: Labaton Epson Cases - JAMS Ref No. 1601002154

Good Morning Counsel.

I am writing to follow up regarding the filing fee on behalf of Respondent in the above referenced matter. Please advise
as to payment status.

Thank you,
Sarah

                               Sarah Nevins
                               Arbitration Practice Manager – East/Central

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From: Sarah Nevins
Sent: Friday, April 7, 2023 11:03 AM
To: jackbaumann@quinnemanuel.com; shonmorgan@quinnemanuel.com
Cc: bheitmann@labaton.com; jwaisnor@labaton.com; jgardner@labaton.com
Subject: Labaton Epson Cases - JAMS Ref No. 1601002154

Counsel:

Attached please find Respondent’s filing fee invoice for the 1,833 filings in the above referenced matter.

                                                              3
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                                           ID #:270
Thank you,
Sarah



                     Sarah Nevins
                     Arbitration Practice Manager – East/Central

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                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                9
                                                          COUNTY OF ORANGE
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              11 EPSON AMERICA, INC.,                                       CASE NO. 30-2023-01315890-CU-MC-
                 Plaintiff,                                                 CXC
              12
                 versus                                                     ]PROPOSED] ORDER GRANTING
              13                                                            DEFENDANTS’ MOTION FOR CLASS
                                                                            CERTIFICATION
              14 GRAESEN ARNOFF, an individual, et al.,
                 Defendants.
              15                                                            Assigned for All Purposes to:
                                                                            Hon. Lon F. Hurwitz, Dept. CX103
              16                                                            Date Action Filed: March 10, 2023

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                             [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR CLASS CERTIFICATION
                                                Case No. 30-2023-01315890-CU-MC-CXC
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  1          Defendants’ Motion for Class Certification pursuant to California Code of Civil Procedure

  2 §382 came before this Court for hearing on August 4, 2023, at 1:30 p.m. Having reviewed the

  3
      arguments of counsel, the papers submitted by the parties, and the pleadings and records on file
  4
      herein, the Court finds that:
  5
             1.      The Class members are ascertainable, and it is impracticable to bring all of them
  6
                     before the Court;
  7

  8          2.      There are common questions of law and fact at issue here that predominate over

  9                  other questions;
 10          3.      The claims against the Proposed Class Representatives, Michelle Churchill and
 11
                     Fernando Hernandez, (“Class Representatives”), are typical of the claims for the
 12
                     Class;
 13
             4.      Class Representatives and their counsel will fairly and adequately represent and
 14

 15                  protect the interests of the proposed Class; and

 16          5.      A Defendant class is the superior method of proceeding with the claims that are

 17                  being litigated in this Action.
 18 Based on the foregoing, and good cause appearing therefore,
 19
      IT IS HEREBY ORDERED:
 20
             1.      Defendants Motion for Class Certification is hereby GRANTED. This Action shall
 21
                     be maintained against a Defendant class on behalf of all persons who were named as
 22

 23                  Defendants by Plaintiff in the instant action;

 24          2.      Michelle Churchill and Fernando Hernandez are appointed Class Representatives;

 25                  and
 26
             3.      Labaton Sucharow are appointed as Class Counsel.
 27

 28
                                                         2
             [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO FOR CLASS CERTIFICATION
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  1

  2 DATED: _________________             ___________________________________________
                                         HONORABLE LON HURWITZ
  3
                                         CALIFORNIA SUPERIOR COURT JUDGE
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          [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO FOR CLASS CERTIFICATION
                              Case No. 30-2023-01315890-CU-MC-CXC
            Electronically Filed by Superior Court of California, County of Orange, 06/07/2023 06:48:00 PM.
     Case 8:24-cv-01996-FWS-DFM
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                                                         ID #:274



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           San Diego, CA 92101
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         5
             Jonathan Waisnor (CA 345801)
         6
             Jonathan Gardner (Pro Hac Vice Application Pending)
         7   Alexander Schlow (Pro Hac Vice Application Pending)
             Morris Dweck (Pro Hac Vice Application Pending)
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         9   New York, NY 10005
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        10
             jwaisnor@labaton.com
        11

        12
                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
        13
                                                      COUNTY OF ORANGE
        14
           EPSON AMERICA, INC.,                                        CASE NO.: 30-2023-01315890-CU-MC-CXC
        15 Plaintiff,
                                                                       MEMORANDUM OF POINTS AND
        16                                                             AUTHORITIES IN SUPPORT OF
             versus
                                                                       DEFENDANTS’ MOTION FOR CLASS
        17                                                             CERTIFICATION
           GRAESEN ARNOFF, an individual, et al.,
        18 Defendants.                                                 Assigned for All Purposes to:
        19                                                             Hon. Lon F. Hurwitz
                                                                       Date Action Filed: March 10, 2023
        20

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                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                                         MOTION FOR CLASS CERTIFICATION
                                        Case No. 30-2023-01315890-CU-MC-CXC
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 20    2022 WL 19574610 (2022) ..................................................................................................11
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    Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp.,
 22     559 U.S. 662 (2010) ............................................................................................................14

 23 Vasquez v. Superior Court,
       4 Cal. 3d 800 (1971) ...................................................................................................... 14, 15
 24
    Statutes
 25
    California Code of Civil Procedure §382 ............................................................................. 1, 3, 6
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 28                                                                      iii
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  1          Pursuant to California Code of Civil Procedure §382, Defendants Michelle Churchill and

  2 Fernando Hernandez, for themselves and on behalf of all other named and unnamed defendants in

  3 this action (together, “Defendants”) respectfully submit this memorandum in support of their Motion

  4 for Certification of a Defendant Class (“Motion”). 1

  5 I.       INTRODUCTION

  6          Here, as in the related action filed by plaintiff Epson America, Inc. (“Plaintiff” or “Epson”)

  7 captioned Epson America, Inc. v. Matt Adams, et al., No. 30-2023-01313431-CU-MC-CXC (“Adams

  8 Action”) 2, Epson is attempting to use an unfounded declaratory judgment action to escape its

  9 contractual duty to arbitrate with Defendants under an agreement Epson itself drafted and has

 10 repeatedly relied on to compel related disputes to arbitration. Indeed, JAMS – the arbitrator selected

 11 by Epson in drafting its agreement with customers – has already concluded that disputes between

 12 Epson and Defendants, including disputes over the specific legal issues raised in Epson’s complaint

 13 here, should proceed before JAMS, and not before this Court or FedArb. See Declaration of Jonathan

 14 Waisnor (“Waisnor Declaration” or “Waisnor Dec.”), Exh. G (“April 6 JAMS Notice”). Pursuant to

 15 the Epson-drafted arbitration agreement in question, JAMS invoiced Epson for the initiation fees for

 16 Defendants’ arbitrations on April 7, 2023. Waisnor Dec., Exh. H. Epson, in material breach of its

 17 contractual obligations and in violation of Cal. Civ. P. § 1281.97-99, refused to pay this invoice,

 18 resulting in administrative closure of Defendants’ arbitrations. 3         Id., ¶¶22-23 and Exhs. I, J.
 19 Certification of a defendant class in this action will permit the court and the parties to return this

 20 action to the proper arbitral forum without subjecting individual Defendants to purposeless

 21 harassment and expense and this court to the burden of adjudicating thousands of individual disputes.

 22

 23

 24   1
        Unless otherwise noted, citations and internal quotation marks are omitted, and emphasis is added.
      2
        Counsel for Defendants also represents all defendants in the Adams Action, and a motion for
 25
      certification of a defendant class in that related action is being filed and served concurrently herewith.
 26   The Court is respectfully referred to the Adams defendants’ papers in support of class certification
      for further information relevant to both actions.
 27   3
        Defendants anticipate filing a motion for sanctions based on Epson’s violation of § 1281.97 et seq.
      in short order.
 28                                                         1
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  1          Indeed, in multiple prior litigations involving these exact practices, Epson vigorously argued

  2 that disputes between it and its customers belonged before JAMS. See Galgon v. Epson America,

  3 Inc., No. 2:2021-cv-01794, 2021 U.S. Dist. LEXIS 193142 at *6-*7 (C.D. Cal. June 16, 2021);

  4 Mondigo et al. v. Epson America, Inc., Case No. 20-cv-4400, 2020 U.S. Dist. LEXIS 252136 (C.D.

  5 Cal. Oct. 13, 2020). In so doing, Epson stated that: “Plaintiffs should not be permitted to ignore their

  6 arbitration agreements, file a lawsuit in federal court, and force Epson to participate in litigation in

  7 violation of the terms of the parties’ agreements.” Waisnor Dec., Exh. B (“Mondigo Motion to

  8 Compel”) at 12. Epson further argued – by citation to JAMS rules – that “disputes over the formation,

  9 existence, validity, interpretation or scope of the agreement under which Arbitration is sought” were

 10 “reserved for the arbitrator,” “and not a court.” Waisnor Dec., Exh. C (Mondigo Reply) (emphasis in

 11 original). Epson’s motions before the District Court were successful. 2021 U.S. Dist. LEXIS 193142

 12 at *6-*7; 2020 U.S. Dist. LEXIS 252136.

 13          Epson’s individualized joinder of the 1,833 named defendants here, along with potentially

 14 thousands of as-yet-unnamed Doe Defendants residing in dozens of different states, is entirely

 15 impracticable, constitutes a violation of its own user agreement, and is intended only to harass

 16 Defendants. Further, all of the major legal issues in this case - whether Plaintiff’s claims that an

 17 updated version of its user agreement applies to Defendants were delegated, whether Epson is

 18 judicially estopped from denying enforcement of its own arbitration clause, whether Epson should be
 19 sanctioned for its failure to pay arbitration fees, and whether Epson has properly alleged sufficient

 20 facts giving it a right to the relief it seeks – are common to every single member of the proposed class,

 21 and requiring individualized responses (and attendant appearance fees) from each and every

 22 Defendant before adjudicating these common issues is a waste of party and judicial resources. The

 23 proposed lead defendants, Michelle Churchill and Fernando Hernandez, are typical of the entire class,

 24 and their defenses adequately represent those of the entire set of Defendants. See Waisnor Dec., Exhs.

 25 K, L. Finally, as in the Adams action, all defendants are already represented by the same counsel well

 26 versed in litigating class actions, such that the proposed lead defendants and Defendants’ counsel will

 27 adequately protect the interests of all absent class members. Waisnor Dec., ¶¶2-3, Exhs. M, N.

 28                                                     2
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  1            Epson’s decision to prosecute this action against hundreds of its customers via joinder of

  2 individual claims, despite its prior position that such disputes belong in arbitration, and despite an

  3 arbitral forum originally chosen by Epson already concluding that the issues raised by Epson are

  4 properly for an arbitrator and not this Court, reveal this action for what it is – an attempt by Epson to

  5 change the rules mid-game and subject Defendants to the expense and burden of defending this

  6 meritless litigation despite properly asserting their right to arbitration before JAMS. This court should

  7 reject Epson’s misuse of the court system and certify a defendant class so that it can quickly and

  8 efficiently return these disputes to arbitration. Accordingly, pursuant to California Code of Civil

  9 Procedure §382, Defendants move the Court to: (1) certify a class of all named and unnamed

 10 Defendants in this action; (2) appoint Michelle Churchill and Fernando Hernandez as class

 11 representatives; and (3) appoint Labaton Sucharow LLP (“Labaton”) and Scott+Scott Attorneys at

 12 Law LLP (“Scott+Scott”) as Class Counsel.

 13 II.        BACKGROUND

 14            A.      Factual Background

 15            Epson is one of the largest printer companies in the world. As the American subsidiary of

 16 Seiko Epson Corporation, a Japanese corporation, Epson is responsible for selling and marketing

 17 Epson printers in the United States. Complaint4, ¶9. Epson manufactures both printers and ink

 18 cartridges. Consumers can purchase printers or ink cartridges either directly from Epson or from other
 19 retailers. Ink cartridges are a vital source of revenue for printer companies like Epson. Epson’s

 20 original equipment manufacturer (“OEM”) replacement ink ranges from $10-$150 per cartridge, with

 21 most printers requiring four cartridges to work; third-party ink is typically much cheaper.

 22            Epson printer owners must agree to Epson’s End User Software License Agreement (“SLA”) 5

 23 when purchasing and first setting up an Epson Printer. Complaint, ¶12. Under the terms of Epson’s

 24 SLA, Epson printer owners authorized Epson to access their printers to apply fixes and upgrades to

 25
    4
      References to the “Complaint” are to Epson’s Complaint for Declaratory and Injunctive Relief in
 26 this action filed on or about March 10, 2023.

 27   5
          A copy of the SLA is annexed as Exhibit A to the Waisnor Declaration.
 28                                                     3
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  1 improve the printer’s performance. The SLA further requires that any disputes between Epson and

  2 its customers, including questions regarding jurisdiction or arbitrability, be decided by arbitration

  3 before JAMS. (SLA at 14).

  4          Defendants here and in the related Adams Action (together, “Claimants”) are Epson printer

  5 owners who allege that they wish to use cheaper third-party ink in their printers, but can no longer do

  6 so because Epson pushed unilateral firmware updates onto their printers that rendered them

  7 incompatible with third-party ink cartridges. Waisnor Dec., ¶3.

  8          The plaintiffs in Mondigo et al. v. Epson America, Inc., Case No., 20-cv-4400 (C.D. Ca. 2020)

  9 brought a putative class action against Epson alleging harm to Epson customers based on these same

 10 wrongful practices. Rather than defending that action in court on the merits, Epson, represented by

 11 the same counsel that is representing it in this case, successfully moved to stay the action and to

 12 compel the claims to arbitration. See generally Mondigo, 2020 U.S. Dist. LEXIS 252136 (C.D. Cal.

 13 Oct. 13, 2020). In making that motion, Epson forcefully argued that the same SLA at issue in this

 14 action “clearly and unmistakably delegate[s] issues of arbitrability to the arbitrator,” including

 15 “whether the parties have agreed to arbitrate or whether their agreement covers a particular

 16 controversy.” Mondigo Motion to Compel at 6-7. Epson further argued, contrary to its position in

 17 this action, that the question of whether the plaintiffs in Mondigo “entered into valid arbitration

 18 agreements” was “not an issue for the court.” Id. at 8 (“Because disputes regarding the existence,
 19 scope and validity of the arbitration agreements are reserved for the arbitrator, the Court need not

 20 address these issues.”). Id. Epson further argued that the SLA “incorporate[s] the JAMS rules,”

 21 which rules “provide the arbitrator, and not a court, shall resolve disputes over the formation,

 22 existence . . . or scope of the agreement under which Arbitration is sought.” Waisnor Dec., Exh. C

 23 at 5-6 (Mondigo Reply). Epson has in fact continued to arbitrate the Mondigo plaintiffs’ claims, as

 24 confirmed by case status reports it has since filed in the District Court. See, e.g., Waisnor Dec., Exh.

 25 D. Epson made substantially the same arguments in another class action, Galgon v. Epson America

 26 Inc., No. 2:2021-cv-01794 (C.D. Cal. 2021), less than a year later. As Epson put it, disputes like

 27 those of Defendants here “do[] not belong in court.” Waisnor Dec., Exh. E at 1.

 28                                                     4
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  1          Defendants here concur with Epson’s previous position that the issues of the applicable

  2 arbitration provision raised by Epson’s complaint here should be decided by JAMS. Epson is

  3 judicially estopped from arguing otherwise. Accordingly, in August and September 2022, pursuant

  4 to the notice requirements of the SLA, Claimants informed Epson of the nature and facts underlying

  5 their claims, and of their intent to seek arbitration of those claims before JAMS. Waisnor Dec., ¶13.

  6          Following a period of negotiation and information exchange, including an unsuccessful

  7 mediation before a JAMS mediator, Claimants contacted JAMS and requested that arbitrations be

  8 opened against Epson. Id., ¶¶14-15. Epson agreed that some Claimants had agreed to its SLA (and

  9 thus that they and Epson were bound to the arbitration provision therein), but contended that, because

 10 it had purportedly unilaterally amended that SLA (many months after it was noticed of the claims) to

 11 change the relevant arbitration provider to FedArb (“Amended SLA”) and to impose administrative

 12 exhaustion requirements before consumers could commence arbitration, arbitrations against it should

 13 not move forward before JAMS. Id., ¶14. In the case of a so-called “Mass Arbitration,” the Amended

 14 SLA purportedly requires claimants to bring their claims before FedArb rather than JAMS. Id., ¶14;

 15 Complaint ¶¶5-6 and Exh. 1. However, Epson did not identify any specific claimant it asserted was

 16 bound by the Amended SLA, or provide any evidence that any particular claimant had agreed to, or

 17 even been notified of, the Amended SLA. Waisnor Dec., ¶14. Claimants disputed the validity and

 18 application of the Amended SLA to their claims. Waisnor Dec., ¶14.
 19          Upon receiving the complaint in this action and the related Adams action, Claimants suggested

 20 that a single procedural arbitrator be appointed to facilitate a good-faith information exchange to

 21 verify the existence of an arbitration agreement between Defendants in this action and Epson. Id.,

 22 ¶¶18-19. Epson declined. Id., ¶19.

 23          However, Defendants in this action continued to seek arbitration, and on April 6, 2023, JAMS

 24 rejected Epson’s argument that the Arnoff Claimants’ arbitrations should not move forward before

 25 JAMS. Id., ¶21. JAMS correctly recognized that the issue raised by Epson in this action – which

 26 version of the SLA controls the parties’ dispute – was properly decided by the arbitrator rather than

 27 this Court.    See Waisnor Dec., ¶20; April 6 JAMS Notice at 2 (“JAMS will proceed with

 28                                                    5
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  1 administration of . . . the ‘Arnoff’ Demands . . . . [Epson] may raise its jurisdictional and arbitrability

  2 objections with the arbitrators upon appointment.”). JAMS determined that it would proceed with

  3 arbitration of Defendants’ claims, and on April 7, 2023, JAMS invoiced Epson for the case initiation

  4 fees for the Arnoff Claimants’ arbitrations, which it is obligated to pay under the SLA. Waisnor Dec.,

  5 ¶21 and Exh. H. Epson affirmatively confirmed that it did not intend to pay, and on June 6, 2023,

  6 JAMS administratively closed the Arnoff Claimants’ arbitrations because of nonpayment of fees. Id.

  7 ¶¶22-23 and Exhs. I, J. As of the date of this Motion, Epson is in material breach of the SLA, and

  8 subject to sanctions for that breach as a matter of law under Cal. Civ. Pro. § 1281.97-99. Id. Epson

  9 has continued to press this action despite its confirmed contractual and legal duty to pay the relevant

 10 initiation fees and arbitrate before JAMS. Id.

 11 III.     THE COURT SHOULD GRANT CLASS CERTIFICATION

 12          A.      Legal Standard

 13          A class may be certified “when the question is one of a common or general interest, of many

 14 persons, or when the parties are numerous, and it is impracticable to bring them all before the court.”

 15 C.C.P. §382. “Drawing on [the language of §382] and federal precedent,” the California Supreme

 16 Court “ha[s] articulated clear requirements for the certification of a class.” Brinker Rest. Corp. v.

 17 Super. Ct., 53 Cal. 4th 1004, 1021 (2012). “The party advocating class treatment must demonstrate

 18 the existence of an ascertainable and sufficiently numerous class, a well‐defined community of
 19 interest, and substantial benefits from certification that render proceeding as a class superior to the

 20 alternatives.” Id. The “community of interest” requirement embodies three factors: “(1) predominant

 21 common questions of law or fact; (2) class representatives with claims or defenses typical of the class;

 22 and (3) class representatives who can adequately represent the class.” Richmond v. Dart Indus., Inc.,

 23 29 Cal. 3d 462, 470 (1981) (citing C.C.P. §1781(b)).

 24          Although less common than plaintiff classes, “there is nothing unprecedented about a

 25 defendant class,” and “California has . . . long recognized defendant classes.” Farwell v. Sunset Mesa

 26 Property Owners Assn., Inc., 163 Cal. App. 4th 1545, 1550-51 (2008) (collecting cases). Certification

 27 of a defendant class is appropriate provided that the above three requirements are met, so long as

 28                                                      6
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  1 “careful scrutiny is given to preserving the safeguards of adequate representation, notice and

  2 standing.” Simons v. Horowitz, 151 Cal. App. 3d 834, 845 (1984). As set forth below, such

  3 safeguards are amply provided for here, and the proposed defendant class should be certified.

  4          B.      The Elements of Class Certification are Easily Satisfied

  5                  1.      The Class Is Ascertainable

  6          “A class is ascertainable if it identifies a group . . . by describing a set of common

  7 characteristics sufficient to allow a member of that group to identify himself or herself [as part of the

  8 class] … based on the description.” Medrazo v. Honda of N. Hollywood, 166 Cal. App. 4th 89, 101

  9 (2008). “As long as the potential class members may be identified without unreasonable expense or

 10 time and given notice of the litigation, and the proposed class definition offers an objective means of

 11 identifying those persons who will be bound by the results of the litigation, the ascertainability

 12 requirement is met.” Id. (class was ascertainable where “the potential class members may easily be

 13 identified by reference to [defendant’s] sales records”).

 14          Here, as in Adams, Plaintiff has specifically named 1,833 members of the class, all of whom

 15 were represented by Labaton before the filing of this action. Complaint, ¶¶1, 10. Further, again just

 16 as in Adams, Plaintiff has provided a basis for an ascertainable class definition in its own definition

 17 of the unnamed Doe Defendants: “individuals who, through their counsel at Labaton Sucharow have

 18 commenced or . . . have threatened to commence binding arbitration against Epson in JAMS in
 19 California.” Id., ¶11. Although Defendants dispute that there is any possibility that Epson could

 20 reasonably believe additional defendants exist without also knowing their identities 6, Epson’s

 21 approach to the Doe Defendants demonstrates that the following class definition would encompass

 22 all possible defendants here:

 23

 24   6
      It is not credible that Epson cannot identify all defendants at this time since it could gather the same
    information on the Doe Defendants as it did for the Arnoff Defendants and Adams Defendants.
 25 Nevertheless, a proposed class representative “need not identify the individual members of the class
    at the class certification stage.” Medrazo, 166 Cal. App. 4th at 101 (citing Daar v. Yellow Cab Co.,
 26 67 Cal. 2d 695, 706 (1967)); see also Reyes v. Bd. of Supervisors, 196 Cal. App. 3d 1263, 1274 (1987)
    (“it is firmly established [that] a plaintiff is not required at [the class-certification] stage of the
 27 proceedings to establish the existence and identity of class members”).

 28                                                      7
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  1                 All individuals who: (i) are represented by Labaton Sucharow LLP; (ii)
                    assert that they have a claim against Epson due to Epson’s allegedly
  2                 wrongful use of firmware updates to remove their printers’ capability to use
                    cheaper third-party ink refills; and who (iii) Epson concedes are parties to
  3
                    an agreement to arbitrate with it but contends must bring arbitrations
  4                 relating to such firmware updates before FedArb rather than JAMS.

  5          A class so defined would be readily ascertainable, with over 1,800 members already specified
  6 by name and the rest ascertainable by counsel. Accordingly, this prong of the test for certification is

  7 met.

  8                 2.      The Class Is Sufficiently Numerous
  9          A class action is proper where the parties are numerous and it is impracticable to bring them
 10 all before the court. Sav-On Drug Stores, Inc. v. Super. Ct., 34 Cal. 4th 319, 326 (2004); see also

 11 Daar, 67 Cal. 2d at 695 (certifying class of several thousand class members); B.W.I. Custom Kitchen

 12 v. Owens-Illinois, Inc., 191 Cal. App. 3d 1341, 1355 (1987) (same). The numerosity requirement is

 13 “indefinite and has been construed liberally.” Hendershot v. Ready to Roll Transp., Inc., 228 Cal.

 14 App. 4th 1213, 1222 (2014). “No set number is required as a matter of law for the maintenance of a

 15 class action.” Id. Indeed, California courts have certified classes with as few as ten members. Id.

 16          The class here numbers at least 1,833 individuals, residing in several states. Joinder of this
 17 number of individual claims, as Epson has attempted here, is facially impracticable, especially

 18 considering the predominance of common issues set forth below. The proposed class is thus
 19 sufficiently numerous. See, e.g., Richmond, 29 Cal. 3d at 478 (joinder of all potential plaintiffs not

 20 practicable in a case involving the buyers of over 2,600 lots). Indeed, much smaller classes have been

 21 held to be sufficiently numerous. See Hebbard v. Colgrove, 28 Cal. App. 3d 1017, 1030 (1972) (28

 22 members sufficient); Occidental Land, Inc. v. Superior Court of Orange County, 18 Cal. 3d 355,

 23 (1976) at 364 n.7 (150 members sufficient).

 24                 3.      The Class Shares a Well-Defined Community of Interest
 25          In evaluating certification of a proposed class, California courts evaluate whether that class
 26 shares a well-defined community of interest. Such a community of interest is established by fulfilling

 27 three requirements: “(1) predominant common questions of law or fact; (2) class representatives with

 28                                                    8
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  1 claims or defenses typical of the class; and (3) class representatives who can adequately represent the

  2 class.” Brinker, 53 Cal. 4th at 1021. Each of these elements is met here.

  3                         a.      Common Questions Predominate

  4          Predominance is established when “common questions are sufficiently pervasive to permit

  5 adjudication in a class action rather than in a multiplicity of suits” and “the legal claims arise out of

  6 a common set of factual circumstances.” Reyes, 196 Cal. App. 3d at 1277; see also Miller v. Woods,

  7 148 Cal. App. 3d. 862, 874 (1983). “Common issues predominate when they would be the principal

  8 issues in any individual action, both in terms of time to be expended in their proof and of their

  9 importance.” Carter v. City of Los Angeles, 224 Cal. App. 4th 808, 818 (2014) (quoting Vasquez v.

 10 Superior Court, 4 Cal. 3d 800, 810 (1971)). Where “issues which may be jointly tried” are sufficiently

 11 “substantial to make the class action advantageous to the judicial process and to the litigants,” the

 12 predominance requirement is met. Id. Such issues need not be the only kind of issues in the case; “it

 13 has never been the law in California that the class representative must have identical interests with

 14 the class members. The only requirements are that common questions of law and fact predominate

 15 and that the class representative be similarly situated.” B.W.I., 191 Cal. App. 3d at 1347.

 16          Here, nearly every single question of law or fact is common to the entire proposed class.

 17 Whether this entire action must be dismissed in favor of active JAMS arbitration; whether Plaintiff’s

 18 conduct in refusing to pay JAMS fees and participate in arbitration is sanctionable; whether Epson’s
 19 assertion that the Amended SLA applies has been delegated to the arbitrator rather than this Court;

 20 the legal sufficiency of Epson’s complaint; whether Epson is judicially estopped from pursuing this

 21 action based on its representations to and positions taken before the federal court in Mondigo and

 22 Galgon – all of these issues (many of them dispositive) are best adjudicated on a class-wide basis.

 23 Notably, Epson itself claims that it “does not seek to deprive its consumers access to the arbitration

 24 proceedings to which they are entitled,” and agrees that the substance of Defendants’ claims against

 25 it must be arbitrated. Complaint, ¶ 5.

 26          Defendants anticipate a class-wide motion to dismiss or stay this action in favor of

 27 proceedings before JAMS, a class-wide motion for sanctions for Epson’s failure to pay the contracted

 28                                                     9
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  1 JAMS initiation fees, and a class-wide general demurrer to Epson’s complaint. Defendants will argue

  2 that, as Epson itself has previously successfully argued, the issues it raises in this action are

  3 unquestionably for the arbitrator rather than the courts, the same conclusion JAMS reached when it

  4 considered this issue months ago. See generally April 6 JAMS Notice.

  5          Defendants will further argue that Epson is estopped from taking a position here inconsistent

  6 with its position in the Mondigo and Galgon actions and accordingly is bound to its position there –

  7 that claims like those of Defendants are properly before JAMS. In Mondigo and Galgon, Epson

  8 forcefully argued that “whether the parties have agreed to arbitrate” is a question reserved for the

  9 arbitrator and not the courts. See Mondigo Motion to Compel; Mondigo Reply; Galgon Motion to

 10 Compel. In such circumstances, judicial estoppel “prevents” Epson from “asserting a position in

 11 [this] legal proceeding that is contrary to a position previously taken in the same or some earlier

 12 proceeding [i.e., Mondigo and Galgon].” Bd. of Pilot Commissioners v. Superior Court, 218 Cal. App.

 13 4th 577, 591 (2013). Indeed, with respect to the Claimants named as defendants in the related Arnoff

 14 action, JAMS itself concluded that “jurisdictional and arbitrability disputes, including disputes over

 15 the formation, existence, validity, interpretation or scope of the agreement under which arbitration is

 16 sought . . . shall be submitted to and ruled on by the arbitrator.” April 6 JAMS Notice at 2. Thus,

 17 common questions as to whether this case must be dismissed in favor of arbitration, and as to whether

 18 Epson is estopped from arguing otherwise, predominate over any individualized ones here.
 19          Finally, Defendants will seek sanctions against Epson for its refusal to pay arbitration fees

 20 under Cal. Civ. P. § 1281.97-99. JAMS transmitted its invoice to Epson on April 7, 2023. See

 21 Waisnor Dec. ¶21 and Exh. H. Cal. Civ. Proc. § 1281.97(a)(1) provides that, “[i]n an employment

 22 or consumer arbitration that requires . . . the drafting party to pay certain fees and costs before the

 23 arbitration can proceed, if the fees or costs to initiate an arbitration proceeding are not paid within 30

 24 days after the due date the drafting party is in material breach of the arbitration agreement.” Section

 25 1281.97(b)(2) empowers Defendants to “[c]ompel arbitration in which [Epson] shall pay reasonable

 26 attorney’s fees and costs related to the arbitration.” Further, Section 1281.97(d) requires a court,

 27 upon motion, to “impose sanctions on [Epson] in accordance with Section 1281.99,” which must

 28                                                     10
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  1 include “the reasonable expenses, including attorney’s fees and costs, incurred by” Defendants. The

  2 court may also impose terminating sanctions, including striking pleadings or precluding the breaching

  3 party, here Epson, from seeking discovery. Cal. Civ. P. § 1281.99(b).

  4          It has now been almost two months since Epson received JAMS’s invoice, far more than the

  5 30 days permitted under Section 1281.97, and JAMS has administratively closed Defendants’

  6 arbitrations due to Epson’s nonpayment. Waisnor Dec., Exh. J. Courts have consistently held that

  7 Sections 1281.97 and 1281.99, and sanctions thereunder, are enforceable against California

  8 corporations such as Epson, are not preempted by the Federal Arbitration Act, and absent

  9 extraordinary circumstances require the imposition of mandatory sanctions where, as here, a corporate

 10 defendant has willfully failed to comply with its obligation to pay arbitration fees. See, e.g., Gallo v.

 11 Wood Ranch USA Inc., 81 Cal. App. 5th 621, 633-37 (2022) (affirming sanctions for failure to timely

 12 pay arbitration fees and rejecting federal preemption argument). California courts have imposed

 13 sanctions in far less egregious circumstances. Espinoza v. Superior Court, 83 Cal. App. 5th 761, 776

 14 (2022) (declining to excuse a party from sanctions despite inadvertent failure to pay arbitral fees

 15 because “the Legislature intended the statute to be strictly applied whenever a drafting party failed to

 16 pay by the statutory deadline”); Speck v. Coastal Massage Santa Barbara, 2022 WL 19574610 at *3-

 17 *4 (2022) (declining, under Espinoza and Section 1281.97, to excuse payment of arbitration fees

 18 made a single day late).
 19          Thus, the instant action will be entirely decided on common questions of law and fact; it is

 20 difficult to imagine any situation where individual questions would change the outcome for any given

 21 Defendant. Accordingly, the predominance requirement is met. See, e.g., Brinker, 53 Cal. 4th at

 22 1022 (“[I]f the defendant’s liability can be determined by facts common to all members of the class,

 23 a class will be certified even if the members must individually prove their damages.”); Miller 148

 24 Cal. App. 3d. at 874: Carter, 224 Cal. App. 4th at 818.

 25                         b.      The Proposed Class Representatives’ Claims Are Typical

 26          Typicality requires only that the proposed representative’s interests be significantly similar to

 27 those of other class members. See Richmond, 29 Cal. 3d at 470-75; Classen v. Weller, 145 Cal. App.

 28                                                     11
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  1 3d 27, 46 (1983). “The typicality requirement is meant to ensure that the class representative is able

  2 to adequately represent the class and focus on common issues.” Medrazo, 166 Cal. App. 4th at 99.

  3 This does not require that the representative’s claims or defenses be “identical” with the claims of

  4 other class members. Rather, “[t]he only requirements are that common questions of law and fact

  5 predominate and that the class representative be similarly situated.” Classen, 145 Cal. App. 3d at 46;

  6 see also Daar, 67 Cal. 2d at 709 (all issues involved in the case need not be common to all class

  7 members for the class to be certified).

  8          Here, the Court should appoint Michelle Churchill and Fernando Hernandez as Class

  9 representatives because their defenses, and the facts underlying those defenses, are typical of the

 10 entire class.    As set forth in detail in their declarations, annexed as exhibits K (“Churchill

 11 Declaration”) and L (“Hernandez Declaration”) to the Waisnor Declaration, these proposed

 12 representatives each owned an Epson printer, wished to use cheaper non-OEM ink in that printer, and

 13 were prevented from doing so by Epson’s firmware update. See Churchill Declaration, ¶¶2-3 and

 14 Exh. A.; Hernandez Declaration ¶¶2-3 and Exh. A. They assert that they agreed to Epson’s SLA, as

 15 Epson concedes, and assert that the original version of the SLA applies to their claims. See Churchill

 16 Declaration, ¶¶2-3 and Exh. A; Hernandez Declaration ¶¶2-3 and Exh. A; Waisnor Dec., ¶¶2-4. Their

 17 defenses, positions, and entitlement to affirmative relief from this Court are the same as the remaining

 18 class of Defendants, as set forth above. Accordingly, Epson’s claims against them turn upon the very
 19 legal theories, and present the same central legal issues, as those of the rest of the proposed class.

 20 Thus, the typicality requirement is satisfied. See Medrazo, 166 Cal. App. 4th at 98; Classen, 145 Cal.

 21 App. 3d at 46.

 22                         c.      The Proposed Class Representatives and Their Counsel
                                    Will Fairly and Adequately Represent the Class
 23
             “The adequacy inquiry . . . serves to uncover conflicts of interest between named parties and
 24
      the class they seek to represent.” J. P. Morgan & Co., Inc. v. Super. Ct., 113 Cal. App. 4th 195, 212
 25
      (2003). It is met by fulfilling two conditions. First, the plaintiffs must be represented by counsel
 26
      qualified to conduct the pending litigation. McGhee v. Bank of Am., 60 Cal. App. 3d 442, 450 (1976).
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  1 Second, the plaintiffs’ interests cannot be antagonistic to those of the class. Id. Both of these

  2 conditions are met here.

  3          The interests of Michelle Churchill and Fernando Hernandez, the proposed class

  4 representatives here, are wholly aligned with the remainder of the class. The entire class, represented

  5 by undersigned counsel, intends to assert a common, unified defense to Epson’s claims, based on the

  6 clear jurisdiction of the arbitrator rather than this Court over Epson’s claims, the legal inadequacy of

  7 Epson’s allegations, and Epson’s failure to proceed with arbitration in violation of law and contract.

  8 There is thus no conflict between the interests of Michelle Churchill and Fernando Hernandez and

  9 the interests of the rest of the proposed class; to the contrary, such interests are directly aligned.

 10          Moreover, as set forth in the accompanying declarations, the proposed class representatives:

 11 (i) are committed to vigorously defending this litigation should they be appointed as class

 12 representatives; (ii) understand their obligations as class representatives, (iii) intend to vigorously

 13 defend this action on behalf of the entire proposed class consistent with good faith and sound

 14 judgment; (iv) have, through counsel, the resources and ability to adequately represent the proposed

 15 class; and (v) are committed to continuing to actively supervise, monitor, and participate in the

 16 ongoing defense of this litigation by working with counsel, participating in discovery, and preparing

 17 for trial. See Churchill Declaration, ¶¶2-9; Hernandez Declaration, ¶¶2-9. Thus, they are adequate

 18 Class representatives.
 19          Further, counsel for the proposed class representatives maintains an active attorney-client

 20 relationship with each named Defendant, and is committed to providing zealous representation for

 21 each of them.       Defendants’ counsel is highly experienced in both class litigation and issues

 22 surrounding consumer arbitration, having recovered billions of dollars for injured individuals

 23 nationwide in both class and mass actions. For the Court’s convenience, the firm résumés of proposed

 24 class counsel, Labaton Sucharow and Scott+Scott, are submitted herewith as Exhibits L and M to the

 25 Waisnor Declaration. Counsel’s commitment to vigorously representing the proposed class, and its

 26 experience with complex class litigation, readily establishes adequacy. See Richmond, 29 Cal. 3d at

 27 478.

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  1                 4.      A Class Action Is Superior to Any Alternative

  2          In granting class certification, the Court also considers whether the class action device is

  3 superior to other available methods for adjudicating the controversy. See Vasquez, 4 Cal. 3d at 821;

  4 Richmond, 29 Cal. 3d at 470; Lazar, 143 Cal. App. 3d at 143. Where, as here, the proposed defendant

  5 class is comprised of numerous individuals residing in many different states, “joinder is

  6 impracticable,” and “consolidating all of these individual defendants in a single proceeding . . . would

  7 serve judicial economy.” Barnes Group, Inc. v. Int’l Union United Automobile Aerospace &

  8 Agricultural Implement Workers of America, et al., No. 3:16-cv-00559 (MPS), 2017 WL 1407638 at

  9 *3 (D. Conn. Apr. 19, 2017). The alternative apparently contemplated by Epson, involving thousands

 10 of individualized actions running in parallel, would constitute severely inefficient administration of

 11 justice – precisely the “evil that [class actions were] designed to prevent.” Califano v. Yamasaki, 442

 12 U.S. 682, 690 (1979). Indeed, denial of class treatment would subject thousands of Defendants to

 13 this and other wholly unnecessary procedural and financial hurdles, including individualized

 14 appearance fees and discovery proceedings, simply so that their defenses, common to the entire

 15 proposed class, could be heard.

 16          The class action device is a superior method for resolving Plaintiffs’ and the Class’s claims in

 17 this action. Without a class action, many of the consumers pursuing individual arbitration claims

 18 regarding Epson’s practices, a forum that allows the parties to “forgo the procedural rigor” of the
 19 court system and have their claims heard with “lower costs, greater efficiency and speed” – may be

 20 economically precluded or otherwise disincentivized from bringing their arbitrations because they

 21 also have to defend against Epson’s parallel state court action, which imposes considerable delay and

 22 procedural complexity regarding what are straightforward consumer protection claims. Stolt-Nielsen

 23 S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 685 (2010).

 24          Further, should these actions proceed, this Court will be in the inevitable position of

 25 adjudicating not only Epson’s suit against Defendants, but Defendants’ cross motions to compel

 26 arbitration against Epson and their motions for sanctions under Cal. Civ. Proc. § 1281.97-99. Indeed,

 27 this Court has the discretion as part of Defendants’ cross-motions to compel arbitration and for

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  1 sanctions to strike the pleadings and limit discovery in this action. Thus, maintaining a class action

  2 will provide all litigants with a remedy without overwhelming the judicial system with a multiplicity

  3 of lawsuits with duplicative papers or dissuading aggrieved consumers from seeking relief. See Daar,

  4 67 Cal. 2d at 714-15 (“If a class suit is not permitted here, a multiplicity of legal actions dealing with

  5 identical basic issues will be required. . . . The result would be multiple burdens upon the plaintiffs,

  6 the defendant and the court.”); Vasquez, 4 Cal. 3d at 810 (“Absent a class suit, a wrongdoing

  7 defendant would retain the benefits of its wrongs”); B.W.I., 191 Cal. App. 3d at 1355 (same).

  8          Epson may argue that this Motion should be denied on the basis of the waiver provision in

  9 ¶14.5 of the SLA, which states that “EACH PARTY MAY BRING DISPUTES AGAINST THE

 10 OTHER PARTY ONLY IN AN INDIVIDUAL CAPACITY, AND NOT . . . IN ANY CLASS

 11 OR REPRESENTATIVE PROCEEDING,” or the nearly identical provision in ¶22.5 of the

 12 amended SLA. Any such argument fails, largely because of Epson’s own conduct in bringing this

 13 action. It is Epson, not Defendants, who have “br[ought]” this “dispute,” and it did so by joining its

 14 claims against all 1,833 Defendants into a single action. Thus, it is Epson, not Defendants, that has

 15 improperly brought a mass action in court. Further, by this conduct, Epson has waived the right to

 16 enforce this bilateral term against Defendants here. See, e.g., Rubin v. L.A. Fed. Sav. & Loan Ass’n,

 17 159 Cal. App. 3d 292, 298 (1984) (conduct which “is so inconsistent with the intent to enforce the

 18 right in question as to induce a reasonable belief that such right has been relinquished” constitutes
 19 waiver thereof).

 20          The size and geographic dispersal of the class, the lack of adequate alternatives, Epson’s class-

 21 wide refusal to comply with its obligation to pay initiation fees and arbitrate Defendants’ claims, and

 22 Epson’s obvious attempt to twist joinder of individualized claims beyond the point of reasonableness

 23 all weigh in favor of class certification here. Class treatment of all Defendants is the best method to

 24 efficiently and fairly resolve this litigation.

 25          C.      The Additional Requirements Unique To Defendant Classes Are Present
                     Here
 26
             In evaluating whether to certify a defendant class, “careful scrutiny is given to preserving the
 27
      safeguards of adequate representation, notice and standing.” Simons, 151 Cal. App. 3d at 845. This
 28                                                    15
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  1 is because, in circumstances where the specific identity of all defendant class members cannot be

  2 ascertained, an absent class member may not ever know his or her interests are at issue until after he

  3 or she is bound by a class-wide judgment. Id. Further, there is heightened concern that a defendant

  4 class representative may put their own interest ahead of the rest of the class, or otherwise fail to

  5 marshal a robust defense of all absent class members’ interests.

  6          As set forth in Section III.B.3.c above, it is clear that the proposed class representatives here,

  7 and their counsel, are fully committed to putting forward the best defense possible on behalf of all

  8 Defendants, and that their interests align entirely with those of the rest of the proposed class. In

  9 addition, because the proposed class counsel individually represents all members of the proposed

 10 class, there can be no difficulty providing notice to the entire class, and there is similarly no question

 11 that the proposed class representatives and their counsel have standing to defend on behalf of all. See

 12 Waisnor Dec., ¶2. Under these circumstances, certification of a defendant class is appropriate.

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  1 IV.     CONCLUSION

  2         For all these reasons, Defendants respectfully request that the Court: (1) grant their motion for

  3 class certification; (2) appoint Michelle Churchill and Fernando Hernandez as Class representatives;

  4 and (3) appoint Labaton Sucharow and Scott+Scott Class Counsel.

  5

  6 DATED:          June 7, 2023                   LABATON SUCHAROW LLP

  7

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 21                                                Facsimile: 619-233-0508
 22                                                jjasnoch@scott-scott.com

 23                                                Counsel for Defendants

 24

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 28                                                    17
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                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
        12
                                             COUNTY OF ORANGE
        13
           EPSON AMERICA, INC.,                             CASE NO.: 30-2023-01315890-CU-MC-CXC
        14 Plaintiff,

        15                                                             DECLARATION OF JONATHAN
             versus
                                                                       WAISNOR IN SUPPORT OF
        16
           GRAESEN ARNOFF, an individual, et al.,                      DEFENDANTS’ MOTION FOR CLASS
        17 Defendants.                                                 CERTIFICATION

        18                                                             Assigned for All Purposes to:
                                                                       Hon. Lon F. Hurwitz
        19                                                             Date Action Filed: March 10, 2023
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  1          I, JONATHAN WAISNOR, declare as follows:

  2          1.      I am an attorney duly admitted to practice in the State of California. I am of counsel
  3 to the law firm of Labaton Sucharow LLP, counsel for Defendants in the above captioned action. I

  4 respectfully submit this Declaration in support of Defendants’ Motion for Class Certification. This

  5 Declaration is based upon my personal knowledge and if called to testify, I could and would do so

  6 competently as to the matters set forth herein.

  7          2.      This firm represents all named defendants in this action (“Defendants”) and all
  8 named defendants the related action Epson America, Inc. v. Matt Adams, et al., No. 30-2023-

  9 01313431-CU-MC-CXC (the “Adams Defendants,” and together with the Arnoff Defendants,

 10 “Defendants.”). This firm also represents Named Defendants ____.

 11          3.      Defendants are consumers represented by Labaton Sucharow LLP in connection with
 12 underlying arbitration disputes arising out of Epson’s practices of improperly forcing software and

 13 firmware updates on their printers which disabled their printers’ ability to use this cheaper ink, in

 14 violation of state and federal consumer protection laws.

 15          4.      The relationship between Defendants and Epson is governed by the Epson-drafted
 16 End User Software License Agreement (“SLA”). A copy of the SLA applicable to this dispute is

 17 annexed hereto as Exhibit A. The SLA requires all claims between Epson and Defendants to be

 18 arbitrated.
 19          5.      Epson has previously stringently enforced this arbitration requirement on its
 20 customers in disputes stemming from the exact practices at issue here. In a putative class action

 21 brought by other Epson customers in the United States District Court for the Central District of

 22 California captioned Mondigo et al. v. Epson America, Inc., Case No., 20-cv-4400 (C.D. Ca. 2020),

 23 a number of other Epson customers, alleging harm from the exact practices which Defendants

 24 object to, sought to litigate their dispute with Epson on a class basis. Epson argued vigorously, and

 25 effectively, that these claims should instead be arbitrated before the Judicial Arbitration and

 26 Mediation Services, Inc. (“JAMS”), pursuant to the SLA.

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  1          6.      Attached hereto as Exhibit B is a true and correct copy of Epson’s notice of motion

  2 and motion to compel arbitration in Mondigo, together with all attachments and exhibits thereto.

  3          7.      Attached hereto as Exhibit C is a true and correct copy of Epson’s reply

  4 memorandum of law in further support of its motion to compel arbitration in Mondigo.

  5          8.      Epson’s efforts to compel arbitration in Mondigo were ultimately successful, with

  6 the District Court staying the action and compelling the parties to arbitration. See Mondigo v.

  7 Epson Am., Inc., No. CV 20-4400-CBM-GJS(x), 2020 U.S. Dist. LEXIS 252136 at *10 (C.D. Cal.

  8 Oct. 13, 2020).

  9          9.      As status reports submitted to the Mondigo court reveal, Epson has engaged in

 10 substantive arbitration with the Mondigo plaintiffs. A copy of the November 1, 2022 status report

 11 in Mondigo, filed by Epson’s counsel and reflecting the status of some of these arbitrations, is

 12 attached hereto as Exhibit D.

 13          10.     The next year, in Galgon v. Epson America, Inc., No. 2:2021-cv-01794 (C.D. Cal.

 14 2021), Epson once again successfully argued that claims such as those of Defendants must be

 15 presented to a JAMS arbitrator rather than a court.

 16          11.     A copy of Epson’s Notice of Motion and Motion to Compel Arbitration in Galgon is

 17 attached hereto as Exhibit E. Therein, Epson represented to the District Court that disputes with its

 18 customers “do[] not belong in court,” that the SLA “require[s] arbitration before JAMS,” and that
 19 the SLA “further provide[s] that ‘Epson shall pay, or (if applicable) reimburse you for, all JAMS

 20 filings and arbitrator fees.” Exh. E. at 1, 5 (quoting SLA at ¶14.6(c)).

 21          12.     Epson’s motion to compel in Galgon was granted, just as it had been in Mondigo.

 22 The Galgon District Court found that the SLA’s delegation clause “clearly and unmistakably

 23 indicates the parties’ intent for the arbitrator to decide the issue of arbitrability.” Galgon v. Epson

 24 America, Inc., No. 2:2021-cv-01794, 2021 U.S. Dist. LEXIS 193142 at *6-*7 (C.D. Cal. June 16,

 25 2021).

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  1          13.    In August and September, 2022, in accordance with the notice provision of the SLA,

  2 Defendants, through counsel, provided notice to Epson of the nature and facts underlying their

  3 claims, and of their intent to seek arbitration before JAMS.

  4          14.    Thereafter, the parties engaged in negotiations, information exchange, and a failed

  5 mediation before a JAMS mediator. During this period, Epson repeatedly requested a large amount

  6 of information from the Defendants, despite the SLA not requiring such information as a condition

  7 to filing arbitrations. Epson insisted that some of the Defendants had not provided it with enough

  8 information to determine whether they had agreements to arbitrate, but would not provide

  9 Defendants with the identities of any specific claimants they asserted had this issue or any

 10 information on Epson’s search process. Epson also insisted that other Defendants, though they did

 11 have agreements to arbitrate with it, were bound by the requirements of a purported amendment to

 12 the SLA which had additional administrative exhaustion requirements and required a different

 13 arbitral forum, FedArb, due in part to Defendants choice of counsel. Again, Epson did not

 14 specifically identify anyone in this group, and Defendants dispute the validity and application of the

 15 amended version of the SLA to their claims.

 16          15.    Accordingly, on March 6, 2023, the 3,994 Defendants filed formal arbitration

 17 demands with JAMS against Epson.

 18          16.    Following receipt of these arbitration demands, Epson asked JAMS for additional

 19 time so that it could “evaluat[e] information” on the Defendants. A copy of Epson’s

 20 correspondence requesting this additional time is attached hereto as Exhibit F.

 21          17.    Epson then quickly filed this action on or about March 10, 2023, alleging that its

 22 purported amendment to the SLA required Defendants’ claims to be adjudicated before FedArb

 23 rather than JAMS, and that Defendants had not satisfied various administrative exhaustion

 24 requirements the amendment purportedly imposed. This was the first time it identified any specific

 25 Defendant it asserted was bound by its amended SLA. However, it did not seek a stay of the JAMS

 26 proceedings brought by Defendants.

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  1          18.     In its formal Policy Regarding Mass Arbitration Filings, available at

  2 https://www.jamsadr.com/blog/2023/jams-policy-regarding-mass-arbitration-filings, JAMS urges

  3 the parties to “collaborate at the outset of a mass filing [of more than 25 filings from the same law

  4 firm against the same company at the same time], including “sharing information about the validity

  5 of each individual’s status (employee, customer, etc.); filing demands in batches; and agreeing on

  6 “test” cases, arbitrator selection, manner of hearing (in-person, virtual or hybrid), timelines for

  7 commencement and hearings, etc.”

  8          19.     In accordance with this policy, Defendants suggested that a single procedural

  9 arbitrator be appointed to facilitate a good-faith information exchange to verify the existence of an

 10 arbitration agreement between Defendants in this action and Epson. Epson declined.

 11          20.     On April 6, 2023, JAMS formally accepted administration of the Arnoff Defendants’

 12 arbitrations, stating that “given the terms of the agreement under which Claimants seek arbitration,

 13 JAMS will proceed with administration of these Demands (the “Arnoff” Demands) upon receipt of

 14 the filing fees. Respondent may raise its jurisdictional and arbitrability objections with the

 15 arbitrators upon appointment. Respondent may participate in the arbitrator selection processes

 16 without waiving any objection stated to date”. A copy of the April 6 correspondence from JAMS is

 17 attached hereto as Exhibit G.

 18          21.     On April 7, 2023, in accordance with its decision and the requirements of the SLA,

 19 JAMS invoiced Epson for the case initiation fees for the Arnoff Defendants’ arbitrations. A copy of

 20 the invoice is annexed hereto as Exhibit H.

 21          22.     Epson never paid the invoiced case initiation fees, and, upon inquiry from JAMS,

 22 affirmatively confirmed that it had no intention of doing so. A copy of an email from Epson’s

 23 counsel confirming it did not intend to pay is annexed as Exhibit I.

 24          23.     On June 6, 2023, JAMS administratively closed the Arnoff Defendants arbitrations

 25 due to Epson’s non-payment of fees. Attached hereto as Exhibit J is a true and correct copy of

 26 correspondence from JAMS administratively closing the arbitrations.

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  1          24.    Attached hereto as Exhibit K is a true and correct copy of the Declaration of

  2 Michelle Churchill dated June 2, 2023, together with its exhibit.

  3          25.    Attached hereto as Exhibit L is a true and correct copy of the Declaration of

  4 Fernando Hernandez dated June 2, 2023, together with its exhibit.

  5          26.    Attached hereto as Exhibit M is a firm resume for Labaton Sucharow LLP

  6          27.    Attached hereto as Exhibit N is a firm resume for Scott+Scott LLP.

  7          28.    For the foregoing reasons, and for the reasons set forth in Defendants’ other

  8 submissions in support of their Motion for Class Certification, I respectfully request that

  9 Defendants’ Motion be granted in its entirety.

 10

 11          I declare under penalty of perjury under the laws of the state of California that the foregoing

 12 is true and correct. Executed on June 7, 2023 at Brooklyn, New York

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 14                                                         ______________________________

 15                                                                JONATHAN WAISNOR

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          DECLARATION OF JONATHAN WAISNOR IN SUPPORT OF DEFENDANTS’ MOTION FOR CLASS
                                          CERTIFICATION
                               Case No. 30-2023-01315890-CU-MC-CXC
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                             EXHIBIT A
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  NOTICE TO USER: PLEASE READ THIS AGREEMENT
  CAREFULLY BEFORE INSTALLING OR USING THIS
  PRODUCT. IF YOU ARE LOCATED IN THE UNITED
  STATES, SECTION 14 OF THIS DOCUMENT APPLIES
  TO YOU. SECTION 14 CONTAINS A BINDING
  ARBITRATION PROVISION THAT LIMITS YOUR
  ABILITY TO SEEK RELIEF IN A COURT BEFORE A
  JUDGE OR JURY, AND WAIVES YOUR RIGHT TO
  PARTICIPATE IN CLASS ACTIONS OR CLASS
  ARBITRATIONS FOR CERTAIN DISPUTES. AN "OPT-
  OUT" IS AVAILABLE UNDER SECTION 14.7 FOR
  THOSE WHO WISH TO BE EXCLUDED FROM THE
  ARBITRATION AND CLASS WAIVER.

  This is a legal agreement ("Agreement") between you (an
  individual or entity, referred to hereinafter as "you") and
  Seiko Epson Corporation ("Epson") for the enclosed
  software programs, including any related documentation,
  firmware, or updates (collectively referred to hereinafter
  as the "Software"). The Software is provided by Epson
  and its suppliers for use only with the corresponding
  Epson brand computer peripheral product (the "Epson
  Hardware"). BEFORE INSTALLING, COPYING OR
  OTHERWISE USING THE SOFTWARE, YOU NEED TO
  REVIEW AND AGREE TO THE TERMS AND
  CONDITIONS OF THIS AGREEMENT INCLUDING THE
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  EPSON PRIVACY POLICY (SEE SECTION 10). If you
  agree, click on the Download button. If you do not agree
  with the terms and conditions of this Agreement, click on
  the browser's back button to return to the previous page.
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                                    ID #:304
     1.     Grant of License. Epson grants you a limited, nonexclusive
     license to install and use the Software on hard disks or other computer
     storage devices, provided that the Software is used .QD.)y in a single
     location (e.g., a home or office or place of business) and only in
     connection with Epson Hardware owned by you. You may make backup
     copies of the Software, as necessary, provided the backup is only used to
     support your use of the Epson Hardware.

     2.     Upgrades and Updates. If you acquire an upgrade, updated
     version, modified version, or additions to or for the Software from Epson,
     the upgrade, updated version, modified version, or addition, shall be
     included in the defined term Software and governed by this Agreement.
     You acknowledge that Epson has no obligation to provide you with any
     Updates (as defined below in this Section 2) to the Software. Epson may,
     however, from time to time, issue updated versions of the Software and
     the Software may automatically connect to Epson or third-party servers
     via the Internet to check for available updates to the Software, such as
     bug fixes, patches, upgrades, additional or enhanced functions, plug-ins
     and new versions (collectively, "Updates") and may either (a)
     automatically electronically update the version of the Software that you
     are using on your personal device or (b) give you the option of manually
     downloading applicable Updates. If you do not wish to allow Epson to
     check for available updates to the Software, you may disable this feature
     by uninstalling EPSON Software Updater. By installing the Software and
     not disabling any automated check for Updates, if applicable, you hereby
     agree and consent to automatically request and receive Updates from
     Epson or third-party servers, and that the terms and conditions of this
     Agreement shall apply to all of these Updates.

     3.     Other Rights and Limitations. You agree not to modify, adapt or
     translate the Software and further agree not to attempt to reverse
     engineer, decompile, disassemble or otherwise attempt to discover the
     source code of the Software. You may not rent, lease, distribute or lend
     the Software to third parties. You may, however, transfer all of your rights
     to use the Software to another person or legal entity, provided that the
     recipient also agrees to the terms of this Agreement and you transfer the
     Software, including all copies, updates and prior versions, and the Epson
     Hardware, to such person or entity. The Software is licensed as a single
     unit, and its component programs may not be separated for some other
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     use. Further, you agree not to place the Software onto or into a shared
     environment accessible via a public network such as the Internet or
     otherwise accessible by others outside the single location referred to in
     Section 1 above.

     4.     Ownership. Title, ownership rights, and intellectual property rights
     in and to the Software shall remain with Epson or its suppliers. The
     Software is protected by United States Copyright Law, copyright laws of
     Japan and international copyright treaties, as well as other intellectual
     property laws and treaties. There is no transfer to you of any title to or
     ownership of the Software and this License shall not be construed as a
     sale of any rights in the Software. You agree not to remove or alter any
     copyright, trademark, registered mark and other proprietary notices on
     any copies of the Software. Epson and its suppliers reserve all rights not
     granted.

     5.     Multiple Versions of Software. You may receive or obtain the
     Software in more than one version (e.g. for different operating
     environments; two or more language translation versions; downloaded
     from an Epson server or on a CD-ROM), however, regardless of the type
     or number of copies you receive, you still may use only the media or
     version appropriate for the license granted in Section 1 above.

     6.     Disclaimer of Warranty and Remedy. If you obtained the Software
     by media from EPSON or a dealer, EPSON warrants that the media on
     which the Software is recorded will be free from defects in workmanship
     and materials under normal use for a period of 90 days from the date of
     delivery to you. If the media is returned to EPSON or the dealer from
     which the media was obtained within 90 days of the date of delivery to
     you, and if EPSON determines the media to be defective and provided
     the media was not subject to misuse, abuse, misapplication or use in
     defective equipment, EPSON will replace the media, upon your return to
     EPSON of the Software, including all copies of any portions thereof. You
     acknowledge and agree that the use of the Software is at your sole risk.
     THE SOFTWARE IS PROVIDED "AS IS" AND WITHOUT ANY
     WARRANTY OF ANY KIND. EPSON AND ITS SUPPLIERS DO NOT
     AND CANNOT WARRANT THE PERFORMANCE OR RESULTS YOU
     MAY OBTAIN BY USING THE SOFTWARE. Epson does not warrant that
     the operation of the Software will be uninterrupted, error free, free from
     viruses or other harmful components or vulnerabilities, or that the
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     functions of the Software will meet your needs or requirements. Epson's
     sole and exclusive liability and your exclusive remedy for breach of
     warranty shall be limited to either, at Epson's option, the replacement of
     the media for the Software or to refund your money upon returning the
     Software and Epson Hardware. Any replacement Software will be
     warranted for the remainder of the original warranty period or thirty (30)
     days, whichever is longer. If the above remedy fails for any reason,
     Epson's entire liability for a breach of warranty shall be limited to a refund
     of the price paid for the Epson Hardware. Epson is not liable for
     performance delays or for nonperformance due to causes beyond its
     reasonable control. This Limited Warranty is void if failure of the Software
     resulted from accident, abuse, or misapplication. THE STATED LIMITED
     WARRANTIES AND REMEDY ARE EXCLUSIVE AND IN LIEU OF ALL
     OTHERS. EPSON DISCLAIMS ALL OTHER WARRANTIES, EITHER
     EXPRESS OR IMPLIED, INCLUDING WITHOUT LIMITATION, ALL
     WARRANTIES OF NON-INFRINGEMENT, MERCHANTABILITY, AND
     FITNESS FOR A PARTICULAR PURPOSE. SOME STATES OR
     JURISDICTIONS, HOWEVER, DO NOT ALLOW EXCLUSIONS OR
     LIMITATIONS OF IMPLIED WARRANTIES, AND IN SUCH STATES, THE
     ABOVE LIMITATION MAY NOT APPLY TO YOU.

     7.   Limitation of Liability. TO THE MAXIMUM EXTENT PERMITTED
     BY APPLICABLE LAW, IN NO EVENT WILL EPSON OR ITS
     SUPPLIERS BE LIABLE FOR ANY DAMAGES, WHATSOEVER,
     WHETHER DIRECT, INDIRECT, SPECIAL, INCIDENTAL, OR
     CONSEQUENTIAL DAMAGES, whether arising under contract, tort
     (including negligence), strict liability, breach of warranty,
     misrepresentation, or otherwise, INCLUDING WITHOUT LIMITATION,
     DAMAGES FOR LOSS OF BUSINESS PROFITS, BUSINESS
     INTERRUPTION, LOSS OF BUSINESS INFORMATION, OR OTHER
     PECUNIARY LOSS, ARISING OUT OF THE USE OF OR INABILITY TO
     USE THE SOFTWARE, OR ARISING OUT OF THIS AGREEMENT,
     EVEN IF EPSON OR ITS REPRESENTATIVE HAS BEEN ADVISED OF
     THE POSSIBILITY OF SUCH DAMAGES. SOME STATES DO NOT
     ALLOW THE EXCLUSION OR LIMITATION OF DAMAGES IN CERTAIN
     TRANSACTIONS, AND IN SUCH STATES, THE ABOVE LIMITATIONS
     AND EXCLUSIONS MAY NOT APPLY.
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     8.     U.S. Government Acquisition of the Software. This Section applies
     to all acquisitions of the Software by or for the U.S. Government
     ("Government"), or by any prime contractor or subcontractor (at any tier)
     under any contract, grant, cooperative agreement, "other transaction"
     ("OT"), or other activity with the Government. By accepting delivery of the
     Software, the Government, any prime contractor, and any subcontractor
     agree that the Software qualifies as "commercial" computer software
     within the meaning of FAR Part 12, paragraph (b) of FAR Subpart 27.405,
     or DFARS Subpart 227. 7202, as applicable, and that no other regulation,
     or FAR or DFARS data rights clause, applies to the delivery of this
     Software to the Government. Accordingly, the terms and conditions of
     this Agreement govern the Government's (and the prime contractor and
     subcontractor's) use and disclosure of the Software, and supersede any
     conflicting terms and conditions of the contract, grant, cooperative
     agreement, OT, or other activity pursuant to which the Software is
     delivered to the Government. If this Software fails to meet the
     Government's needs, if this Agreement is inconsistent in any respect with
     Federal law, or if the above cited FAR and DFARS provisions do not
     govern, the Government agrees to return the Software, unused, to Epson.

     9.     Export Restriction. You agree that the Software will not be
     shipped, transferred or exported into any country or used in any manner
     prohibited by the United States Export Administration Act or any other
     export laws, restrictions or regulations.

     10.    Privacy, Information Collection and Transfer of Data Overseas.
     The Software may have the ability to connect over the Internet to transmit
     data to and from your computer. For example, if you install the Software,
     the Software may cause your computer to send information about your
     Epson Hardware such as model and serial number, country identifier,
     language code, operating system information, and Epson Hardware
     usage information to an Epson Internet site which may return promotional
     or service information to your computer for display. For more information
     on how Epson collects and uses information provided through the
     Software, please review the Epson Privacy Policy located at
     www.epson.com/privacy (if you are located in the U.S.),
     www.epson.ca/privacy (if you are located in Canada), which is
     incorporated herein by reference. By agreeing to the terms of this
     Agreement, you agree to the terms of the Epson Privacy Policy. The
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     Epson Internet site may be located overseas. By installing the Software,
     you consent to this transfer, processing and storage of your information in
     and/or outside your country of residence.

     11.     Ink Purchases. For certain Epson printer products sold in North
     America, the Software may also display an option to buy ink from Epson.
     If you click on the buy button, the Software will cause your computer to
     display Epson Hardware cartridge types and ink levels and provide other
     information about your cartridges, such as the colors, available cartridge
     sizes, and prices for replacement ink cartridges, which you may purchase
     online from Epson.

     12.   Downloadable Updates. You may also be able to download from
     an Epson Internet site updates or upgrades to the Software if such
     updates or upgrades are made available. If you agree to install the
     Software, any transmissions to or from the Internet, and data collection
     and use, will be in accordance with Epson's then-current Privacy Policy,
     and by installing the Software you agree that such then-current Privacy
     Policy shall govern such activities.

     13.      Epson Accounts and Promotional Messages. In addition, if you
     install the Software and register your Epson Hardware with Epson, and/or
     you create an account at the Epson Store, and provided your consent to
     such use, you agree that Epson may merge the data collected in
     connection with installation of the Software, registration of your Epson
     Hardware and/or creation of your Epson Store account, consisting of
     personal information and non-personally identifiable information, and use
     such merged data to send you Epson promotional or service information.
     If you do not wish to send information about your Epson Hardware or
     receive promotional or service information, you will be able to disable
     these features on a Windows system through the Monitoring Preferences
     section in the driver. On a Mac operating system, you can disable these
     features by uninstalling the Epson Customer Research Participation and
     Low Ink Reminder software.

     14.  DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND WAIVER
     OF CLASS ACTIONS AND CLASS ARBITRATIONS
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        14.1      Disputes. The terms of this Section 14 shall apply to all
        Disputes between you and Epson. The term "Dispute" is meant to
        have the broadest meaning permissible under law and includes any
        dispute, claim, controversy or action between you and Epson
        arising out of or relating to this Agreement, the Software, Epson
        Hardware, or other transaction involving you and Epson, whether in
        contract, warranty, misrepresentation, fraud, tort, intentional tort,
        statute, regulation, ordinance, or any other legal or equitable basis.
        "DISPUTE" DOES NOT INCLUDE IP CLAIMS, or more specifically,
        a claim or cause of action for (a) trademark infringement or dilution,
        (b) patent infringement, (c) copyright infringement or misuse, or (d)
        trade secret misappropriation (an "IP Claim"). You and Epson also
        agree, notwithstanding Section 14.6, that a court, not an arbitrator,
        may decide if a claim or cause of action is for an IP Claim.

        14.2      Binding Arbitration. You and Epson agree that all Disputes
        shall be resolved by binding arbitration according to this
        Agreement. ARBITRATION MEANS THAT YOU WAIVE YOUR
        RIGHT TO A JUDGE OR JURY IN A COURT PROCEEDING AND
        YOUR GROUNDS FOR APPEAL ARE LIMITED. Pursuant to this
        Agreement, binding arbitration shall be administered by JAMS, a
        nationally recognized arbitration authority, pursuant to its code of
        procedures then in effect for consumer related disputes, but
        excluding any rules that permit joinder or class actions in arbitration
        (for more detail on procedure, see Section 14.6 below). You and
        Epson understand and agree that (a) the Federal Arbitration Act (9
        U.S.C. §1, et seq.) governs the interpretation and enforcement of
        this Section 14, (b) this Agreement memorializes a transaction in
        interstate commerce, and (c) this Section 14 shall survive
        termination of this Agreement.

        14.3      Pre-Arbitration Steps and Notice. Before submitting a
        claim for arbitration, you and Epson agree to try, for sixty (60) days,
        to resolve any Dispute informally. If Epson and you do not reach an
        agreement to resolve the Dispute within the sixty (60) days), you or
        Epson may commence an arbitration. Notice to Epson must be
        addressed to: Epson America, Inc., ATTN: Legal Department, 3131
        Katella Ave., Los Alamitos, CA 90720 (the "Epson Address"). The
        Dispute Notice to you will be sent to the most recent address Epson
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        has in its records for you. For this reason, it is important to notify us
        if your address changes by emailing us at
        EAILegal@ea.epson.com or writing us at the Epson Address
        above. Notice of the Dispute shall include the sender's name,
        address and contact information, the facts giving rise to the
        Dispute, and the relief requested (the "Dispute Notice"). Following
        receipt of the Dispute Notice, Epson and you agree to act in good
        faith to resolve the Dispute before commencing arbitration.

        14.4      Small Claims Court. Notwithstanding the foregoing, you
        may bring an individual action in the small claims court of your state
        or municipality if the action is within that court's jurisdiction and is
        pending only in that court.

        14.5    WAIVER OF CLASS ACTIONS AND CLASS
        ARBITRATIONS. YOU AND EPSON AGREE THAT EACH PARTY
        MAY BRING DISPUTES AGAINST THE OTHER PARTY ONLY IN
        AN INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR
        CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE
        PROCEEDING, INCLUDING WITHOUT LIMITATION FEDERAL
        OR STATE CLASS ACTIONS, OR CLASS ARBITRATIONS. CLASS
        ACTION LAWSUITS, CLASS-WIDE ARBITRATIONS, PRIVATE
        ATTORNEY-GENERAL ACTIONS, AND ANY OTHER
        PROCEEDING WHERE SOMEONE ACTS IN A
        REPRESENTATIVE CAPACITY ARE NOT ALLOWED.
        ACCORDINGLY, UNDER THE ARBITRATION PROCEDURES
        OUTLINED IN THIS SECTION, AN ARBITRATOR SHALL NOT
        COMBINE OR CONSOLIDATE MORE THAN ONE PARTY'S
        CLAIMS WITHOUT THE WRITTEN CONSENT OF ALL
        AFFECTED PARTIES TO AN ARBITRATION PROCEEDING.

        14.6       Arbitration Procedure. If you or Epson commences
        arbitration, the arbitration shall be governed by the rules of JAMS
        that are in effect when the arbitration is filed, excluding any rules
        that permit arbitration on a class or representative basis (the "JAMS
        Rules"), available at http://www.jamsadr.com or by calling 1-800-
        352-5267, and under the rules set forth in this Agreement. All
        Disputes shall be resolved by a single neutral arbitrator, and both
        parties shall have a reasonable opportunity to participate in the
        selection of the arbitrator. The arbitrator is bound by the terms of
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        this Agreement. The arbitrator, and not any federal, state or local
        court or agency, shall have exclusive authority to resolve all
        disputes arising out of or relating to the interpretation, applicability,
        enforceability or formation of this Agreement, including any claim
        that all or any part of this Agreement is void or voidable.
        Notwithstanding this broad delegation of authority to the arbitrator,
        a court may determine the limited question of whether a claim or
        cause of action is for an IP Claim, which is excluded from the
        definition of "Disputes" in Section 14.1 above. The arbitrator shall
        be empowered to grant whatever relief would be available in a court
        under law or in equity. The arbitrator may award you the same
        damages as a court could, and may award declaratory or injunctive
        relief only in favor of the individual party seeking relief and only to
        the extent necessary to provide relief warranted by that party's
        individual claim. In some instances, the costs of arbitration can
        exceed the costs of litigation and the right to discovery may be
        more limited in arbitration than in court. The arbitrator's award is
        binding and may be entered as a judgment in any court of
        competent jurisdiction.
        You may choose to engage in arbitration hearings by telephone.
        Arbitration hearings not conducted by telephone shall take place in
        a location reasonably accessible from your primary residence, or in
        Orange County, California, at your option.
        a) Initiation of Arbitration Proceeding. If either you or Epson
        decides to arbitrate a Dispute, both parties agree to the following
        procedure:
        (i) Write a Demand for Arbitration. The demand must include a
        description of the Dispute and the amount of damages sought to be
        recovered. You can find a copy of a Demand for Arbitration at
        http://www.jamsadr.com ("Demand for Arbitration").
        (ii) Send three copies of the Demand for Arbitration, plus the
        appropriate filing fee, to: JAMS, 500 North State College Blvd.,
        Suite 600 Orange, CA 92868, U.S.A.
        (iii) Send one copy of the Demand for Arbitration to the other party
        (same address as the Dispute Notice), or as otherwise agreed by
        the parties.
        b) Hearing Format. During the arbitration, the amount of any
        settlement offer made shall not be disclosed to the arbitrator until
        after the arbitrator determines the amount, if any, to which you or
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        Epson is entitled. The discovery or exchange of non-privileged
        information relevant to the Dispute may be allowed during the
        arbitration.
        c) Arbitration Fees. Epson shall pay, or (if applicable) reimburse
        you for, all JAMS filings and arbitrator fees for any arbitration
        commenced (by you or Epson) pursuant to provisions of this
        Agreement.
        d) Award in Your Favor. For Disputes in which you or Epson seeks
        $75,000 or less in damages exclusive of attorney's fees and costs,
        if the arbitrator's decision results in an award to you in an amount
        greater than Epson's last written offer, if any, to settle the Dispute,
        Epson will: (i) pay you $1,000 or the amount of the award,
        whichever is greater; (ii) pay you twice the amount of your
        reasonable attorney's fees, if any; and (iii) reimburse you for any
        expenses (including expert witness fees and costs) that your
        attorney reasonably accrues for investigating, preparing, and
        pursuing the Dispute in arbitration. Except as agreed upon by you
        and Epson in writing, the arbitrator shall determine the amount of
        fees, costs, and expenses to be paid by Epson pursuant to this
        Section 14.6d).
        e) Attorney's Fees. Epson will not seek its attorney's fees and
        expenses for any arbitration commenced involving a Dispute under
        this Agreement. Your right to attorney's fees and expenses under
        Section 14.6(d) above does not limit your rights to attorney's fees
        and expenses under applicable law; notwithstanding the foregoing,
        the arbitrator may not award duplicative awards of attorney's fees
        and expenses.

        14.7       Opt-out. You may elect to opt-out (exclude yourself) from
        the final, binding, individual arbitration procedure and waiver of
        class and representative proceedings specified in this Agreement
        by sending a written letter to the Epson Address within thirty (30)
        days of your assent to this Agreement (including without limitation
        the purchase, download, installation of the Software or other
        applicable use of Epson Hardware, products and services) that
        specifies (i) your name, (ii) your mailing address, and (iii) your
        request to be excluded from the final, binding individual arbitration
        procedure and waiver of class and representative proceedings
        specified in this Section 14. In the event that you opt-out consistent
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           with the procedure set forth above, all other terms shall continue to
           apply, including the requirement to provide notice prior to litigation.
           14.8      Amendments to Section 14. Notwithstanding any
           provision in this Agreement to the contrary, you and Epson agree
           that if Epson makes any future amendments to the dispute
           resolution procedure and class action waiver provisions (other than
           a change to Epson's address) in this Agreement, Epson will obtain
           your affirmative assent to the applicable amendment. If you do not
           affirmatively assent to the applicable amendment, you are agreeing
           that you will arbitrate any Dispute between the parties in
           accordance with the language of this Section 14 (or resolve
           disputes as provided for in Section 14.7, if you timely elected to opt-
           out when you first assented to this Agreement).

           14.9      Severability. If any provision in this Section 14 is found to
           be unenforceable, that provision shall be severed with the
           remainder of this Agreement remaining in full force and effect. The
           foregoing shall not apply to the prohibition against class or
           representative actions as provided in Section 14.5. This means that
           if Section 14.5 is found to be unenforceable, the entire Section 14
           (but only Section 14) shall be null and void.

     15.      Jurisdiction. Except for Section 14, which is governed by the
     Federal Arbitration Act, in the event of a Dispute in which the provisions in
     Section 14 are inapplicable, severed from the remainder of this
     Agreement, or you opt-out pursuant to the provisions of Section 14.7, you
     and Epson both consent to the jurisdiction of your state of residence.
     Such Dispute must be filed no later than one year after the date the
     Software is first acquired. This Agreement will not be governed by the
     United Nations Convention on Contracts for the International Sale of
     Goods, the application of which is expressly excluded.

     16.       For New Jersey Residents. Notwithstanding any terms set forth in
     this Agreement, if any of the provisions set forth in Sections 6, 7, or 16
     are held unenforceable, void or inapplicable under New Jersey law, then
     ANY SUCH provision shall not apply TO YOU BUT THE REST OF THE
     AGREEMENT SHALL REMAIN BINDING ON YOU AND EPSON.
     NOTWITHSTANDING ANY PROVISION IN THIS AGREEMENT, Nothing
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     in this AGREEMENT IS INTENDED TO, NOR shall IT be deemed OR
     CONSTRUED to, limit any rights available to you UNDER THE TRUTH-
     IN-CONSUMER CONTRACT, WARRANTY AND NOTICE ACT.

     17.   Entire Agreement. This Agreement is the entire agreement
     between the parties related to the Software and supersedes any
     purchase order, communication, advertisement, or representation
     concerning the Software.

     18.    Binding Agreement; Assignees. This Agreement shall be binding
     upon, and inure to the benefit of, the parties hereto and their respective
     successors, assigns and legal representatives.

     19.    Severability; Modifications. Subject to Section 14.8 and 14.9 if any
     provision herein is found void or unenforceable by a court of competent
     jurisdiction, it will not affect the validity of the balance of the Agreement,
     which shall remain valid and enforceable according to its terms. This
     Agreement may only be modified in writing signed by an authorized
     representative of Epson.

     20.    Termination. Without prejudice to any other rights Epson has, your
     license rights under Section 1 above and your warranty rights under
     Section 6 above, shall automatically terminate upon failure by you to
     comply with its terms. Upon termination of such rights, you agree that the
     Software, and all copies thereof, will be immediately destroyed.

     21.    Capacity and Authority to Contract. You represent that you are of
     the legal age of majority in your state or jurisdiction of residence and have
     all necessary authority to enter into this Agreement, including, if
     applicable, due authorization by your employer to enter into this
     Agreement.


  EPSON is a registered trademark of Seiko Epson
  Corporation.
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                             EXHIBIT B
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      Inc.
    7
    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                 DEFENDANT EPSON AMERICA
   13 GREGORY SZOT, MARTIN                       INC.’S MOTION TO COMPEL
      DIGNARD, and MICHAEL KOVACH,               ARBITRATION AND STAY
   14                                            PROCEEDINGS;
      individually and on behalf of all others
   15 similarly situated,                        DECLARATION OF SIRANUSH
                                                 ARABIAN;
   16
                        Plaintiffs,              [PROPOSED] ORDER
   17
                 vs.                             Date:      August 18, 2020
   18                                            Time:      10:00 a.m.
                                                 Judge:     Hon. Consuelo B.
   19 EPSON AMERICA, INC.,                                  Marshall
                                                 Courtroom: 8B
   20
                       Defendant.
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                                                          Case No. 2:20-cv-4400-CBM-GJS
        MOTION
                                      MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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    1                       NOTICE OF MOTION AND MOTION
    2 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    3        PLEASE TAKE NOTICE that, on August 18, 2020 at 10:00 a.m., or as soon
    4 thereafter as counsel may be heard, defendant Epson America, Inc. (“Epson”), by
    5 and through its attorneys and pursuant to 9 U.S.C. § 4, hereby moves to compel
    6 arbitration of plaintiffs’ claims, stay proceedings pending resolution of any
    7 arbitration, and stay proceedings pending a decision on this motion.
    8        This Motion is made following the conference of counsel pursuant to L.R. 7-
    9 3, which took place on July 13, 2020.
   10        This motion is made on the grounds that plaintiffs agreed to arbitrate their
   11 claims against Epson on a non-class basis and further agreed any disputes
   12 concerning the arbitrability of their claims must be submitted to the arbitrator for
   13 resolution. This motion is based upon this Notice, the following memorandum of
   14 points and authorities, the Declaration of Siranush Arabian (“Arabian Decl.”) and
   15 exhibits thereto, the pleadings and records on file herein, on such other and further
   16 argument and evidence as may be presented at the time of the hearing, and all
   17 matters of which this Court may take judicial notice.
   18 DATED: July 20, 2020                 QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
   19
   20
                                              By         /s/ Shon Morgan
   21                                              Shon Morgan
                                                   Attorneys for Defendant Epson America,
   22                                              Inc.
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                            PRELIMINARY STATEMENT
    3         This dispute does not belong in court. Plaintiffs expressly agreed to arbitrate
    4 any grievances related to the printers they purchased from Epson and the software
    5 used in those printers. The terms of their arbitration agreements are conspicuous,
    6 fair, and reached through a process and on substantive terms that courts have
    7 consistently held must be enforced to effectuate the purposes of the Federal
    8 Arbitration Act.      Plaintiffs’ arbitration agreements also express a clear and
    9 unmistakable intent to commit issues of arbitrability to the arbitrator. Thus, to the
   10 extent plaintiffs contend their claims are not subject to the arbitration agreements for
   11 any reason, this issue must be decided in arbitration. Accordingly, the Court should
   12 compel arbitration of plaintiffs’ claims and stay proceedings pending resolution of
   13 any arbitration.
   14         Additionally, because this Court is not the proper forum for plaintiffs’ claims,
   15 Epson also seeks an order staying all proceedings pending resolution of its motion to
   16 compel arbitration (including a stay of all discovery), which would be obviated by
   17 an order sending this case to arbitration.
   18                                    BACKGROUND
   19                    PLAINTIFFS’ ARBITRATION AGREEMENTS
   20         Plaintiffs each allege they purchased an Epson printer1 and concede owners of
   21 Epson printers “must agree to Epson’s software license when purchasing and using
   22 an Epson printer.” ECF No. 1 at ¶ 32.2 See also id. at ¶ 35 (“Under the terms of
   23
          1
   24         ECF No. 1 at ¶¶ 52 (plaintiff Famiglietti); 65 (plaintiff Rabinovich); 77
      (plaintiff Mondigo); 86 (plaintiff Gordon); 98 (plaintiff Szot); 106 (plaintiff
   25 Dignard); 116 (plaintiff Kovach).
         2
              Plaintiffs refer to, quote from, and provide a hyperlink in their complaint
   26 linking to the software license. See ECF No. 1 at ¶¶ 32-33 & n. 8. Thus, this
      document is incorporated by reference and may be considered by the Court.
   27 Stockman-Sann v. McKnight, 2013 WL 8284817, at *3 (C.D. Cal. Mar. 25, 2013)
      (“Because Plaintiff’s CAC references these documents and quotes from them, they
   28    (footnote continued)
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    1 Epson’s software licenses, Plaintiffs . . . authorized Epson to access their printers to
    2 apply fixes and upgrades.”); Arabian Decl. at ¶¶ 3-4, Ex. 1 (software license). Thus,
    3 there can be no dispute plaintiffs agreed to the terms of Epson’s software license.
    4 See, e.g., Smith v. Kansas Pub. Employees Ret. Sys., 2019 WL 339542, at *4 (D.
    5 Kan. Jan. 28, 2019) (contract formation established where plaintiff “conceded that
    6 she entered the agreement in her own complaint”).
    7        Among the terms in the software license to which plaintiffs agreed is an
    8 arbitration agreement—indeed, the very first paragraph of the license agreement
    9 calls attention to this in capitalized, oversized font that notifies the user “IF YOU
   10 ARE LOCATED IN THE UNITED STATES, SECTION 14 OF THIS
   11 DOCUMENT APPLIES TO YOU. SECTION 14 CONTAINS A BINDING
   12 ARBITRATION PROVISION THAT LIMITS YOUR ABILITY TO SEEK
   13 RELIEF IN A COURT BEFORE A JUDGE OR JURY, AND WAIVES YOUR
   14 RIGHT TO PARTICIPATE IN CLASS ACTIONS OR CLASS ARBITRATIONS
   15 FOR CERTAIN DISPUTES.” See ECF No. 1 at ¶ 32 n. 8 (providing hyperlink to
   16 this document); Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.
   17        Additionally, plaintiffs Rabinovich, Famiglietti, Gordon, Szot, Dignard and
   18 Kovach each reaffirmed their agreements to arbitrate disputes with Epson at the time
   19 they installed the software updates that are the subject of plaintiffs’ complaint.
   20 Arabian Decl. at ¶¶ 4-5, Ex. 2.3 To install the updates, these plaintiffs were required
   21 to view the Epson End User Software License Agreement (“Updater EULA”),
   22
      are appropriate for consideration under the doctrine of incorporation by reference.”).
   23 Additionally, a true and correct copy of the software license to which plaintiffs
      agreed is attached as Exhibit 1 to the Declaration of Siranush Arabian. See Arabian
   24 Decl. at ¶ 3, Ex. 1.
         3
            See ECF No. 1 at ¶¶ 57 (alleging plaintiff Famiglietti installed the “Updates”
   25 in “March of April of 2019”); 69 (alleging plaintiff Rabinovich installed the
      “Updates” in “February of 2020”); 88 (alleging plaintiff Gordon installed the
   26 “Updates” in “early 2020”); 101 (alleging plaintiff Szot installed the “Updates” in
      “August 2019”); 109-111 (alleging plaintiff Dignard installed the “Updates” in
   27 November 2019); 116, 119 (alleging plaintiff Kovach installed the “Updates”
      sometime after he purchased his printer in “summer of 2019”).
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    1 which was automatically displayed for plaintiffs to see, and plaintiffs were required
    2 to click to signify their agreement. Arabian Decl. at ¶ 4. The arbitration agreement
    3 in the Updater EULA is substantively identical to the arbitration agreement in
    4 plaintiffs’ software licenses. Compare Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14 (software
    5 license), with ¶ 5, Ex. 2 at ¶ 22 (Updater EULA).
    6         Prominent Headings and Clear Terms. Plaintiffs’ arbitration agreements
    7 begin with a prominent heading in capitalized, bolded font identifying the separate
    8 agreement to arbitrate and explain in simple terms the arbitration process and how it
    9 differs from a trial in court:
   10         DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND
              WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS
   11
              …
   12         You and Epson agree that all Disputes shall be resolved by binding
              arbitration according to this Agreement. ARBITRATION MEANS
   13
              THAT YOU WAIVE YOUR RIGHT TO A JUDGE OR JURY IN
   14         A COURT PROCEEDING AND YOUR GROUNDS FOR
              APPEAL ARE LIMITED.
   15
   16         See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1-2 at ¶ 14.2
   17 (software license) & 2 at ¶ 22.2 (Updater EULA) (emphasis in original).
   18         Class Action Waiver. Plaintiffs’ arbitration agreements also explicitly set
   19 forth the rights plaintiffs waived by agreeing to arbitrate, and contain a separate
   20 section in bold, capitalized font notifying plaintiffs of their agreements to waive the
   21 right to serve “AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR
   22 REPRESENTATIVE PROCEEDING[.]” ECF No. 1 at ¶ 32 n. 8; Arabian Decl.
   23 at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA)
   24 (emphasis in original).
   25         Broad Scope. Plaintiffs’ arbitration agreements broadly cover “all Disputes
   26 between you and Epson,” and define “Disputes” to “have the broadest meaning
   27 permissible under law,” including “any dispute, claim, controversy or action
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    1 between you and Epson arising out of or relating to this Agreement, the Software,
    2 Epson Hardware, or other transaction involving you and Epson, whether in contract,
    3 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
    4 ordinance, or any other legal or equitable basis.” See ECF No. 1 at ¶ 32 n. 8;
    5 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
    6 EULA).4
    7         Delegation of Arbitrability Disputes. Plaintiffs’ arbitration agreements also
    8 contain a clear expression of intent to delegate issues of arbitrability to the
    9 arbitrator. See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6
   10 (software license) & 2 at ¶ 22.6 (Updater EULA) (“The arbitrator, and not any
   11 federal, state or local court or agency, shall have exclusive authority to resolve all
   12 disputes arising out of or relating to the interpretation, applicability, enforceability
   13 or formation of this Agreement, including any claim that all or any part of this
   14 Agreement is void or voidable.”).
   15         Arbitration Before JAMS And Payment Of Fees. Plaintiffs’ arbitration
   16 agreements require arbitration before JAMS, pursuant to the rules of JAMS in effect
   17 at the time the arbitration is filed, and broadly empower the arbitrator “to grant
   18 whatever relief would be available in a court under law or in equity.” See ECF No.
   19 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶
   20 22.6 (Updater EULA). The agreements further provide that “Epson shall pay, or (if
   21 applicable) reimburse you for, all JAMS filings and arbitrator fees for any
   22 arbitration commenced (by you or Epson) pursuant to provisions of this
   23
   24
   25     4
            The arbitration agreements contain a limited carve out—not applicable here—
      for “a claim or cause of action for (a) trademark infringement or dilution, (b) patent
   26 infringement, (c) copyright infringement or misuse, or (d) trade secret
      misappropriation,” which are required to be heard in court. ECF No. 1 at ¶ 32 n. 8;
   27 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
      EULA).
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     1 Agreement.” See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶
     2 14.6(c) (software license) & 2 at ¶ 22.6(c) (Updater EULA).
     3         Broad Right To Opt Out. Finally, the agreements allowed plaintiffs to opt
     4 out within thirty days of their assent to the agreement by sending a letter to “Epson
     5 America, Inc., ATTN: Legal Department, 3840 Kilroy Airport Way, Long Beach,
     6 CA 90806.” See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.7
     7 (software license) & 2 at ¶ 22.7 (Updater EULA). Despite having this option, none
     8 of the plaintiffs chose to opt out of their arbitration agreements. Arabian Decl. at
     9 ¶ 8.
   10                                   LEGAL STANDARD
   11          The FAA governs the enforcement of arbitration clauses in commercial
   12 contracts.5 9 U.S.C. §§ 1-16. Section 2 of the FAA states:
   13          A written provision in . . . a contract evidencing a transaction involving
               commerce to settle by arbitration a controversy thereafter arising out of
   14          such contract or transaction, or the refusal to perform the whole or any
               part thereof, or an agreement in writing to submit to arbitration an
   15          existing controversy arising out of such contract, transaction, or refusal,
               shall be valid, irrevocable, and enforceable, save upon such grounds as
   16          exist at law or in equity for the revocation of any contract.
   17
   18 9 U.S.C. § 2. “Section 2 is a congressional declaration of a liberal federal policy
   19 favoring arbitration agreements . . . .” Moses H. Cone Memorial Hosp. v. Mercury
   20 Const. Corp., 460 U.S. 1, 24 (1983). “The Arbitration Act establishes that, as a
   21 matter of federal law, any doubts concerning the scope of arbitrable issues should be
   22
           5
              The FAA applies where, as here, the arbitration agreement appears in a
   23 contract involving interstate commerce. See 9 U.S.C § 1; Dkt. No. 1 at ¶ 17
      (recognizing the parties are diverse for purposes of CAFA jurisdiction). Further,
   24 plaintiffs’ arbitration agreements contain an explicit FAA choice-of-law clause. See
      ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.2 (software license)
   25 & 2 at ¶ 22.2 (Updater EULA) (“You and Epson understand and agree that . . . the
      Federal Arbitration Act (9 U.S.C. §1, et seq.) governs the interpretation and
   26 enforcement of this Section 14”). “An FAA choice-of-law provision in an
      arbitration agreement is enforceable.” Kim v. Tinder, Inc., 2018 WL 6694923, at *2
   27 (C.D. Cal. July 12, 2018) (citing Brennan v. Opus Bank, 796 F.3d 1125, 1129-31
      (9th Cir. 2015)).
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     1 resolved in favor of arbitration, whether the problem at hand is the construction of
     2 the contract language itself or any allegation of waiver, delay, or a like defense to
     3 arbitrability.” Id. at 24-25. “[I]t has been established that where the contract
     4 contains an arbitration clause, there is a presumption of arbitrability in the sense that
     5 an order to arbitrate the particular grievance should not be denied unless it may be
     6 said with positive assurance that the arbitration clause is not susceptible of an
     7 interpretation that covers the asserted dispute. Doubts should be resolved in favor of
     8 coverage.” AT & T Techs., Inc. v. Commc'ns Workers of Am., 475 U.S. 643, 650
     9 (1986) (quotation, citation and alterations omitted).
   10         Pursuant to Section 3 of the FAA, if a suit is brought in court:
   11         [U]pon any issue referable to arbitration under an agreement in writing
              for such arbitration, the court in which such suit is pending, upon being
   12         satisfied that the issue involved in such suit or proceeding is referable
              to arbitration under such an agreement, shall on application of one of
   13         the parties stay the trial of the action until such arbitration has been had
              in accordance with the terms of the agreement . . . .
   14
   15 9 U.S.C. § 3. Once a court determines a claim is subject to arbitration, it lacks
   16 authority to address the merits of that claim. See Prima Paint Corp. v. Flood &
   17 Conklin Mfr. Co., 388 U.S. 395, 400 (1967).
   18                                       ARGUMENT
   19 I.      ANY QUESTIONS OF ARBITRABILITY MUST BE DECIDED BY AN
   20         ARBITRATOR
   21         The Supreme Court has recognized “that parties can agree to arbitrate
   22 ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to
   23 arbitrate or whether their agreement covers a particular controversy.”            Rent-A-
   24 Center, West, Inc. v. Jackson, 561 U.S. 63, 69 (2010). “An agreement to arbitrate a
   25 gateway issue is simply an additional, antecedent agreement the party seeking
   26 arbitration asks the federal court to enforce, and the FAA operates on this additional
   27 arbitration agreement just as it does on any other.” Id. at 70. If the parties have
   28 “clearly and unmistakably” agreed that questions of arbitrability must be decided by
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     1 the arbitrator, such provisions must be enforced. See Howsam v. Dean Witter
     2 Reynolds, Inc., 537 U.S. 79, 83 (2002) (internal quotation and citation omitted). As
     3 the United States Supreme Court recently held, “[w]hen the parties’ contract
     4 delegates the arbitrability question to an arbitrator, a court may not override the
     5 contract.” Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 529
     6 (2019). Rather, “[i]n those circumstances, a court possesses no power to decide the
     7 arbitrability issue.” Id.
     8         Here, plaintiffs’ arbitration agreements clearly and unmistakably delegate
     9 issues of arbitrability to the arbitrator. See ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at
   10 ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at ¶ 22.6 (Updater EULA) (“The
   11 arbitrator, and not any federal, state or local court or agency, shall have exclusive
   12 authority to resolve all disputes arising out of or relating to the interpretation,
   13 applicability, enforceability or formation of this Agreement, including any claim
   14 that all or any part of this Agreement is void or voidable.”).6 Courts have repeatedly
   15 held the language contained in plaintiffs’ arbitration agreements evinces such an
   16 intent. See, e.g., Rent-A-Ctr., 561 U.S. at 66 (delegation provision stated “[t]he
   17 Arbitrator, and not any federal, state, or local court or agency, shall have exclusive
   18 authority to resolve any dispute relating to the interpretation, applicability,
   19 enforceability or formation of this Agreement including, but not limited to any claim
   20 that all or any part of this Agreement is void or voidable.”); Lakhan v. U.S. Sec.
   21 Assocs., Inc., 2019 WL 175043, at *6 (C.D. Cal. Jan. 11, 2019) (holding agreement
   22 that required an arbitrator to “resolve any issue relating to the interpretation,
   23
   24      6
             In addition to the explicit delegation agreements, plaintiffs’ agreements also
      incorporate the JAMS rules, which separately evinces the “clear and unmistakable”
   25 intent to commit arbitrability issues to the arbitrator. See ECF No. 1 at ¶ 32 n. 8;
      Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.6 (software license) & 2 at 22.6 (Updater
   26 EULA) (arbitration to be conducted under JAMS rules); Bitstamp Ltd. v. Ripple
      Labs Inc., 2015 WL 4692418, at *5 (N.D. Cal. Aug. 6, 2015) (holding that
   27 incorporation of the JAMS rules “overcame the default rule and assigned the
      arbitrability question to the arbitrator.”).
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     1 formation or enforceability of this Agreement, or any issue relating to whether a
     2 Claim is subject to arbitration under this Agreement” was “similar to others that
     3 courts in this District have determined clearly and unmistakably provide for
     4 threshold issues of arbitrability to be determined by an arbitrator.”) (citation
     5 omitted).
     6        Because plaintiffs “clearly and unmistakably” agreed to delegate questions of
     7 arbitrability to the arbitrator, to the extent they challenge the interpretation,
     8 applicability, enforceability or formation of their agreements, those issues must be
     9 decided by the arbitrator.
   10 II.     THOUGH NOT AN ISSUE FOR THE COURT, PLAINTIFFS
   11         ENTERED INTO VALID ARBITRATION AGREEMENTS THAT
   12         CLEARLY COVER THE CLAIMS AT ISSUE
   13         Because disputes regarding the existence, scope and validity of the arbitration
   14 agreements are reserved for the arbitrator, the Court need not address these issues.
   15 However, if the Court were to reach these issues, they too mandate this dispute be
   16 sent to arbitration. Under the FAA, arbitration must be compelled where, as in this
   17 case: (1) a valid agreement to arbitrate exists; and (2) the claims at issue fall within
   18 the scope of that agreement. See Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
   19 F.3d 1126, 1130 (9th Cir. 2000). Here, both conditions are met and arbitration is
   20 required.
   21         As discussed, plaintiffs concede as owners of Epson printers they were
   22 required to “agree to Epson’s software license when purchasing and using an Epson
   23 printer.” ECF No. 1 at ¶ 32. See also id. at ¶ 35 (“Under the terms of Epson’s
   24 software licenses, Plaintiffs . . . authorized Epson to access their printers to apply
   25 fixes and upgrades.”); Arabian Decl. at ¶ 3, Ex. 1 (software license). Thus, there
   26 can be no dispute plaintiffs agreed to the terms of Epson’s software license,
   27 including the agreement to arbitrate their disputes with Epson. See, e.g., Smith,
   28 2019 WL 339542, at *4 (contract formation established where plaintiff “conceded
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     1 that she entered the agreement in her own complaint”).7 Additionally, plaintiffs
     2 Rabinovich, Famiglietti, Gordon, Szot, Dignard and Kovach reaffirmed their
     3
           7
               Plaintiffs concede the software license constituted an agreement between
    4 themselves and defendant Epson America, Inc. See ECF No. 1 at 1 (defining
      “Epson” to mean “Epson America, Inc.”), ¶ 35 (“Under the terms of Epson’s
    5 software licenses, Plaintiffs . . . authorized Epson to access their printers to apply
      fixes and upgrades”). This is consistent with the terms of plaintiffs’ agreements,
    6 which explicitly include defendant Epson America, Inc. in the arbitration provisions.
      See, e.g., ECF No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.3 (software
    7 license) (among other provisions, requiring notice of any arbitration to be sent
      directly to “Epson America, Inc.”). See also Arabian Decl. at ¶ 5, Ex. 2 at ¶ 22.3
    8 (Updater EULA) (same). While plaintiffs’ own allegations and the terms of their
      agreements plainly establish Epson has standing to enforce plaintiffs’ arbitration
    9 agreements, to the extent plaintiffs attempt to contend otherwise, it is worth noting
      Epson America, Inc. would also have standing to enforce the arbitration agreements:
   10 (1) as a third-party beneficiary; (2) under the doctrine of equitable estoppel; and (3)
      under an agency theory. On the first, though the arbitration agreements do explicitly
   11 name Epson America, to “invoke the third party beneficiary exception,” Epson need
      only show “the arbitration clause . . . was made expressly for [its] benefit,” and it is
   12 “not necessary that the beneficiary be named and identified as an individual.”
      Ronay Family Ltd. P'ship v. Tweed, 216 Cal. App. 4th 830, 838–39 (2013)
   13 (quotations and citations omitted). Here, plaintiffs allege Epson America “is
      responsible for selling and marketing Epson printers in the United States,” (ECF No.
   14 1 at ¶ 14) and assert Epson America is responsible for the software updates at issue
      in this lawsuit (id. at ¶ 3). The arbitration agreements at issue apply, by their
   15 express terms, to users “in the United States,” and expressly cover “any dispute,
      claim, controversy or action” arising out of or related to the Epson hardware,
   16 software and updates for which plaintiffs claim Epson America is responsible. ECF
      No. 1 at ¶ 32 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 & 2. The arbitration agreements’
   17 explicit reference to Epson America (including as the party who must be notified of
      the initiation of any arbitration), further confirms the agreements were intended to
   18 benefit Epson America. Additionally, under California law, both species of
      equitable estoppel would allow enforcement of the arbitration agreements. First, “if
   19 a plaintiff relies on the terms of an agreement to assert his or her claims . . . the
      plaintiff may be equitably estopped from repudiating the arbitration clause of that
   20 very agreement.” Goldman v. KPMG, LLP, 173 Cal. App. 4th 209, 220 (2009).
      Here, as but one example, plaintiffs rely on the terms of the license agreement to
   21 define the scope of Epson’s authority to access their printers, which Epson
      purportedly exceeded with the software updates at issue (ECF No. 1 at ¶¶ 35-36)—
   22 plaintiffs cannot “have it both ways,” and must abide by their agreements to
      arbitrate these claims. See id. See also Kramer v. Toyota Motor Corp., 705 F.3d
   23 1122, 1128 (9th Cir. 2013) (equitable estoppel applies where “a signatory must rely
      on the terms of the written agreement in asserting its claims”). Second, “the
   24 equitable estoppel doctrine applies when a party has signed an agreement to arbitrate
      but attempts to avoid arbitration by suing nonsignatory defendants for claims that
   25 are based on the same facts and are inherently inseparable from arbitrable claims
      against signatory defendants.” Metalclad Corp. v. Ventana Envtl. Organizational
   26 P’ship, 109 Cal. App. 4th 1705, 1713 (2003). Here, there can be no doubt this
      theory would also apply—plaintiffs’ entire complaint is premised on software
   27 updates that are the subject of plaintiffs’ license agreements and arbitration
      provisions. See, e.g., ECF No. 1 at ¶¶ 3 (“Epson designed and delivered software
   28     (footnote continued)
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     1 agreements to arbitrate when they were presented with the Updater EULA at the
     2 time of their software updates and once again affirmatively assented to the terms.
     3 Arabian Decl. at ¶ 5, Ex. 2 (Updater EULA). “Federal courts . . . have recognized
     4 the general enforceability of . . . online agreements that require affirmative user
     5 assent.” In re Holl, 925 F.3d 1076, 1085 (9th Cir. 2019).
     6        Further, there can be no dispute plaintiffs’ arbitration agreements cover the
     7 claims at issue here. Plaintiffs’ arbitration agreements broadly cover “all Disputes
     8 between you and Epson,” and define “Disputes” to “have the broadest meaning
     9 permissible under law,” including “any dispute, claim, controversy or action
   10 between you and Epson arising out of or relating to this Agreement, the Software,
   11 Epson Hardware, or other transaction involving you and Epson, whether in contract,
   12 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
   13 ordinance, or any other legal or equitable basis.” See ECF No. 1 at ¶ 32 n. 8;
   14 Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater
   15 EULA). Courts analyzing arbitration agreements with similar language have held it
   16 must be interpreted broadly. See, e.g., Amirhamzeh v. Wells Fargo Bank, N.A., 2014
   17 WL 12610227, at *1 (N.D. Cal. Oct. 31, 2014) (“The arbitration agreement has an
   18 extremely broad scope; it provides that ‘any dispute’ between the parties is subject
   19 to arbitration.”). While plaintiffs’ claims clearly fall within the scope of their
   20
      and/or firmware Updates (defined below) to Epson printers that purposely disabled
   21 those printers with non-Epson printer cartridges installed.”); 33 (“The Software
      License covers ‘any related documentation, firmware, or Updates.’”); 35 (“The
   22 Software licenses do not alert owners that these software Updates might render their
      printer inoperable if they use or attempt to use third-party ink cartridges.”). Finally,
   23 if accepted as true, plaintiffs’ allegations give rise to an agency theory that would
      permit Epson America’s enforcement of the arbitration agreements. See, e.g., Dryer
   24 v. Los Angeles Rams, 40 Cal. 3d 406, 418 (1985) (“If, as the complaint alleges, the
      individual defendants, though not signatories, were acting as agents for the Rams,
   25 then they are entitled to the benefit of the arbitration provisions.”). Specifically,
      plaintiffs contend Epson America is responsible for the conduct alleged in the
   26 complaint (ECF No. 1 at ¶ 3) and allege the software licenses containing the
      applicable arbitration agreements explicitly govern this conduct (id. at ¶ 33).
   27 Without the agency relationship alleged by plaintiffs, Epson America would not
      “belong in this suit at all.” See Dryer, 40 Cal. 3d at 418.
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     1 agreements, to the extent there is any question, all “doubts concerning the scope of
     2 arbitrable issues should be resolved in favor of arbitration[.]” Moses H. Cone, 460
     3 U.S. at 24-25.
     4 III.   THOUGH NOT AN ISSUE FOR THE COURT, ARBITRATION MAY
     5        NOT PROCEED ON A CLASS BASIS
     6        Because disputes regarding the interpretation of the arbitration agreements are
     7 reserved for the arbitrator, the Court need not determine whether class arbitration is
     8 permitted. See, e.g., Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662,
     9 684-85 (2010) (arbitrator made initial determination whether class arbitration was
   10 permitted under the parties’ agreement).
   11         But again, this is an issue the agreements unambiguously and enforceably
   12 resolve. Plaintiffs’ agreements clearly prohibit class claims. See ECF No. 1 at ¶ 32
   13 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5
   14 (Updater EULA). In Stolt-Nielsen, the Supreme Court held “a party may not be
   15 compelled under the FAA to submit to class arbitration unless there is a contractual
   16 basis for concluding that the party agreed to do so.” 559 U.S. at 684 (emphasis in
   17 original). The Supreme Court has consistently enforced this precedent and has
   18 repeatedly upheld class waivers in arbitration agreements. See, e.g., Epic Sys. Corp.
   19 v. Lewis, 138 S. Ct. 1612, 1623 (2018) (“[C]ourts may not allow a contract defense
   20 to reshape traditional individualized arbitration by mandating classwide arbitration
   21 procedures without the parties’ consent.”); Lamps Plus, Inc. v. Varela, 139 S. Ct.
   22 1407, 1419 (2019) (“Courts may not infer from an ambiguous agreement that parties
   23 have consented to arbitrate on a classwide basis.”).
   24         The arbitration agreements here are clear and expressly state the parties’
   25 intentions that arbitration may not proceed on a class basis. See ECF No. 1 at ¶ 32
   26 n. 8; Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶ 14.5 (software license) & 2 at ¶ 22.5
   27 (Updater EULA). “[C]ourts and arbitrators must give effect to the contractual rights
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     1 and expectations of the parties.” Stolt-Nielsen, 559 U.S. at 682 (internal quotations
     2 omitted). Thus, arbitration may not proceed on a class basis.
     3 IV.    PLAINTIFFS’ CLAIMS SHOULD BE STAYED PENDING
     4        RESOLUTION OF ANY ARBITRATION, AND THIS ACTION
     5        SHOULD BE STAYED PENDING A RULING ON THIS MOTION
     6        Under the FAA, an action compelled to arbitration shall be stayed by the
     7 district court pending resolution of the arbitration. 9 U.S.C. § 3. See also Mendoza
     8 v. Uber Techs. Inc., 2020 WL 2563047, at *2 (C.D. Cal. May 4, 2020) (“This action
     9 is STAYED pending resolution of the arbitration proceedings. The Clerk is directed
   10 to administratively close the case.”).
   11         Additionally, because this Court is not the proper forum for plaintiffs’ claims,
   12 Epson also seeks an order staying all proceedings pending resolution of its motion to
   13 compel arbitration (including a stay of all discovery), which would be obviated by
   14 an order sending this case to arbitration. Plaintiffs should not be permitted to ignore
   15 their arbitration agreements, file a lawsuit in federal court, and force Epson to
   16 participate in litigation in violation of the terms of the parties’ agreements. For this
   17 reason, courts routinely stay proceedings pending the resolution of a motion to
   18 compel arbitration. See, e.g., Mahamedi IP Law, LLP v. Paradice & Li, LLP, 2017
   19 WL 2727874, at *1 (N.D. Cal. Feb. 14, 2017) (granting “motion to stay discovery
   20 until the Court rules on [the] motion to compel arbitration.”); Hotel Greystone Corp.
   21 v. New York Hotel & Motel Trades Council, AFL-CIO, 897 F. Supp. 168, 170
   22 (S.D.N.Y. 1995) (“[P]etitioner's motion for a preliminary stay pending resolution of
   23 the petition for a stay of arbitration and respondent's cross-motion to compel is
   24 granted.”); Hamoudeh v. Unitedhealth Grp. Inc., 2016 WL 2894870 at *1 (E.D.N.Y.
   25 May 17, 2016) (granting “motion to stay this action pending resolution of
   26 UnitedHealth's motion to compel arbitration of Plaintiffs' claims.”).
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     1                                   CONCLUSION
     2        For the foregoing reasons, plaintiffs’ claims should be compelled to
     3 arbitration and, to the extent plaintiffs raise any defenses to arbitration of their
     4 claims, those disputes must be resolved by the arbitrator. The action should be
     5 stayed pending resolution of the arbitration and, in the interim, stayed pending
     6 resolution of this motion.
     7 DATED: July 20, 2020                 QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
     8
     9
                                             By         /s/ Shon Morgan
   10                                             Shon Morgan
                                                  Attorneys for Defendant Epson America,
   11                                             Inc.
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      Inc.
    7
    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,
   13 GREGORY SZOT, MARTIN                       DECLARATION OF SIRANUSH
      DIGNARD, and MICHAEL KOVACH,               ARABIAN IN SUPPORT OF
   14                                            DEFENDANT EPSON AMERICA
      individually and on behalf of all others   INC.’S MOTION TO COMPEL
   15 similarly situated,                        ARBITRATION AND STAY
                                                 PROCEEDINGS
   16
                        Plaintiffs,
   17                                            Date:      August 18, 2020
                 vs.                             Time:      10:00 a.m.
   18                                            Judge:     Hon. Consuelo B.
                                                            Marshall
   19 EPSON AMERICA, INC.,                       Courtroom: 8B
   20
                       Defendant.
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                    DECLARATION OF SIRANUSH ARABIAN

         I, SIRANUSH ARABIAN, declare as follows:

         1.    I am the Director, Service and Support Operation for Epson America,

  Inc. (hereinafter, “Epson”).    I make this declaration of personal, firsthand

  knowledge, and if called and sworn as a witness, I could and would testify

  competently hereto.

         2.    I have worked for Epson in various service and support positions

  since December 1993. I have held the role of Director, Service and Support

  Operation since August 2017. In this role, I have access to and have reviewed

  Epson’s records and other documents that provide the basis for my statements

  herein. Through this review and through the course of my regular duties as

  Director, Service Support Operation, I have personal knowledge of the facts stated

  herein.

         3.    Attached hereto as Exhibit 1 is a true and correct copy of the Epson

  End User Software License Agreement (“software license”), which remained in

  effect from 2016 through today. The terms of the arbitration agreement set forth in

  Paragraph 14 of the software license did not change during that period. Exhibit 1

  was kept in the ordinary course of Epson’s business and retrieved from Epson’s

  records system.




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           4.   Throughout this period, users setting up an Epson printer have been

  required to view the software license as part of the set-up process—the software

  license is automatically displayed for the users to see during this process. The

  users are required to click a bubble that appears immediately after the displayed

  software license to signify their agreement to the terms of the software license.

           5.   Attached hereto as Exhibit 2 is a true and correct copy of the Epson

  End User Software License Agreement (“Updater EULA”) that accompanied the

  software updates in effect for, among others, the Epson Expression Premium XP-

  7100 All -in-One Printer; Epson XP-830 All-in-One; Epson WF-4740; Epson XP

  440; Epson Workforce Pro WS3720 3-in-1; and Epson Workforce 3720. Exhibit 2

  was kept in the ordinary course of Epson’s business and retrieved from Epson’s

  records system.

           6.   The Updater EULA remained in effect throughout 2019 and 2020 and

  the terms of the arbitration agreement set forth in Paragraph 22 of the Updater

  EULA did not change during that period.

           7.   To install software updates on (among others) the printers listed in

  Paragraph 5 above, users were required to view the Updater EULA, which was

  automatically displayed for the users to see, and the users were required to click,

  immediately after the displayed Updater EULA, to signify their agreement to its

  terms.


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         8.    The software license and Updater EULA contain opt-out provisions

  for customers who wish to opt-out of the arbitration agreements in the software

  license and Updater EULA.        In the ordinary course of its business, Epson

  maintains records of any users who choose to opt-out of the arbitration agreements

  in the software license and Updater EULA. I have reviewed these records and

  confirmed Epson did not receive any opt-out notices from plaintiffs William

  Mondigo, Felix Rabinovich, Richard Famiglietti, Jesse Gordon, Gregory Szot,

  Martin Dignard, or Michael Kovach.

         I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.

         Executed July __, 2020, at _______________.




                                        By
                                          Siranush Arabian




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        ARABIAN DECLARATION
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  or the Epson Hardware. If Epson asks you to defend any such action, suit or claim, Epson will have the
  right, at its own expense, to participate in the defense thereof with counsel of its choice. You will not settle
  any third-party claims for which Epson is entitled to indemnification without the prior written approval of
  Epson.

  15.    Termination. Without prejudice to any other rights Epson has, your license rights under Section 1
  above and your warranty rights under Section 7 above, shall automatically terminate upon failure by you
  to comply with this Agreement. Upon termination of such rights, you agree that the Software, and all
  copies thereof, will be immediately destroyed.

  16.    Capacity and Authority to Contract. You represent that you are of the legal age of majority in your
  state or jurisdiction of residence and have all necessary authority to enter into this Agreement, including,
  if applicable, due authorization by your employer to enter into this Agreement.

   17.     Privacy, Information Processing. The Software may have the ability to connect over the Internet to
   transmit data to and from your Device. For example, if you install the Software, the Software may cause
   your Device to send information about your Epson Hardware such as model and serial number, country
   identifier, language code, operating system information, and Epson Hardware usage information to an
   Epson Internet site which may return promotional or service information to your Device for display. Any
   processing of information provided through the Software, shall be according to applicable data
   protection laws and the Epson Privacy Policy located at
   https://global.epson.com/privacy/area_select_confirm_eula.html. To the extent permitted by applicable
   laws, by agreeing to the terms of this Agreement and by installing the Software, you consent to the
   processing and storage of your information in and/or outside your country of residence. If there is a
   specific privacy policy incorporated into the Software and/or displayed when you use the Software (for
   example, in the case of certain software application software), such specific privacy policy shall prevail
   over the Epson Privacy Policy stated above.

  18.    Third Party Websites. You may, through hypertext or other computer links from the Software, gain
  access to websites and use certain services that are not under the control of or operated by Epson, but
  rather are controlled by third parties. You acknowledge and agree that Epson is not responsible for such
  third party sites or services, including their accuracy, completeness, timeliness, validity, copyright
  compliance, legality, decency, quality, or any other aspect thereof. These third party websites/services
  are subject to different terms and conditions and when you access and use third party websites/services,
  you will be legally bound by the terms and conditions of those websites/services. If there is a conflict
  between this Agreement and terms and conditions of third party websites/services, the third party
  websites’/services’ terms and conditions will govern with respect to your access and use of those
  websites/services. Although Epson may provide a link to a third party website/service from the Software,
  such a link is not an authorization, endorsement, sponsorship or affiliation by Epson with respect to such
  website/services, its content, its owners or its providers. Epson provides such links for your reference
  and convenience only. Accordingly, Epson makes no representations whatsoever concerning such
  websites/services and does not provide any support related to such third party sites or services. Epson
  has not tested any information, products or software found on such websites/services and therefore
  cannot make any representations whatsoever with respect thereto. You agree that Epson is not
  responsible for the content or operation of such websites/services, and it is up to you to take precautions
  to ensure that whatever you select is free of items such as viruses, worms, Trojan horses and other items
  of a destructive nature. You are solely responsible for determining the extent to which you may use any
  content at any other websites/services to which you link from this Software.


                     (IF YOU ARE LOCATED IN THE UNITED STATES, THE FOLLOWING
                                      SECTIONS 19 - 23 APPLY TO YOU)

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  19.   Ink Purchases. For certain Epson printer products sold in North America, the Software may also
  display an option to buy ink from Epson. If you click on the buy button, the Software will cause your
  Device to display Epson Hardware cartridge types and ink levels and provide other information about your
  cartridges, such as the colors, available cartridge sizes, and prices for replacement ink cartridges, which
  you may purchase online from Epson.

  20.   Downloadable Updates. You may also be able to download from an Epson Internet site updates or
  upgrades to the Software if such updates or upgrades are made available. If you agree to install the
  Software, any transmissions to or from the Internet, and data collection and use, will be in accordance
  with Epson’s then-current Privacy Policy, and by installing the Software you agree that such then-current
  Privacy Policy shall govern such activities.

  21.   Epson Accounts and Promotional Messages. In addition, if you install the Software and register
  your Epson Hardware with Epson, and/or you create an account at the Epson Store, and provided your
  consent to such use, you agree that Epson may merge the data collected in connection with installation of
  the Software, registration of your Epson Hardware and/or creation of your Epson Store account,
  consisting of personal information and non-personally identifiable information, and use such merged
  data to send you Epson promotional or service information. If you do not wish to send information about
  your Epson Hardware or receive promotional or service information, you will be able to disable these
  features on a Windows system through the Monitoring Preferences section in the driver. On a Mac
  operating system, you can disable these features by uninstalling the Epson Customer Research
  Participation and Low Ink Reminder software.

  22.   DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND WAIVER OF CLASS ACTIONS AND CLASS
  ARBITRATIONS

        22.1 Disputes. The terms of this Section 22 shall apply to all Disputes between you and Epson.
        The term “Dispute” is meant to have the broadest meaning permissible under law and includes any
        dispute, claim, controversy or action between you and Epson arising out of or relating to this
        Agreement, the Software, Epson Hardware, or other transaction involving you and Epson, whether
        in contract, warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation, ordinance,
        or any other legal or equitable basis. “DISPUTE” DOES NOT INCLUDE IP CLAIMS, or more
        specifically, a claim or cause of action for (a) trademark infringement or dilution, (b) patent
        infringement, (c) copyright infringement or misuse, or (d) trade secret misappropriation (an “IP
        Claim”). You and Epson also agree, notwithstanding Section 22.6, that a court, not an arbitrator,
        may decide if a claim or cause of action is for an IP Claim.

        22.2 Binding Arbitration. You and Epson agree that all Disputes shall be resolved by binding
        arbitration according to this Agreement. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A
        JUDGE OR JURY IN A COURT PROCEEDING AND YOUR GROUNDS FOR APPEAL ARE LIMITED. Pursuant
        to this Agreement, binding arbitration shall be administered by JAMS, a nationally recognized
        arbitration authority, pursuant to its code of procedures then in effect for consumer related
        disputes, but excluding any rules that permit joinder or class actions in arbitration (for more detail
        on procedure, see Section 22.6 below). You and Epson understand and agree that (a) the Federal
        Arbitration Act (9 U.S.C. §1, et seq.) governs the interpretation and enforcement of this Section 22,
        (b) this Agreement memorializes a transaction in interstate commerce, and (c) this Section 22 shall
        survive termination of this Agreement.

        22.3 Pre-Arbitration Steps and Notice. Before submitting a claim for arbitration, you and Epson
        agree to try, for sixty (60) days, to resolve any Dispute informally. If Epson and you do not reach
        an agreement to resolve the Dispute within the sixty (60) days, you or Epson may commence an
        arbitration. Notice to Epson must be addressed to: Epson America, Inc., ATTN: Legal Department,
        3840 Kilroy Airport Way, Long Beach, CA 90806 (the “Epson Address”). The Dispute Notice to you
        will be sent to the most recent address Epson has in its records for you. For this reason, it is

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       important to notify us if your address changes by emailing us at EAILegal@ea.epson.com or writing
       us at the Epson Address above. Notice of the Dispute shall include the sender’s name, address and
       contact information, the facts giving rise to the Dispute, and the relief requested (the “Dispute
       Notice”). Following receipt of the Dispute Notice, Epson and you agree to act in good faith to
       resolve the Dispute before commencing arbitration.

       22.4 Small Claims Court. Notwithstanding the foregoing, you may bring an individual action in the
       small claims court of your state or municipality if the action is within that court’s jurisdiction and is
       pending only in that court.

       22.5 WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS. YOU AND EPSON AGREE THAT EACH
       PARTY MAY BRING DISPUTES AGAINST THE OTHER PARTY ONLY IN AN INDIVIDUAL CAPACITY, AND
       NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR REPRESENTATIVE PROCEEDING,
       INCLUDING WITHOUT LIMITATION FEDERAL OR STATE CLASS ACTIONS, OR CLASS ARBITRATIONS.
       CLASS ACTION LAWSUITS, CLASS-WIDE ARBITRATIONS, PRIVATE ATTORNEY-GENERAL ACTIONS,
       AND ANY OTHER PROCEEDING WHERE SOMEONE ACTS IN A REPRESENTATIVE CAPACITY ARE NOT
       ALLOWED. ACCORDINGLY, UNDER THE ARBITRATION PROCEDURES OUTLINED IN THIS SECTION, AN
       ARBITRATOR SHALL NOT COMBINE OR CONSOLIDATE MORE THAN ONE PARTY’S CLAIMS WITHOUT
       THE WRITTEN CONSENT OF ALL AFFECTED PARTIES TO AN ARBITRATION PROCEEDING.

       22.6 Arbitration Procedure.     If you or Epson commences arbitration, the arbitration shall be
       governed by the rules of JAMS that are in effect when the arbitration is filed, excluding any rules
       that permit arbitration on a class or representative basis (the “JAMS Rules”), available at
       http://www.jamsadr.com or by calling 1-800-352-5267, and under the rules set forth in this
       Agreement. All Disputes shall be resolved by a single neutral arbitrator, and both parties shall have
       a reasonable opportunity to participate in the selection of the arbitrator. The arbitrator is bound by
       the terms of this Agreement. The arbitrator, and not any federal, state or local court or agency,
       shall have exclusive authority to resolve all disputes arising out of or relating to the interpretation,
       applicability, enforceability or formation of this Agreement, including any claim that all or any part
       of this Agreement is void or voidable. Notwithstanding this broad delegation of authority to the
       arbitrator, a court may determine the limited question of whether a claim or cause of action is for
       an IP Claim, which is excluded from the definition of “Disputes” in Section 22.1 above. The
       arbitrator shall be empowered to grant whatever relief would be available in a court under law or in
       equity. The arbitrator may award you the same damages as a court could, and may award
       declaratory or injunctive relief only in favor of the individual party seeking relief and only to the
       extent necessary to provide relief warranted by that party’s individual claim. In some instances, the
       costs of arbitration can exceed the costs of litigation and the right to discovery may be more
       limited in arbitration than in court. The arbitrator’s award is binding and may be entered as a
       judgment in any court of competent jurisdiction.

       You may choose to engage in arbitration hearings by telephone. Arbitration hearings not
       conducted by telephone shall take place in a location reasonably accessible from your primary
       residence, or in Orange County, California, at your option.

             a)     Initiation of Arbitration Proceeding. If either you or Epson decides to arbitrate a
                    Dispute, both parties agree to the following procedure:

                    (i)    Write a Demand for Arbitration. The demand must include a description of the
                           Dispute and the amount of damages sought to be recovered. You can find a
                           copy of a Demand for Arbitration at http://www.jamsadr.com (“Demand for
                           Arbitration”).

                    (ii)   Send three copies of the Demand for Arbitration, plus the appropriate filing fee,
                           to: JAMS, 500 North State College Blvd., Suite 600 Orange, CA 92868, U.S.A.



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                      (iii)   Send one copy of the Demand for Arbitration to the other party (same address as
                              the Dispute Notice), or as otherwise agreed by the parties.

               b)     Hearing Format. During the arbitration, the amount of any settlement offer made shall
                      not be disclosed to the arbitrator until after the arbitrator determines the amount, if
                      any, to which you or Epson is entitled. The discovery or exchange of non-privileged
                      information relevant to the Dispute may be allowed during the arbitration.

               c)     Arbitration Fees. Epson shall pay, or (if applicable) reimburse you for, all JAMS filings
                      and arbitrator fees for any arbitration commenced (by you or Epson) pursuant to
                      provisions of this Agreement.

               d)     Award in Your Favor. For Disputes in which you or Epson seeks $75,000 or less in
                      damages exclusive of attorney’s fees and costs, if the arbitrator’s decision results in an
                      award to you in an amount greater than Epson’s last written offer, if any, to settle the
                      Dispute, Epson will: (i) pay you $1,000 or the amount of the award, whichever is
                      greater; (ii) pay you twice the amount of your reasonable attorney’s fees, if any; and (iii)
                      reimburse you for any expenses (including expert witness fees and costs) that your
                      attorney reasonably accrues for investigating, preparing, and pursuing the Dispute in
                      arbitration. Except as agreed upon by you and Epson in writing, the arbitrator shall
                      determine the amount of fees, costs, and expenses to be paid by Epson pursuant to
                      this Section 22.6d).

               e)     Attorney’s Fees. Epson will not seek its attorney’s fees and expenses for any
                      arbitration commenced involving a Dispute under this Agreement. Your right to
                      attorney’s fees and expenses under Section 22.6(d) above does not limit your rights to
                      attorney’s fees and expenses under applicable law; notwithstanding the foregoing, the
                      arbitrator may not award duplicative awards of attorney’s fees and expenses.

        22.7    Opt-out. You may elect to opt-out (exclude yourself) from the final, binding, individual
        arbitration procedure and waiver of class and representative proceedings specified in this
        Agreement by sending a written letter to the Epson Address within thirty (30) days of your assent to
        this Agreement (including without limitation the purchase, download, installation of the Software or
        other applicable use of Epson Hardware, products and services) that specifies (i) your name, (ii)
        your mailing address, and (iii) your request to be excluded from the final, binding individual
        arbitration procedure and waiver of class and representative proceedings specified in this Section
        22. In the event that you opt-out consistent with the procedure set forth above, all other terms
        shall continue to apply, including the requirement to provide notice prior to litigation.

        22.8    Amendments to Section 22. Notwithstanding any provision in this Agreement to the
        contrary, you and Epson agree that if Epson makes any future amendments to the dispute
        resolution procedure and class action waiver provisions (other than a change to Epson’s address) in
        this Agreement, Epson will obtain your affirmative assent to the applicable amendment. If you do
        not affirmatively assent to the applicable amendment, you are agreeing that you will arbitrate any
        Dispute between the parties in accordance with the language of this Section 22 (or resolve disputes
        as provided for in Section 22.7, if you timely elected to opt-out when you first assented to this
        Agreement).

        22.9    Severability. If any provision in this Section 22 is found to be unenforceable, that provision
        shall be severed with the remainder of this Agreement remaining in full force and effect. The
        foregoing shall not apply to the prohibition against class or representative actions as provided in
        Section 22.5. This means that if Section 22.5 is found to be unenforceable, the entire Section 22
        (but only Section 22) shall be null and void.

  23.   For New Jersey Residents. NOTWITHSTANDING ANY TERMS SET FORTH IN THIS AGREEMENT, IF ANY
  OF THE PROVISIONS SET FORTH IN SECTIONS 7 OR 8 ARE HELD UNENFORCEABLE, VOID OR INAPPLICABLE


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  UNDER NEW JERSEY LAW, THEN ANY SUCH PROVISION SHALL NOT APPLY TO YOU BUT THE REST OF THE
  AGREEMENT SHALL REMAIN BINDING ON YOU AND EPSON. NOTWITHSTANDING ANY PROVISION IN THIS
  AGREEMENT, NOTHING IN THIS AGREEMENT IS INTENDED TO, NOR SHALL IT BE DEEMED OR CONSTRUED
  TO, LIMIT ANY RIGHTS AVAILABLE TO YOU UNDER THE TRUTH-IN-CONSUMER CONTRACT, WARRANTY
  AND NOTICE ACT.

  Rev. December 2018




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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   11
      FAMIGLIETTI, JESSE GORDON,                 [PROPOSED] ORDER GRANTING
   12 GREGORY SZOT, MARTIN                       DEFENDANT EPSON AMERICA
      DIGNARD, and MICHAEL KOVACH,               INC.’S MOTION TO COMPEL
   13                                            ARBITRATION AND STAY
      individually and on behalf of all others   PROCEEDINGS
   14 similarly situated,
   15                                            Date:      August 18, 2020
                        Plaintiffs,              Time:      10:00 a.m.
   16                                            Judge:     Hon. Consuelo B.
                 vs.                                        Marshall
   17                                            Courtroom: 8B
   18 EPSON AMERICA, INC.,
   19
                       Defendant.
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                                                           Case No. 2:20-cv-4400-CBM-GJS
        MOTION
                                                                         [PROPOSED] ORDER
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    1                                 [PROPOSED] ORDER
    2         Before the Court is defendant Epson America, Inc.’s Motion to Compel
    3 Arbitration and Stay Proceedings. Having considered the briefing, evidence, and
    4 arguments raised by the parties in support of and in opposition to the Motion, the
    5 Court GRANTS in full the defendant’s Motion.
    6         For all the reasons stated in defendants’ Motion, this action is compelled to
    7 arbitration, and to the extent plaintiffs have raised any disputes regarding the
    8 arbitrability of their claims, those disputes must be resolved by the arbitrator. This
    9 action is STAYED pending resolution of the arbitration proceedings. The Clerk is
   10 directed to administratively close the case.
   11         IT IS SO ORDERED.
   12
   13         Dated:
                                                  Hon. Consuelo B. Marshall
   14                                             United States District Judge
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                                                 -1-          Case No. 2:20-cv-4400-CBM-GJS
                                                                             [PROPOSED] ORDER
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                             EXHIBIT C
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      Inc.
    7
    8
    9                           UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                        CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                    DEFENDANT EPSON AMERICA
   13 GREGORY SZOT, MARTIN                          INC.’S REPLY IN SUPPORT OF
      DIGNARD, and MICHAEL KOVACH,                  ITS MOTION TO COMPEL
   14                                               ARBITRATION AND STAY
      individually and on behalf of all others      PROCEEDINGS;
   15 similarly situated,
   16                                               Date:      September 29, 2020
                           Plaintiffs,              Time:      10:00 a.m.
   17                                               Judge:     Hon. Consuelo B.
                 vs.                                           Marshall
   18                                               Courtroom: 8B
   19 EPSON AMERICA, INC.,
   20
                          Defendant.
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                                                              Case No. 2:20-cv-4400-CBM-GJS
        MOTION
                   REPLY ISO MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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    1 I.       ANY MCGILL CONCERNS HAVE BEEN DELEGATED TO THE
               ARBITRATOR TO DECIDE
    2
    3          Plaintiffs’ sole argument to avoid arbitration is the (misplaced) contention
    4 that the arbitration provision impermissibly waives the right to seek “public
    5 injunctive relief” under the California Supreme Court’s decision in McGill v.
    6 Citibank, N.A., 2 Cal. 5th 945 (2017). Their waiver concern is unfounded, but in
    7 any event the agreements delegate this threshold issue to the arbitrator. ECF No.
    8 21-2 at ¶ 14.61 (“The arbitrator, and not any federal, state or local court or agency,
    9 shall have exclusive authority to resolve all disputes arising out of or relating to the
   10 interpretation, applicability, enforceability or formation of this Agreement,
   11 including any claim that all or any part of this Agreement is void or voidable.”).
   12          Where, as here, the arbitration agreement delegates arbitrability issues, courts
   13 uniformly agree that challenges premised on McGill must be sent to arbitration.
   14 See, e.g., Moffett v. Recording Radio Film Connection, Inc., 2019 WL 6898955, at
   15 *7 (C.D. Cal. Oct. 4, 2019) (Gutierrez, J.) (“Courts have found, post-McGill, that
   16 where there is a delegation provision the public injunctive relief question is reserved
   17 to the arbitrator.”) (collecting cases).
   18          Plaintiffs raise three arguments to avoid this result: (1) the delegation
   19 agreement is not “clear and unmistakable” (Opp. at 9-10); (2) the delegation clause
   20 itself somehow waives the ability to seek public injunctive relief (Opp. at 11); and
   21 (3) questions of “validity” have not been delegated to the arbitrator (Opp. at 11-12).
   22 Each of these contentions can be readily dispatched.
   23          The Delegation Agreement Is Clear And Unmistakable. As shown in
   24 Epson’s opening memorandum, courts have repeatedly held the language in
   25
   26      1
             Plaintiffs recognize the Software License and Updater EULA “contain the
      same Arbitration Clause.” Opp. at 1 n. 1. Accordingly, in the interest of brevity,
   27 Epson cites only the arbitration agreement in the Software License throughout this
      brief. See ECF No. 21-2,
   28
                                                   -1-          Case No. 2:20-cv-4400-CBM-GJS
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    1 plaintiffs’ arbitration agreements evinces the “clear and unmistakable” intent
    2 necessary to delegate issues of arbitrability. Mot. at 7-8 (citing Rent-A-Ctr., West,
    3 Inc. v. Jackson, 561 U.S. 63, 66 (2010); Lakhan v. U.S. Sec. Assocs., Inc., 2019 WL
    4 175043, at *6 (C.D. Cal. Jan. 11, 2019)). Plaintiffs’ contention to the contrary is
    5 premised on a purported inconsistency—they argue a “Severability” clause outside
    6 the arbitration agreement creates “ambiguity” by recognizing that “a court of
    7 competent jurisdiction” could determine some provision in the Software License
    8 agreement is “void or unenforceable.” Opp. at 9-10.
    9         Courts have consistently rejected this exact argument following the Ninth
   10 Circuit’s decision in Mohamed v. Uber Techs., Inc., 848 F.3d 1201 (9th Cir.
   11 2016). See, e.g., Taylor v. Shutterfly, Inc., 2018 WL 4334770, at *5 (N.D. Cal. Sept.
   12 11, 2018) (“As the Ninth Circuit held, no matter how broad the arbitration clause,
   13 the parties may need to invoke the jurisdiction of a court for adjudicating claims that
   14 are not covered by their arbitration agreement or to seek other remedies. . . .
   15 Accordingly, here the reference to a ‘court of competent jurisdiction’ in one
   16 provision of the Terms of Use does not render the express delegation clause of the
   17 Arbitration Agreement ambiguous. As the Ninth Circuit held in Mohamed, the
   18 purported conflict is ‘artificial.’”); MegaCorp Logistics LLC v. Turvo, Inc., 2018
   19 WL 3619656, at *6 (N.D. Cal. July 30, 2018) (“[R]eference to a court of competent
   20 jurisdiction in one provision in the Consulting Services Agreement does not render
   21 the delegation clause of the arbitration provision ambiguous.”); Miller v. Time
   22 Warner Cable Inc., 2016 WL 7471302, at *5 (C.D. Cal. Dec. 27, 2016) (“the mere
   23 reference to a court making decisions based upon the Subscriber Agreement is
   24 insufficient to undermine its explicit [delegation] provision”); McLellan v. Fitbit,
   25 Inc., 2017 WL 4551484, at *4 (N.D. Cal. Oct. 11, 2017) (holding the “severability
   26 statement [did] not make ambiguous the parties’ delegation of gateway issues”).
   27         Unsurprisingly, plaintiffs cannot cite a single case within the Ninth Circuit
   28 that supports their argument, relying instead on a California state court case that pre-
                                                 -2-          Case No. 2:20-cv-4400-CBM-GJS
                REPLY ISO MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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    1 dated the Ninth Circuit’s decision in Mohamed. Opp. at 9-10 (citing Peleg v.
    2 Neiman Marcus Group, Inc., 204 Cal. App. 4th 1425 (2012)). Plaintiffs’ reliance on
    3 a state court case is entirely misplaced—instead, the substantive law of arbitrability
    4 established by the Ninth Circuit’s decision in Mohamed controls. See Brennan v.
    5 Opus Bank, 796 F.3d 1125, 1129 (9th Cir. 2015) (where, as here, the arbitration
    6 agreement is governed by the FAA, “the court is to make the arbitrability
    7 determination by applying the federal substantive law of arbitrability[.]”); Rent-A-
    8 Ctr., 561 U.S. at 69 (“the FAA operates on this additional [delegation] agreement
    9 just as it does on any other.”).
   10         The Delegation Clause Does Not (And Cannot) Waive The Right To Seek
   11 Public Injunctive Relief. Plaintiffs next contend the delegation agreement itself
   12 waives the right to seek public injunctive relief and thus runs afoul of McGill. Opp.
   13 at 11. This argument fundamentally misunderstands the nature of a delegation
   14 agreement. As the Supreme Court has repeatedly recognized, the delegation clause
   15 merely constitutes agreement about who will decide questions of arbitrability: the
   16 court or the arbitrator. See, e.g., Henry Schein, Inc. v. Archer & White Sales, Inc.,
   17 139 S. Ct. 524, 527 (2019) (“When a dispute arises, the parties sometimes may
   18 disagree not only about the merits of the dispute but also about the threshold
   19 arbitrability question—that is, whether their arbitration agreement applies to the
   20 particular dispute. Who decides that threshold arbitrability question? . . . The Act
   21 allows parties to agree by contract that an arbitrator, rather than a court, will resolve
   22 threshold arbitrability questions as well as underlying merits disputes.”).
   23         The delegation agreement does not waive the right to seek any particular
   24 relief in arbitration. Indeed, the delegation clause here consists solely of the
   25 following sentence (none of which plaintiffs even attempt to characterize as a
   26 purported “waiver”):
   27         The arbitrator, and not any federal, state or local court or agency, shall
              have exclusive authority to resolve all disputes arising out of or relating
   28
                                                  -3-          Case No. 2:20-cv-4400-CBM-GJS
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    1          to the interpretation, applicability, enforceability or formation of this
               Agreement, including any claim that all or any part of this Agreement
    2
               is void or voidable.
    3          ECF No. 21-2 at ¶ 14.6.2 Plaintiffs instead try to interject language from
    4 outside the delegation agreement to argue it waives the right to seek public
    5 injunctive relief. Opp. at 11. As courts have consistently held, however, the
    6 delegation provision constitutes a separate agreement—covering the limited issue of
    7 who will decide arbitrability disputes—and it cannot be challenged based on terms
    8 outside that specific provision. Rent-A-Ctr., 561 U.S. at 70-72 (“Thus, a party's
    9 challenge to another provision of the contract, or to the contract as a whole, does not
   10 prevent a court from enforcing a specific agreement to arbitrate. . . . Accordingly,
   11 unless Jackson challenged the delegation provision specifically, we must treat it as
   12 valid ”); Brennan, 796 F.3d at 1133 (“The arbitration clause at issue, as in Rent–A–
   13 Center, is the Delegation Provision . . . the only issue before this Court is who—an
   14 arbitrator or a judge—should decide the forum . . . and that question is resolved by
   15 determining the validity of the Delegation Provision alone.”) (quotations, citations
   16 omitted, and emphasis in original).
   17       Indeed, if plaintiffs were allowed to rely on purported waiver language
   18 outside the delegation agreement to avoid arbitrating issues of arbitrability, this
   19 would render meaningless the wall of authority holding that, “post-McGill, . . .
   20 where there is a delegation provision the public injunctive relief question is reserved
   21 to the arbitrator.” See Moffett, 2019 WL 6898955, at *7 (collecting cases). Had the
   22 courts in those cases simply imputed the purported waiver language into the
   23 delegation agreements, as plaintiffs attempt here, the courts could have bypassed the
   24 delegation issue to address the McGill challenges. Of course, that is not what
   25 happened, nor would it be consistent with Supreme Court authority requiring
   26
   27      2
              This conclusion is further confirmed by the very next sentence, which refers to
        the provision as the “broad delegation of authority to the arbitrator[.]” Id.
   28
                                                   -4-          Case No. 2:20-cv-4400-CBM-GJS
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    1 challenges specific to the delegation provision. E.g., Schein, 139 S. Ct. at 530 (“Just
    2 as a court may not decide a merits question that the parties have delegated to an
    3 arbitrator, a court may not decide an arbitrability question that the parties have
    4 delegated to an arbitrator.”); Rent-A-Ctr., 561 U.S. at 70-72.
    5         Validity Question Have Been Delegated To The Arbitrator. Plaintiffs’
    6 last-ditch effort to avoid the express delegation agreements depends on a
    7 nonsensically over-narrow interpretation of the language: plaintiffs contend these
    8 provisions do not apply because this is purportedly a dispute about the “validity” of
    9 the arbitration agreement, and the delegation agreements apply only to issues of
   10 “enforceability,” not “validity.”    Opp. at 11-12. But the question whether the
   11 agreements will be enforced necessitates a determination whether the agreements
   12 are valid. Dornaus v. Best Buy Co., 2019 WL 632957, at *6 (N.D. Cal. Feb. 14,
   13 2019) (“Given that the Agreement contains invalid terms under McGill, the court
   14 turns to their effect on the enforceability of the Agreement.”).
   15         In any event, plaintiffs conveniently ignore that the agreements also expressly
   16 state an arbitrator will resolve “any claim that all or any part of this Agreement is
   17 void or voidable.” ECF No. 21-2 at ¶ 14.6. As plaintiffs concede, their McGill
   18 argument raises the question whether a provision in the agreement (or, in plaintiffs’
   19 view, the whole agreement) is “void.” Opp. at 12 (“the invalidation of the clause
   20 prohibiting a claim for public injunctive relief renders the entire arbitration clause
   21 void.”). This issue is expressly reserved for the arbitrator.
   22         Moreover, even beyond the delegation language quoted above—which covers
   23 the dispute—the agreements also incorporate the JAMS rules, which courts have
   24 found separately constitutes the necessary “clear and unmistakable” intent to
   25 delegate issues of arbitrability.      E.g. Amtax Holdings 463, LLC v. KDF
   26 Communities-Hallmark, LLC, 2018 WL 4743386, at *5 (C.D. Cal. Jan. 9, 2018)
   27 (“[T]he incorporation of the JAMS rules constitutes ‘clear and unmistakable’
   28 evidence of the parties’ intent to delegate arbitrability to the arbitrator.”). The
                                                 -5-          Case No. 2:20-cv-4400-CBM-GJS
                REPLY ISO MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
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    1 JAMS rules provide the arbitrator, and not a court, shall resolve “disputes over the
    2 formation, existence, validity, interpretation or scope of the agreement under which
    3 Arbitration is sought[.]” JAMS Rule 11(b) (emphasis added). Thus, there can be no
    4 doubt the validity of the arbitration agreements is an issue reserved for the arbitrator.
    5 II.     SHOULD THE COURT REACH THE ISSUE, PLAINTIFFS’
              ARBITRATION AGREEMENTS DO NOT RUN AFOUL OF MCGILL
    6
    7         Because arbitrability disputes must be resolved by the arbitrator, the Court
    8 need not reach plaintiffs’ underlying challenge to the arbitration provisions. Schein,
    9 139 S. Ct. at 530; Rent-A-Ctr., 561 U.S. at 70-72. In any event, the agreements do
   10 not effect any waiver of plaintiffs’ right to seek public injunctive relief.
   11         First, plaintiffs make the perplexing argument that the class-action waiver
   12 somehow amounts to a waiver of the right to public injunctive relief. Opp. at 2. But
   13 nothing in this waiver of group claims prohibits any individual plaintiff from
   14 seeking public injunctive relief. Indeed, courts have repeatedly recognized—
   15 including the McGill court itself—that an action for public injunctive relief is an
   16 individual (not a representative) action. McGill, 2 Cal. 5th at 959 (“[W]e also
   17 conclude that a request for such [public injunctive] relief does not constitute the
   18 pursuit of ‘representative claims or relief on behalf of others’”) (alterations
   19 omitted). See also Lee v. Postmates Inc., 2018 WL 4961802, at *9 (N.D. Cal. Oct.
   20 15, 2018) (“The court [in McGill] noted that a request for public injunctive relief
   21 does not require a claim to be brought as a class or representative action, but is
   22 instead a remedy available to an individual private plaintiff[.]”); Magana v.
   23 DoorDash, Inc., 343 F. Supp. 3d 891, 901 (N.D. Cal. 2018) (“Magana argues that
   24 the Arbitration Agreement has a Class Action Waiver provision which states that ‘an
   25 arbitrator shall not have any authority to hear or arbitrate any class, collective or
   26 representative action[.]’ . . . But a claim for public injunctive relief is not a class,
   27 collective, or representative action.”). Thus, the class and representative action
   28
                                                  -6-          Case No. 2:20-cv-4400-CBM-GJS
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    1 waiver in plaintiffs’ agreements cannot be characterized as a waiver of the right to
    2 seek public injunctive relief.
    3         Second, plaintiffs have not advanced any argument that the right to public
    4 injunctive relief is waived as a result of the language in the arbitration agreements
    5 that states the arbitrator may award “injunctive relief only in favor of the individual
    6 party seeking relief and only to the extent necessary to provide relief warranted by
    7 that party’s individual claim.” See, e.g., Abram v. C.R. England, Inc., 2020 WL
    8 5077373, at *3 (C.D. Cal. June 23, 2020) (“Plaintiff has waived this argument
    9 because she failed to raise it in her Arbitration Opposition. In her Arbitration
   10 Opposition, Plaintiff exclusively focused on a different provision of the Arbitration
   11 Agreement (on a different page of the agreement)”) (emphasis in original); Brown v.
   12 DIRECTV, LLC, 2019 WL 6604879, at *10 (C.D. Cal. Aug. 5, 2019) (“Plaintiff
   13 waived any defense to arbitration predicated on the McGill Rule by omitting it from
   14 her opposition to DIRECTV's motion.”).
   15         Although plaintiffs never frame their challenge to the arbitration agreements
   16 in these terms, to the extent plaintiffs pivot to contend this language effects a waiver
   17 of public injunctive relief, this argument fails on the law. The California Supreme
   18 Court in McGill recognized a claim for public injunctive relief is an individual
   19 claim. McGill, 2 Cal. 5th at 959. Thus, under these agreements, an arbitrator’s
   20 award of injunctive relief “in favor of the individual party seeking relief” could
   21 include public injunctive relief to the extent warranted by that individual’s
   22 claim.3 This interpretation is further bolstered by the express statement in the
   23
          3
               This language stands in contrast, for example, to the provision in Blair v.
   24 Rent-A-Center, Inc., 928 F.3d 819 (9th Cir. 2019), on which plaintiffs rely, which
      prohibited the arbitrator from awarding “relief that would affect RAC account
   25 holders other than you.” Id. at 831 (emphasis added). Here, the agreements’
      statement the arbitrator may award injunctive relief “only in favor of the individual
   26 party seeking relief” and to the “extent necessary to provide relief warranted by that
      individual party’s claim” would not prohibit relief that affects others, as in Blair,
   27 because, as explained, “public injunctive relief” is a remedy available to an
      individual for an individual claim. Compare also McGill, 2 Cal. 5th at 952, 956
   28     (footnote continued)
                                                 -7-          Case No. 2:20-cv-4400-CBM-GJS
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    1 agreements that the “arbitrator shall be empowered to grant whatever relief would
    2 be available in a court under law or in equity.” ECF No. 21-2 at ¶ 14.6 (emphasis
    3 added). To the extent there is any ambiguity or doubt as to whether the arbitrator
    4 has authority to grant such relief (there is not), these must be resolved in favor of
    5 arbitration. Moses H. Cone Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1,
    6 24-25 (1983) (“[A]ny doubts concerning the scope of arbitrable issues should be
    7 resolved in favor of arbitration”).
    8         Third, even if the agreements did prohibit public injunctive relief (they do
    9 not), plaintiffs here do not seek such relief, and McGill is thus inapplicable. See,
   10 e.g., Sponheim v. Citibank, N.A., 2019 WL 2498938 at *5 (C.D. Cal. June 10, 2019)
   11 (“[T]he Court finds that Sponheim does not seek public injunctive relief . . .
   12 Accordingly, McGill does not invalidate the Arbitration Provision[.]”); Johnson v.
   13 JP Morgan Chase Bank, N.A., 2018 WL 4726042 at *6-8 (C.D. Cal. Sept. 18, 2018)
   14 (same); Wright v. Sirius XM Radio Inc., 2017 WL 4676580 at *9-10 (C.D. Cal. June
   15 1, 2017) (same). Rather, plaintiffs’ claims are asserted on behalf of a class of
   16 persons “who purchased a printer from Epson,” and plaintiffs rely on purported
   17 misrepresentations in their individual software license agreements and firmware
   18 updates—not broad advertising geared toward the general public. ECF No. 1 at ¶¶
   19 1, 5, 38, 40 122 (emphasis added). Where, as here, plaintiffs “[m]erely request[]
   20
      (“The arbitrator will not award relief for or against anyone who is not a party,” and
   21 the parties also had the “shared view” the language precluded plaintiff “from
      seeking public injunctive relief . . . in any forum.”); McArdle v. AT&T Mobility
   22 LLC, 2017 WL 4354998, at *4 (N.D. Cal. Oct. 2, 2017), aff'd, 772 F. App'x 575 (9th
      Cir. 2019) (unlike here, in McCardle there was no dispute whether the agreement
   23 purported to waive the right to public injunctive relief, and instead “[t]he parties
      agree[d] that the [challenged language] purports to waive the arbitrator’s ability to
   24 award public injunctive relief.”); Lotsoff v. Wells Fargo Bank, N.A., 2019 WL
      4747667, at *2 (S.D. Cal. Sept. 30, 2019) (agreement stated “[N]either Wells Fargo
   25 nor you will be entitled . . . to act in any arbitration in the interests of the general
      public”) (emphasis added); Cottrell v. AT&T Inc., 2020 WL 2747774, at *5 (N.D.
   26 Cal. May 27, 2020) (unlike here, the parties did not dispute whether the agreement
      waived the right to public injunctive relief, and instead “agree[d] in their arguments
   27 . . . the agreement is intended to prevent the award of such [public injunctive] relief
      altogether.”).
   28
                                                 -8-          Case No. 2:20-cv-4400-CBM-GJS
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     1 relief which would generally enjoin a defendant from wrongdoing [this] does not
     2 elevate requests for injunctive relief to requests for public injunctive relief.”
     3 Johnson, 2018 WL 4726042 at *6 (“[T]he relief sought is actually intended to
     4 redress and prevent further injury to a group of plaintiffs who have already been
     5 injured . . . the individuals who stand to benefit are still an inherently circumscribed
     6 group. Because Plaintiffs’ claims center on breaches of contract, only individuals
     7 who enter into contractual relationships with JPMorgan can benefit from this
     8 ruling.”).4
     9 III.    ANY ARGUABLE MCGILL ISSUE COULD BE APPROPRIATELY
               ADDRESSED BY SEVERING AND STAYING THE PUBLIC
   10
               INJUNCTIVE RELIEF CLAIM
   11
               The arbitration agreements here expressly provide that “[i]f any provision in
   12
        this Section 14 is found to be unenforceable, that provision shall be severed with the
   13
        remainder of this Agreement remaining in full force and effect.” ECF No. 21-2 at ¶
   14
        14.9. Courts addressing such language have severed and stayed claims for public
   15
        injunctive relief even where an impermissible McGill waiver was found. See, e.g.,
   16
        Dornaus, 2019 WL 632957 at *6 (“While the remainder of plaintiff's action must be
   17
        compelled to arbitration under the terms of the Agreement—including all questions
   18
        of liability—the court shall retain jurisdiction over the adjudication of plaintiff's
   19
        request for public injunctive relief . . . this action is STAYED in its entirety until
   20
        such arbitration has been had in accordance with the terms of the agreement.”).
   21
   22
           4
               Plaintiffs argue whether they seek public injunctive relief is irrelevant to
   23 whether McGill will allow them to avoid their agreements to arbitrate. Opp. at 6-7.
      As demonstrated by Sponheim, Johnson and Wright, supra, this is wrong. Plaintiffs’
   24 argument instead hinges on a misreading of McGovern v. U.S. Bank N.A., 2020 WL
      4582687, at *2 n. 1 (S.D. Cal. Aug. 10, 2020) (contrary to plaintiff’s assertion, this
   25 is not a Ninth Circuit case). In McGovern, the arbitration agreement had a particular
      contractual provision that “render[ed] the entire arbitration provision null and void”
   26 in the event any part was determined to be unenforceable. Id. It was for that reason
      the court held the relief sought was not relevant, not because that inquiry is never
   27 relevant under McGill.        As explained further below, plaintiffs’ arbitration
      agreements here have no such “poison pill” as it relates to the purported waiver of
   28     (footnote continued)
                                                  -9-         Case No. 2:20-cv-4400-CBM-GJS
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     1         Plaintiffs contend the agreements include a “poison pill” that renders the
     2 entire arbitration agreement invalid if the class action waiver in the agreements is
     3 determined to be invalid. See ECF No. 21-2 at ¶ 14.9 (“The foregoing shall not
     4 apply to the prohibition against class or representative actions as provided in Section
     5 14.5. This means that if Section 14.5 is found to be unenforceable, the entire
     6 Section 14 (but only Section 14) shall be null and void.”). However, as explained
     7 above, it is well established that nothing in Section 14.5—the class and
     8 representative action waiver—could constitute a waiver of “public injunctive” relief
     9 under McGill, as such actions for “public injunctive” relief are individual actions.
   10 Accordingly, a determination the agreement somehow waives the right to “public
   11 injunctive” relief would not be a determination that Section 14.5 is
   12 unenforceable. Thus, the “poison pill” is inapplicable and instead, as in Dornaus,
   13 the express severability provision mandates enforcement of the remainder of the
   14 agreement. See also Ferguson v. Corinthian Colleges, Inc., 733 F.3d 928, 938 (9th
   15 Cir. 2013) (“In the event that the arbitrator concludes that Corinthian has violated
   16 the UCL, FAL, or CLRA, and that entry of an injunction might be appropriate, but
   17 further determines that it lacks the authority under the agreements at issue to grant
   18 the requested injunction, Plaintiffs may seek the requested injunction in court.”).
   19 DATED: September 15, 2020               QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
   20
   21
                                               By         /s/ Shon Morgan
   22                                               Shon Morgan
                                                    Attorneys for Defendant Epson America,
   23                                               Inc.
   24
   25
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   27
         public injunctive relief, and McGovern is thus inapplicable.
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    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11 WILLIAM MONDIGO, FELIX                     CASE No. 2:20-cv-04400-CBM-GJS
      RABINOVICH, RICHARD
   12
      FAMIGLIETTI, JESSE GORDON,                 JOINT STATUS REPORT
   13 GREGORY SZOT, MARTIN
      DIGNARD, and MICHAEL KOVACH,
   14
      individually and on behalf of all others
   15 similarly situated,
   16
                        Plaintiffs,
   17
                 vs.
   18
   19 EPSON AMERICA, INC.,
   20
                       Defendant.
   21
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                                                          Case No.   2:20-cv-4400-CBM-GJS
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    1                               JOINT STATUS REPORT
    2        The parties, Defendant Epson America, Inc. (“Epson”) and Plaintiff William
    3 Mondigo, file this joint status report pursuant to the Court’s September 6, 2022
    4 Order (ECF No. 47).
    5        Plaintiffs Rabinovich, Famiglietti, Gordon, Szot, Dignard and Kovach
    6 submitted demands for arbitration against Epson, and the parties agreed to first raise
    7 in arbitration the threshold issue of whether Plaintiffs’ claims for public injunctive
    8 relief should be returned to this Court prior to any proceedings on the merits. This
    9 issue has been fully briefed in each of the arbitrations.
   10        The arbitrators in the Szot and Famiglietti arbitrations issued tentative rulings
   11 determining the merits of those plaintiff’s claims must be resolved in arbitration. In
   12 the interim, the parties have agreed to a stay of each of the arbitrations to allow the
   13 parties to discuss potential resolutions of these matters. The parties’ discussions are
   14 ongoing.
   15
   16 DATED: November 1, 2022                QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
   17
   18
                                              By         /s/ John W. Baumann
   19                                              John W. Baumann
                                                   Attorneys for Defendant Epson America,
   20                                              Inc.
   21
        DATED: November 1, 2022              CARLSON LYNCH LLP
   22
   23                                                  /s/ Edwin J. Kilpela (with
                                              By       permission)
   24                                            Edwin J. Kilpela (pro hac vice)
                                                 Attorneys for Plaintiffs
   25
   26
   27
   28
                                                 -1-          Case No.   2:20-cv-4400-CBM-GJS
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                             EXHIBIT E
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    6 Attorneys for Defendant Epson America,
      Inc.
    7
    8
    9                         UNITED STATES DISTRICT COURT
   10                       CENTRAL DISTRICT OF CALIFORNIA
   11 JOHN GALGON, individually and on            CASE No. 2:21-cv-01794-CBM-MRW
      behalf of all others similarly situated,
   12
                                                  DEFENDANT EPSON AMERICA
   13                    Plaintiff,               INC.’S MOTION TO COMPEL
                                                  ARBITRATION AND STAY
   14                                             PROCEEDINGS;
                 vs.
   15                                             DECLARATION OF SIRANUSH
        EPSON AMERICA, INC.,                      ARABIAN;
   16
                                                  [PROPOSED] ORDER
   17                   Defendant.
                                                  Date:      April 20, 2021
   18                                             Time:      10:00 a.m.
                                                  Judge:     Hon. Consuelo B.
   19                                                        Marshall
                                                  Courtroom: 8B
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        MOTION
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    1                       NOTICE OF MOTION AND MOTION
    2 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    3        PLEASE TAKE NOTICE that, on April 20, 2021 at 10:00 a.m., or as soon
    4 thereafter as counsel may be heard, defendant Epson America, Inc. (“Epson”), by
    5 and through its attorneys and pursuant to 9 U.S.C. § 4, hereby moves to compel
    6 arbitration of plaintiff’s claims, stay proceedings pending resolution of any
    7 arbitration, and stay proceedings pending a decision on this motion.
    8        This Motion is made following the conference of counsel pursuant to L.R. 7-
    9 3, which took place on March 15, 2021.
   10        This motion is made on the grounds that plaintiff agreed to arbitrate his
   11 claims against Epson on a non-class basis and further agreed any disputes
   12 concerning the arbitrability of his claims must be submitted to the arbitrator for
   13 resolution. This motion is based upon this Notice, the following memorandum of
   14 points and authorities, the Declaration of Siranush Arabian (“Arabian Decl.”) and
   15 exhibits thereto, the pleadings and records on file herein, on such other and further
   16 argument and evidence as may be presented at the time of the hearing, and all
   17 matters of which this Court may take judicial notice.
   18 DATED: March 22, 2021                QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
   19
   20
                                            By         /s/ Shon Morgan
   21                                            Shon Morgan
                                                 Attorneys for Defendant Epson America,
   22                                            Inc.
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                           PRELIMINARY STATEMENT
    3        This dispute does not belong in court. Indeed, this Court recently compelled
    4 to arbitration a nearly identical putative class action based on the exact same
    5 arbitration agreement to which plaintiff here agreed. Mondigo v. Epson America,
    6 Inc., Case No. 2:20-cv-04400-CBM-GJS (C.D. Cal.) at ECF No. 32. There is no
    7 reason the result should differ in this copycat case.
    8        Here, as in Mondigo, plaintiff expressly agreed to arbitrate any grievances
    9 related to the printer he purchased from Epson and the software used in that printer.
   10 The terms of his arbitration agreement are conspicuous, fair, and reached through a
   11 process and on substantive terms that courts have consistently held must be enforced
   12 to effectuate the purposes of the Federal Arbitration Act. Plaintiff’s arbitration
   13 agreement also expresses a clear and unmistakable intent to commit issues of
   14 arbitrability to the arbitrator. Thus, as in Mondigo, to the extent plaintiff contends
   15 his claims are not subject to the arbitration agreements for any reason, this issue
   16 must be decided in arbitration. Accordingly, the Court should compel arbitration of
   17 plaintiff’s claims and stay proceedings pending resolution of any arbitration.
   18        Additionally, because this Court is not the proper forum for plaintiff’s claims,
   19 Epson also seeks an order staying all proceedings pending resolution of its motion to
   20 compel arbitration (including a stay of all discovery), which would be obviated by
   21 an order sending this case to arbitration.
   22                                    BACKGROUND
   23 I.     THE COURT’S ORDER COMPELLING ARBITRATION IN
   24        MONDIGO
   25        On May 15, 2020, plaintiffs William Mondigo, Martin Dignard, Richard
   26 Famiglietti, Michael Kovach, Felix Rabinovich, Jesse Gordon, and Gregory Szot
   27 filed a putative class action complaint against Epson, which was assigned to this
   28 Court. Mondigo v. Epson America, Inc., Case No. 2:20-cv-04400-CBM-GJS (C.D.
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    1 Cal.). There, as here, plaintiffs alleged third-party ink stopped functioning in their
    2 printers as a result of Epson’s software updates and, based on these allegations,
    3 asserted class claims under the Computer Fraud and Abuse Act (“CFAA”);
    4 California Business & Professions Code § 17200 (“UCL”); and a common law
    5 theory of unjust enrichment. Id. at ECF No. 1.
    6         Epson promptly moved to compel arbitration. Id. at ECF No. 21. Like
    7 plaintiff here, each plaintiff in Mondigo had agreed—both at the time they originally
    8 set up their printers and again upon updating their software—to arbitrate “all
    9 disputes” with Epson on an individual basis. Id.
   10         On October 13, 2020, this Court granted Epson’s motion and stayed the
   11 proceedings pending the completion of any arbitration. Id. at ECF No. 32. This
   12 Court determined plaintiffs had “each agreed to the software license agreement” at
   13 the time they first set up their Epson printers and “entered into another arbitration
   14 agreement when they installed the software updates which are the subject of the
   15 Complaint.”     Id. at 3.   This Court further found “the delegation clause in the
   16 software license agreement and Updater EULA ‘clearly and unmistakably’ indicates
   17 the parties’ intent for the arbitrator to decide the issue of arbitrability.” Id. at 5.
   18 Accordingly, this Court rejected plaintiffs’ attempts to upend the arbitration
   19 agreements and instead determined it “must enforce the agreements according to
   20 their terms and compel the issue of arbitrability of Plaintiffs’ claims to arbitration.”
   21 Id. at 6-7.
   22 II.     PLAINTIFF’S ARBITRATION AGREEMENTS
   23         Plaintiff here followed the exact same steps to agree to the exact same
   24 arbitration agreements that were the subject of this Court’s order compelling
   25 arbitration in Mondigo.
   26         Plaintiff alleges he purchased an Epson XP-640 printer on January 25, 2018
   27 and subsequently began using this printer. ECF No. 1 at ¶¶ 37, 40. To set up and
   28 begin using his printer, plaintiff was required to view Epson’s software license—this
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    1 license was automatically displayed for the user to see as part of the setup process.
    2 Declaration of Siranush Arabian at ¶ 4. Plaintiff was then required to click a bubble
    3 that appeared immediately below the displayed software license (just beneath the
    4 text of the license) to signify his agreement to the terms of the software license. Id.
    5         Among the terms in the software license to which plaintiff agreed is an
    6 arbitration agreement—indeed, the very first paragraph of the license agreement
    7 calls attention to this in capitalized, oversized font that notifies the user “IF YOU
    8 ARE LOCATED IN THE UNITED STATES, SECTION 14 OF THIS
    9 DOCUMENT APPLIES TO YOU. SECTION 14 CONTAINS A BINDING
   10 ARBITRATION PROVISION THAT LIMITS YOUR ABILITY TO SEEK
   11 RELIEF IN A COURT BEFORE A JUDGE OR JURY, AND WAIVES YOUR
   12 RIGHT TO PARTICIPATE IN CLASS ACTIONS OR CLASS ARBITRATIONS
   13 FOR CERTAIN DISPUTES.” Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14.
   14         Additionally, plaintiff reaffirmed his agreement to arbitrate disputes with
   15 Epson at the time he installed the software updates that are the subject of his
   16 complaint. Arabian Decl. at ¶¶ 4-5, Ex. 2; ECF No. 1 at ¶ 31 (conceding plaintiff
   17 “authorized” the update). To install the update, plaintiff was required to view the
   18 Epson End User Software License Agreement (“Updater EULA”), which was
   19 automatically displayed for plaintiff to see, and plaintiff was once again required to
   20 click to signify his agreement. Arabian Decl. at ¶ 7. The arbitration agreement in
   21 the Updater EULA is substantively identical to the arbitration agreement in
   22 plaintiff’s software license. Compare Arabian Decl. at ¶ 3, Ex. 1 at ¶ 14 (software
   23 license), with ¶ 5, Ex. 2 at ¶ 22 (Updater EULA).
   24         Prominent Headings and Clear Terms. Plaintiff’s arbitration agreements
   25 begin with a prominent heading in capitalized, bolded font identifying the separate
   26 agreement to arbitrate and explain in simple terms the arbitration process and how it
   27 differs from a trial in court:
   28
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    1        DISPUTES, BINDING INDIVIDUAL ARBITRATION, AND
             WAIVER OF CLASS ACTIONS AND CLASS ARBITRATIONS
    2
             …
    3        You and Epson agree that all Disputes shall be resolved by binding
             arbitration according to this Agreement. ARBITRATION MEANS
    4
             THAT YOU WAIVE YOUR RIGHT TO A JUDGE OR JURY IN
    5        A COURT PROCEEDING AND YOUR GROUNDS FOR
             APPEAL ARE LIMITED.
    6
    7        Arabian Decl. at ¶¶ 3, 5, Exs. 1-2 at ¶ 14.2 (software license) & 2 at ¶ 22.2
    8 (Updater EULA) (emphasis in original).
    9        Class Action Waiver. Plaintiff’s arbitration agreements also explicitly set
   10 forth the rights plaintiff waived by agreeing to arbitrate, and contain a separate
   11 section in bold, capitalized font notifying plaintiff of his agreements to waive the
   12 right to serve “AS A PLAINTIFF OR CLASS MEMBER IN ANY CLASS OR
   13 REPRESENTATIVE PROCEEDING[.]” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at ¶
   14 14.5 (software license) & 2 at ¶ 22.5 (Updater EULA) (emphasis in original).
   15        Broad Scope. Plaintiff’s arbitration agreements broadly cover “all Disputes
   16 between you and Epson,” and define “Disputes” to “have the broadest meaning
   17 permissible under law,” including “any dispute, claim, controversy or action
   18 between you and Epson arising out of or relating to this Agreement, the Software,
   19 Epson Hardware, or other transaction involving you and Epson, whether in contract,
   20 warranty, misrepresentation, fraud, tort, intentional tort, statute, regulation,
   21 ordinance, or any other legal or equitable basis.” Arabian Decl. at ¶¶ 3, 5, Exs. 1 at
   22 ¶ 14.1 (software license) & 2 at ¶ 22.1 (Updater EULA).1
   23        Delegation of Arbitrability Disputes. Plaintiff’s arbitration agreements also
   24 contain a clear expression of intent to delegate issues of arbitrability to the
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